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                                 EXHIBIT O
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 OFFERING MEMORANDUM                                                                                     CONFIDENTIAL

                                     Eastland CLO, Ltd.
                                        Eastland CLO Corp.
                 U.S.$100,000,000 Class A-1 Floating Rate Senior Secured Extendable Notes Due 2022
                U.S.$825,600,000 Class A-2a Floating Rate Senior Secured Extendable Notes Due 2022
                U.S.$206,000,000 Class A-2b Floating Rate Senior Secured Extendable Notes Due 2022
                  U.S.$78,500,000 Class A-3 Floating Rate Senior Secured Extendable Notes Due 2022
         U.S.$81,500,000 Class B Floating Rate Senior Secured Deferrable Interest Extendable Notes Due 2022
         U.S.$68,500,000 Class C Floating Rate Senior Secured Deferrable Interest Extendable Notes Due 2022
         U.S.$48,000,000 Class D Floating Rate Senior Secured Deferrable Interest Extendable Notes Due 2022
                                            61,500 Class I Preference Shares
                                           62,000 Class II Preference Shares
                                               ___________________
      The Securities will be issued on or about March 13, 2007 (the “Closing Date”). The Stated Maturity of the Notes
 and the Scheduled Preference Shares Redemption Date of the Preference Shares are subject to multiple extensions if the
 Issuer provides timely notice and the Extension Conditions are satisfied as described herein.
      The net proceeds of the offering of the Securities will be applied by the Issuer to repurchase participation interests in
 certain Collateral Obligations sold to finance the purchase of such Collateral Obligations prior to the Closing Date and to
 purchase additional Collateral Obligations on and after the Closing Date, all of which will be pledged under the Indenture
 by the Issuer to the Trustee for the benefit of the secured parties named therein. See “Use of Proceeds.” Highland Capital
 Management, L.P. (“Highland Capital” or, in such capacity, the “Servicer”) will service the Issuer’s portfolio.
      The initial offer price of the Notes is 100% of the principal amount thereof. The initial offer price of the Preference
 Shares is U.S.$1,000 per share.
      This Offering Memorandum constitutes a prospectus (the “Prospectus”) for the purposes of Directive 2003/71/EC
 (the “Prospectus Directive”). Application is expected to be made to the Irish Financial Services Regulatory Authority,
 as competent authority under the Prospectus Directive for this Prospectus to be approved. Application is expected to be
 made to the Irish Stock Exchange for the Senior Notes to be admitted to the Official List and trading on its regulated
 market.
                                                     ___________________
        Investing in the Securities involves risks. See “Risk Factors” beginning on Page 29.
                                          ___________________
      Certain pledged assets of the issuer are the sole source of payments on the Securities. The Securities do not represent
 an interest in or obligations of, and are not insured or guaranteed by, the Holders of the Preference Shares, the Servicer,
 the Trustee, any paying agent, the Preference Shares Paying Agent, the Initial Purchaser, the Placement Agent, any Hedge
 Counterparty or any of their respective Affiliates.
      The Securities have not been, and will not be, registered under the Securities Act and neither the Issuer nor the
 Co-Issuer will be registered under the Investment Company Act. The Senior Notes will be offered and sold to non-
 U.S. Persons outside of the United States in reliance on Regulation S under the Securities Act. The Senior Notes may
 not be offered or sold within the United States or to, or for the account or benefit of, U.S. Persons except to persons
 that are (i) Qualified Institutional Buyers and (ii) Qualified Purchasers. The Class D Notes and the Preference Shares
 will be offered and sold only to persons that are (i) Qualified Institutional Buyers (or, solely in the case of a Holder
 purchasing Class D Notes on the Closing Date, to an institutional investor that is also an Accredited Investor) and (ii)
 Qualified Purchasers. The Securities are not transferable except in accordance with the restrictions described under
 “Transfer Restrictions.”
                                                    ___________________
      On or about the Closing Date, (i) the Issuer will sell all of the Class I Preference Shares directly to Eastland
 Investors Corp., an exempted limited liability company incorporated under the laws of the Cayman Islands (“Investors
 Corp.”) and (ii) Citigroup Global Markets Inc., as initial purchaser (the “Initial Purchaser”) of the Notes and
 placement agent (the “Placement Agent”) of the Class II Preference Shares, expects to deliver such Notes and Class II
 Preference Shares to purchasers. Highland Financial Partners, L.P. (“HFP”) (an Affiliate of the Servicer) and/or one
 or more of its subsidiaries will purchase all of the Class II Preference Shares through the Placement Agent.

                                                        Citigroup
 March 9, 2007
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 Payment of interest on, and principal of, the Notes will be made by the Issuer in U.S. Dollars on the first
 day of each February, May, August and November of each year (or if such day is not a Business Day, the
 next succeeding Business Day) (each such date a “Payment Date”), commencing August 1, 2007, to the
 extent of available cash flow in respect of the Collateral in accordance with the Priority of Payments.
 Each Class of Notes will bear interest at the per annum rates set forth under “Summary of Terms—
 Principal Terms of the Securities.” The Preference Shares will receive as dividends certain amounts
 available for distribution to the Holders of the Preference Shares in accordance with the Priority of
 Payments. In addition, Holders of the Class II Preference Shares are entitled, subject to any restrictions
 under Cayman Islands law, to the Class II Preference Share Special Payments equivalent to the proceeds
 that would otherwise constitute Servicing Fees payable to the Servicer until (and including) the Payment
 Date in February 2008. After the Payment Date in February 2008, the Servicer may, in its sole discretion,
 at any time waive a portion of the Servicing Fees then due and payable, in which event an amount equal
 to such waived portion will be paid by the Issuer to the Holders of the Class II Preference Shares as Class
 II Preference Share Special Payments. See “Description of the Securities—Interest Payments on the
 Notes and Payments of Dividends on the Preference Shares from Interest Proceeds” and “—Priority of
 Payments.”

 The Notes will be subject to Optional Redemption in whole, but not in part, on any Payment Date upon
 the occurrence of a Tax Event or at any time after the Non-Call Period, in each case at the direction of the
 applicable Required Redemption Percentage. The Notes will be subject to mandatory redemption on any
 Payment Date, to the extent that any of the Coverage Tests are not satisfied, as described herein. The
 Notes will be subject to Special Redemption, at the discretion of the Servicer, to the extent that at any
 time during the Replacement Period, the Servicer cannot identify satisfactory additional or replacement
 Collateral Obligations. The Notes will be subject to Refinancing after the Non-Call Period on the terms
 and conditions described herein. After redemption in full of the Notes, the Preference Shares will be
 subject to Optional Redemption in whole or in part on any Payment Date by the Issuer at the direction of
 the Holders of the requisite percentage of the Preference Shares at the applicable Redemption Price
 pursuant to the Preference Share Documents, to the extent legally permitted; provided, however, that the
 Preference Shares must be redeemed on or prior to the Scheduled Preference Shares Redemption Date.
 See “Description of the Securities—Optional Redemption,” “Optional Redemption—Redemption by
 Refinancing,” “—Mandatory Redemption of the Notes,” “⎯Special Redemption of Notes If the Servicer
 Does Not Identify Replacement Collateral Obligations as Contemplated by the Indenture” and “—Priority
 of Payments.” The principal amount of the Notes will be payable at the Stated Maturity, unless redeemed
 or paid in full prior thereto. The Preference Shares are scheduled to be redeemed at their Redemption
 Price on the Scheduled Preference Shares Redemption Date, unless redeemed prior thereto.

 Application is expected to be made to list the Senior Notes on the regulated market of the Irish
 Stock Exchange (the “ISE”). However, there can be no assurance that the ISE will in fact accept
 the listing of the Senior Notes or, if accepted, that such listing will be maintained. Furthermore, the
 Co-Issuers will not be required to maintain a listing on a stock exchange in the European Union if
 compliance with requirements of the European Commission on a member state becomes
 burdensome in the sole judgment of the Servicer.

 It is a condition of the issuance of the Securities that (i) the Class A-1 Notes and the Class A-2a Notes
 each be rated “Aaa” by Moody’s Investors Service, Inc. (“Moody’s”) and “AAA” by Standard & Poor’s
 Ratings Services, a division of The McGraw-Hill Companies, Inc. (“S&P” and, together with Moody’s,
 the “Rating Agencies”), (ii) the Class A-2b Notes be rated at least “Aa1” by Moody’s and “AAA” by
 S&P, (iii) the Class A-3 Notes be rated at least “Aa2” by Moody’s and at least “AA” by S&P, (iv) the
 Class B Notes be rated at least “A2” by Moody’s and at least “A” by S&P, (v) the Class C Notes be rated
 at least “Baa2” by Moody’s and at least “BBB” by S&P and (vi) the Class D Notes be rated at least “Ba2”
 by Moody’s and at least “BB” by S&P. Each of the above ratings assumes that no Maturity Extension


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 occurs after the Closing Date. A credit rating is not a recommendation to buy, sell or hold securities and
 may be subject to revision or withdrawal at any time by the assigning Rating Agency. The Preference
 Shares will not be rated by any credit rating agency.

 No person has been authorized to make or provide any representation or information regarding the
 Co-Issuers or the Securities other than as contained in this Offering Memorandum. Any such
 representation or information should not be relied upon as having been authorized by the Co-Issuers, the
 Initial Purchaser or the Placement Agent. The delivery of this Offering Memorandum at any time does
 not imply that the information contained in it is correct as of any time subsequent to the date of this
 Offering Memorandum. The Co-Issuers disclaim any obligation to update such information and do not
 intend to do so. Unless otherwise indicated, all information in this Offering Memorandum is given as of
 the date of this Offering Memorandum.

 This Offering Memorandum has been prepared by the Co-Issuers solely for use in connection with the
 listing of the Senior Notes and the offering of the Securities as described herein. Unless as otherwise
 provided herein, the Co-Issuers have taken reasonable care to ensure that facts stated in this Offering
 Memorandum are true and accurate in all material respects and that there have not been omitted material
 facts the omission of which would make misleading in any material respect any statements of fact or
 opinion herein. The Co-Issuers accept responsibility accordingly.

 The information appearing in the sections entitled “Risk Factors—Relating to Certain Conflicts of
 Interest—The Issuer Will Be Subject to Various Conflicts of Interest Involving the Servicer” and “The
 Servicer” has been prepared by the Servicer and has not been independently verified by the Initial
 Purchaser, the Placement Agent or the Co-Issuers. The Initial Purchaser, the Placement Agent and the
 Co-Issuers do not assume any responsibility for the accuracy, completeness, or applicability of such
 information, except that the Co-Issuers assume responsibility for accurately reproducing such information
 in this Offering Memorandum.

 None of the Initial Purchaser, the Placement Agent, the Servicer (except with respect to the sections
 entitled, “Risk Factors—Relating to Certain Conflicts of Interest—The Issuer Will Be Subject to Various
 Conflicts of Interest Involving the Servicer” and “The Servicer”) or the Trustee makes any representation
 or warranty, express or implied, as to the accuracy or completeness of the information in this Offering
 Memorandum. Each person receiving this Offering Memorandum acknowledges that such person has not
 relied on the Initial Purchaser, the Placement Agent, the Servicer (except with respect to the section
 entitled “Risk Factors—Relating to Certain Conflicts of Interest—The Issuer Will Be Subject to Various
 Conflicts of Interest Involving the Servicer” and “The Servicer”) or the Trustee or any person affiliated
 therewith, in connection with its investigation of the accuracy of such information or its investment
 decision. Each person contemplating making an investment in the Securities must make its own
 investigation and analysis of the creditworthiness of the Co-Issuers and its own determination of the
 suitability of any such investment, with particular reference to its own investment objectives and
 experience, and any other factors that may be relevant to it in connection with such investment.

 THE SECURITIES HAVE NOT BEEN APPROVED OR DISAPPROVED BY THE UNITED STATES
 SECURITIES AND EXCHANGE COMMISSION OR ANY STATE SECURITIES COMMISSION OR
 OTHER REGULATORY AUTHORITY, AND NONE OF THE FOREGOING AUTHORITIES HAS
 CONFIRMED THE ACCURACY OR DETERMINED THE ADEQUACY OF THIS OFFERING
 MEMORANDUM. ANY REPRESENTATION TO THE CONTRARY IS A CRIMINAL OFFENSE.

 This Offering Memorandum contains summaries of certain documents. The summaries do not purport to
 be complete and are qualified in their entirety by reference to such documents. Each person receiving this
 Offering Memorandum acknowledges that such person has been afforded an opportunity to request from


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 the Issuer and to review, and has received, all additional information considered by such person to be
 necessary to verify the accuracy and completeness of the information herein. Requests and inquiries
 regarding this Offering Memorandum or such documents should be directed to the Issuer, in care of the
 Citigroup Global Markets Inc. at 390 Greenwich Street., 4th Floor, New York, New York 10013,
 Attention: CDO Group. Such requests may also be made to the Listing Agent at the address set forth on
 the final page of this Offering Memorandum.

 The Securities are a new issue of securities. There can be no assurance that a secondary market for any of
 the Securities will develop, or if a secondary market does develop, that it will provide the Holders of such
 Securities with liquidity of investment or that it will continue. Accordingly, investors should be prepared
 to bear the risks of holding the Securities until final payment is made thereon.

 THE CONTENTS OF THIS OFFERING MEMORANDUM ARE NOT TO BE CONSTRUED AS
 ACCOUNTING, LEGAL, BUSINESS OR TAX ADVICE. EACH PROSPECTIVE INVESTOR
 SHOULD CONSULT ITS OWN ACCOUNTANT, ATTORNEY, BUSINESS ADVISOR AND TAX
 ADVISOR AS TO LEGAL, BUSINESS AND TAX ADVICE. NONE OF THE CO-ISSUERS, THE
 INITIAL PURCHASER, THE PLACEMENT AGENT, THE SERVICER OR ANY OF THEIR
 RESPECTIVE AFFILIATES MAKES ANY REPRESENTATION TO ANY OFFEREE OF THE
 SECURITIES REGARDING THE LEGALITY OF AN INVESTMENT THEREIN BY SUCH
 OFFEREE UNDER APPLICABLE LEGAL INVESTMENT OR SIMILAR LAWS OR REGULATIONS
 OR THE PROPER CLASSIFICATION OF SUCH AN INVESTMENT THEREUNDER.

 This Offering Memorandum does not constitute an offer of, or an invitation by or on behalf of, the Co-
 Issuers, the Initial Purchaser or the Placement Agent to subscribe to or purchase any of the Securities in
 any jurisdiction in which it is unlawful to make such an offer or invitation. The distribution of this
 Offering Memorandum and the offering of the Securities in certain jurisdictions may be restricted by law.
 Persons into whose possession this Offering Memorandum comes are required by the Co-Issuers, the
 Initial Purchaser and the Placement Agent to inform themselves about and to observe any such
 restrictions. For a description of certain further restrictions on offers and sales of Securities and
 distribution of this Offering Memorandum, see “Description of the Securities,” “Plan of Distribution” and
 “Transfer Restrictions.”

 Neither the Issuer nor the Co-Issuer has been registered under the United States Investment Company Act
 of 1940, as amended (the “Investment Company Act”). in reliance on an exclusion from the definition
 of “investment company” under Section 3(c)(7) under the Investment Company Act (“Section 3(c)(7)”).
 Each purchaser of Senior Notes represented by an interest in a Rule 144A Global Note will be deemed to
 represent and agree and each purchaser of Class D Notes will be required to represent and agree that (i)
 the purchaser is acquiring such Notes in a principal amount of not less than U.S.$250,000, and integral
 multiples of U.S.$1,000 in excess thereof for such purchaser (and, in the case of the Senior Notes, each
 account for which such purchaser is purchasing such Notes) and (ii) the purchaser (and, in the case of the
 Senior Notes, each such account), is a Qualified Purchaser for purposes of Section 3(c)(7) (“Qualified
 Purchaser”). Each purchaser of Preference Shares will be required to represent and agree that (i) the
 purchaser is acquiring such Preference Shares in a number of not less than 100 Preference Shares and in
 integral multiples of one Preference Share in excess thereof for such purchaser and (ii) the purchaser is a
 Qualified Purchaser. See “Transfer Restrictions.”

 The Issuer and the Co-Issuer may, at any time following the Closing Date, rely on exclusion from the
 definition of “investment company” under Rule 3a-7 under the Investment Company Act (“Rule 3a-7”) in
 lieu of the exclusion under Section 3(c)(7) upon (a) receipt of an opinion of counsel from a nationally
 recognized law firm providing that neither the Issuer nor the Co-Issuer is required to register as an
 “investment company” under the Investment Company Act in reliance on such exclusion under Rule 3a-7


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 and (b) notice to the Holders of the Securities in accordance with the Indenture and the Preference Share
 Documents. In connection with the Issuer’s reliance on Rule 3a-7 in lieu of Section 3(c)(7), the Indenture
 and the Preference Share Documents may be amended without the consent of any Holders and without
 regard to whether or not such amendment adversely affects the interest of the Holders of the Securities to
 prevent the Issuer from becoming an “investment company” as defined in the Investment Company Act
 or to better assure compliance with the requirements of Rule 3a-7 and/or to remove transfer restrictions
 and other requirements relating to Section 3(c)(7). See “Risk Factors—The Servicer May Cause the
 Issuer to Amend the Indenture to Assure Compliance with Rule 3a-7 Without the Consent of the Holders
 of the Securities in a Manner That May Adversely Affect the Holders of Securities.”

 No invitation to subscribe for the Securities may be made to the public in the Cayman Islands.

 Prospective purchasers are hereby notified that a seller of the Securities may be relying on an exemption
 from the registration requirements of Section 5 of the United States Securities Act of 1933, as amended
 (the “Securities Act”) provided by Section 4(2) of the Securities Act (“Section 4(2)”).

 In this Offering Memorandum references to “Dollars,” “$” and “U.S.$” are dollars or other equivalent
 units in such coin or currency of the United States of America as at the time shall be legal tender for all
 debts, public and private.

 NO ACTION WAS TAKEN OR IS BEING CONTEMPLATED BY THE CO-ISSUERS THAT
 WOULD PERMIT A PUBLIC OFFERING OF THE SECURITIES OR POSSESSION OR
 DISTRIBUTION OF THIS OFFERING MEMORANDUM OR ANY AMENDMENT THEREOF,
 OR SUPPLEMENT THERETO OR ANY OTHER OFFERING MATERIAL RELATING TO
 THE SECURITIES IN ANY JURISDICTION (OTHER THAN IRELAND) WHERE, OR IN ANY
 OTHER CIRCUMSTANCES IN WHICH, ACTION FOR THOSE PURPOSES IS REQUIRED.
 NOTHING CONTAINED HEREIN SHALL CONSTITUTE AN OFFER TO SELL OR A
 SOLICITATION OF AN OFFER TO PURCHASE ANY SECURITIES IN ANY JURISDICTION
 WHERE IT IS UNLAWFUL TO DO SO ABSENT THE TAKING OF SUCH ACTION OR THE
 AVAILABILITY OF AN EXEMPTION THEREFROM.

 THIS DOCUMENT IS CONSIDERED AN ADVERTISEMENT FOR PURPOSES OF
 APPLICABLE MEASURES IMPLEMENTING E.U. DIRECTIVE 2003/71/EC.     A
 PROSPECTUS PREPARED PURSUANT TO THE PROSPECTUS DIRECTIVE WILL
 BE PUBLISHED, WHICH CAN BE OBTAINED FROM THE ISSUER AND THE IRISH
 PAYING AGENT. SEE “LISTING AND GENERAL INFORMATION.”
                          NOTICE TO NEW HAMPSHIRE RESIDENTS
 NEITHER THE FACT THAT A REGISTRATION STATEMENT OR AN
 APPLICATION FOR A LICENSE HAS BEEN FILED UNDER CHAPTER 421–B OF
 THE NEW HAMPSHIRE REVISED STATUTES (THE “RSA”) WITH THE STATE OF
 NEW HAMPSHIRE NOR THE FACT THAT A SECURITY IS EFFECTIVELY
 REGISTERED OR A PERSON IS LICENSED IN THE STATE OF NEW HAMPSHIRE
 CONSTITUTES A FINDING BY THE SECRETARY OF STATE OF NEW HAMPSHIRE
 THAT ANY DOCUMENT FILED UNDER RSA 421–B IS TRUE, COMPLETE AND
 NOT MISLEADING. NEITHER ANY SUCH FACT NOR THE FACT THAT AN
 EXEMPTION OR EXCEPTION IS AVAILABLE FOR A SECURITY OR A
 TRANSACTION MEANS THAT THE SECRETARY OF STATE HAS PASSED IN ANY
 WAY UPON THE MERITS OR QUALIFICATIONS OF, OR RECOMMENDED OR



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 GIVEN APPROVAL TO, ANY PERSON, SECURITY, OR TRANSACTION. IT IS
 UNLAWFUL TO MAKE, OR CAUSE TO BE MADE, TO ANY PROSPECTIVE
 PURCHASER, CUSTOMER, OR CLIENT ANY REPRESENTATION INCONSISTENT
 WITH THE PROVISIONS OF THIS PARAGRAPH.
                         NOTICE TO CONNECTICUT RESIDENTS
 THE SECURITIES HAVE NOT BEEN REGISTERED UNDER THE CONNECTICUT SECURITIES LAW. THE
 SECURITIES ARE SUBJECT TO RESTRICTIONS ON TRANSFERABILITY AND SALE.
                            NOTICE TO FLORIDA RESIDENTS
 THE SECURITIES OFFERED HEREBY WILL BE SOLD TO, AND ACQUIRED BY, THE HOLDER IN A
 TRANSACTION EXEMPT UNDER SECTION 517.061 OF THE FLORIDA SECURITIES ACT (“FSA”). THE
 SECURITIES HAVE NOT BEEN REGISTERED UNDER SAID ACT IN THE STATE OF FLORIDA. IN
 ADDITION, IF SALES ARE MADE TO FIVE OR MORE PERSONS IN FLORIDA, ALL FLORIDA
 PURCHASERS OTHER THAN EXEMPT INSTITUTIONS SPECIFIED IN SECTION 517.061(7) OF THE FSA
 SHALL HAVE THE PRIVILEGE OF VOIDING THE PURCHASE WITHIN THREE (3) DAYS AFTER THE
 FIRST TENDER OF CONSIDERATION IS MADE BY SUCH PURCHASER TO THE CO-ISSUERS, AN
 AGENT OF THE CO-ISSUERS, OR AN ESCROW AGENT.
                            NOTICE TO GEORGIA RESIDENTS
 THE SECURITIES HAVE BEEN ISSUED OR SOLD IN RELIANCE ON PARAGRAPH (13) OF CODE
 SECTION 10-5-9 OF THE GEORGIA SECURITIES ACT OF 1973, AND MAY NOT BE SOLD OR
 TRANSFERRED EXCEPT IN A TRANSACTION WHICH IS EXEMPT UNDER SUCH ACT OR PURSUANT
 TO AN EFFECTIVE REGISTRATION UNDER SUCH ACT.
                         NOTICE TO RESIDENTS OF AUSTRALIA
 NO PROSPECTUS, DISCLOSURE DOCUMENT, OFFERING MATERIAL OR ADVERTISEMENT IN
 RELATION TO THE SECURITIES HAS BEEN LODGED WITH THE AUSTRALIAN SECURITIES AND
 INVESTMENTS COMMISSION OR THE AUSTRALIAN STOCK EXCHANGE LIMITED. ACCORDINGLY,
 A PERSON MAY NOT (A) MAKE, OFFER OR INVITE APPLICATIONS FOR THE ISSUE, SALE OR
 PURCHASE OF THE SECURITIES WITHIN, TO OR FROM AUSTRALIA (INCLUDING AN OFFER OR
 INVITATION WHICH IS RECEIVED BY A PERSON IN AUSTRALIA) OR (B) DISTRIBUTE OR PUBLISH
 THIS OFFERING MEMORANDUM OR ANY OTHER PROSPECTUS, DISCLOSURE DOCUMENT,
 OFFERING MATERIAL OR ADVERTISEMENT RELATING TO THE SECURITIES IN AUSTRALIA,
 UNLESS (I) THE MINIMUM AGGREGATE CONSIDERATION PAYABLE BY EACH OFFEREE IS THE U.S.
 DOLLAR EQUIVALENT OF AT LEAST A$500,000 (DISREGARDING MONEYS LENT BY THE OFFEROR
 OR ITS ASSOCIATES) OR THE OFFER OTHERWISE DOES NOT REQUIRE DISCLOSURE TO INVESTORS
 IN ACCORDANCE WITH PART 6D.2 OF THE CORPORATIONS ACT 2001 (CWLTH) OF AUSTRALIA;
 AND (II) SUCH ACTION COMPLIES WITH ALL APPLICABLE LAWS AND REGULATIONS.
                          NOTICE TO RESIDENTS OF AUSTRIA
 THIS OFFERING MEMORANDUM IS NOT A PROSPECTUS UNDER THE AUSTRIAN CAPITAL MARKETS
 ACT OR THE AUSTRIAN INVESTMENT FUNDS ACT. THIS OFFERING MEMORANDUM HAS NOT
 BEEN EXAMINED BY A PROSPECTUS AUDITOR AND NO PROSPECTUS ON THE PRIVATE
 PLACEMENT OF THE SECURITIES HAS BEEN PUBLISHED OR WILL BE PUBLISHED IN AUSTRIA. THE
 SECURITIES ARE OFFERED IN AUSTRIA ONLY TO A RESTRICTED AND SELECTED NUMBER OF
 PROFESSIONAL AND SOPHISTICATED INDIVIDUAL INVESTORS, AND NO PUBLIC OFFERING OF THE
 SECURITIES IN AUSTRIA IS BEING MADE OR IS INTENDED TO BE MADE. THE SECURITIES CAN
 ONLY BE ACQUIRED FOR A COMMITMENT EXCEEDING €50,000 OR ITS EQUIVALENT VALUE IN
 ANY FOREIGN CURRENCY.
                      NOTICE TO THE PUBLIC OF CAYMAN ISLANDS
 NO INVITATION MAY BE MADE TO THE PUBLIC IN THE CAYMAN ISLANDS TO SUBSCRIBE FOR
 SECURITIES OF THE ISSUER, AND THIS OFFERING MEMORANDUM MAY NOT BE ISSUED OR
 PASSED TO ANY SUCH PERSON.



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               NOTICE TO RESIDENTS OF THE EUROPEAN ECONOMIC AREA
 THIS OFFERING MEMORANDUM HAS BEEN PREPARED ON THE BASIS THAT ALL OFFERS OF THE
 SECURITIES WILL BE MADE PURSUANT TO AN EXEMPTION UNDER THE PROSPECTUS DIRECTIVE,
 AS IMPLEMENTED IN MEMBER STATES OF THE EUROPEAN ECONOMIC AREA (THE “EEA”), FROM
 THE REQUIREMENT TO PRODUCE A PROSPECTUS FOR OFFERS OF THE SECURITIES.
 ACCORDINGLY ANY PERSON MAKING OR INTENDING TO MAKE ANY OFFER WITHIN THE EEA OF
 THE SECURITIES SHOULD ONLY DO SO IN CIRCUMSTANCES IN WHICH NO OBLIGATION ARISES
 FOR THE CO-ISSUERS, THE INITIAL PURCHASER OR THE PLACEMENT AGENT TO PRODUCE A
 PROSPECTUS FOR SUCH OFFER. NONE OF THE CO-ISSUERS, THE INITIAL PURCHASER OR THE
 PLACEMENT AGENT HAS AUTHORISED, NOR DO THEY AUTHORISE, THE MAKING OF ANY OFFER
 OF THE SECURITIES THROUGH ANY FINANCIAL INTERMEDIARY, OTHER THAN OFFERS MADE BY
 THE INITIAL PURCHASER OR THE PLACEMENT AGENT WHICH CONSTITUTE THE FINAL
 PLACEMENT OF THE SECURITIES CONTEMPLATED IN THIS OFFERING MEMORANDUM.
                          NOTICE TO RESIDENTS OF FINLAND
 THIS OFFERING MEMORANDUM HAS BEEN PREPARED FOR PRIVATE INFORMATION PURPOSES OF
 INTERESTED INVESTORS ONLY. IT MAY NOT BE USED FOR AND SHALL NOT BE DEEMED A
 PUBLIC OFFERING OF THE SECURITIES. THE FINNISH FINANCIAL SUPERVISION AUTHORITY
 (RAHOITUSTARKASTUS) HAS NOT APPROVED THIS OFFERING MEMORANDUM AND HAS NOT
 AUTHORIZED ANY OFFERING OF THE SUBSCRIPTION OF THE SECURITIES; ACCORDINGLY, THE
 SECURITIES MAY NOT BE OFFERED OR SOLD IN FINLAND OR TO RESIDENTS THEREOF EXCEPT AS
 PERMITTED BY FINNISH LAW. THIS OFFERING MEMORANDUM IS STRICTLY FOR PRIVATE USE BY
 ITS HOLDER AND MAY NOT BE PASSED ON TO THIRD PARTIES.
                           NOTICE TO RESIDENTS OF FRANCE
 CETTE NOTE D'INFORMATION N'A PAS ÉTÉ SOUMISE AU VISA DE LA COMMISSION DES OPÉRATIONS
 DE BOURSE. PAR CONSÉQUENT NI CETTE NOTE D'INFORMATION, NI TOUT AUTRE DOCUMENT
 PROMOTIONNEL SE RAPPORTANT AUX INTÉRÊTS NE POURRONT ÉTRE COMMUNIQUÉS AU PUBLIC
 OU UTILISÉS DANS LE CADRE OFFRE DE SOUSCRIPTION OU DE VENTE DES INTÉRÊTS EN FRANCE
 ET LES INTÉRÊTS NE PEUVENT ÉTRE ÉMIS, OFFERTS OU CÉDÉS DE TOUTE FAÇON EN FRANCE.
 THIS OFFERING MEMORANDUM HAS NOT BEEN SUBMITTED TO LA COMMISSION DES OPÉRATIONS
 DE BOURSE IN FRANCE. ACCORDINGLY, NEITHER THIS OFFERING MEMORANDUM NOR ANY
 OTHER OFFERING MATERIAL RELATING TO THE SECURITIES MAY BE AVAILABLE TO THE PUBLIC
 OR USED IN CONNECTION WITH ANY OTHER OFFER FOR SUBSCRIPTION OR SALE OF THE
 SECURITIES IN FRANCE, AND THE SECURITIES MAY NOT BE ISSUED, OFFERED OR OTHERWISE
 SOLD IN FRANCE.
                          NOTICE TO RESIDENTS OF GERMANY
 THE SECURITIES MAY ONLY BE ACQUIRED IN ACCORDANCE WITH THE GERMAN
 WERTPAPIERPROSPEKTGESETZ (SECURITIES PROSPECTUS ACT) AND THE INVESTMENTGESETZ
 (INVESTMENT ACT). THE SECURITIES ARE NOT REGISTERED OR AUTHORIZED FOR DISTRIBUTION
 UNDER THE INVESTMENT ACT AND MAY NOT BE, AND ARE NOT BEING OFFERED OR ADVERTISED
 PUBLICLY OR OFFERED SIMILARLY UNDER THE INVESTMENT ACT OR THE SECURITIES
 PROSPECTUS ACT. THEREFORE, THIS OFFER IS ONLY BEING MADE TO RECIPIENTS TO WHOM THIS
 OFFERING MEMORANDUM IS PERSONALLY ADDRESSED AND DOES NOT CONSTITUTE AN OFFER
 OR ADVERTISEMENT TO THE PUBLIC. THE SECURITIES CAN ONLY BE ACQUIRED FOR A MINIMUM
 PURCHASE PRICE OF AT LEAST €50,000 (EXCLUDING COMMISSIONS AND OTHER FEES) PER
 PERSON. ALL PROSPECTIVE INVESTORS ARE URGED TO SEEK INDEPENDENT TAX ADVICE. NONE
 OF THE CO-ISSUERS, THE TRUSTEE, THE SERVICER, THE INITIAL PURCHASER, THE PLACEMENT
 AGENT OR ANY OF THEIR RESPECTIVE AFFILIATES GIVES ANY TAX ADVICE.




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      NOTICE TO RESIDENTS OF THE HONG KONG SPECIAL ADMINISTRATIVE REGION
 THE SECURITIES MAY NOT BE OFFERED OR SOLD IN HONG KONG, BY MEANS OF ANY DOCUMENT
 OTHER THAN TO PERSONS WHOSE ORDINARY BUSINESS IT IS TO BUY OR SELL SHARES OR
 DEBENTURES (WHETHER AS PRINCIPAL OR AGENT) OR IN CIRCUMSTANCES WHICH DO NOT
 CONSTITUTE AN OFFER TO THE PUBLIC WITHIN THE MEANING OF THE COMPANIES ORDINANCE
 (CAP 32). UNLESS PERMITTED TO DO SO UNDER THE SECURITIES LAWS OF HONG KONG, YOU
 MAY NOT ISSUE OR HAVE IN YOUR POSSESSION FOR THE PURPOSES OF ISSUE, AND WILL NOT
 ISSUE, OR HAVE IN YOUR POSSESSION FOR THE PURPOSES OF ISSUE, ANY ADVERTISEMENT,
 INVITATION OR DOCUMENT RELATING TO THE SECURITIES OTHER THAN WITH RESPECT TO
 SECURITIES INTENDED TO BE DISPOSED OF TO PERSONS OUTSIDE OF HONG KONG OR TO BE
 DISPOSED OF IN HONG KONG ONLY TO PERSONS WHOSE BUSINESS INVOLVES THE ACQUISITION,
 DISPOSAL OR HOLDING OF SECURITIES, WHETHER AS PRINCIPAL OR AGENT OR IN
 CIRCUMSTANCES WHICH DO NOT CONSTITUTE AN OFFER TO THE PUBLIC.
                           NOTICE TO RESIDENTS OF ISRAEL
 THIS OFFERING MEMORANDUM WILL BE DISTRIBUTED TO ISRAELI RESIDENTS ONLY IN A
 MANNER THAT WILL NOT CONSTITUTE AN “OFFER TO THE PUBLIC” IN ACCORDANCE WITH
 SECTIONS 15 AND 15A OF THE SECURITIES LAW 1968. SPECIFICALLY, THIS OFFERING
 MEMORANDUM MAY ONLY BE DISTRIBUTED TO INVESTORS OF THE TYPES LISTED IN THE FIRST
 ADDENDUM OF THE SECURITIES LAW 1968 AND IN ADDITION TO NOT MORE THAN 35 OTHER
 INVESTORS RESIDENT IN ISRAEL DURING ANY GIVEN 12 MONTH PERIOD.
                            NOTICE TO RESIDENTS OF ITALY
 THIS OFFERING MEMORANDUM MAY NOT BE DISTRIBUTED TO MEMBERS OF THE PUBLIC IN
 ITALY. THE ITALIAN COMMISSIONE NAZIONALE PER LA SOCIETA E LA BORSA HAS NOT
 AUTHORIZED ANY OFFERING OF THE SUBSCRIPTION OF THE SECURITIES; ACCORDINGLY, THE
 SECURITIES MAY NOT BE OFFERED OR SOLD IN ITALY OR TO RESIDENTS THEREOF EXCEPT AS
 PERMITTED BY ITALIAN LAW.
                           NOTICE TO RESIDENTS OF JAPAN
 THE SECURITIES HAVE NOT BEEN AND WILL NOT BE REGISTERED UNDER THE SECURITIES AND
 EXCHANGE LAW OF JAPAN (THE “SEL”), AND THE SECURITIES MAY NOT BE OFFERED OR SOLD,
 DIRECTLY OR INDIRECTLY, IN JAPAN OR TO, OR FOR THE BENEFIT OF, ANY RESIDENT OF JAPAN
 (INCLUDING JAPANESE CORPORATIONS) OR TO OTHERS FOR RE-OFFERING OR RESALE, DIRECTLY
 OR INDIRECTLY, IN JAPAN OR TO ANY RESIDENT OF JAPAN, EXCEPT THAT THE OFFER AND SALE
 OF THE SECURITIES IN JAPAN MAY BE MADE ONLY THROUGH A PRIVATE PLACEMENT SALE IN
 JAPAN IN ACCORDANCE WITH AN EXEMPTION AVAILABLE UNDER THE SEL AND WITH ALL
 OTHER APPLICABLE LAWS AND REGULATIONS OF JAPAN.                 IN THIS CLAUSE, “A
 RESIDENT/RESIDENTS OF JAPAN” SHALL HAVE THE MEANING AS DEFINED UNDER THE
 FOREIGN EXCHANGE AND FOREIGN TRADE LAW OF JAPAN.
                           NOTICE TO RESIDENTS OF KOREA
 NEITHER THE ISSUER NOR THE CO-ISSUER IS MAKING ANY REPRESENTATION, EXPRESS OR
 IMPLIED, WITH RESPECT TO THE QUALIFICATION OF THE RECIPIENTS OF THESE MATERIALS FOR
 THE PURPOSE OF INVESTING IN THE SECURITIES UNDER THE LAWS OF KOREA, INCLUDING AND
 WITHOUT LIMITATION THE FOREIGN EXCHANGE MANAGEMENT LAW AND REGULATIONS
 THEREUNDER. THE SECURITIES HAVE NOT BEEN REGISTERED UNDER THE SECURITIES AND
 EXCHANGE LAW OF KOREA AND NONE OF THE SECURITIES MAY BE OFFERED OR SOLD OR
 DELIVERED, DIRECTLY OR INDIRECTLY, IN KOREA OR TO ANY RESIDENT OF KOREA EXCEPT
 PURSUANT TO APPLICABLE LAWS AND REGULATIONS OF KOREA.
                        NOTICE TO RESIDENTS OF LUXEMBOURG
 THE SECURITIES SHALL NOT BE OFFERED OR SOLD TO THE PUBLIC IN THE GRAND DUCHY OF
 LUXEMBOURG, DIRECTLY OR INDIRECTLY, AND NO ADVERTISEMENT OR DOCUMENT OR OTHER
 MATERIAL MAY BE DISTRIBUTED OR PUBLISHED IN LUXEMBOURG, UNLESS THE REQUIREMENTS
 OF LUXEMBOURG LAW CONCERNING PUBLIC OFFERING OF SECURITIES HAVE FIRST BEEN MET.


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 FURTHERMORE, NEITHER THE ISSUER NOR THE CO-ISSUER QUALIFIES AS AN INVESTMENT FUND
 UNDER LUXEMBOURG LAW.
                        NOTICE TO RESIDENTS OF NETHERLANDS
 THE SECURITIES MAY NOT BE OFFERED, DIRECTLY OR INDIRECTLY, IN THE NETHERLANDS
 EXCEPT TO INDIVIDUALS OR ENTITIES WHO OR WHICH TRADE OR INVEST IN SECURITIES IN THE
 CONDUCT OF A PROFESSION OR BUSINESS WITHIN THE MEANING OF ARTICLE 1 OF THE
 EXEMPTION REGULATION OF 9 OCTOBER 1990 ISSUED PURSUANT TO ARTICLE 14 OF THE
 INVESTMENT INSTITUTION SUPERVISION ACT (WET TOEZICHT BELEGGINGSINSTELLINGEN OF 27
 JUNE 1990) WHICH INCLUDES BANKS, BROKERS, SECURITIES INSTITUTIONS, INSURANCE
 COMPANIES, PENSION FUNDS, INVESTMENT INSTITUTIONS, OTHER INSTITUTIONAL INVESTORS
 AND OTHER PARTIES, INCLUDING TREASURY DEPARTMENTS OF COMMERCIAL ENTERPRISES
 AND FINANCE COMPANIES WHICH ARE REGULARLY ACTIVE IN THE FINANCIAL MARKETS IN A
 PROFESSIONAL MANNER.
                         NOTICE TO RESIDENTS OF SINGAPORE
 THE SECURITIES MAY NOT BE OFFERED OR SOLD, NOR MAY ANY DOCUMENT OR OTHER
 MATERIAL IN CONNECTION WITH THE SECURITIES BE DISTRIBUTED, EITHER DIRECTLY OR
 INDIRECTLY, (I) TO PERSONS IN SINGAPORE OTHER THAN UNDER THE CIRCUMSTANCES IN
 WHICH SUCH OFFER OR SALE DOES NOT CONSTITUTE AN OFFER OR SALE OF THE SECURITIES TO
 THE PUBLIC IN SINGAPORE OR (II) TO THE PUBLIC OR ANY MEMBER OF THE PUBLIC IN
 SINGAPORE OTHER THAN PURSUANT TO AND IN ACCORDANCE WITH THE CONDITIONS OF AN
 EXEMPTION INVOKED UNDER DIVISION 5A OF PART IV OF THE COMPANIES ACT, CHAPTER 50 OF
 SINGAPORE AND THE PERSONS TO WHOM THE SECURITIES MAY BE OFFERED AND SOLD UNDER
 SUCH EXEMPTIONS.
                            NOTICE TO RESIDENTS OF SPAIN
 THIS OFFERING MEMORANDUM HAS NOT BEEN AND WILL NOT BE REGISTERED WITH THE
 COMISION NACIONAL DEL MERCADO DE VALORES OF SPAIN AND MAY NOT BE DISTRIBUTED IN
 SPAIN IN CONNECTION WITH THE OFFERING AND SALE OF SECURITIES WITHOUT COMPLYING
 WITH ALL LEGAL AND REGULATORY REQUIREMENTS IN RELATION THERETO.
                        NOTICE TO RESIDENTS OF SWITZERLAND
 THIS OFFERING MEMORANDUM HAS BEEN PREPARED FOR PRIVATE INFORMATION PURPOSES OF
 INTERESTED INVESTORS ONLY. IT MAY NOT BE USED FOR AND SHALL NOT BE DEEMED A
 PUBLIC OFFERING OF THE SECURITIES. NO APPLICATION HAS BEEN MADE UNDER SWISS LAW TO
 PUBLICLY MARKET THE SECURITIES IN OR OUT OF SWITZERLAND. THEREFORE, NO PUBLIC
 OFFER OF THE SECURITIES OR PUBLIC DISTRIBUTION OF THIS OFFERING MEMORANDUM MAY BE
 MADE IN OR OUT OF SWITZERLAND. THIS OFFERING MEMORANDUM IS STRICTLY FOR PRIVATE
 USE BY ITS HOLDER AND MAY NOT BE PASSED ON TO THIRD PARTIES.
                           NOTICE TO RESIDENTS OF TAIWAN
 THE OFFERING AND SALE OF THE SECURITIES HAVE NOT BEEN REGISTERED WITH, OR APPROVED
 BY THE ROC (TAIWAN) GOVERNMENT. THE SECURITIES MAY NOT BE PUBLICLY OFFERED, SOLD
 OR DELIVERED, DIRECTLY OR INDIRECTLY, IN TAIWAN OR TO ANY RESIDENT OF TAIWAN OR TO
 OTHERS FOR REOFFERING OR RESALE DIRECTLY OR INDIRECTLY IN TAIWAN OR TO ANY
 RESIDENT OF TAIWAN, EXCEPT AS OTHERWISE PERMITTED BY APPLICABLE LAWS AND
 REGULATIONS IN TAIWAN.
                    NOTICE TO RESIDENTS OF THE UNITED KINGDOM
 EACH OF THE ISSUER, THE CO-ISSUER, THE INITIAL PURCHASER AND THE PLACEMENT AGENT
 HAS AGREED THAT THIS OFFERING MEMORANDUM IS ONLY BEING DISTRIBUTED TO AND IS
 ONLY DIRECTED AT (I) PERSONS WHO ARE OUTSIDE THE UNITED KINGDOM, (II) TO INVESTMENT
 PROFESSIONALS FALLING WITHIN ARTICLE 19(5) OF THE FINANCIAL SERVICES AND MARKETS
 ACT OF 2000 (“FSMA”) (FINANCIAL PROMOTION) ORDER 2005 (THE “ORDER”) OR (III) PERSONS
 FALLING WITHIN ARTICLE 49(2)(A) TO (D) (“HIGH NET WORTH COMPANIES, UNINCORPORATED



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 ASSOCIATIONS, ETC.”) OF THE ORDER (ALL SUCH PERSONS TOGETHER BEING REFERRED TO AS
 “RELEVANT PERSONS”). THE SECURITIES ARE ONLY AVAILABLE TO AND ANY INVITATION,
 OFFER, INDUCEMENT OR AGREEMENT TO SUBSCRIBE, PURCHASE OR OTHERWISE ACQUIRE SUCH
 SECURITIES WILL BE ENGAGED IN ONLY WITH, RELEVANT PERSONS. ANY PERSON WHO IS NOT A
 RELEVANT PERSON SHOULD NOT ACT OR RELY ON THIS OFFERING MEMORANDUM OR ANY OF
 ITS CONTENTS.
                                      AVAILABLE INFORMATION

 To permit compliance with Rule 144A under the Securities Act (“Rule 144A”) in connection with the
 sale of the Securities, the Issuer (and, solely in the case of the Senior Notes, the Co-Issuers) under the
 Indenture referred to under “Description of the Securities” and the Preference Share Documents will be
 required to furnish upon request of a holder of a Security to such holder and a prospective purchaser
 designated by such holder the information required to be delivered under Rule 144A(d)(4) under the
 Securities Act if at the time of the request the Co-Issuers are not reporting companies under Section 13 or
 Section 15(d) of the United States Securities Exchange Act of 1934, as amended (the “Exchange Act”),
 or exempt from reporting pursuant to Rule 12g3-2(b) under the Exchange Act. Such information may be
 obtained directly from the Issuer or through the paying agent in Ireland at the address set forth on the final
 page of this Offering Memorandum.

                   INFORMATION AS TO SALE WITHIN THE UNITED STATES

 This Offering Memorandum is highly confidential and has been prepared by the Co-Issuers solely for use
 in connection with this offering. This Offering Memorandum is personal to each offeree to whom it has
 been delivered by the Co-Issuers, the Initial Purchaser, the Placement Agent or Affiliates thereof and does
 not constitute an offer to any other person or to the public generally to subscribe for or otherwise acquire
 the Securities. Distribution of this Offering Memorandum to any persons other than the offeree and those
 persons, if any, retained to advise such offeree with respect thereto is unauthorized and any disclosure of
 any of its contents, without the prior written consent of the Issuer, is prohibited. Each prospective
 purchaser in the United States, by accepting delivery of this Offering Memorandum, agrees to the
 foregoing and to make no copies of this Offering Memorandum or any documents related hereto and, if
 the offeree does not purchase Securities or the offering is terminated, to return this Offering
 Memorandum and all documents attached hereto to Citigroup Global Markets Inc. at 390 Greenwich
 Street., 4th Floor, New York, New York 10013, Attention: CDO Group.

 Notwithstanding anything to the contrary herein, each prospective purchaser of the Securities (and each of
 their respective employees, representatives or other agents) are hereby permitted to disclose to any and all
 persons, without limitation of any kind, the tax treatment and tax structure of the transactions described
 herein. For this purpose, the tax treatment of a transaction is the purported or claimed U.S. federal
 income or state and local tax treatment of the transaction, and the tax structure of a transaction is any fact
 that may be relevant to understanding the purported or claimed U.S. federal income or state and local tax
 treatment of the transaction.




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                                                                                             SUMMARY OF TERMS
         The following summary of terms does not purport to be complete and is qualified in its entirety by, and should be read in conjunction with, the more detailed information
appearing elsewhere in this Offering Memorandum and the documents referred to in this Offering Memorandum. A Glossary and an Index of Defined Terms appear at the back of
this Offering Memorandum.
                                                                     Principal Terms of the Securities
                                          Class A-1           Class A-2a          Class A-2b           Class A-3         Class B Notes       Class C Notes       Class D Notes           Class I            Class II
                                           Notes                Notes               Notes               Notes                                                                          Preference          Preference
                                                                                                                                                                                         Shares              Shares
                Type                    Senior Secured      Senior Secured      Senior Secured      Senior Secured      Senior Secured       Senior Secured      Senior Secured        Extendable          Extendable
                                          Extendable          Extendable          Extendable          Extendable          Deferrable           Deferrable          Deferrable
                                                                                                                           Interest             Interest            Interest
                                                                                                                          Extendable           Extendable          Extendable
              Issuer(s)                   Co-Issuers          Co-Issuers          Co-Issuers           Co-Issuers          Co-Issuers          Co-Issuers             Issuer              Issuer              Issuer
     Principal Amount / Face            $100,000,000         $825,600,000        $206,000,000         $78,500,000         $81,500,000         $68,500,000         $48,000,000         $61,500,0001        $62,000,0001
         Amount (U.S.$)
     Expected Moody’s Initial               “Aaa”               “Aaa”               “Aa1”               “Aa2”                “A2”               “Baa2”               “Ba2”                N/A                  N/A
             Rating
Expected S&P Initial Rating                “AAA”               “AAA”               “AAA”                 “AA”                 “A”               “BBB”                “BB”                 N/A                  N/A
        Note Interest Rate                 LIBOR +             LIBOR +             LIBOR +             LIBOR +             LIBOR +              LIBOR +             LIBOR +               N/A                  N/A
                                            0.25%               0.23%               0.33%               0.40%               0.70%                1.50%               3.60%
    Stated Maturity / Scheduled        May 1, 2022          May 1, 2022         May 1, 2022 May 1, 2022                 May 1, 2022 May 1, 2022 May 1, 2022 May 1, 2022 May 1, 2022
         Preference Shares
         Redemption Date2
     Minimum Denominations                $250,000            $250,000            $250,000            $250,000            $250,000             $250,000            $250,000               N/A                  N/A
         (U.S.$) / Number
                                          ($1,000)            ($1,000)            ($1,000)            ($1,000)            ($1,000)             ($1,000)            ($1,000)
       (Integral Multiples)
          Priority Class                     None                None                 A-2a              A-1, A-2         A-1, A-2, A-3        A-1, A-2, A-       A-1, A-2, A-3,      A-1, A-2, A-3,      A-1, A-2, A-3,
                                                                                                                                                 3A, B                B, C              B, C, D             B, C, D
            Junior Class                A-3, B, C, D,       A-2b, A-3, B,        A-3, B, C, D,          B, C, D,             C, D,           D, Preference         Preference             None                 None
                                         Preference            C, D,              Preference           Preference          Preference           Shares               Shares
                                           Shares            Preference             Shares               Shares              Shares
                                                               Shares
      Deferred Interest Notes                 No                  No                   No                  No                  Yes                 Yes                 Yes                 N/A                 N/A
1      The Preference Shares will be issued with a Face Amount of U.S.$1,000 per share.
2      The Stated Maturity of the Notes and the Scheduled Preference Shares Redemption Date of the Preference Shares are subject to multiple extensions to the applicable Extended Stated Maturity Date (in the case of the
       Notes) and the applicable Extended Scheduled Preference Shares Redemption Date (in the case of the Preference Shares), if the Issuer provides timely notice and the Extension Conditions are satisfied. See “Risk
       Factors—The Weighted Average Lives of the Notes May Vary,” “—A Maturity Extension May Result in a Longer or Shorter Holding Period Than Expected,” “Maturity and Prepayment Considerations” and
       “Description of the Securities—Extension of the Replacement Period, the Stated Maturity and the Scheduled Preference Shares Redemption Date.”




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                                Eastland CLO, Ltd. (the “Issuer”) and Eastland CLO Corp. (the
                                “Co-Issuer” and, together with the Issuer, the “Co-Issuers”)
                                will issue the Class A-1 Floating Rate Senior Secured
                                Extendable Notes Due 2022 (the “Class A-1 Notes”), the Class
                                A-2a Floating Rate Senior Secured Extendable Notes Due 2022
                                (the “Class A-2a Notes”), the Class A-2b Floating Rate Senior
                                Secured Extendable Notes Due 2022 (the “Class A-2b Notes”
                                and, together with the Class A-2a Notes, the “Class A-2 Notes”),
                                the Class A-3 Floating Rate Senior Secured Extendable Notes
                                Due 2022 (the “Class A-3 Notes” and, together with the Class
                                A-1 Notes and the Class A-2 Notes, the “Class A Notes”), the
                                Class B Floating Rate Senior Secured Deferrable Interest
                                Extendable Notes Due 2022 (the “Class B Notes”) and the Class
                                C Floating Rate Senior Secured Deferrable Interest Extendable
                                Notes Due 2022 (the “Class C Notes” and, together with the
                                Class A Notes and the Class B Notes, the “Senior Notes”), and
                                the Issuer will issue the Class D Floating Senior Secured
                                Deferrable Interest Extendable Notes Due 2022 (the “Class D
                                Notes” and, together with the Senior Notes, the “Notes”), the
                                Class I Preference Shares (the “Class I Preference Shares”) and
                                the Class II Preference Shares (the “Class II Preference
                                Shares” and, together with the Class I Preference Shares, the
                                “Preference Shares” and, together with the Notes, the
                                “Securities”), U.S.$0.01 par value per share.

                                The Senior Notes will be non-recourse debt obligations of the
                                Co-Issuers. The Class D Notes will be non-recourse debt
                                obligations of the Issuer. The Notes will be issued pursuant to an
                                indenture, dated as of the Closing Date (the “Indenture”),
                                among the Co-Issuers and Investors Bank & Trust Company, as
                                Trustee (the “Trustee”).

                                The Preference Shares will be part of the issued share capital of
                                the Issuer and, accordingly, will not be secured obligations of the
                                Issuer. Investors Bank & Trust Company will act as the
                                Preference Shares Paying Agent for the Preference Shares and
                                will perform various administrative services pursuant to a
                                Preference Shares Paying Agency Agreement, dated as of the
                                Closing Date (the “Preference Shares Paying Agency
                                Agreement”) by and between the Issuer and the Preference
                                Shares Paying Agent, as amended from time to time in
                                accordance with the terms thereof.

                                The Class I Preference Shares and Class II Preference Shares
                                will be identical in respect of rights to distributions except that
                                the Class II Preference Shares (i) are entitled to the Class II
                                Preference Share Special Payments until (and including) the
                                Payment Date in February 2008 (after the Payment Date in
                                February 2008, the Servicer may, in its sole discretion, at any
                                time waive a portion of the Servicing Fees then due and payable,
                                in which event an amount equal to such waived portion will be




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                                paid by the Issuer as Class II Preference Share Special
                                Payments) and (ii) have total control with respect to the
                                appointment and removal of the directors of the Issuer as long as
                                the aggregate number of Class II Preference Shares Outstanding
                                as of the relevant Voting Record Date is higher than the
                                aggregate number of Class I Preference Shares Outstanding as of
                                such date. See “Description of the Securities—The Issuer
                                Charter—Voting Rights.”

                                Payments to each Holder of the Notes of each Class shall be
                                made ratably among the Holders of the Notes of that Class in
                                proportion to the Aggregate Outstanding Amount of the Notes of
                                such Class held by each Holder. Payments to each Holder of the
                                Preference Shares shall be made ratably among the Holders of
                                the Preference Shares in proportion to the Aggregate
                                Outstanding Amount of such Preference Shares held by each
                                Holder (provided that the Class II Preference Share Special
                                Payments shall be paid solely to the Holders of the Class II
                                Preference Shares in proportion to the Aggregate Outstanding
                                Amount of the Class II Preference Shares held by each Holder).

                                The Class A-1 Notes and Class A-2 Notes will rank pari passu in
                                right of interest and principal payments on each Payment Date
                                (provided that amounts allocated to the payment of the Class A-2
                                Notes will be paid, first, to the Class A-2a Notes and, second, to
                                the Class A-2b Notes); the Class A-1 Notes and Class A-2 Notes
                                will be senior in right of interest and principal payments on each
                                Payment Date to the Class A-3 Notes, the Class B Notes, the
                                Class C Notes, the Class D Notes and the Preference Shares; the
                                Class A-3 Notes will be senior in right of interest and principal
                                payments on each Payment Date to the Class B Notes, the Class
                                C Notes, the Class D Notes and the Preference Shares; the Class
                                B Notes will be senior in right of interest and principal payments
                                on each Payment Date to the Class C Notes, the Class D Notes
                                and the Preference Shares; the Class C Notes will be senior in
                                right of interest and principal payments on each Payment Date to
                                the Class D Notes and the Preference Shares; the Class D Notes
                                will be senior in right of interest and principal payments on each
                                Payment Date to the Preference Shares; and the Class I
                                Preference Shares and the Class II Preference Shares will rank
                                pari passu in right of interest and principal payments on each
                                Payment Date except that any payments to the Holders of Class
                                II Preference Shares of the Class II Preference Share Special
                                Payments will have priority to the extent provided under
                                “Description of the Securities—Priority of Payments.”

                                The Securities and certain other obligations of the Co-Issuers
                                will have the priorities of payment described under “Description
                                of the Securities—Priority of Payments.”




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  Co-Issuers .......................................... The Issuer has been incorporated and exists as an exempted
                                                        limited liability company under the laws of the Cayman Islands.
                                                        The Issuer’s activities are limited to acquiring Collateral
                                                        Obligations and Eligible Investments, entering into any Hedge
                                                        Agreements, issuing the Securities and entering into certain
                                                        related transactions. The Issuer has been established as a special
                                                        purpose vehicle for the purpose of issuing asset-backed
                                                        securities.

                                               The Co-Issuer is organized as a corporation under the laws of the
                                               State of Delaware for the sole purpose of co-issuing the Senior
                                               Notes. The Co-Issuer has been established as a special purpose
                                               vehicle for the purpose of issuing asset-backed securities.

                                               The Issuer will not have any significant assets other than
                                               Collateral Obligations, Eligible Investments, any Hedge
                                               Agreements and certain other eligible assets. The Collateral
                                               Obligations, Eligible Investments, the rights of the Issuer under
                                               any Hedge Agreements and other collateral will be pledged to
                                               the Trustee as security for, among other things, the Issuer’s
                                               obligations under the Notes.

                                               The Co-Issuer is not expected to have any significant assets and
                                               will not pledge any assets to secure the Senior Notes.

  Investors Corp................................... On the Closing Date, Eastland Investors Corp. (“Investors
                                                    Corp.”), an exempted limited liability corporation incorporated
                                                    under the laws of the Cayman Islands, is expected to purchase all
                                                    of the Class I Preference Shares and to finance such purchase by
                                                    issuing preference shares (the “Holding Preference Shares”)
                                                    with the number of Holding Preference Shares equal to the
                                                    aggregate number of Class I Preference Shares purchased by it.
                                                    Investors Corp. will also be issuing U.S.$5,000,000 Class P
                                                    Securities Due 2022 (the “Class P Securities”) which shall
                                                    consist of (i) a Holding Preference Share component (the
                                                    “Holding Preference Share Component”) entitling its holders
                                                    to rights in respect of 1,917 Holding Preference Shares and (ii) a
                                                    component entitling its holders to receive proceeds from a trust
                                                    account initially holding a United States Treasury strip security
                                                    due February 15, 2017 (the “Collateral Component”). The
                                                    Holding Securities will be offered by Investors Corp. to investors
                                                    pursuant to a separate offering memorandum (the “Investors
                                                    Corp. Offering Memorandum”) and are not offered hereby.

                                               Investors Corp. will exercise its consent and voting rights, in its
                                               capacity as a Holder of the Class I Preference Shares, in
                                               accordance with the directions of the Holders of the Holding
                                               Preference Shares; provided that Holding Preference Shares held
                                               by the Servicer or any of its Affiliates will have no such right to
                                               direct Investors Corp. in connection with the removal of the
                                               Servicer for “cause” or the appointment of a replacement




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                                               servicer. For purposes of calculating such consents or votes
                                               exercised with respect to the Class I Preference Shares held by
                                               Investors Corp., each consent or vote exercised with respect to a
                                               Holding Preference Share will count as one consent or vote
                                               exercised with respect to a Class I Preference Share held by
                                               Investors Corp., as applicable. Holders of the Class P Securities
                                               will have voting rights to the extent of the Holding Preference
                                               Share Component thereof.

  Trustee ............................................... Investors Bank & Trust Company will act as the Trustee under
                                                          the Indenture on behalf of the Holders of the Notes.

  Servicer .............................................. Certain servicing and administrative functions with respect to the
                                                          Collateral will be performed by Highland Capital Management,
                                                          L.P., a Delaware limited partnership (“Highland Capital” or, in
                                                          such capacity, the “Servicer”), pursuant to the Servicing
                                                          Agreement, which may be amended from time to time without
                                                          the consent of the Holders of the Securities. See “Risk Factors—
                                                          Relating to the Servicing Agreement” and “The Servicing
                                                          Agreement.”

                                               On the Closing Date, (i) HFP and/or one or more of its
                                               subsidiaries are expected to purchase certain of the Class C
                                               Notes having an aggregate principal amount equal to
                                               U.S.$11,000,000, certain of the Class D Notes having an
                                               aggregate principal amount equal to U.S.$9,000,000 and all of
                                               the Class II Preference Shares having an aggregate Face Amount
                                               equal to U.S. $62,000,000, in each case, at a discounted purchase
                                               price and (ii) Highland Capital or one or more of its Affiliates
                                               (other than HFP or any of its subsidiaries) are expected to
                                               purchase certain of the Holding Preference Shares having an
                                               aggregate Face Amount equal to U.S.$11,583,000 at a
                                               discounted purchase price. See “Plan of Distribution.”
                                               The Share Registrar will record in the register maintained by it
                                               which Preference Shares are held by HFP or any of its
                                               subsidiaries. Such Preference Shares will be designated by the
                                               Share Registrar as Class II Preference Shares. HFP and/or its
                                               subsidiaries that purchase Class II Preference Shares will agree
                                               not to transfer any of the Class II Preference Shares to any
                                               Person other than Investors Corp. Any transfer of Class II
                                               Preference Shares by HFP or any of its subsidiaries to Investors
                                               Corp. will require redesignation by the Share Registrar of such
                                               Class II Preference Shares as Class I Preference Shares.
                                               Investors Corp. will finance the purchase of any Class II
                                               Preference Shares to be redesignated in connection with such
                                               transfer by issuing additional Holding Preference Shares in a
                                               number equal to the aggregate number of, and at a price equal to
                                               the price of, such Class II Preference Shares. Any transfer of
                                               Class I Preference Shares to HFP or any of its subsidiaries from
                                               Investors Corp. will require redesignation by the Share Registrar




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                                                 of such Class I Preference Shares as Class II Preference Shares.

                                                 The Servicer or its Affiliates may also acquire Securities upon
                                                 the occurrence of the Amendment Buy-Out Option or in
                                                 connection with a Refinancing. In addition, the Servicer or its
                                                 Affiliates may acquire all or any portion of any Extension Sale
                                                 Securities in connection with a Maturity Extension. See “The
                                                 Servicer,” “Risk Factors—Relating to the Securities,” “—
                                                 Relating to the Servicer” and “—Relating to Certain Conflicts of
                                                 Interest—The Issuer Will Be Subject to Various Conflicts of
                                                 Interest Involving the Servicer,” “Description of the Securities—
                                                 Amendment Buy-Out,” “Description of the Securities—Optional
                                                 Redemption—Redemption by Refinancing,” “Description of the
                                                 Securities—Extension of the Replacement Period, the Stated
                                                 Maturity and the Scheduled Preference Shares Redemption
                                                 Date” and “The Servicing Agreement.”

  Closing Date ...................................... March 13, 2007.

  Use of Proceeds ................................. The gross proceeds of the offering of the Securities received on
                                                    the Closing Date are expected to equal approximately
                                                    $1,531,600,000, and will be used by the Issuer to:

                                                 •     purchase a portfolio of Collateral Obligations;

                                                 •     fund a trust account for Revolving Loans (the “Revolving
                                                       Reserve Account”) and a trust account for Delayed
                                                       Drawdown Loans (the “Delayed Drawdown Reserve
                                                       Account”) to cover any future draws on Revolving Loans
                                                       and Delayed Drawdown Loans;

                                                 •     enter into any Hedge Agreements, as applicable;

                                                 •     enter into any Synthetic Security Agreements (and
                                                       correspondingly to fund the related accounts);

                                                 •     repurchase participations sold to the Pre-Closing Parties to
                                                       finance the Issuer’s pre-closing acquisition of Collateral
                                                       Obligations;

                                                 •     fund the Closing Date Expense Account and the Interest
                                                       Reserve Account;

                                                 •     pay certain expenses related to the transaction; and

                                                 •     undertake certain related activities.

                                                 See “Use of Proceeds.”




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  Payment Dates................................... Payment of interest on, and principal of, the Notes will be made
                                                   by the Issuer in U.S. Dollars on the first day of each February,
                                                   May, August and November of each year (or if such day is not a
                                                   Business Day, the next succeeding Business Day), commencing
                                                   August 1, 2007, to the extent of available cash flow in respect of
                                                   the Collateral in accordance with the Priority of Payments.

  Hedge Agreements ............................ At any time and from time to time on or after the Closing Date,
                                                the Issuer, at the direction of the Servicer, shall enter into the
                                                Hedge Agreements and will assign its rights (but none of its
                                                obligations) under the Hedge Agreements to the Trustee. See
                                                “Hedge Agreements.”

  Interest Payments and
  Distributions from Interest
  Proceeds ............................................. The Notes will accrue interest from the Closing Date. Interest on
                                                         the Notes will be payable, to the extent of funds available
                                                         therefor, on each Payment Date.

                                               So long as any Priority Classes are Outstanding with respect to
                                               any Class of Deferred Interest Notes, any payment of interest due
                                               on such Class of Deferred Interest Notes that is not available to
                                               be paid (“Deferred Interest”) in accordance with the Priority of
                                               Payments on any Payment Date shall not be considered
                                               “payable” for the purposes of the Indenture (and the failure to
                                               pay the interest shall not be an Event of Default) until the
                                               Payment Date on which the interest is available to be paid in
                                               accordance with the Priority of Payments. Deferred Interest on
                                               any Class of Deferred Interest Notes shall be payable on the first
                                               Payment Date on which funds are available to be used for that
                                               purpose in accordance with the Priority of Payments. To the
                                               extent lawful and enforceable, interest on Deferred Interest with
                                               respect to any Class of Deferred Interest Notes shall accrue at the
                                               Note Interest Rate for such Class (and to the extent not paid as
                                               current interest on the Payment Date after the Interest Period in
                                               which it accrues, shall thereafter be additional Deferred Interest),
                                               until paid.      See “Description of the Securities—Interest
                                               Payments on the Notes and Payments of Dividends on the
                                               Preference Shares from Interest Proceeds,” “—Priority of
                                               Payments” and “—The Indenture—Events of Default.”
                                               On each Payment Date, the Issuer will make distributions to the
                                               Preference Shares Paying Agent for payment to the Holders of
                                               the Preference Shares as dividends on the Preference Shares
                                               pursuant to the Preference Share Documents, to the extent
                                               legally permitted, to the extent of available Interest Proceeds as
                                               described under clauses (22) and (24) under “Description of the
                                               Securities—Priority of Payments—Interest Proceeds;” provided
                                               that, in lieu of payment of such Interest Proceeds, in whole or in
                                               part, the Servicer, on behalf of the Issuer, will have the right to
                                               direct the Trustee to distribute on any Payment Date Eligible
                                               Equity Securities pro rata to the Consenting Holders of the



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                                               Preference Shares with respect to such Payment Date to the
                                               extent that the Market Value of such Eligible Equity Securities
                                               (determined by the Servicer as of the relevant Market Value
                                               Determination Date) is equal to or lower than the aggregate
                                               amount of Interest Proceeds that would otherwise be distributed
                                               on the relevant Payment Date to such Consenting Holders of the
                                               Preference Shares. Interest Proceeds in an amount equal to the
                                               Market Value of such Eligible Equity Securities (determined by
                                               the Servicer as of the relevant Market Value Determination Date)
                                               distributed to the Consenting Holders of the Preference Shares
                                               will be treated for all purposes by the Issuer and the Servicer as
                                               Principal Proceeds available for distribution in accordance with
                                               the Priority of Payments on the relevant Payment Date. The
                                               amount of Interest Proceeds available on the relevant Payment
                                               Date will be reduced and the amount of Principal Proceeds
                                               available on the relevant Payment Date will be increased
                                               accordingly. See “Description of the Securities—Priority of
                                               Payments—Interest Proceeds” and “—Preference Shares Paying
                                               Agency Agreement—Distribution of Eligible Equity Securities.”

                                               In addition, on each Payment Date until (and including) the
                                               Payment Date in February 2008, Holders of the Class II
                                               Preference Shares are entitled to the Class II Preference Share
                                               Special Payments. After the Payment Date in February 2008, the
                                               Servicer may, in its sole discretion, at any time waive a portion
                                               of the Servicing Fees then due and payable, in which event an
                                               amount equal to such waived portion will be distributed by the
                                               Issuer to the Holders of the Class II Preference Shares as Class II
                                               Preference Share Special Payments. Any Class II Preference
                                               Share Special Payment will be paid by the Issuer in accordance
                                               with the Priority of Payments described under clauses (3), (20)
                                               and (23) under “Description of the Securities—Priority of
                                               Payments—Interest Proceeds.”

  Principal Payments and
  Distributions from Principal
  Proceeds ............................................. The Notes will mature at par on the Payment Date in May 2022
                                                         or, upon a Maturity Extension (if any), the applicable Extended
                                                         Stated Maturity Date (the “Stated Maturity”) and the
                                                         Preference Shares are scheduled to be redeemed at the
                                                         Redemption Price thereof by the Issuer on the Payment Date in
                                                         May 2022 or, upon a Maturity Extension (if any), the applicable
                                                         Extended Scheduled Preference Shares Redemption Date (the
                                                         “Scheduled Preference Shares Redemption Date”), in each
                                                         case unless redeemed or (in the case of the Notes) repaid in full
                                                         prior thereto. The average life of each Class of Notes is expected
                                                         to be shorter than the number of years from issuance until Stated
                                                         Maturity for such Notes. See “Risk Factors—Relating to the
                                                         Securities—The Weighted Average Lives of the Notes May
                                                         Vary,” “—A Maturity Extension May Result in a Longer or
                                                         Shorter Holding Period Than Expected” and “Maturity and




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                                Prepayment Considerations.”

                                In general, principal payments will not be made on the Notes
                                before the end of the Replacement Period, except in the
                                following circumstances:

                                •      in connection with an Optional Redemption;

                                •      at the option of the Servicer, to effect a Special
                                       Redemption of the Notes;

                                •      in connection with a Refinancing;

                                •      pursuant to a redemption made in connection with a Tax
                                       Event; or

                                •      following a mandatory redemption of the Notes caused by
                                       a failure to meet any of the Coverage Tests or a Rating
                                       Confirmation Failure.

                                See “Description of the Securities—Priority of Payments,”
                                “⎯Optional Redemption,” “—Special Redemption of the Notes
                                If the Servicer Does Not Identify Replacement Collateral
                                Obligations as Contemplated by the Indenture,” “Optional
                                Redemption—Redemption by Refinancing,” “—Mandatory
                                Redemption of the Notes” and “Security for the Notes—Ramp-
                                Up.”

                                No payments of principal will be made on the Class A-3 Notes
                                until the principal of the Class A-1 Notes and the Class A-2
                                Notes has been paid pro rata in full (provided that amounts
                                allocated to the payment of the Class A-2 Notes will be paid,
                                first, to the Class A-2a Notes and, second, to the Class A-2b
                                Notes). No payments of principal will be made on the Class B
                                Notes until the principal of the Class A-1 Notes, the Class A-2
                                Notes and the Class A-3 Notes has been paid in full. No
                                payments of principal will be made on the Class C Notes until
                                the principal of the Class A-1 Notes, the Class A-2 Notes, the
                                Class A-3 Notes and the Class B Notes has been paid in full. No
                                payments of principal will be made on the Class D Notes until
                                the principal of the Class A-1 Notes, the Class A-2 Notes, the
                                Class A-3 Notes, the Class B Notes and the Class C Notes has
                                been paid in full (other than with respect to the use of Interest
                                Proceeds to pay principal of the Class D Notes on any Payment
                                Date to the extent necessary to satisfy the Class D Coverage
                                Tests). However, Principal Proceeds may be used to pay
                                Deferred Interest and other amounts before the payment of
                                principal of the Notes. See “Description of the Securities—
                                Priority of Payments.”




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                                            No principal of any Class of Notes will be payable on any
                                            Payment Date other than in accordance with the Priority of
                                            Payments and to the extent funds are available therefor on that
                                            Payment Date for that purpose, except that the principal of each
                                            Class of Notes will be payable in full at the Stated Maturity,
                                            unless repaid before that.

                                            On each Payment Date, the Issuer will make distributions to the
                                            Preference Shares Paying Agent for payment to the Holders of
                                            the Preference Shares (including, with respect to the Class II
                                            Preference Shares, the Class II Preference Share Special
                                            Payments) pursuant to the Preference Share Documents, to the
                                            extent legally permitted, to the extent of available Principal
                                            Proceeds as described under clauses (12)(A), (15) and (16) under
                                            “Description of the Securities—Priority of Payments—Principal
                                            Proceeds.”

                                            For a description of the relative priority of payments and level of
                                            subordination of the Securities and certain fees, expenses and
                                            other liabilities of the Co-Issuers, see “Description of the
                                            Securities—Priority of Payments.”

  Extension of the Replacement
  Period, the Stated Maturity and
  the Scheduled Preference Shares
  Redemption Date .............................. The Issuer, if directed by the Servicer, shall be entitled on each
                                                 Extension Effective Date to extend the Replacement Period to
                                                 the applicable Extended Replacement Period End Date up to a
                                                 maximum of four times if (i) in the case of an Extension
                                                 Effective Date occurring after the first Extension Effective Date,
                                                 the Issuer has previously effected a Maturity Extension for each
                                                 preceding Extension Effective Date and (ii) the Extension
                                                 Conditions are satisfied and the Issuer has given written notice of
                                                 its election to extend the Replacement Period no later than 60
                                                 days and no earlier than 90 days prior to such Extension
                                                 Effective Date. For purposes of the foregoing, “Extension
                                                 Effective Date” means if an Extension has occurred, the
                                                 sixteenth Payment Date after the then current Extension
                                                 Effective Date (or, in the case of the first Extension Effective
                                                 Date, the Payment Date in February 2012) and “Extended
                                                 Replacement Period End Date” means, if an Extension has
                                                 occurred, the sixteenth Payment Date after the then current
                                                 Extended Replacement Period End Date (or, in the case of the
                                                 first Extension, the Payment Date in May 2018); provided that
                                                 the “Extended Replacement Period End Date” will in no event be
                                                 a date later than the Payment Date in May 2030.
                                            If the Extension Conditions are satisfied, the Stated Maturity of
                                            the Notes shall be automatically extended to the related Extended
                                            Stated Maturity Date, the Scheduled Preference Shares
                                            Redemption Date shall automatically be extended to the
                                            Extended Scheduled Preference Shares Redemption Date and the



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                                          Weighted Average Life Test shall be automatically extended to
                                          the related Extended Weighted Average Life Date, without any
                                          requirement for approval or consent of any Holders of Securities
                                          or amendment or supplement to the Indenture or the Preference
                                          Share Documents (the “Maturity Extension”); provided that the
                                          Issuer will not be permitted to effect more than four Maturity
                                          Extensions. For purposes of the foregoing, “Extended Stated
                                          Maturity Date” means, if a Maturity Extension has occurred,
                                          the sixteenth Payment Date after the then current Extended
                                          Stated Maturity Date (or, in the case of the first Extended Stated
                                          Maturity Date, the Payment Date in May 2026, “Extended
                                          Scheduled Preference Shares Redemption Date” means, if a
                                          Maturity Extension has occurred, the sixteenth Payment Date
                                          after the then current Extended Scheduled Preference Shares
                                          Redemption Date (or, in the case of the first Extended Scheduled
                                          Preference Shares Redemption Date, May 1, 2026) and
                                          “Extended Weighted Average Life Date” means, if a Maturity
                                          Extension has occurred, the sixteenth Payment Date after the
                                          then current Extended Weighted Average Life Date (or, in the
                                          case of the first Extended Weighted Average Life Date, May 1,
                                          2021); provided that the “Extended Stated Maturity Date” will in
                                          no event be a date later than the Payment Date in May 2038, the
                                          “Extended Scheduled Preference Shares Redemption Date” will
                                          in no event be a date later than the Payment Date in May 2038
                                          and the “Extended Weighted Average Life Date” will in no event
                                          be a date later than the Payment Date in May 2033.

                                          As a condition to a Maturity Extension, any Holder of Notes or
                                          Preference Shares will have the right to offer to sell their Notes
                                          or Preference Shares to one or more Extension Qualifying
                                          Purchasers for purchase on the applicable Extension Effective
                                          Date.
                                          If all Extension Conditions are satisfied and a Maturity
                                          Extension is effected, each Noteholder, other than Holders of
                                          Extension Sale Securities, will be entitled to receive the
                                          applicable Extension Bonus Payment, to the extent of available
                                          funds and as provided in the Priority of Payments. Holders of
                                          Preference Shares will not be entitled to receive any Extension
                                          Bonus Payment.
                                          See “Risk Factors—Relating to the Securities—The Weighted
                                          Average Lives of the Notes May Vary,” “—A Maturity
                                          Extension May Result in a Longer or Shorter Holding Period
                                          Than Expected,” “Maturity and Prepayment Considerations,”
                                          and “Description of the Securities—Extension of the
                                          Replacement Period, the Stated Maturity and the Scheduled
                                          Preference Shares Redemption Date.”

  Security for the Notes ....................... The Notes will be secured by a portfolio having an Aggregate
                                                 Principal Balance following the Ramp-Up Period of
                                                 approximately U.S.$1,500,000,000 (in principal amount) and



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                                          consisting primarily of Collateral Obligations and certain other
                                          debt securities, in each case having the characteristics set forth
                                          herein. The Notes will also be secured by funds on deposit in the
                                          Issuer Accounts, the Issuer’s rights under any Hedge
                                          Agreements, any Securities Lending Agreements, the Servicing
                                          Agreement and the Collateral Administration Agreement. See
                                          “Security for the Notes.”

                                          The Preference Shares are unsecured equity interests in the
                                          Issuer.

  Collateral Ramp-Up Period ............. The Issuer expects that, as of the Closing Date, it will have
                                          purchased (or entered into commitments to purchase) Collateral
                                          Obligations to be included in the anticipated portfolio such that
                                          the Overcollateralization Ratio Numerator will be at least
                                          U.S.$1,500,000,000 as of the Ramp-Up Completion Date. The
                                          “Ramp-Up Completion Date” is the earlier of (i) the Business
                                          Day after the 90th day after the Closing Date, and (ii) the first day
                                          on which the following conditions are satisfied (x) either (A) the
                                          Aggregate Principal Balance of the Collateral Obligations owned
                                          by the Issuer equals at least U.S.$1,500,000,000 or (B) the
                                          Aggregate Principal Balance of the Collateral Obligations
                                          purchased (or committed to be purchased) by the Issuer with
                                          proceeds from the sale of the Securities (in each case in this
                                          clause (B), measured solely as of the date of purchase or
                                          commitment, as the case may be) equals at least U.S.$
                                          1,500,000,000 (for the avoidance of doubt, without giving effect
                                          to any reductions of that amount that may have resulted from
                                          scheduled principal payments, principal prepayments or
                                          dispositions made with respect to any Collateral Obligations on
                                          or before the Ramp-Up Completion Date) and (y) the
                                          Overcollateralization Ratio Numerator is at least U.S.$
                                          1,500,000,000.

                                          In anticipation of the issuance of the Securities, one or more
                                          Affiliates of Citigroup Global Markets Inc. (“CGMI” or in such
                                          capacity, the       “Pre-Closing Parties”) are financing the
                                          acquisition of Collateral Obligations by the Issuer pursuant to
                                          confirmations entered into by or on behalf of the Issuer
                                          confirming the Issuer’s commitment to purchase such Loans
                                          during the Accumulation Period. 100% participation in each
                                          such Collateral Obligation has been acquired (and will be
                                          acquired) by the applicable Pre-Closing Party concurrently with
                                          the acquisition of each such Collateral Obligation by the Issuer
                                          for a purchase price equal to the purchase price paid by the
                                          Issuer for the related Collateral Obligation. On the Closing Date,
                                          each eligible Collateral Obligation acquired by the applicable
                                          Pre-Closing Party will be repurchased by the Issuer with
                                          proceeds of the offering in an amount equal to the purchase price
                                          minus any distributions of principal on the obligation received by
                                          the applicable Pre-Closing Party. The Servicer or one or more of




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                                             its Affiliates on the one hand and CGMI and one or more of its
                                             Affiliates on the other hand will each be entitled to retain 50% of
                                             the interest and any fees and commissions (net of any financing
                                             fees payable to the Pre-Closing Parties) paid by the obligors of
                                             such Collateral Obligations or accrued from the time of purchase
                                             to the Closing Date. See “Risk Factors—Relating to the
                                             Collateral Obligations—A Substantial Amount of Collateral
                                             Obligations Was Acquired Before the Closing Date, and the
                                             Terms of the Acquisition May Adversely Affect the Issuer.”

                                             See “Security for the Notes—Ramp-Up.”

  Replacement Period; Acquisition
  of Replacement Collateral
  Obligations ........................................ During the Replacement Period, the Issuer may generally (and
                                                       subject to certain requirements) use Principal Proceeds received
                                                       with respect to the Collateral to purchase additional or
                                                       replacement Collateral Obligations in compliance with the
                                                       Eligibility Criteria (which Eligibility Criteria include
                                                       requirements that an item of Collateral purchased by the Issuer
                                                       meet the definition of “Collateral Obligation” and that the
                                                       portfolio of Collateral Obligations be in compliance with the
                                                       Concentration Limitations to the extent provided in the
                                                       Eligibility Criteria).    See “⎯Collateral Obligations,” “—
                                                       Concentration Limitations” and “Security for the Notes—
                                                       Eligibility Criteria.”

                                             The “Replacement Period” will be the period from the Closing
                                             Date through and including the first to occur of:

                                             (i)     the Payment Date after the date that the Servicer notifies
                                                     the Trustee, each Rating Agency and the Administrator,
                                                     in the sole discretion of the Servicer, that, in light of the
                                                     composition of the Collateral, general market conditions,
                                                     and other factors, the acquisition of additional Collateral
                                                     Obligations within the foreseeable future would be
                                                     impractical;

                                             (ii)    the Payment Date in May 2014 or, in the case of an
                                                     Extension, the Extended Replacement Period End Date;

                                             (iii)   the Payment Date on which all Notes are to be optionally
                                                     redeemed or an earlier date after notice of an Optional
                                                     Redemption chosen by the Servicer to facilitate the
                                                     liquidation of the Collateral for the Optional Redemption;
                                                     and
                                             (iv)    the date on which the Replacement Period terminates or is
                                                     terminated as a result of an Event of Default (subject to
                                                     the terms of the Indenture).




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                                          No acquisition of Collateral Obligations will be made after the
                                          termination of the Replacement Period, except that
                                          (x) Unscheduled Principal Payments and (y) Sale Proceeds from
                                          Credit Risk Obligations and Credit Improved Obligations may be
                                          used to purchase Collateral Obligations after the Replacement
                                          Period subject to the limitations described under “Security for
                                          the Notes—Eligibility Criteria” and “—Sale of Collateral
                                          Obligations;     Acquisition     of    Replacement      Collateral
                                          Obligations.” After the termination of the Replacement Period,
                                          all Principal Proceeds (other than Principal Proceeds constituting
                                          Unscheduled Principal Payments and Sale Proceeds from Credit
                                          Risk Obligations and Credit Improved Obligations) must be
                                          applied in accordance with the Priority of Payments.

                                          Notwithstanding anything herein to the contrary, no acquisition
                                          or disposition of a Collateral Obligation or other eligible asset
                                          (as defined in Rule 3a-7) shall be effected by or on behalf of the
                                          Issuer for the primary purpose of recognizing gains or decreasing
                                          losses resulting from market value changes.

  Collateral Obligations ...................... Any obligation or security (a “Collateral Obligation”) that,
                                                when the Issuer commits to purchase (or otherwise acquire) the
                                                obligation or security, is a Loan, High-Yield Bond, Structured
                                                Finance Obligation or Synthetic Security with a Reference
                                                Obligation that is a Loan, a Structured Finance Obligation or
                                                High-Yield Bond that is:

                                           (i)      denominated and payable in U.S. Dollars and is not
                                                    convertible by its obligor into any other currency;

                                           (ii)     an obligation of an obligor Domiciled in an Eligible
                                                    Country;

                                           (iii)    an obligation that is eligible by its terms to be assigned
                                                    to the Issuer and pledged by the Issuer to the Trustee
                                                    for inclusion in the Collateral;

                                           (iv)     not an exchangeable or convertible security;

                                           (v)      not an equity security or a component of an equity
                                                    security or a security that has a component that is an
                                                    equity security (other than for avoidance of doubt, a
                                                    pass-through trust certificate in a trust holding
                                                    Collateral Obligations);

                                           (vi)     not an obligation or security that has been called for
                                                    redemption and is not an obligation or security that is
                                                    the subject of an Offer other than a Permitted Offer or
                                                    an exchange offer in which a security that is not
                                                    registered under the Securities Act is exchanged for
                                                    (a) a security that has substantially identical terms



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                                          (except for transfer restrictions) but is registered under
                                          the Securities Act or (b) a security that would
                                          otherwise qualify for purchase under the Eligibility
                                          Criteria;

                                 (vii)    an obligation that (a) has a Moody’s Rating (including
                                          any estimated or confidential rating which is in respect
                                          of the full obligation of the obligor and which is
                                          monitored) and (b) has an S&P Rating (including any
                                          confidential rating which is in respect of the full
                                          obligation of the obligor and which is monitored),
                                          which S&P Rating does not have a “p”, “pi”, “q”, “r”
                                          or “t” subscript unless S&P otherwise authorizes in
                                          writing;

                                 (viii)   an obligation that is a Finance Lease (if it is a lease)
                                          and the Rating Condition has been satisfied with
                                          respect to the acquisition thereof;

                                 (ix)     (a) an obligation that is not a Current-Pay Obligation,
                                          Non-Performing Collateral Obligation or Credit Risk
                                          Obligation and (b) in the case of a Collateral
                                          Obligation that has a Moody’s Rating of “Caa1” or
                                          lower or an S&P Rating of “CCC+” or lower, an
                                          obligation for which the Servicer has certified in
                                          writing that such Collateral Obligation is not a Credit
                                          Risk Obligation;

                                 (x)      an obligation that (unless it is a High-Yield Bond) is
                                          not subordinated by its terms to other indebtedness for
                                          borrowed money of the applicable issuer; provided that
                                          for the avoidance of doubt, this clause shall not
                                          prohibit the inclusion as Collateral Obligations of
                                          Subordinated Lien Loans or Second Lien Loans;

                                 (xi)     an obligation that (a) (unless it is a PIK Security) bears
                                          simple interest payable in cash no less frequently than
                                          annually at a fixed or floating rate that is paid on a
                                          periodic basis on an unleveraged basis and, in the case
                                          of a floating rate, computed on a benchmark interest
                                          rate plus or minus a spread, if any (which may vary
                                          under the terms of the obligation) and (b) provides for
                                          a fixed amount of principal payable in cash according
                                          to a fixed schedule (which may include optional call
                                          dates) or at maturity (or a fixed notional amount in the
                                          case of Synthetic Securities);

                                 (xii)    an obligation the payment or repayment of the
                                          principal, if any, of which is not an amount determined
                                          by reference to any formula or index or subject to any




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                                          contingency under the terms thereof;

                                 (xiii)   an obligation the portion of which to be acquired
                                          (including through a Synthetic Security with respect to
                                          the Reference Obligation) does not represent, directly
                                          or indirectly, more than a 25% interest in the
                                          obligation;

                                 (xiv)    not an obligation with a maturity later than two years
                                          after the Stated Maturity of the Notes;

                                 (xv)     an obligation upon which no payments are subject to
                                          withholding tax imposed by any jurisdiction unless the
                                          obligor thereof or counterparty with respect thereto is
                                          required to make “gross-up” payments that cover the
                                          full amount of any such withholding tax on an after-tax
                                          basis (other than withholding taxes with respect to
                                          commitment fees associated with Collateral
                                          Obligations constituting Revolving Loans or Delayed
                                          Drawdown Loans);

                                 (xvi)    not a Loan or Synthetic Security that would require the
                                          Issuer after its purchase of the Loan or Synthetic
                                          Security to advance any funds to the related borrower
                                          or Synthetic Security Counterparty or permit the
                                          borrower or Synthetic Security Counterparty to require
                                          that any future advances be made except for:

                                          (A) any Revolving Loan or Delayed Drawdown Loan
                                              if, simultaneously with its purchase of the
                                              Revolving Loan or Delayed Drawdown Loan, the
                                              Issuer deposits into the Revolving Reserve
                                              Account or the Delayed Drawdown Reserve
                                              Account, respectively, the maximum amount of
                                              any advances that may be required of the Issuer
                                              under the related Underlying Instrument (as
                                              provided in the Indenture); and

                                          (B) any Synthetic Security if, simultaneously with its
                                              purchase of the Synthetic Security, the Issuer
                                              posts cash collateral with (or for the benefit of)
                                              the      Synthetic      Security      Counterparty
                                              simultaneously with the Issuer’s purchase of or
                                              entry into the Synthetic Security in an amount not
                                              exceeding the amount of any future advances;

                                 (xvii)   if such obligation is a Structured Finance Obligation
                                          that is a collateralized loan obligation, such obligation:

                                          (A) has been assigned a rating by both Moody’s and




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                                                 S&P;

                                          (B) has a Moody’s Rating of “Ba3” or higher and an
                                              S&P Rating of “BB-” or higher; and

                                          (C) has not been placed on the watch list for possible
                                              downgrade by Moody’s or S&P;

                                 (xviii) not a Loan that is an obligation of a debtor in
                                          possession or a trustee for a debtor in an insolvency
                                          proceeding other than a DIP Loan;

                                 (xix)    with respect to an obligation that provides for the
                                          payment of interest at a floating rate, an obligation for
                                          which such floating rate is determined by reference to
                                          the U.S. Dollar prime rate or other base rate, London
                                          interbank offered rate or similar interbank offered rate,
                                          commercial deposit rate or any other index that the
                                          Rating Condition with respect to each Rating Agency
                                          is satisfied with respect thereto;

                                 (xx)     in the case of a Synthetic Security, the Synthetic
                                          Security is one for which the counterparty or issuer, as
                                          the case may be, has a short-term debt rating by
                                          Moody’s of at least “P-1” or long-term senior unsecured
                                          rating by Moody’s of at least “A3” and, if rated “A3”
                                          by Moody’s, such rating is not on watch for
                                          downgrade, and an issuer credit rating by S&P of at
                                          least “AA-” or a short term debt rating by S&P of at
                                          least “A-1+”;

                                 (xxi)    not an obligation that constitutes Margin Stock;

                                 (xxii)   not a Zero-Coupon Security;

                                 (xxiii) not an obligation that is currently deferring interest or
                                          paying interest “in kind” or otherwise has an interest
                                          “in kind” balance outstanding at the time of purchase,
                                          which interest is otherwise payable in cash, unless the
                                          Rating Condition has been satisfied with respect to the
                                          acquisition thereof;
                                 (xxiv) not a security whose repayment is subject to substantial
                                          non-credit related risk as determined by the Servicer;
                                 (xxv)    not an obligation the interest payments of which are
                                          scheduled to decrease (although interest payments may
                                          decrease due to unscheduled events such as a decrease
                                          of the index relating to a Floating Rate Obligation, the
                                          change from a default rate of interest to a non-default
                                          rate of interest or an improvement in the obligor’s
                                          financial condition); and




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                                                (xxvi) not an obligation that will cause the Issuer, the Co-
                                                            Issuer, or the pool of assets to be required to be
                                                            registered as an investment company under the
                                                            Investment Company Act.

                                                Pursuant to the definition of “Synthetic Security,” unless the
                                                Rating Condition is otherwise satisfied, any “deliverable
                                                obligation” that may be delivered to the Issuer as a result of the
                                                occurrence of any “credit event” must qualify (when the Issuer
                                                purchases the related Synthetic Security and when such
                                                “deliverable obligation” is delivered to the Issuer as a result of
                                                the occurrence of any “credit event”) as a Collateral Obligation,
                                                except that such “deliverable obligation” may constitute a
                                                Defaulted Collateral Obligation when delivered upon a “credit
                                                event.”

                                                See “Security for the Notes—Collateral Obligations” and “—
                                                Eligibility Criteria.”

  Concentration Limitations............... Upon a purchase of a Collateral Obligation, the Eligibility
                                           Criteria require that each of the limits set forth below with
                                           respect to a particular type of Relevant Obligation (measured by
                                           Aggregate Principal Balance) as a percentage of the Maximum
                                           Amount (the “Concentration Limitations”) is satisfied or, if
                                           any such limit is not satisfied, the extent of satisfaction is not
                                           reduced:


                                                                                                      Percentage of the
                                                                                                      Maximum Amount
   (1)     Senior Secured Loans and Eligible Investments                                                   ≥87.5%
   (2)     unsecured Loans                                                                                 ≤ 3.0%
   (3)     Subordinated Lien Loans and Second Lien Loans                                                  ≤ 10.0%
   (4)     Revolving Loans and the unfunded portion of Delayed Drawdown Loans                              ≤12.0%
   (5)     DIP Loans                                                                                       ≤ 5.0%
           (a) except that with a Rating Confirmation, DIP Loans may constitute up to the
                                                                                                           ≤ 7.5%
               percentage of the Maximum Amount specified in the right column
   (6)     S&P Unrated DIP Loans                                                                           ≤2.5%
   (7)     PIK Securities                                                                                  ≤ 3.0%
   (8)     High-Yield Bonds                                                                                ≤ 7.5%
   (9)     Structured Finance Obligations                                                                 ≤ 10.0%
           (a) except that Structured Finance Obligations serviced by the Servicer may not exceed          ≤ 2.5%
               the percentage of the Maximum Amount specified in the right column
           (b) except that a single issuer together with any of its Affiliates (excluding Secondary        ≤ 3.0%
               Risk Counterparties) of a Structured Finance Obligation may not exceed the
               percentage of the Maximum Amount specified in the right column
   (10)    Structured Finance Obligations that are collateralized loan obligations                         ≤ 7.5%




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                                                                                                        Percentage of the
                                                                                                        Maximum Amount
   (11)   obligors Domiciled other than in the United States and Canada                                      ≤ 20.0%
   (12)   obligors Domiciled in Canada or any single Moody’s Group I Country                                 ≤ 10.0%
   (13)   obligors Domiciled in any single Moody’s Group II Country                                           ≤ 5.0%
   (14)   obligors Domiciled in all Moody’s Group II Countries in the aggregate                              ≤ 10.0%
   (15)   obligors Domiciled in any single Moody’s Group III Country                                          ≤ 2.5%
   (16)   obligors Domiciled in all Moody’s Group III Countries in the aggregate                              ≤ 5.0%
   (17)   obligors organized in a Tax Advantaged Jurisdiction                                                 ≤ 5.0%
   (18)   same S&P Industry Classification                                                                    ≤ 8.0%
          (a)       except that Relevant Obligations belonging to two S&P Industry Classifications
                    may each constitute up to the percentage of the Maximum Amount specified in              ≤ 12.0%
                    the right column
   (19)   single issuer and any of its Affiliates (excluding Secondary Risk Counterparties)                   ≤ 1.5%
          (a)       except that up to each of five individual issuers and any of their Affiliates
                    (excluding Secondary Risk Counterparties) may each constitute up to the                   ≤ 2.5%
                    percentage of the Maximum Amount specified in the right column
   (20)   Fixed Rate Obligations                                                                              ≤ 7.5%
   (21)   Pay interest less frequently than quarterly but no less frequently than semi-annually               ≤ 7.5%
   (22)   Pay interest less frequently than semi-annually but no less frequently than annually                ≤ 3.0%
   (23)   Synthetic Securities                                                                               ≤ 20.0%
          (a)       except that Synthetic Securities that provide for settlement other than by
                    physical delivery may not exceed the percentage of the Maximum Amount                     ≤ 5.0%
                    specified in the right column
          (b)       except that Synthetic Securities that reference a senior secured index providing
                    non-leveraged credit exposure to a basket of credit default swaps referencing a
                    diversified group of Reference Obligations, with respect to which the principal
                                                                                                              ≤ 5.0%
                    or notional amount of the credit exposure to any single Reference Obligation
                    does not increase over time may not exceed the percentage of the Maximum
                    Amount specified in the right column
   (24)   Participations (provided that no Relevant Obligations may be a Participation in a
                                                                                                             ≤ 20.0%
          Participation)
   (25)   Relevant Obligations of which are (i) obligors Domiciled other than in the United States,
          (ii) Collateral Obligations lent under Securities Lending Agreements, (iii) Participations
                                                                                                             ≤ 20.0%
          and (iv) Synthetic Securities, in the aggregate may not exceed the percentage of the
          Maximum Amount specified in the right column
                                                                                                            ≤ respective
                                                                                                           percentage in
   (26)   Relevant Obligations of which are (i) obligors Domiciled other than in the United States,
                                                                                                          Secondary Risk
          (ii) Collateral Obligations lent under Securities Lending Agreements, (iii) Participations
                                                                                                            Table under
          and (iv) Synthetic Securities, entered into with, or issued by, a single Secondary Risk
                                                                                                            “Individual
          Counterparty
                                                                                                        Counterparty Limit”
                                                                                                       for applicable rating*

   (27)   Relevant Obligations of which are (i) obligors Domiciled other than in the United States,        ≤ respective
          (ii) Collateral Obligations lent under Securities Lending Agreements, (iii) Participations      percentage in
          and (iv) Synthetic Securities, entered into with, or issued by, all Secondary Risk             Secondary Risk
          Counterparties                                                                                   Table under
                                                                                                           “Aggregate




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                                                                                                      Percentage of the
                                                                                                      Maximum Amount
                                                                                                     Counterparty Limit”
                                                                                                       for applicable
                                                                                                          rating**
   (28)     Deep Discount Obligations                                                                       ≤ 7.5%
   (29)     CCC+/Caa1and below Collateral Obligations                                                       ≤ 7.5%
   (30)     Long-Dated Collateral Obligations                                                               ≤ 2.0%
   (31)     Collateral Obligations lent under Securities Lending Agreements                                ≤ 15.0%
   (32)     Collateral Obligations providing for interest at a non-London interbank offered rate
            (excluding, for the avoidance of doubt, the unfunded amount of any Revolving Loan or            ≤ 5.0%
            Delayed Drawdown Loan)
   (33)     Collateral Obligations that are Loans that are part of a credit facility with a total
                                                                                                           ≤ 10.0%
            global aggregate commitment amount of less than $75,000,000


     *      Applicable long-term unsecured rating by Moody’s or S&P of such Secondary Risk Counterparty (using
            the limit for the lower of such ratings if different).
     **     Long-term unsecured rating by Moody’s or S&P at or below a level specified in the Secondary Risk Table
            (using the lower of such ratings for a Secondary Risk Counterparty, if different).

                                                         Subject to the rights in certain circumstances of the Servicer
                                                         to determine otherwise as set out in the Indenture, solely for
                                                         the purpose of determining whether the Concentration
                                                         Limitations are met, Eligible Investments and Cash will be
                                                         treated as Senior Secured Loans and Floating Rate
                                                         Obligations.

                                                         See “Security For the Notes—Eligibility Criteria.”

  Coverage Tests and the Retention
  Overcollateralization Test........................ The “Coverage Tests” will consist of the Overcollateraliza-
                                                     tion Tests and the Interest Coverage Tests. In addition, the
                                                     Retention Overcollateralization Test, which is not a
                                                     Coverage Test, will apply as described herein. See “Secu-
                                                     rity For the Notes—The Coverage Tests—The
                                                     Overcollateralization Tests” and “⎯The Interest Coverage
                                                     Tests” for the formulations of these tests, which are highly
                                                     detailed. The ratios on which they are based are also
                                                     described under such headings. The tests will be used to
                                                     determine, among other things, whether (i) Notes will be
                                                     redeemed in certain circumstances as described under
                                                     “Description of the Securities—Priority of Payments” and
                                                     (ii) in the case of the Coverage Tests, Collateral Obligations
                                                     may be acquired as described under “Security for the
                                                     Notes—Eligibility Criteria.”

                                                         There will not be any Coverage Test applicable to the
                                                         Preference Shares.




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      The Overcollateralization Tests......... The Overcollateralization Tests will consist of the “Class A
                                               Overcollateralization        Test,”       the    “Class       B
                                               Overcollateralization        Test,”      the     “Class      C
                                               Overcollateralization Test” and the “Class D
                                               Overcollateralization Test.” Each Overcollateralization
                                               Test will be satisfied with respect to any Class of Notes if,
                                               as of any Measurement Date, the Overcollateralization
                                               Ratio for the Class is at least equal to the specified required
                                               level for the specified Class indicated in the table below:

                                                                 Test                      Required Level
                                                Class A Overcollateralization Test              113.0%
                                                Class B Overcollateralization Test              108.1%
                                                Class C Overcollateralization Test              105.5%
                                                Class D Overcollateralization Test              102.5%

      The Interest Coverage Tests .............. The Interest Coverage Tests will consist of the “Class A
                                                 Interest Coverage Test,” the “Class B Interest Coverage
                                                 Test,” the “Class C Interest Coverage Test” and the
                                                 “Class D Interest Coverage Test.”               Each Interest
                                                 Coverage Test will be satisfied with respect to any specified
                                                 Class of Notes if, as of the second Payment Date and any
                                                 Measurement Date thereafter on which any Notes remain
                                                 Outstanding, the Interest Coverage Ratio equals or exceeds
                                                 the applicable required level specified in the table below for
                                                 the specified Class:

                                                                 Test                      Required Level
                                                Class A Interest Coverage Test                  120.0%
                                                Class B Interest Coverage Test                  115.0%
                                                Class C Interest Coverage Test                  110.0%
                                                Class D Interest Coverage Test                  105.0%

      Retention Overcollateralization Test . A test that will be satisfied as of any Measurement Date
                                             during the Replacement Period on which any Notes remain
                                             Outstanding, if the Retention Overcollateralization Ratio as
                                             of such Measurement Date is at least equal to 103.5%.

  Collateral Quality Tests ........................... The Collateral Quality Tests will be used primarily as
                                                       criteria for purchasing Collateral Obligations.     See
                                                       “Security for the Notes—Eligibility Criteria.”      The
                                                       “Collateral Quality Tests” will consist of the Diversity
                                                       Test, the Weighted Average Life Test, the Weighted
                                                       Average Moody’s Recovery Rate Test, the Weighted
                                                       Average S&P Recovery Rate Test, the Weighted Average
                                                       Fixed Rate Coupon Test, the Weighted Average Spread



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                                                     Test, the Weighted Average Rating Factor Test and the
                                                     S&P CDO Monitor Test, as described below.

     Diversity Test ....................................... The Diversity Test will be satisfied as of any Measurement
                                                            Date, if the Diversity Score equals or exceeds the Minimum
                                                            Diversity Score.

     S&P CDO Monitor Test....................... The S&P CDO Monitor Test will be satisfied as of any
                                                 Measurement Date if, after giving effect to the sale of a
                                                 Collateral Obligation or the purchase of a Collateral
                                                 Obligation, each Note Class Loss Differential of the
                                                 Proposed Portfolio is positive.

     Weighted Average Fixed Rate
     Coupon Test ......................................... The Weighted Average Fixed Rate Coupon Test will be
                                                           satisfied as of any Measurement Date if the Weighted
                                                           Average Fixed Rate Coupon equals or exceeds 7.5%.

     Weighted Average Life Test ................. The Weighted Average Life Test will be satisfied as of any
                                                  Measurement Date if the Weighted Average Life on that
                                                  date of all Collateral Obligations is equal to or less than the
                                                  greater of (a) the number of years (including any fraction of
                                                  a year) between such Measurement Date and May 1, 2017
                                                  or, in the case of a Maturity Extension, the Extended
                                                  Weighted Average Life Date and (b) 3 years.
     Weighted Average Moody’s
     Recovery Rate Test............................... The Weighted Average Moody’s Recovery Rate Test will
                                                       be satisfied as of any Measurement Date if the Moody’s
                                                       Minimum Average Recovery Rate is greater than or equal
                                                       to 43.2%.
     Weighted Average Rating Factor
     Test....................................................... The Weighted Average Rating Factor Test will be satisfied
                                                                 as of any Measurement Date, if the Weighted Average
                                                                 Moody’s Rating Factor of the Collateral Obligations
                                                                 (excluding Eligible Investments) as of such Measurement
                                                                 Date is less than or equal to the Maximum Weighted
                                                                 Average Moody’s Rating Factor.
     Weighted Average S&P Recovery
     Rate Test .............................................. The Weighted Average S&P Recovery Rate Test will be
                                                                 satisfied as of any Measurement Date if the S&P Minimum
                                                                 Average Recovery Rate for each Class of Notes is greater
                                                                 than or equal to: (i) with respect to the Class A-1 Notes,
                                                                 52.4%; (ii) with respect to the Class A-2 Notes, 52.4%; (iii)
                                                                 with respect to the Class A-3 Notes, 56.0%; (iv) with
                                                                 respect to the Class B Notes, 59.6%; (v) with respect to the
                                                                 Class C Notes, 62.4% and (vi) with respect to the Class D
                                                                 Notes, 65.1%.




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      Weighted Average Spread Test ............ The Weighted Average Spread Test will be satisfied as of
                                                any Measurement Date if the Weighted Average Spread as
                                                of the Measurement Date equals or exceeds the Minimum
                                                Weighted Average Spread.

                                                See “Security for the Notes—The Collateral Quality Tests.”

  Mandatory Redemption of the Notes
  for Failure to Satisfy Coverage Tests...... If any of the Coverage Tests are not satisfied on the last day
                                              of any Due Period (each, a “Determination Date”), funds
                                              will be used pursuant to the Priority of Payments to redeem
                                              the Notes to the extent necessary for such failing Coverage
                                              Tests to be satisfied that would otherwise be used:

                                                (i)     to purchase additional Collateral Obligations during
                                                        the Replacement Period; or

                                                (ii)    to make interest and principal payments on the Notes
                                                        and to make dividend or redemption payments in
                                                        respect of the Preference Shares.

                                                See “Description of the Securities—Mandatory Redemption
                                                of the Notes—Mandatory Redemption of the Notes for
                                                Failure to Satisfy Coverage Tests.”

  Certain Consequences of Failure to
  Satisfy the Retention
  Overcollateralization Test........................ If during the Replacement Period, the Retention
                                                     Overcollateralization Test is not satisfied on any
                                                     Determination Date, certain funds, as described under
                                                     clause (18) under “Description of the Securities—Priority
                                                     of Payments—Interest Proceeds,” representing Interest
                                                     Proceeds that would otherwise be used to make payments
                                                     on the Preference Shares and pay certain subordinated
                                                     expenses of the Issuer, will be deposited instead into the
                                                     Collection Account as Principal Proceeds to the extent
                                                     necessary to cause the Retention Overcollateralization Test
                                                     to be satisfied as of that Determination Date after
                                                     application of Principal Proceeds as described under clause
                                                     (1) under “Description of the Securities—Priority of
                                                     Payments—Principal Proceeds.”

  Mandatory Redemption of the Notes
  Upon Rating Confirmation Failure......... The Issuer will (i) provide certain information to S&P and
                                            Moody’s with respect to the Collateral Obligations, as
                                            required by the Indenture and described herein and (ii)
                                            request S&P to confirm in writing, by the Business Day
                                            after the 29th day after the Ramp-Up Completion Date, that
                                            it has not reduced, suspended or withdrawn the Initial
                                            Rating of any Class of Notes and that it has not placed any
                                            Class of Notes on credit watch with negative implications.
                                            If the Trustee either (i) does not receive evidence of



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                                                  confirmation from S&P, or (ii) receives a written notice
                                                  from Moody’s that it has reduced, suspended or withdrawn
                                                  the Initial Rating of any Class of Notes or that it has placed
                                                  any Class of Notes on credit watch with negative
                                                  implications, in each case, before the Business Day
                                                  following the 29-day period (each such event, a “Rating
                                                  Confirmation Failure”), all Interest Proceeds remaining
                                                  after payment of amounts referred to in clauses (1) through
                                                  (16) of “Description of the Securities—Priority of
                                                  Payments—Interest Proceeds” will be used to pay principal
                                                  of the Class A-1 Notes, the Class A-2a Notes, the Class A-
                                                  2b Notes, the Class A-3 Notes, the Class B Notes, the
                                                  Class C Notes and the Class D Notes sequentially in order
                                                  of their priority on the next Payment Date and each
                                                  Payment Date thereafter until the Initial Ratings are
                                                  confirmed. If necessary, after the foregoing payments are
                                                  made out of Interest Proceeds, Principal Proceeds in
                                                  accordance with clause (11) under “Description of the
                                                  Securities—Priority of Payments—Principal Proceeds” will
                                                  be used to pay principal of each Class of the Notes
                                                  sequentially in order of their priority on each Payment Date
                                                  until the Initial Ratings are confirmed. See “Description of
                                                  the Securities—Mandatory Redemption of the Notes—
                                                  Mandatory Redemption of the Notes Upon Rating
                                                  Confirmation Failure.”

  Non-Call Period ........................................ The period from the Closing Date to but not including the
                                                           Payment Date in August 2011 (the “Non-Call Period”).

  Optional Redemption ............................... Upon the occurrence of a Tax Event, or at any time after the
                                                      Non-Call Period, the applicable Required Redemption
                                                      Percentage may require the Issuer or Co-Issuers, as
                                                      applicable, to redeem the Notes, in whole but not in part,
                                                      from Principal Proceeds and all other funds available for
                                                      that purpose in the Collection Account, the Payment
                                                      Account, the Interest Reserve Account, the Closing Date
                                                      Expense Account, the Revolving Reserve Account and the
                                                      Delayed Drawdown Reserve Account in accordance with
                                                      the optional redemption procedures described under
                                                      “Description of the Securities—Optional Redemption.”

                                                  Notes to be redeemed shall, on the Redemption Date,
                                                  become payable at their Redemption Price. From and after
                                                  the Redemption Date the redeemed Notes will cease to bear
                                                  interest.

                                                  The redemption price payable in connection with the
                                                  Optional Redemption of any Class of Notes will be the sum
                                                  of:
                                                  (i)    the outstanding principal amount of the portion of



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                                                          the Note being redeemed; plus
                                                  (ii)    accrued interest on the Note (including any
                                                          Defaulted Interest and interest on Defaulted
                                                          Interest); plus

                                                  (iii)   in the case of any Deferred Interest Note, the
                                                          applicable Deferred Interest on the Note; plus

                                                  (iv)    any unpaid Extension Bonus Payment in respect of
                                                          the Note.

                                                  The redemption price payable in connection with the
                                                  Optional Redemption of the Preference Shares will be (i) at
                                                  the direction of a Majority of the Preference Shares, the
                                                  entire remaining amount of available funds after all prior
                                                  applications or (ii) as specified by the unanimous direction
                                                  of the Holders of the Preference Shares, in each case, as
                                                  described under “Description of the Securities—Optional
                                                  Redemption.”
                                                  In addition, any Class of Notes may be redeemed in whole,
                                                  but not in part, on any Payment Date after the Non-Call
                                                  Period from Refinancing Proceeds obtained from a loan or
                                                  the issuance of a replacement class of notes, subject to the
                                                  written consent of a Majority of the Preference Shares
                                                  (voting as a single class) and to the extent and subject to the
                                                  restrictions and conditions described herein and set forth in
                                                  the Indenture.

  Special Redemption .................................. The Notes will be subject to redemption in whole or in part
                                                        by the Issuer or the Co-Issuer, as applicable, on Payment
                                                        Dates during the Replacement Period if the Servicer elects
                                                        (subject to the Servicing Agreement) to notify the Trustee
                                                        and each Rating Agency that it has been unable, for 45
                                                        consecutive Business Days, to identify additional Collateral
                                                        Obligations that are deemed appropriate by the Servicer in
                                                        its sole discretion and meet the Eligibility Criteria in
                                                        sufficient amounts to permit the use of all or a portion of
                                                        the funds then in the Collection Account available to
                                                        purchase additional Collateral Obligations (a “Special
                                                        Redemption”). On the first Payment Date following the
                                                        Due Period for which such notice is effective (a “Special
                                                        Redemption Date”), the funds in the Collection Account or
                                                        the Payment Account representing Principal Proceeds
                                                        which cannot be used to purchase additional Collateral
                                                        Obligations (the “Special Redemption Amount”) will be
                                                        available to be applied in accordance with the Priority of
                                                        Payments. See “Description of the Securities—Special
                                                        Redemption of the Notes If the Servicer Does Not Identify
                                                        Replacement Collateral Obligations as Contemplated by the
                                                        Indenture.”




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  Additional Issuance of Preference
  Shares......................................................... At any time during the Replacement Period, the Issuer may
                                                                  issue and sell additional Preference Shares and use the net
                                                                  proceeds to purchase additional Collateral Obligations if the
                                                                  conditions for such additional issuance described under
                                                                  “Description of the Securities—Additional Issuance of
                                                                  Preference Shares” are met. Any amendment to the
                                                                  Indenture, the Preference Share Documents or any other
                                                                  related documents required to provide for or facilitate such
                                                                  additional issuance of Preference Shares will not require the
                                                                  consent of the Holders of Securities.

                                                      It is expected that Investors Corp. will finance the purchase
                                                      of any additional Class I Preference Shares issued by the
                                                      Issuer by issuing additional Holding Preference Shares in a
                                                      number equal to the aggregate number of, and at a price
                                                      equal to the price of, such additional Class I Preference
                                                      Shares purchased by it.

  The Offering.............................................. The Senior Notes are initially being offered (i) in reliance
                                                             on Regulation S under the Securities Act (“Regulation S”)
                                                             to non-U.S. Persons in offshore transactions (“Offshore
                                                             Transactions”) as such term is defined in Regulation S and
                                                             (ii) to purchasers that are U.S. persons (“U.S. Persons”) as
                                                             such term is defined in Regulation S, that are (I) Qualified
                                                             Institutional Buyers (as defined in Rule 144A) (each, a
                                                             “Qualified Institutional Buyer”) and (II) Qualified
                                                             Purchasers. Subsequent transferees of the Senior Notes
                                                             must be (i) non-U.S. Persons that purchase the Senior Notes
                                                             in Offshore Transactions or (ii)(a) Qualified Institutional
                                                             Buyers and (b) Qualified Purchasers. The Class D Notes
                                                             and the Preference Shares are initially offered and may be
                                                             subsequently transferred only to purchasers that are (i)
                                                             Qualified Institutional Buyers (or, solely in the case of a
                                                             Holder purchasing Class D Notes on the Closing Date, to an
                                                             institutional investor that is also an accredited investor as
                                                             defined in Rule 501(a)(1), (2), (3) or (7) under Regulation D
                                                             (an “Institutional Accredited Investor”)) and (ii)
                                                             Qualified Purchasers. See “Plan of Distribution” and
                                                             “Transfer Restrictions.”

  Form, Registration and Transfer of
  the Senior Notes........................................ Except as provided herein, the Senior Notes sold in reliance
                                                           on the exemption from registration provided by Rule 144A
                                                           and Qualified Purchasers will be represented by one or
                                                           more permanent global notes in definitive, fully registered
                                                           form without interest coupons (each, a “Rule 144A Global
                                                           Note”) deposited with the Trustee as custodian for, and
                                                           registered in the name of, a nominee of the Depository. The
                                                           Depository will credit the account of each of its participants
                                                           with the principal amount of the Senior Notes being
                                                           purchased by or through the participant.           Beneficial




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                                                  interests in a Rule 144A Global Note will be shown on, and
                                                  transfers thereof will be effected only through, records
                                                  maintained by the Depository and its direct and indirect
                                                  participants. See “Description of the Securities—Form,
                                                  Denomination, Registration and Transfer of the Senior
                                                  Notes.”

                                                  Except as provided herein, the Senior Notes sold in
                                                  Offshore Transactions to non-U.S. Persons in reliance on
                                                  Regulation S will be represented by one or more permanent
                                                  global notes in definitive, fully registered form without
                                                  interest coupons (each, a “Regulation S Global Note,” and,
                                                  together with the Rule 144A Global Notes, the “Global
                                                  Notes”) which will be deposited with the Trustee as
                                                  custodian for, and registered in the name of, a nominee of
                                                  the Depository for the respective accounts of the beneficial
                                                  owners at Euroclear or Clearstream. Beneficial interests in
                                                  a Regulation S Global Note may be held only through
                                                  Euroclear or Clearstream at any time.
                                                  Except in the limited circumstances described herein,
                                                  certificated Senior Notes will not be issued in exchange for
                                                  beneficial interests in Global Notes. See “Settlement and
                                                  Clearing.”
                                                  Transfers of interests in the Senior Notes are subject to
                                                  certain restrictions and must be made in accordance with
                                                  the procedures and requirements set forth in the Indenture.
                                                  See “Description of the Securities—Form, Denomination,
                                                  Registration and Transfer of the Senior Notes” and
                                                  “Transfer Restrictions.” Each purchaser of Senior Notes in
                                                  making its purchase will be required to make, or will be
                                                  deemed to have made, as the case may be, certain
                                                  acknowledgments, representations and agreements. See
                                                  “Transfer Restrictions.”

  Form, Registration and Transfers of
  the Class D Notes ...................................... The Class D Notes will be issued in the form of one or more
                                                           certificated Class D Notes in definitive, fully registered
                                                           form, registered in the name of the owner thereof (the
                                                           “Certificated Class D Notes”).

                                                  Transfers of the Class D Notes are subject to certain
                                                  restrictions and must be made in accordance with the
                                                  procedures and requirements set forth in the Indenture. See
                                                  “Description of the Securities—Form, Denomination,
                                                  Registration and Transfer of the Class D Notes” and
                                                  “Transfer Restrictions.” Each purchaser of Class D Notes
                                                  in making its purchase will be required to make certain
                                                  acknowledgments, representations and agreements, and will
                                                  be required to deliver various tax forms (including
                                                  applicable IRS Form W-8 or IRS Form W-9) and tax
                                                  certifications. See “Transfer Restrictions” for more details.




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  Form, Registration and Transfers of
  the Preference Shares............................... The Preference Shares will be issued in the form of one or
                                                       more certificated Preference Shares in definitive, fully
                                                       registered form, registered in the name of the owner thereof
                                                       (the “Certificated Preference Shares”).

                                                         Transfers of the Preference Shares are subject to certain
                                                         restrictions and must be made in accordance with the
                                                         procedures and requirements set forth in the Preference
                                                         Share Documents. See “Description of the Securities—
                                                         Form, Denomination, Registration and Transfer of the
                                                         Preference Shares” and “Transfer Restrictions.” Each
                                                         purchaser of Preference Shares in making its purchase will
                                                         be required to make certain acknowledgments,
                                                         representations and agreements, and will be required to
                                                         deliver various tax forms (including applicable IRS Form
                                                         W-8 or IRS Form W-9) and tax certifications. See
                                                         “Transfer Restrictions” for more details.

  Ratings ........................................................... It is a condition of the issuance of the Securities that each
                                                                      Class of Notes are rated at least as indicated in the table under
                                                                      “––Principal Terms of the Securities” on the Closing Date.

                                                         No rating of the Preference Shares has been sought or
                                                         obtained in connection with the issuance thereof.

                                                         Each of the above ratings assumes that no Maturity
                                                         Extension occurs after the Closing Date.

                                                         A credit rating is not a recommendation to buy, sell or hold
                                                         securities and may be subject to revision or withdrawal at any
                                                         time by the assigning Rating Agency. See “Risk Factors—
                                                         Relating to the Securities—Future Ratings of the Notes Are
                                                         Not Assured and Limited in Scope; the Preference Shares are
                                                         Not Rated.”

  Listing........................................................ Application is expected to be made to list each Class of the
                                                                  Senior Notes on the regulated market of the ISE. There can
                                                                  be no assurance that such admission will be granted or
                                                                  maintained. See “Listing and General Information.” The
                                                                  issuance and settlement of the Senior Notes on the Closing
                                                                  Date will not be conditioned on the listing of the Senior
                                                                  Notes on the ISE. Furthermore, the Co-Issuers will not be
                                                                  required to maintain a listing on a stock exchange in the
                                                                  European Union if compliance with requirements of the
                                                                  European Commission on a member state becomes
                                                                  burdensome in the sole judgment of the Servicer. In
                                                                  addition, there is currently no market for the Senior Notes
                                                                  and there can be no assurance that a market will develop.




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  Governing Law ......................................... The terms and conditions of the Preference Shares (as set
                                                          forth in the Issuer Charter and the Resolutions) will be
                                                          governed by, and construed in accordance with, the law of
                                                          the Cayman Islands.         The Notes, Indenture, any
                                                          supplemental indenture, the Servicing Agreement, the
                                                          Collateral Administration Agreement, the Preference Shares
                                                          Paying Agency Agreement and any Hedge Agreements will
                                                          be governed by, and construed in accordance with, the law
                                                          of the State of New York.
  Tax Status.................................................. See “Material Income Tax Considerations.”

  Considerations for Benefit Plans............. Except as described herein, the Class D Notes and the
                                                Preference Shares may not be purchased or held by, or
                                                transferred to, any Benefit Plan Investor.        See
                                                “Considerations for Benefit Plans” and “Transfer
                                                Restrictions.”




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                                              RISK FACTORS
         An investment in the Securities involves certain risks. Prospective investors should carefully
 consider the following factors, in addition to the matters set forth elsewhere in this Offering
 Memorandum, prior to investing in any Class of Securities.

 Investor Suitability

         An investment in the Securities will not be appropriate or suitable for all investors. Structured
 investment products, like the Securities, are complex instruments, and typically involve a high degree of
 risk and are intended for sale only to sophisticated investors who are capable of understanding and
 assuming the risks involved. Any investor purchasing Securities should conduct its own investigation and
 analysis of an investment in the Securities and consult with its own professional advisors as to the risks
 involved in making such investment.

 General; Priorities of Securities

           The Issuer intends to acquire securities and other financial assets with certain risk characteristics
 as provided in the Indenture and the Servicing Agreement. See “Security for the Notes.” There can be no
 assurance that the Issuer will be successful in achieving its objectives to ensure that investors receive their
 initial investments under the Securities and that they receive a return (and avoid any losses, including
 total losses) on their investment in the Securities. Prospective investors are therefore advised to review
 this entire Offering Memorandum carefully and should consider, among other things, the following risk
 factors (along with, among other things, the inherent risks of investment activities) before deciding
 whether to invest in the Securities.

          Except as is otherwise stated below, the risk factors are generally applicable to all the Securities,
 although the degree of risk associated with each Class of Securities may vary. In particular, the priorities
 of payment of the Notes are generally in the order of their alphabetic designation from the Class A-1
 Notes and the Class A-2 Notes (the highest priority) to the Class D Notes (the lowest priority), the
 priorities of payment of the Notes are higher than priorities of payment of the Preference Shares except
 with respect to the amount, if any, required for payment of Class II Preference Share Special Payments.

 Relating to the Securities

         The Securities Will Have Limited Liquidity

          There is currently no market for the Securities. There can be no assurance that a secondary
 market for any Class of Securities will develop, or if a secondary market does develop, that it will provide
 the Holders of the applicable Class of Securities with liquidity of investment or that it will continue for
 the life of such Class of Securities. In addition, each Class of Securities is subject to certain transfer
 restrictions and can only be transferred to certain transferees as described under “Transfer Restrictions.”
 The restrictions on the transfer of the Securities may further limit their liquidity. The Securities are
 designed for long-term investors and should not be considered a vehicle for short-term trading purposes.
 Consequently, an investor in the Securities must be prepared to bear the risk of holding such Securities
 until their Stated Maturity or, in the case of the Preference Shares, the Scheduled Preference Shares
 Redemption Date. To the extent that any secondary market exists for the Securities in the future, the price
 (if any) at which Securities may be sold could be at a discount, which in some cases may be substantial,
 from the principal amount of the Securities. To the extent any market exists for the Securities in the
 future, significant delays could occur in the actual sale of Securities. In addition, the Securities will not
 be registered under the Securities Act or any state securities laws, and the Co-Issuers have no plans, and
 are under no obligation, to register the Securities under the Securities Act. Application is expected to be
 made to admit each Class of the Senior Notes to the Official List of the ISE. There can be no assurance
 that any such admission will be granted or maintained.



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         The Subordination of the Class A-3 Notes, the Class B Notes, the Class C Notes, the Class D
         Notes and the Preference Shares Will Affect Their Right to Payment in Relation to the More
         Senior Securities

         The Class A-1 Notes and the Class A-2 Notes will rank pari passu in right of payment of interest
 and principal in the manner and to the extent described in this Offering Memorandum; provided that
 amounts allocated to the payment of the Class A-2 Notes will be paid, first, to the Class A-2a Notes and,
 second, to the Class A-2b Notes.

          The Class A-3 Notes are subordinated in right of payment of interest and principal to the
 Class A-1 Notes and the Class A-2 Notes in the manner and to the extent described in this Offering
 Memorandum. Payments of interest on the Class A-3 Notes will not be made until due and unpaid
 interest on the Class A-1 and the Class A-2 Notes and certain other amounts (including certain servicing
 fees payable to the Servicer, certain hedging termination payments and certain administrative fees and
 expenses) have been paid. No payments of principal of the Class A-3 Notes will be made until principal
 of and due and unpaid interest on the Class A-1 Notes and the Class A-2 Notes and certain other amounts
 have been paid in full.

          The Class B Notes are subordinated in right of payment of interest and principal to the Class A-1
 Notes, the Class A-2 Notes and the Class A-3 Notes in the manner and to the extent described in this
 Offering Memorandum. Payments of interest on the Class B Notes will not be made until due and unpaid
 interest on the Class A-1 Notes, the Class A-2 Notes and the Class A-3 Notes and certain other amounts
 (including certain servicing fees payable to the Servicer, certain hedging termination payments and
 certain administrative fees and expenses) have been paid. No payments of principal of the Class B Notes
 will be made until principal of and due and unpaid interest on the Class A-1 Notes, the Class A-2 Notes
 and the Class A-3 Notes and certain other amounts have been paid in full, except in connection with the
 payment of any Class B Deferred Interest.

         The Class C Notes are subordinated in right of payment of interest and principal to the Class A-1
 Notes, the Class A-2 Notes, the Class A-3 Notes and the Class B Notes in the manner and to the extent
 described in this Offering Memorandum. Payments of interest on the Class C Notes will not be made
 until due and unpaid interest on the Class A-1 Notes, the Class A-2 Notes, the Class A-3 Notes and the
 Class B Notes and certain other amounts (including certain servicing fees payable to the Servicer, certain
 hedging termination payments and certain administrative fees and expenses) have been paid. No
 payments of principal of the Class C Notes will be made until principal of and due and unpaid interest on
 the Class A-1 Notes, the Class A-2 Notes, the Class A-3 Notes and the Class B Notes and certain other
 amounts have been paid in full, except in connection with the payment of any Class C Deferred Interest.

          The Class D Notes are subordinated in right of payment of interest and principal to the Class A-1
 Notes, the Class A-2 Notes, the Class A-3 Notes, the Class B Notes and the Class C Notes in the manner
 and to the extent described in this Offering Memorandum. Payments of interest on the Class D Notes will
 not be made until due and unpaid interest on the Class A-1 Notes, the Class A-2 Notes, the Class A-3
 Notes, the Class B Notes, the Class C Notes and certain other amounts (including certain servicing fees
 payable to the Servicer, certain hedging termination payments and certain administrative fees and
 expenses) have been paid. No payments of principal of the Class D Notes will be made until principal of
 and due and unpaid interest on the Class A-1 Notes, the Class A-2 Notes, the Class A-3 Notes, the
 Class B Notes, the Class C Notes and certain other amounts have been paid in full, except in connection
 with the payment of any Class D Deferred Interest and the use of Interest Proceeds to pay principal of the
 Class D Notes on any Payment Date to the extent necessary to satisfy the Class D Coverage Tests .

         No payments will be made out of Interest Proceeds on the Preference Shares on any Payment
 Date (other than, as and to the extent described herein, the Class II Preference Share Special Payments),
 until due and unpaid interest on the Notes (including any Deferred Interest) and certain amounts
 (including certain amounts due under the Hedge Agreements, certain servicing fees payable to the
 Servicer, certain hedging termination payments and certain administrative fees and expenses) have been
 paid on the Payment Date in accordance with the Priority of Payments. No payments will be made out of
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 Principal Proceeds on the Preference Shares (other than, as and to the extent described herein, the Class II
 Preference Share Special Payments) until principal of each Class of Notes and certain other amounts
 payable out of Principal Proceeds on each Payment Date have been paid in full. In addition, the
 Preference Shares will not be redeemed until each Class of Notes and certain other amounts have been
 paid in full.

          In addition, the Co-Issuers will have only nominal equity capitalization. Consequently, to the
 extent that any losses are suffered by any of the Holders of any Securities, the losses will be borne first by
 the Holders of the Preference Shares, and then by the Holders of each Class of Notes, sequentially in
 inverse order of their alphabetic designations.

         See “Description of the Securities.”

         Interest Will Be Deferred on Deferred Interest Notes if There Are Insufficient Funds under the
         Priority of Payments for Payment of Interest

          So long as any Class A-1 Notes, Class A-2 Notes or Class A-3 Notes are Outstanding, any
 interest due and accrued on the Class B Notes that remains unpaid on any Payment Date because
 insufficient funds are available to pay it in accordance with the Priority of Payments will be added to the
 Aggregate Outstanding Amount of the Class B Notes as Class B Deferred Interest and failure to pay that
 interest on the Payment Date when it originally became due will not be an Event of Default. Class B
 Deferred Interest will then be payable on subsequent Payment Dates in accordance with the Priority of
 Payments, pursuant to which it will remain subordinated to the payment of interest on the Class A-1
 Notes, the Class A-2 Notes and the Class A-3 Notes in the application of Interest Proceeds.

          So long as any Class A-1 Notes, Class A-2 Notes, Class A-3 Notes or Class B Notes are
 Outstanding, any interest due and accrued on the Class C Notes that remains unpaid on any Payment Date
 because insufficient funds are available to pay it in accordance with the Priority of Payments will be
 added to the Aggregate Outstanding Amount of the Class C Notes as Class C Deferred Interest and failure
 to pay that interest on the Payment Date when it originally became due will not be an Event of Default.
 Class C Deferred Interest will then be payable on subsequent Payment Dates in accordance with the
 Priority of Payments, pursuant to which it will remain subordinated to the payment of interest on the
 Class A-1 Notes, the Class A-2 Notes, Class A-3 Notes and the Class B Notes in the application of
 Interest Proceeds.

          So long as any Class A-1 Notes, Class A-2 Notes, Class A-3 Notes, Class B Notes or Class C
 Notes are Outstanding, any interest due and accrued on the Class D Notes that remains unpaid on any
 Payment Date because insufficient funds are available to pay it in accordance with the Priority of
 Payments will be added to the Aggregate Outstanding Amount of the Class D Notes as Class D Deferred
 Interest and failure to pay that interest on the Payment Date when it originally became due will not be an
 Event of Default. Class D Deferred Interest will then be payable on subsequent Payment Dates in
 accordance with the Priority of Payments, pursuant to which it will remain subordinated to the payment of
 interest on the Class A-1 Notes, the Class A-2 Notes, Class A-3 Notes, the Class B Notes and the Class C
 Notes in the application of Interest Proceeds.

         Interest Proceeds May Be Retained in Priority to any Payments to Holders of Preference Shares

          During the Replacement Period, if the Retention Overcollateralization Test is not met on any
 Determination Date, a portion of the Interest Proceeds that might otherwise have been paid to the Holders
 of the Preference Shares on the related Payment Date will instead be deposited into the Collection
 Account as Principal Proceeds, as described under clause (18) under “Description of the Securities—
 Priority of Payments—Interest Proceeds.”




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         The Controlling Class Will Control Many Rights under the Indenture; However, Some Rights of
         the Controlling Class to Sell the Collateral in Connection with an Event of Default Are Limited

          Under the Indenture, many rights of the Holders of the Notes will be controlled by a Majority of
 the Controlling Class. Remedies pursued by the Holders of the Controlling Class upon an Event of
 Default could be adverse to the interests of the Holders of Securities subordinated to the Controlling
 Class. After any realization on the Collateral, proceeds will be allocated in accordance with the Priority
 of Payments pursuant to which the Notes and certain other amounts owing by the Co-Issuers will be paid
 in full before any allocation to the Preference Shares (except, as and to the extent described herein, the
 Class II Preference Share Special Payments), and each Class of Notes (along with certain other amounts
 owing by the Co-Issuers) will be paid sequentially in alphabetic order until it is paid in full before any
 allocation is made to the next Class of Notes.

          The ability of the Controlling Class to direct the sale and liquidation of the Collateral is subject to
 certain limitations. As described under “Description of the Securities—The Indenture—Events of
 Default,” if an Event of Default occurs and is continuing, the Trustee must retain the Collateral intact and
 collect all payments in respect of the Collateral and continue making payments in accordance with the
 Priority of Payments and in accordance with the Indenture unless either (A) the Trustee, in consultation
 with the Servicer, determines that the anticipated net proceeds of a sale or liquidation of the Collateral
 would be sufficient to discharge in full the amounts then due and unpaid on the Notes for principal and
 interest (including Defaulted Interest and Deferred Interest and any interest on the Defaulted Interest and
 Deferred Interest), all Administrative Expenses, all other amounts (if any) then payable to the Hedge
 Counterparty by the Issuer (including any applicable termination payments) net of all amounts then
 payable to the Issuer by the Hedge Counterparty and all other amounts then payable under clause (3)
 under “Description of the Securities—Priority of Payments—Interest Proceeds,” and a Majority of the
 Controlling Class agrees with that determination or (B) the Holders of a Super Majority of each of the
 Class A-1 Notes, the Class A-2a Notes, the Class A-2b Notes, Class A-3 Notes, the Class B Notes, the
 Class C Notes and the Class D Notes direct, subject to the provisions of the Indenture, the sale and
 liquidation of the Collateral.

         Net Proceeds Less Than Aggregate Amount of the Securities

         It is anticipated that the proceeds received by the Issuer on the Closing Date from the issuance of
 the Securities, net of certain fees and expenses, will be less than the aggregate principal amount of the
 Securities. Consequently, it is anticipated that on the Closing Date the Collateral will be insufficient to
 repay the full principal amount of the Securities in the event an Event of Default were to occur under the
 Indenture on or shortly after the Closing Date.

          In addition, during the lifetime of the transaction, except as described herein, excess interest will
 be distributed to the Holders of the Preference Shares, rather than being invested in additional Collateral
 Obligations. Therefore, it is highly likely that after payments of the Notes and the other amounts payable
 prior to the Preference Shares under the Priority of Payments, Principal Proceeds will be insufficient to
 return the initial investment made in the Preference Shares. Therefore, Holders of Preference Shares must
 rely on distributions of excess interest proceeds to achieve their expected return.

         The Issuer is Highly Leveraged, which Increases Risks to Investors

          The Issuer will be substantially leveraged. The use of leverage in acquiring assets is a speculative
 technique which increases the risk to holders of the Securities, particularly holders of the subordinated
 Securities. In certain scenarios, the Notes may not be paid in full and the Preference Shares may be
 subject to up to 100% loss of invested capital. The leverage provided to the Issuer by the issuance of the
 Securities will result in interest expense and other costs incurred in connection with the borrowings that
 may not be covered by the net interest income, dividends and other cash flow in respect of the Collateral
 Obligations. The use of leverage generally magnifies the Issuer’s risk of loss, particularly for the more
 subordinate Classes of Notes and the Preference Shares. The Preference Shares represent the most junior
 Securities in a highly leveraged capital structure. As a result, any deterioration in performance of the
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 Collateral, including defaults and losses, a reduction of realized yield or other factors, will be borne first
 by holders of the Preference Shares. In addition, the use of leverage can magnify the effects on the
 Preference Shares of a deterioration in the performance of the Collateral. In certain circumstances, such
 as in connection with the exercise of remedies following an Event of Default, the Controlling Class may
 require the Issuer to dispose of some or all of the Collateral Obligations under unfavorable market
 conditions, thus causing the Issuer to recognize a loss that might not otherwise have occurred. In certain
 circumstances, the Controlling Class are entitled to direct the sales of Collateral Obligations and may be
 expected to do so in their own interest, rather than in the interests of the more subordinate Classes of
 Securities.

         Each of the Co-Issuers Is Recently Formed, Has No Significant Operating History, Has No
         Material Assets Other than the Collateral and Is Limited in Its Permitted Activities

         Each of the Issuer and the Co-Issuer is a recently formed entity and has no significant operating
 history, other than, with respect to the Issuer, in connection with the acquisition of the Collateral
 Obligations during the period up to the Ramp-Up Completion Date. Accordingly, neither the Issuer nor
 the Co-Issuer has a performance history for prospective investors to consider. The performance of other
 CDO vehicles serviced or advised by the Servicer should not be relied upon as an indication or prediction
 of the performance of the Issuer. Such other CDO vehicles may have significantly different
 characteristics, including structures, composition of the collateral pool, objectives, management personnel
 and terms when compared to the Issuer and the Co-Issuer. See “Risk Factors─Relating to the
 Securities─Performance History of the Servicer May Not Be Indicative of Future Results.”

          Neither the Issuer nor the Co-Issuer will have any material assets other than, with respect to the
 Issuer, the Collateral. The Indenture provides that the Issuer is not permitted to engage in any business
 activity other than the issuance of the Notes, the Preference Shares and the Issuer Ordinary Shares, the
 acquisition and disposition of Collateral Obligations, certain activities conducted in connection with the
 payment of amounts in respect of the Securities and the servicing of the Collateral, and other activities
 incidental or related to the foregoing and that the Co-Issuer is not permitted to engage in any business
 activity other than the co-issuance and sale of the Senior Notes, the issuance of its share capital, and other
 activities incidental or related to the foregoing. Income derived from the Collateral will be the Issuer’s
 principal source of cash.

         The Securities Are Not Registered Under the Securities Act and the Issuer Is Not Registered
         under the Investment Company Act

          The Issuer has not registered the Securities under the Securities Act and the Issuer is not
 registered under the Investment Company Act, in each case in reliance upon applicable exemptions to
 registration under the Securities Act and the Investment Company Act. The Issuer does not expect to
 register the Securities under the Securities Act nor become registered under the Investment Company Act
 at any time in the foreseeable future. As such, investors should be aware that the Issuer and the Securities
 are not subject to many of the regulatory protections and oversight applicable to securities that are
 registered under the Securities Act or applicable to registered investment companies.

         The Notes Are Non-Recourse Debt Obligations; Investors Must Rely on Available Collections
         from the Collateral and Will Have No Other Source for Payment

          The Class A Notes, the Class B Notes and the Class C Notes are non-recourse debt obligations of
 the Co-Issuers and the Class D Notes are non-recourse debt obligations of the Issuer. The Securities are
 payable solely from the Collateral pledged by the Issuer to secure the Notes. None of the security
 holders, members, officers, directors, partners, or incorporators of the Issuer, the Co-Issuer, the Servicer,
 the Initial Purchaser, the Placement Agent, the Trustee, the Preference Shares Paying Agent, the
 Collateral Administrator, the Administrator, the Share Registrar, the Share Trustee, any of their respective
 affiliates, or any other person will be obligated to make payments on the Notes. The Issuer’s ability to
 make interest payments and principal repayments on the Notes will be constrained by the terms of the
 Indenture. Holders of the Notes must rely solely on collections received on the Collateral pledged to
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 secure the Notes and for the payment of interest and principal on the Notes, and there can be no assurance
 that those collections will be sufficient to pay all amounts due on the Notes. If distributions on the
 Collateral are insufficient to make payments on the Notes, no other assets will be available for payment of
 the deficiency and, following liquidation of all of the Collateral, the Co-Issuers will not have any
 obligation to pay any deficiency, which shall be extinguished and shall not revive.

         The Preference Shares are not Secured Obligations; Investors Must Rely on Available
         Collections from the Collateral and Will Have No Other Source for Payment

          The Preference Shares will be part of the issued share capital of the Issuer. The Preference
 Shares are equity in the Issuer and are not secured by the Collateral Obligations or other Collateral
 securing the Notes. As such, the Holders of Preference Shares will rank behind all creditors, whether
 secured or unsecured and known or unknown, of the Issuer, including, without limitation, the Holders of
 the Notes and any Hedge Counterparties (other than, to the extent described under the “Description of the
 Securities—Priority of Payments,” the Holders of the Class II Preference Shares with respect to the Class
 II Preference Share Special Payments). Except with respect to the obligations of the Issuer to pay the
 amounts described under the “Description of the Securities—Priority of Payments—Interest Proceeds”
 and “—Principal Proceeds,” the Issuer does not, however, expect to have any creditors though there can
 be no assurance that this will be the case. In addition, the Issuer is also subject to limitations with respect
 to the business that it may undertake. See “The Co-Issuers—Business.” Payments in respect of the
 Preference Shares are subject to certain requirements imposed by Cayman Islands law. Any amounts paid
 by the Preference Shares Paying Agent as dividends on the Preference Shares will be payable only if the
 Issuer has sufficient distributable profits and/or balance in the Issuer’s share premium account. In
 addition, dividends and the final payment upon redemption of the Preference Shares will be payable only
 to the extent that the Issuer is and will remain solvent after such dividends or redemption payment is paid.
 Under Cayman Islands law, a company is generally deemed to be solvent if it is able to pay its debts as
 they come due.

          The Issuer’s obligation to pay dividends or to make other distributions to the Holders of the
 Preference Shares will therefore not be a secured obligation of the Issuer and such Holders will not be
 entitled to the benefits of the Indenture, nor will the Trustee have any obligation to act on behalf of the
 Holders of Preference Shares. With the exception of the Class II Preference Share Special Payments,
 Holders of the Preference Shares will only be entitled to receive amounts available for payment of
 dividends or other distributions after payment of all amounts payable on each Class of Notes and certain
 other amounts in accordance with the Priority of Payments and only to the extent of distributable profits
 of the Issuer and/or any balance in the Issuer’s share premium account and (in each case) only to the
 extent that the Issuer is and will remain solvent following such distributions.

          To the extent the requirements under Cayman Islands law described in the preceding paragraphs
 are not met, amounts otherwise payable to the Holders of the Preference Shares (with the exception of the
 Class II Preference Share Special Payments) will be retained in the Preference Shares Distribution
 Account until, in the case of dividends, the next succeeding Payment Date on which the Issuer notifies the
 Preference Shares Paying Agent such requirements are met and, in the case of any payment on
 redemption of the Preference Shares, the next succeeding Business Day on which the Issuer notifies the
 Preference Shares Paying Agent such requirements are met. Amounts on deposit in the Preference Shares
 Distribution Account will not be available to pay amounts due to the Holders of the Notes, the Trustee,
 the Collateral Administrator, the Servicer, any Hedge Counterparty or any other creditor of the Issuer
 whose claim is limited in recourse to the Collateral. However, amounts on deposit in the Preference
 Shares Distribution Account may be subject to the claims of creditors of the Issuer that have not
 contractually limited their recourse to the Collateral. The Indenture and the Preference Share Documents
 will limit the Issuer’s activities to the issuance and sale of the Securities, the acquisition and disposition
 of the Collateral Obligations and Eligible Investments and the other activities related to the issuance and
 sale of the Securities described under the “The Co-Issuers.” The Issuer therefore does not expect to have
 any significant full recourse liabilities that would be payable out of amounts on deposit in the Preference
 Shares Distribution Account.

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         The Issuer May Distribute Eligible Equity Securities to the Holders of the Preference Shares in
         Lieu of Cash

          The Servicer, on behalf of the Issuer, may direct the Trustee to distribute Eligible Equity
 Securities, in lieu of a distribution of Interest Proceeds, in whole or in part, to the Holders of the
 Preference Shares who consent to such distribution with respect to any applicable Payment Date to the
 extent that the Market Value of such Eligible Equity Securities, determined by the Servicer as of the
 relevant Market Value Determination Date, is equal to or lower than the aggregate amount of Interest
 Proceeds that would otherwise be distributed to such Consenting Holders of the Preference Shares on the
 relevant Payment Date. The Market Value of any Eligible Equity Securities is subject to fluctuations and
 may increase or decrease following any distribution of such Eligible Equity Securities to the Consenting
 Holders of the Preference Shares, which, in certain circumstances, may result in the Consenting Holders
 of the Preference Shares receiving overall a higher or lower internal rate of return compared with the
 internal rate of return received by the Holders of the Preference Shares who have not accepted any
 distribution of the Eligible Equity Securities.

         The Issuer May Not Be Able to Apply Available Funds to Acquire Appropriate Collateral

          The amount of Collateral Obligations purchased on the Closing Date, the amount and timing of
 the purchase of additional Collateral Obligations before the Ramp-Up Completion Date, and the
 subsequent application of Principal Proceeds, will affect the cash flows available to make payments on,
 and the return to the Holders of, the Securities. Reduced liquidity and relatively lower volumes of trading
 in certain Collateral Obligations, in addition to restrictions on acquisition represented by the Eligibility
 Criteria, could result in periods during which the Issuer is not able to fully utilize its available cash to
 acquire Collateral Obligations, and it is unlikely that the Issuer’s available cash will be fully applied in
 Collateral Obligations at any time. The longer the period before application of cash or cash-equivalents
 to acquire Collateral Obligations and the larger the amount of such cash or cash equivalents, the greater
 the adverse impact may be on aggregate interest collected and distributed by the Issuer, thereby resulting
 in lower yield than could have been obtained if the net proceeds associated with the offering of the
 Securities and all Principal Proceeds were immediately and fully applied. The associated risk will be
 borne first by the Holders of the Preference Shares and second by the Holders of the Notes (beginning
 with the most subordinated Class of Notes). Although the Servicer may mitigate this risk to some degree
 during the Replacement Period by declaring a Special Redemption, the Servicer is not required to do so,
 and any Special Redemption may result in a lower yield on the Issuer’s assets than could have been
 obtained if the net proceeds from the offering of the Securities and all Principal Proceeds were
 immediately and fully applied and no Special Redemption had taken place.

          Generally, Principal Proceeds (together with Interest Proceeds, but only to the extent used to pay
 for accrued interest on Collateral Obligations, and Sale Proceeds received on the Collateral Obligations)
 will be applied during the Replacement Period (and, Principal Proceeds constituting Unscheduled
 Principal Payments and Sale Proceeds from Credit Risk Obligations and Credit Improved Obligations,
 may be applied on any date after the Replacement Period, at the discretion of the Servicer) to purchase
 replacement Collateral Obligations or temporarily held in Eligible Investments pending purchase of
 replacement Collateral Obligations in accordance with the Priority of Payments. The earnings with
 respect to replacement Collateral Obligations will depend, among other factors, on interest rates available
 in the marketplace at the time and on the availability of Collateral Obligations acceptable to the Servicer
 that satisfy the criteria under “Security for the Notes—Eligibility Criteria.” The need to satisfy the
 criteria and identify acceptable Collateral Obligations may require the purchase of replacement Collateral
 Obligations having lower yields than those initially acquired or require that Principal Proceeds be held
 temporarily in cash or Eligible Investments, which will reduce the yield earned by the Issuer. Further,
 issuers of Collateral Obligations may be more likely to exercise any rights they may have to redeem them
 when interest rates or spreads are declining. Any decrease in the yield on the Collateral Obligations will
 reduce the amounts available to make payments of principal and interest on the Notes and payments on
 the Preference Shares.

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          The Issuer expects that, as of the Closing Date, it will have purchased (or entered into
 commitments to purchase) approximately U.S.$1,500,000,000 in Aggregate Principal Balance of the
 Collateral Obligations to be included in the anticipated portfolio as of the Ramp-Up Completion Date. As
 such, on the Closing Date, the Issuer is expected to have unapplied proceeds. This will likely reduce the
 amount of Interest Proceeds that would otherwise be available to distribute to the holders of the
 Preference Shares, particularly on the first Distribution Date. If the Issuer issues additional Preference
 Shares after the Closing Date, the Issuer would likely have unapplied proceeds of the offering, pending
 the purchase of additional Collateral Obligations. The extent to which cash balances remain unapplied
 will be subject to a variety of factors, including future market conditions and is difficult to predict.

         Valuation Information

        Neither the Issuer nor any other party will be required to provide periodic pricing or valuation
 information to investors.

         Changes in Tax Law Could Result in the Imposition of Withholding Taxes with Respect to
         Payments on the Securities, and the Issuer Will Not Gross-Up Payments to Holders

          Although no withholding tax is currently imposed by the United States or the Cayman Islands on
 payments on the Securities, there can be no assurance that, as a result of any change in any applicable
 law, treaty, rule, regulation, or interpretation thereof, the payments with respect to the Securities would
 not in the future become subject to withholding taxes. If any withholding tax is imposed on payments on
 any Securities, the Issuer will not “gross up” payments to their Holders.

         The Securities Are Subject to Substantial Transfer Restrictions

          The Securities have not been registered under the Securities Act, under any U.S. state securities
 or “Blue Sky” laws, or under the securities laws of any other jurisdiction and are being issued and sold in
 reliance upon exemptions from registration provided by those laws. No Securities may be sold or
 transferred unless: the sale or transfer is exempt from the registration requirements of the Securities Act
 (for example, in reliance on exemptions provided by Rule 144A or Regulation S) and applicable state
 securities laws; and the sale or transfer does not cause either of the Co-Issuers or the pool of Collateral to
 become subject to the registration requirements of the Investment Company Act. See “Transfer
 Restrictions” and “Considerations for Benefit Plans.”

         Non-Compliance with Restrictions on Ownership of the Securities and Acquisition or Disposition
         of Collateral Obligations under the Investment Company Act Could Adversely Affect the Issuer

         Neither of the Co-Issuers has registered with the United States Securities and Exchange
 Commission (the “SEC”) as an investment company pursuant to the Investment Company Act in reliance
 on an exclusion from the definition of “investment company” under Section 3(c)(7) for companies
 organized under the laws of a jurisdiction other than the United States or any of its states whose investors
 residing in the United States are solely “qualified purchasers” (within the meaning given to such term in
 the Investment Company Act and related SEC regulations).

          The Issuer and the Co-Issuer may, at any time following the Closing Date, rely on exclusion from
 the definition of “investment company” under Rule 3a-7 in lieu of the exclusion under Section 3(c)(7)
 upon (a) receipt of an opinion of counsel from a nationally recognized law firm providing that neither the
 Issuer nor the Co-Issuer is required to register as an “investment company” under the Investment
 Company Act in reliance on such exclusion under Rule 3a-7 and (b) notice to the Holders of the
 Securities in accordance with the Indenture and the Preference Share Documents. In connection with this
 alternate reliance, the Indenture and the Preference Share Documents may be amended without the
 consent of any Holders to prevent the Issuer from becoming an “investment company” as defined in the
 Investment Company Act or to better assure compliance with the requirements of Rule 3a-7 and/or to
 remove transfer restrictions and other requirements relating to Section 3(c)(7). See “—The Servicer May

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 Cause the Issuer to Amend the Indenture to Assure Compliance with Rule 3a-7 Without the Consent of
 the Holders of the Securities in a Manner that May Adversely Affect the Holders of Securities” below.

          No opinion or no-action position with respect to the registration of either of the Co-Issuers or the
 pool of Collateral under the Investment Company Act has been requested of, or received from, the SEC.
 If the SEC or a court of competent jurisdiction were to find that the Issuer or the Co-Issuer is required, but
 in violation of the Investment Company Act had failed, to register as an investment company, possible
 consequences include the following: (i) the SEC could apply to a district court to enjoin the violation; (ii)
 investors in the Issuer or the Co-Issuer could sue the Issuer or the Co-Issuer, as the case may be, and
 recover any damages caused by the violation; and (iii) any contract to which the Issuer or the Co-Issuer,
 as the case may be, is party whose performance involves a violation of the Investment Company Act
 would be unenforceable by any party to the contract unless a court were to find that under the
 circumstances enforcement would produce a more equitable result than non-enforcement and would not
 be inconsistent with the purposes of the Investment Company Act.

         In addition, the Issuer’s being required to register as an investment company would result in an
 Event of Default. See “Description of the Securities—The Indenture—Events of Default.” Should the
 Issuer or the Co-Issuer be subjected to any or all of the foregoing, the Issuer or the Co-Issuer, as the case
 may be, would be materially and adversely affected.

         Restrictions on Acquisition or Disposition of Collateral Obligations May Reduce the Earnings of
 the Holders of the Securities

         Rule 3a-7 imposes limitations on the ability of the Issuer to purchase or sell assets, including
 prohibiting the Issuer from purchasing or selling assets for the primary purpose of recognizing gains or
 decreasing losses resulting from market value changes. The Indenture will restrict the Issuer from
 purchasing and selling assets consistent with such requirements of Rule 3a-7. Under these restrictions the
 Issuer may be required to hold a Collateral Obligation or precluded from acquiring a Collateral Obligation
 when it would have sold such Collateral Obligation or acquired such Collateral Obligation, as applicable,
 had it based such determination on the market value changes in the value of such Collateral Obligations.
 As a result, greater losses on the Collateral may be sustained and there may be insufficient proceeds on
 any Payment Date to pay in full any expenses of the Issuer or any amounts payable to the Trustee or the
 Administrator (all of which amounts are payable prior to payments in respect of the Notes) and the
 payments due on the Securities. See “Security for the Notes—Sale of Collateral Obligations; Acquisition
 of Collateral Obligations.”

         The Servicer May Cause the Issuer to Amend the Indenture to Assure Compliance with Rule 3a-7
 Without the Consent of the Holders of the Securities in a Manner That May Adversely Affect the Holders
 of Securities

          On the Closing Date, HFP and/or one or more of its subsidiaries will purchase all of the Class II
 Preference Shares. The Servicer will act as the manager for HFP. HFP may need to rely on an exception
 from the definition of “investment company” and the requirement to register under the Investment
 Company Act that in turn depends upon the Issuer not being an investment company required to register
 under the Investment Company Act by reason of Rule 3a-7 thereunder in lieu of the Issuer’s reliance on
 Section 3(c)(7). It is expected that, in connection with certain capital raising activities of HFP, the SEC
 may consider the applicability of Rule 3a-7 to the Issuer. If it were determined that the Issuer cannot rely
 on Rule 3a-7, the Servicer may cause the Issuer to amend the Indenture without the consent of the
 Holders of the Notes and without the consent of the Holders of the Preference Shares to enable the Issuer
 to rely on Rule 3a-7 or to better assure compliance therewith, which could require additional limitations
 and prohibitions on the circumstances under which the Issuer may sell assets, on the type of assets that the
 Issuer may acquire out of the proceeds of assets that mature, are refinanced or otherwise sold, on the
 period during which such transactions may occur, on the level of transactions that may occur or on other
 provisions of the Indenture and could adversely affect the earnings of the Issuer and its ability to make
 payments on the Notes and distributions to the Preference Shares. As a condition to the effectiveness of
 any such amendment to the Indenture, the Issuer, the Trustee and the Servicer will receive (i) a Rating
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 Confirmation with respect to such amendment and (ii) a customary opinion of counsel (which may be
 supported as to factual matters by any relevant certificates or other documents necessary or advisable in
 the judgment of counsel delivering such opinion) from a nationally recognized law firm providing that,
 after giving effect to such amendment and assuming compliance with the Indenture as so amended, the
 Issuer is exempt from registration as an "investment company" under the Investment Company Act in
 reliance on such exemption under Rule 3a-7. Such nationally recognized law firm may also be acting as
 counsel to the Servicer, certain Holders of Notes and/or Preference Shares. The interests of any such
 parties may not align with the interest of other Holders of Notes and/or Preference Shares. See
 “Description of the Securities—The Indenture—Supplemental Indenture.”

         The Weighted Average Lives of the Notes May Vary

          The Stated Maturity of the Notes is May 1, 2022 or, upon a Maturity Extension (if any), the
 applicable Extended Stated Maturity Date. The weighted average life of each Class of Notes is expected
 to be shorter than the number of years until their Stated Maturity. See “Description of the Securities.”
 The weighted average life of a Class of Notes will be affected by the amount and timing of payments of
 principal of the Notes and the amount and timing of payments received on the Collateral Obligations.
 The amount and timing of payments of principal on the Notes will be affected by, among other things,
 any Optional Redemption of the Notes, any Refinancing of the Notes, a failure of any Coverage Test, a
 Rating Confirmation Failure, any failure by the Servicer to apply the proceeds of the offering of the
 Securities in Collateral Obligations, a redemption of the Securities made in connection with a Tax Event,
 any Special Redemption of one or more Classes of Notes, and an Event of Default by the Issuer in the
 payment of the Notes and an acceleration of the principal of the Notes in connection with an Event of
 Default. The occurrence of any of the foregoing unscheduled principal repayments of the Notes is, in
 turn, determined by the amount and timing of payments on the Collateral, which will be dependent on,
 among other things, the financial condition of the obligors on or issuers of the Collateral and the
 characteristics of the Collateral Obligations, including the existence and frequency of exercise of any
 prepayment, optional redemption, or sinking fund features, the prevailing level of interest rates, the
 redemption price, the actual default rate and the actual level of recoveries on any Defaulted Collateral
 Obligations, the frequency of tender or exchange offers for the Collateral Obligations and any sales of
 Collateral Obligations, dividends or other distributions received on any obligations that at the time of
 acquisition, conversion, or exchange do not satisfy the requirements of a Collateral Obligation, as well as
 the risks unique to Collateral Obligations of foreign issuers. A shortening of the average life of the Notes
 may adversely affect returns on the Preference Shares. See “Security for the Notes.”

         The Collateral Obligations actually acquired by the Issuer may be different from those expected
 to be purchased by the Servicer, on behalf of the Issuer, due to market conditions, availability of such
 Collateral Obligations and other factors. The actual portfolio of Collateral Obligations owned by the
 Issuer will change from time to time as a result of sales and purchases of Collateral Obligations.

         A Maturity Extension May Result in a Longer or Shorter Holding Period Than Expected

          Under the Indenture, the Issuer, if directed by the Servicer, shall be entitled, on each Extension
 Effective Date, to extend the Replacement Period (a maximum of four times) to the applicable Extended
 Replacement Period End Date if (i) in the case of an Extension Effective Date occurring after the first
 Extension Effective Date, the Issuer has previously effected a Maturity Extension for each preceding
 Extension Effective Date and (ii) the Extension Conditions are satisfied and the Issuer has given written
 notice of its election to extend the Replacement Period no later than 60 days and no earlier than 90 days
 prior to such Extension Effective Date. Under the Indenture and the Preference Share Documents, if the
 Replacement Period is so extended, the Stated Maturity of the Notes (or, in the case of the Preference
 Shares, the Scheduled Preference Shares Redemption Date) will be equally extended and the Weighted
 Average Life Test shall be automatically extended without the requirement for any approval or consent of
 any Holders of Securities. Holders of Securities will not be able to prevent or prohibit the extension of
 the Stated Maturity of the Notes (or, in the case of the Preference Shares, the Scheduled Preference
 Shares Redemption Date) so long as the Extension Conditions are satisfied, which include the ability of
 Holders of Securities to sell their Securities at the designated purchase price to a designated purchaser
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 under the Indenture. However, in the case of the Preference Shares, the Indenture provides that Holders
 of Preference Shares that have received a Preference Share Internal Rate of Return equal to or in excess of
 12.0% as of the Extension Effective Date will not receive any payment in exchange for their Preference
 Shares sold in connection with a Maturity Extension.

         As a consequence, if the Servicer elects to extend the Replacement Period and the Extension
 Conditions are satisfied, the Holders of the Securities must either hold their Securities for a significantly
 longer period of time than initially expected or sell their Securities at the applicable purchase price under
 the Indenture.

         An Amendment Buy-Out May Result in a Shorter Holding Period Than Expected

         Any Non-Consenting Holder of Securities with respect to an amendment of the Indenture (which
 includes Holders that fail to respond to a consent solicitation within the applicable period) may be forced
 to sell its applicable Securities to the Amendment Buy-Out Purchaser at the Amendment Buy-Out
 Purchase Price, resulting in a shorter holding period than expected at the time of investment in the
 Securities. However, in the case of the Preference Shares, the Indenture provides that the Amendment
 Buy-Out Purchase Price will be zero for Non-Consenting Holders that have received a Preference Share
 Internal Rate of Return equal to or in excess of 12.0% as of the Amendment Buy-Out Date. See
 “Description of the Securities—Amendment Buy-Out.” Given these features, a Holder’s ability to affect
 or influence the amendment process through voting against such amendment may be limited, while the
 Servicer’s ability to affect or influence the amendment process may be enhanced.

         The Indenture Requires Mandatory Redemption of the Notes for Failure to Satisfy Coverage Tests

          If any of the Coverage Tests are not satisfied on any Determination Date on which the Notes of
 the relevant Class are Outstanding, Interest Proceeds available on the related Payment Date in accordance
 with the Priority of Payments (and, to the extent Interest Proceeds are insufficient, Principal Proceeds
 available on the Payment Date in accordance with the Priority of Payments) are required to be applied to
 pay principal of the relevant Class of Notes (and any Classes senior to it) to the extent necessary for the
 relevant Coverage Test to be satisfied. The application of Interest Proceeds and Principal Proceeds to pay
 principal of the Notes to the extent necessary to restore the Coverage Tests to certain minimum required
 levels could result in an elimination, deferral or reduction in the amounts available to make distributions
 on the Preference Shares and interest and principal payments on one or more classes of Notes, which
 would adversely affect the returns to the Holders of the Securities.

         The Indenture Requires Mandatory Redemption of the Notes Upon Rating Confirmation Failure

          If any rating of any Class of Notes is reduced or withdrawn or placed on credit watch with
 negative implications by the Business Day after the 29th day after the Ramp-Up Completion Date by
 either Rating Agency, Interest Proceeds and, if Interest Proceeds are insufficient, Principal Proceeds, are
 required to be diverted in accordance with the Priority of Payments and used to pay the principal of the
 Notes sequentially in order of their relative priority on the next Payment Date and each Payment Date
 after that until each rating is reinstated. The application of Interest Proceeds and Principal Proceeds to
 pay principal of the Notes to the extent necessary for one or more ratings to be reinstated could result in
 an elimination, deferral, or reduction in one or more payments or distributions on one or more Classes of
 Securities, which would adversely affect the returns to the Holders of those Classes of Securities.

         The Indenture Permits Special Redemption of Notes Based on the Servicer’s Inability to Identify
         Replacement Collateral Obligations

         The Servicer is permitted under the Indenture to elect to have all or a portion of the funds then in
 the Collection Account available to be used to purchase additional Collateral Obligations applied to a
 Special Redemption of the Notes, in whole or in part, on one or more Payment Dates during the
 Replacement Period because it has been unable, for a period of at least 45 consecutive Business Days, to
 identify additional or replacement Collateral Obligations that are deemed appropriate by the Servicer in
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 its sole discretion and meet the Eligibility Criteria in sufficient amounts to permit the application of all or
 a portion of the funds then in the Collection Account available to be used to purchase additional or
 replacement Collateral Obligations. On the Special Redemption Date, in accordance with the Indenture,
 the Special Redemption Amount will be applied in accordance with “Description of the Securities—
 Priority of Payments—Principal Proceeds,” to the extent available (which includes for this purpose
 unapplied proceeds specified by the Servicer), to pay the principal of the Notes. The application of funds
 in that manner could result in an elimination, deferral, or reduction of amounts available to make
 payments on Securities subordinate in priority to the Securities being amortized. See “Description of the
 Securities—Special Redemption of Notes If the Servicer Does Not Identify Replacement Collateral
 Obligations as Contemplated by the Indenture.”

         The Notes Are Subject to Optional Redemption

          Subject to satisfaction of certain conditions, on any Payment Date upon the occurrence of a Tax
 Event or at any time after the Non-Call Period, the applicable Required Redemption Percentage may
 require that the Notes be redeemed as described under “Description of the Securities—Optional
 Redemption.” In the case of an Optional Redemption of the Notes, the Servicer may be required to
 aggregate Collateral Obligations to be sold together in one block transaction, thereby possibly resulting in
 a lower realized value for the Collateral Obligations sold. There can be no assurance that the market
 value of the Collateral will be sufficient for the applicable Required Redemption Percentage to direct an
 Optional Redemption of the Notes. A decrease in the market value of the Collateral would adversely
 affect the Sale Proceeds from their sale. Consequently, the conditions precedent to the exercise of an
 Optional Redemption may not be met. Moreover, the Holders of the Notes may not be able to invest the
 proceeds of the redemption of the Notes in investments providing a return equal to or greater than the
 Holders of the Notes expected to obtain from their investment in the Notes.

         The Notes are Subject to Redemption by Refinancing

         The Indenture provides that any Class of the Notes may be redeemed in whole, but not in part, on
 any Payment Date after the Non-Call Period from Refinancing Proceeds subject to the satisfaction of
 certain requirements. See “Description of the Securities—Optional Redemption—Redemption by
 Refinancing.” Accordingly, a more junior Class of Notes may be redeemed from Refinancing Proceeds in
 whole even if a more senior Class of Notes remains outstanding. Holders of Notes that are refinanced (or
 otherwise optionally redeemed) may not be able to reinvest the proceeds of such Notes in assets with
 comparable interest rates or maturity. An optional redemption from Refinancing Proceeds may also result
 in a shorter investment than a Holder of Notes may have anticipated.

         Future Ratings of the Notes Are Not Assured and Limited in Scope; the Preference Shares Are
         Not Rated

          It is a condition to the issuance of the Notes that they be rated as provided under “Summary of
 Terms—Principal Terms of the Securities.” A credit rating is not a recommendation to buy, sell or hold
 securities and is subject to revision or withdrawal at any time. There is no assurance that a rating will
 remain for any given period or that a rating will not be lowered or withdrawn entirely by each Rating
 Agency if in its judgment circumstances in the future so warrant. Any such action could have an adverse
 effect on the Holders of the relevant Class of Securities. If a rating initially assigned to a Class of Notes
 is subsequently lowered for any reason, no person is obligated to provide any additional credit support or
 credit enhancement. The ratings of the Notes are based on the assumption that no Maturity Extension
 occurs at any time.

         No rating of the Preference Shares will be sought or obtained in connection with their issuance.

         The Issuer could be Treated as Engaged in a United States Trade or Business

        Prior to the issuance of the Securities, the Issuer will receive an opinion from Latham & Watkins
 LLP (“Tax Counsel”), which opinion is based in part on the safe harbor provided by Section 864(b)(2) of
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 the Code and the Treasury regulations thereunder applying to non-U.S. persons that restrict their activities
 in the United States to trading in stocks and securities for their own account. The opinion will be to the
 effect that, although no activity closely comparable to that contemplated by the Issuer has been the
 subject of any Treasury regulation, revenue ruling or judicial decision and the matter is not free from
 doubt, assuming compliance with the Issuer’s Memorandum and Articles of Association, the Indenture,
 the Servicing Agreement and other related documents by all parties thereto, the Issuer’s permitted
 activities will not cause it to be treated as engaged in the conduct of a U.S. trade or business under the
 Code. However, in the absence of authority on point, whether the Issuer is or will be treated as engaged
 in a trade or business in the United States or not is not entirely free from doubt, and there can be no
 assurance that positions contrary to those stated in the opinion of Tax Counsel or any other advice or
 opinion may not be asserted successfully by the Internal Revenue Service (the “IRS”). The opinion is
 based on certain assumptions and on certain representations and agreements regarding restrictions on the
 future conduct of the activities of the Issuer and the Servicer. Although the Issuer intends to conduct its
 business in accordance with such assumptions, representations and agreements, if it were nonetheless
 determined that the Issuer was engaged in a United States trade or business and had taxable income that is
 effectively connected with such United States trade or business, foreign investors in Preference Shares
 that would otherwise not be subject to U.S. federal income tax would be subject to U.S. federal income
 tax on their allocable share of the Issuer’s income and the Issuer would be required to withhold on income
 allocable to such foreign investors of the Preference Shares regardless of whether distributions were made
 to such holders. Such withholding may reduce the amounts available to make payments on the Notes and
 would reduce distributions to the holders of the Preference Shares. Investors should note that the
 Treasury and the IRS recently announced that they are considering taxpayer requests for specific guidance
 on, among other things, whether a foreign person may be treated as engaged in a trade or business in the
 United States by virtue of entering into credit default swaps. However, the Treasury and the IRS have not
 yet provided any guidance on whether they believe entering into credit default swaps may cause a foreign
 person to be treated as engaged in a trade or business in the United States and if so, what facts and
 circumstances must be present for this conclusion to apply. Any future guidance issued by the Treasury
 and/or the IRS may have an adverse impact on the tax treatment of the Issuer. See discussion under the
 heading “Material Income Tax Considerations—U.S. Federal Income Taxation of the Issuer—U.S.
 Federal Income Tax” below. There can be no assurance that, if the Issuer were determined to be engaged
 in a trade or business in the United States, it would be able to make timely payments of interest on,
 payment of principal and payment of other distributions at the applicable Stated Maturity of the
 Securities. In addition, all or a portion of the payments on the Securities to a holder that is not a U.S.
 Holder (as defined in “Material Income Tax Considerations—General” below) could in such
 circumstance be subject to a 30% U.S. federal withholding tax. See “Material Income Tax
 Considerations.”

         Benefit Plan Investors

         Certain transactions involving the Co-Issuers in the ordinary course might be deemed to
 constitute “prohibited transactions” under the United States Employee Retirement Income Security Act of
 1974, as amended (“ERISA”), and Section 4975 of the Code with respect to Benefit Plan Investors (as
 defined in “Considerations for Benefit Plans”) that purchase the Securities, if assets of the Issuer and/or
 the Co-Issuer were deemed to be “plan assets” subject to Title I of ERISA or Section 4975 of the Code or
 Similar Law (as defined in “Considerations for Benefit Plans”). The Issuer intends to restrict ownership of
 the Class D Notes and the Preference Shares by Benefit Plan Investors so that no assets of the Issuer will
 be deemed to be “plan assets” of a plan subject to Title I of ERISA or Section 4975 of the Code.
 Specifically, the Issuer, in reliance on purchaser and transferee representations and deemed
 representations, intends to restrict the acquisition of the Class D Notes and the Preference Shares so that
 less than 25% of the aggregate outstanding amount of each of the Class D Notes, the Class I Preference
 Shares and the Class II Preference Shares will be held by Benefit Plan Investors (determined without
 regard to those Class D Notes and Preference Shares held by Controlling Persons (as defined in
 “Considerations for Benefit Plans”), such as the Class D Notes and the Class II Preference Shares held by
 the Servicer or its affiliates and employees thereof). However, there can be no assurance that the
 ownership of any of the Class D Notes, the Class I Preference Shares or Class II Preference Shares by

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 Benefit Plan Investors will always remain below the 25% threshold established under the Plan Asset
 Regulation (as defined in “Considerations for Benefit Plans”).

         Although the Co-Issuers believe that the Senior Notes should be classified as indebtedness (rather
 than as equity) for purposes of the Plan Asset Regulation (as defined in “Considerations for Benefit
 Plans”) (and thus will allow more than 25% of each class of Senior Notes to be purchased by Benefit Plan
 Investors), there can be no assurance that the Senior Notes will be so characterized, and the
 characterization of one or more classes of the Senior Notes could change if the financial condition of the
 Co-Issuers changes or other terms and conditions of the Senior Notes change.

          If the Benefit Plan Investor ownership of any of the Class D Notes, the Class I Preference Shares
 or the Class II Preference Shares were to meet or exceed the 25% threshold described above, or any class
 of the Senior Notes were characterized as equity and such threshold were exceeded with respect to such
 class, resulting in the assets of the Co-Issuers being deemed to be “plan assets,” certain transactions that
 the Co-Issuers might enter into, or may have entered into, in the ordinary course of business, might
 constitute non-exempt prohibited transactions under ERISA and/or Section 4975 of the Code and might
 have to be rescinded. Additionally, the Co-Issuers or other “parties in interest” (as defined in Section
 3(14) of ERISA) or “disqualified persons” (as defined in Section 4975(e)(2) of the Code) may be subject
 to other penalties and liabilities with respect to the transaction.

          In addition, the acquisition or holding of the Securities by or on behalf of a plan subject to Title I
 of ERISA or Section 4975 of the Code could give rise to a prohibited transaction if any of the Co-Issuers,
 the Trustee, the Servicer, the Initial Purchaser, the Placement Agent, other persons providing services in
 connection with the Co-Issuers, or any of their respective affiliates, is a “disqualified person” or “party in
 interest” with respect to that plan. The acquisition or holding of Securities by a governmental, foreign or
 church plan subject to laws substantially similar to the provisions of Section 406 of ERISA or Section
 4975 of the Code could constitute a violation of such similar laws. If such transaction is not exempt from
 ERISA and Section 4975 of the Code or, if applicable, substantially similar laws pertaining to
 governmental, foreign or church plans, the transaction may have to be rescinded and the Co-Issuers or
 other “disqualified persons” or “parties in interest” may be subject to other penalties with respect to the
 transaction. Therefore, each investor in the Securities will be required or deemed to represent and warrant
 that either (i) it is not, and is not using the assets of, and throughout the holding and disposition of such
 Securities will not become or transfer its interest to, a plan subject to Title I of ERISA or Section 4975 of
 the Code, or an entity that is deemed to hold assets of any of the foregoing or a governmental, foreign or
 church plan which is subject to any federal, state, foreign or local law that is substantially similar to the
 provisions of Section 406 of ERISA or Section 4975 of the Code or (ii) its purchase, holding and
 disposition of such Securities will not result in a non-exempt prohibited transaction under Section 406 of
 ERISA or Section 4975 of the Code (or, in the case of a governmental, foreign or church plan, a violation
 of any substantially similar federal, state, foreign or local law) because such purchase, holding and
 disposition either (x) is not, and will not become, subject to such laws or (y) is covered by an exemption
 from all applicable prohibited transactions, all of the conditions of which are and will be satisfied upon
 the acquisition of, and throughout its holding and disposition of such Securities.

          Any transfer in violation of the foregoing representations will be treated as having no force and
 effect and will be null and void ab initio, potentially causing loss to the investor purchasing in violation of
 these representations.

         See “Considerations for Benefit Plans” herein for a more detailed discussion of certain ERISA
 and related considerations with respect to an investment in the Securities by an employee benefit plan or
 similar plan or arrangement.




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 Relating to the Servicing Agreement

         The Servicing Agreement May Be Amended Without the Consent of Holders of Securities Whether
         or Not Such Amendment Adversely Affects Holders of Securities

          The Issuer may, at the request of the Servicer, enter into an amendment or modification of the
 Servicing Agreement from time to time, without the consent of the Holders of the Securities and without
 regard to whether or not the interests of the Holders of the Securities are adversely affected thereby;
 provided that, with respect to any such amendment or modification, (a) the Rating Condition is satisfied
 and (b) a Majority of the Controlling Class of Notes or a Majority of the Holders of the Preference Shares
 have not objected in writing to such amendment or modification by delivering a notice to the Trustee
 prior to the relevant Objection Cut-Off Date. Holders of the Securities other than Holders of the
 Controlling Class of Notes and Holders of the Preference Shares will have no ability to vote against any
 such amendment or modification. The ability of the Holders of the Controlling Class of Notes and
 Holders of the Preference Shares to influence the amendment process is limited to the right of a Majority
 of either such Class to object as described above. To the extent that less than a Majority of the Controlling
 Class of Notes or a Majority of the Holders of the Preference Shares object to the proposed amendment or
 modification, the Servicer may request that the Issuer enter into such amendment or modification and the
 Trustee consent thereto, without regard to the fact that certain Holders of the Securities may have
 objected to such proposed amendment or modification.

 Relating to the Servicer

         The Issuer Will Depend on the Expertise Available to the Servicer and its Key Personnel

          The performance of the Issuer’s portfolio of Collateral Obligations depends heavily on the skills
 of the Servicer in analyzing, selecting and monitoring the Collateral Obligations. As a result, the Issuer
 will be highly dependent on the financial and servicing experience of certain professionals associated with
 the Servicer, none of whom is under a contractual obligation to the Issuer to continue to be associated
 with the Servicer for the term of this transaction. The loss of one or more of these individuals could have
 a material adverse effect on the performance of the Co-Issuers. Furthermore, the Servicer has informed
 the Issuer that these professionals are also actively involved in other activities and will not be able to
 devote all of their time to the Issuer’s business and affairs. In addition, individuals not currently
 associated with the Servicer may become associated with the Servicer and the cash-flow performance of
 the Collateral Obligations may also depend on the financial and servicing experience of such individuals.
 See “The Servicing Agreement” and “The Servicer.”

         The Issuer Will Have Limited Control of the Administration and Amendment of Collateral
         Obligations

          The Servicer will cause the Issuer to exercise or enforce, or refrain from exercising or enforcing,
 its rights in connection with the Collateral Obligations or any related documents or will refuse
 amendments or waivers of the terms of any Collateral Obligation and related documents in accordance
 with its ordinary business practices as if the Servicer were administering the Collateral Obligations for its
 own account. The authority of the Servicer to cause the Issuer to change the terms of the Collateral
 Obligations will generally not be restricted by the Indenture or the Servicing Agreement. As a result, the
 Issuer will be relying on the Servicer’s customary standards, policies and procedures with respect to the
 servicing of the Collateral Obligations. The Holders of the Securities and the Issuer will not have any
 right to compel the Issuer or the Servicer to take or refrain from taking any actions other than in
 accordance with its ordinary business practices.

         In addition, when the Issuer holds a Participation, the Issuer generally will have no right to
 enforce compliance by the borrower with the loan or credit agreement or other instrument evidencing the
 related loan obligation, no rights of set-off against the borrower, no direct interest in the collateral
 supporting the loan obligation, and no right to vote with respect to amendments of, or waivers of defaults
 under, the loan obligation. An acquisition by the Issuer of a Synthetic Security related to a Loan involves
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 many of the same considerations relevant to Participations. See “—Relating to the Collateral
 Obligations—Loans Involve Particular Risks” and “—Synthetic Securities Involve Particular Risks”
 below.

          A modification that would increase the commitment of a lender, reduce the interest rate, or
 postpone the final maturity of an obligation under a participation agreement, or release all of the collateral
 for an obligation, generally requires the affirmative vote of the Participating Institution for a loan in
 which the Issuer owns a Participation, or of the Issuer for a Loan purchased by assignment, for the
 increase, reduction, or postponement to be binding. The exercise of remedies may also be subject to the
 vote of a specified percentage of the lenders under the loan obligation. The Servicer will have the
 authority to cause the Issuer to consent to certain amendments, waivers, or modifications to the Collateral
 Obligations requested by obligors or the lead agents for participation agreements relating to Participations
 (subject to operating procedures intended to reduce the risk that the Issuer would be deemed to be
 engaged in a trade or business in the United States for United States federal income tax purposes). The
 Servicer may, subject to the transaction documents, cause the Issuer to extend or defer the maturity, adjust
 the outstanding balance of any Collateral Obligation, reduce or forgive interest or fees, release material
 collateral or guarantees, or otherwise amend, modify, or waive the terms of any related loan agreement,
 including its payment terms. The Servicer will make determinations in accordance with its servicing
 standards under the Servicing Agreement. Any amendment, waiver, or modification of a Collateral
 Obligation could postpone the expected maturity of the Notes or the expected redemption date of the
 Preference Shares, or reduce the likelihood of timely and complete payment of interest or principal under
 the Notes or a full return of an investment in the Preference Shares.

         Performance History of the Servicer May Not Be Indicative of Future Results

          Any prior results of the Servicer, and the persons associated with it or any other entity may not be
 indicative of the Issuer’s future results. The nature of, and risks associated with, the Issuer’s future assets
 may differ substantially from those assets historically associated with the Servicer, and the persons
 associated with it or any other entity. There can be no assurance that the Issuer’s assets will perform as
 well as the past assets serviced or managed by the Servicer, and the persons associated with it or any other
 entity. Moreover, since the criteria that govern the acquisition of the Collateral Obligations do not govern
 the Servicer’s activities generally, the acquisition and disposition of Collateral Obligations conducted in
 accordance with the criteria contained in the Indenture, and the results they yield, may differ substantially
 from other assets serviced or managed by the Servicer.

          Other accounts, collateralized debt obligations or other funds managed or serviced by the Servicer
 that are similar to the Issuer (“Other Debt Funds”) have been structured to comply with the exemption
 from registration under the Investment Company Act provided by Section 3(c)(7) thereunder, whereas the
 Issuer is also structured to comply with the exemption from registration provided by Rule 3a-7 under the
 Investment Company Act and may in the future, subject to the conditions described herein, rely
 exclusively on such exemption from registration provided by Rule 3a-7. Rule 3a-7 requires certain
 additional limitations and restrictions on the buying and selling of assets of the Issuer that are not
 applicable to the assets of the Other Debt Funds relying on the Section 3(c)(7) exemption from
 registration. As a result, the Issuer’s ability to react to changes in market value of the assets is more
 limited and the returns on the Issuer’s assets and the Securities, including the returns on the Preference
 Shares, may not be comparable to, and may differ materially from, the performance of the Other Debt
 Funds.

          Notwithstanding the inapplicability of the results obtained and expected to be obtained from the
 past activities of the Servicer, a period of increased volatility in market conditions, including interest rate
 environments, can have an adverse effect on the realized and unrealized returns to investors in the past
 products of the Servicer. There can be no assurance that current economic conditions and the effects of
 increased interest rate and corresponding price volatility will not adversely impact the investment returns
 ultimately realized by investors or continued compliance with, among other things, applicable coverage
 requirements described in this Offering Memorandum.

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 Relating to the Collateral Obligations

         In General, the Collateral Obligations Are Subject to Various Risks

         The Collateral Obligations are subject to credit, liquidity, and interest rate risks, among others.
 The Eligibility Criteria and the Collateral Quality Tests have been established to address certain assumed
 deficiencies in payment occasioned by defaults with respect to the Collateral Obligations. If any
 deficiencies exceed certain modeled scenarios, however, payments or distributions on the Securities could
 be adversely affected. To the extent that a default occurs with respect to any Collateral Obligation
 securing the Notes and the Issuer (on the advice of the Servicer) sells or otherwise disposes of the
 Collateral Obligation, it is not likely that the proceeds of the sale or other disposition will be equal to the
 amount of principal and interest owing to the Issuer on the Collateral Obligation.

         The value of the Collateral Obligations generally will fluctuate with, among other things, the
 financial condition of the obligors on or issuers of the Collateral Obligations and, with respect to
 Synthetic Securities, both the financial condition of the related Synthetic Security counterparties and the
 obligors on or issuers of the Reference Obligations, general economic conditions, the condition of certain
 financial markets, political events, developments or trends in any particular industry, and changes in
 prevailing interest rates.

          The ability of the Issuer to sell Collateral Obligations before their maturity is subject to certain
 restrictions under the Indenture including those described under “Security for the Notes—Sale of
 Collateral Obligations; Acquisition of Collateral Obligations.”

         Below Investment-Grade Obligations Involve Particular Risks

         A substantial amount of the Collateral Obligations will consist of loans, bonds and other
 obligations that are below investment grade, including high-yield loans and securities. Those Collateral
 Obligations will have greater credit and liquidity risk than investment-grade obligations. They are also
 often unsecured and may be subordinated to certain other obligations of their issuer. The lower rating of
 those Collateral Obligations reflects a greater possibility that adverse changes in the financial condition of
 an issuer or in general economic conditions or both may impair the ability of their issuer to make
 payments of principal or interest. These Collateral Obligations may be speculative.

         Risks of below investment-grade Collateral Obligations may include (among others):

         (i)      limited liquidity and secondary market support;

         (ii)     in the case of fixed-rate high-yield debt securities, substantial market place volatility
                  resulting from changes in prevailing interest rates;

         (iii)    subordination to the prior claims of senior lenders and creditors;

         (iv)     the operation of mandatory sinking fund or call and redemption provisions during periods
                  of declining interest rates that could cause the Issuer to apply premature redemption
                  proceeds in lower-yielding debt obligations;

         (v)      the possibility that earnings of the below investment-grade issuer may be insufficient to
                  meet its debt service; and

         (vi)     the declining creditworthiness and potential for insolvency of a below investment-grade
                  issuer during periods of rising interest rates and economic downturn.

        An economic downturn or an increase in interest rates could severely disrupt the market for
 below investment-grade obligations and could adversely affect the value of outstanding below
 investment-grade obligations and the ability of their issuers to repay principal and interest.
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          Issuers that are below investment grade may be highly leveraged and may not have available to
 them more traditional methods of financing. The risk associated with obligations of below investment-
 grade issuers is generally greater than is the case with investment-grade issuers. For example, during an
 economic downturn or a sustained period of rising interest rates, below investment-grade issuers may be
 more likely to experience financial stress, especially if they are highly leveraged. During those periods,
 timely service of debt obligations may also be adversely affected by specific issuer developments, or the
 issuer’s inability to meet specific projected business forecasts or the unavailability of additional financing.
 The risk of loss from default by the issuer is significantly greater for the holders of below investment-
 grade obligations because those obligations may be unsecured and may be subordinated to obligations
 owed to other creditors of the issuer. Further, bankruptcy and similar laws applicable to issuers of the
 Collateral Obligations may limit the amount of any recovery in respect of a Collateral Obligation if its
 issuer is insolvent and may also adversely affect the timing of receipt of any recovery to which the Issuer
 may be entitled. In addition, the Issuer may incur additional expenses to the extent it is required to seek
 recovery upon a default on such an obligation or participate in its restructuring.

         As a result of the limited liquidity of below investment-grade obligations, their prices have at
 times experienced significant and rapid decline when a substantial number of holders decided to sell. In
 addition, it may be difficult or impossible for the Issuer to dispose of certain below investment-grade
 obligations in a timely manner because there may be a thin trading market for them. Even if is possible to
 dispose of such Collateral Obligations, it is unlikely that the proceeds of such disposition would equal the
 unpaid principal and interest thereof. To the extent that a secondary trading market for below investment-
 grade obligations does exist, it is generally not as liquid as the secondary market for highly rated
 obligations. Reduced secondary market liquidity may have an adverse impact on the Issuer’s ability to
 dispose of particular Collateral Obligations in response to a specific economic event, such as a
 deterioration in the creditworthiness of the issuer of the Collateral Obligation.

         All risks associated with the Issuer’s purchase of such Collateral Obligations will be borne by the
 holders of the Securities in reverse order of seniority, beginning with the Preference Shares as the most
 junior Class.

         Limitations of Portfolio Diversification

          The Indenture will require that certain levels of diversification are maintained or improved in
 connection with purchases of Collateral Obligations. The Collateral Obligations are expected to consist
 primarily of below investment grade debt obligations. To the extent that below investment grade debt
 obligations as an asset class generally underperform or experience increased levels of credit losses or
 market volatility, the Collateral Obligations will likely experience credit losses and losses in connection
 with sales even with significant issuer and industry diversification. In addition, given the leveraged
 capital structure of the Issuer, any losses resulting from defaults and/or trading losses will be borne first
 by the Preference Shares, as the most junior Class. Because the value of the obligations of any single
 issuer or industry sector will represent a higher percentage of the issuance price, as the case may be, of
 the Preference Shares (or any other junior Class) than it represents in relation to the aggregate principal
 amount of the total portfolio, there can be no assurance that the diversification guidelines of the Indenture
 will be effective in minimizing losses on the junior Classes of Securities, particularly the Preference
 Shares.

         Loans Involve Particular Risks

         The Collateral Obligations will consist primarily of Dollar-denominated senior secured and senior
 unsecured loans, which are required by the Indenture to be obligations of corporations, partnerships, or
 other entities organized under the laws of the United States (or any of its states) or of foreign obligors
 meeting specified criteria, or Synthetic Securities the Reference Obligations of which are such loans. See
 “Security for the Notes—Collateral Obligations.”

         Loans may become non-performing for a variety of reasons. Non-performing loans may require
 substantial workout negotiations or restructuring that may entail, among other things, a substantial
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 reduction in the interest rate or a substantial write-down of the principal of a loan. In addition, because of
 the unique and customized nature of a loan agreement and the private syndication of a loan, loans
 typically may not be purchased or sold as easily as publicly traded securities, and historically the trading
 volume in the bank term loan market has been small relative to the corporate bond market. Loans may
 encounter trading delays due to their unique and customized nature, and transfers may require the consent
 of an agent bank or borrower. Consequently, there can be no assurance that there will be any market for
 any Loan if the Issuer is required to sell or otherwise dispose of such Loan. Depending on the terms of
 the underlying loan documentation, consent of the borrower may be required for an assignment, and a
 purported assignee may not have any direct right to enforce compliance by the obligor with the terms of
 the loan agreement in the absence of this consent.

          The Issuer may acquire interests in loans either directly (by assignment) or indirectly (by
 Participation or through Synthetic Securities). The Issuer may not originate any loans. The purchaser of
 an assignment of a loan obligation typically succeeds to all the rights and obligations of the Participating
 Institution and becomes a lender under the loan or credit agreement with respect to the debt obligation. In
 contrast, a Participation acquired by the Issuer in a portion of a loan obligation held by a Participating
 Institution or a security or other debt obligation typically results in a contractual relationship only with the
 Participating Institution, not with the borrower. The Issuer would have the right to receive payments of
 principal, interest, and any fees to which it is entitled under a Participation only from the Participating
 Institution and only upon receipt by the Participating Institution of those payments from the borrower.
 Participating Institutions commonly reserve the right to administer the Participations sold by them as they
 see fit (unless their actions constitute gross negligence or willful misconduct) and to amend the
 documentation evidencing the obligations in all respects. However, most participation agreements
 provide that the Participating Institutions may not vote in favor of any amendment, modification or
 waiver that forgives principal, interest or fees, reduces principal, interest or fees that are payable,
 postpones any payment of principal (whether a scheduled payment or a mandatory prepayment), interest
 or fees or releases any material guarantee or security without the consent of the participant (at least to the
 extent the participant would be affected by any such amendment, modification or waiver). Participating
 Institutions voting in connection with a potential waiver of a restrictive covenant may have interests
 different from those of the Issuer, and such Participating Institutions might not consider the interests of
 the Issuer in connection with their votes. In addition, many participation agreements that provide voting
 rights to the holder of the Participation further provide that if the holder does not vote in favor of
 amendments, modifications or waivers, the selling lender may repurchase such Participation at par. The
 Issuer will be subject to restrictions on the amount of Participations that may be acquired for inclusion in
 the Collateral. See “Security for the Notes—Eligibility Criteria.”

          Holders of Participations are subject to additional risks not applicable to a holder of a direct
 interest in a loan. In the event of the insolvency of the Participating Institution, under the laws of the
 United States and the various States thereof, a holder of a Participation may be treated as a general
 creditor of the Participating Institution and may not have any exclusive or senior claim with respect to the
 Participating Institution’s interest in, or the collateral with respect to, the loan. Consequently, the holder
 of a Participation will be subject to the credit risk of the Participating Institution as well as of the
 borrower. Participants also often do not benefit from the collateral (if any) supporting the loans in which
 they have a participation interest because Participations often do not provide a purchaser with direct rights
 to enforce compliance by the borrower with the terms of the loan agreement or any rights of set-off
 against the borrower. The Servicer is not required, and does not expect, to perform independent credit
 analyses of the Participating Institutions.

          Certain of the loans in the Issuer’s portfolio may be unsecured or secured by collateral worth less
 than the outstanding balance of the loan. In addition to the general risks associated with loans described
 above, unsecured loans will not be secured by substantial collateral or any collateral and secured loans
 may be substantially under-secured. Without collateral and with materially inadequate collateral, the
 ability of the holder of the loan to recover amounts due from the borrower may be substantially limited.



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         Risks Associated with Applying Proceeds of Dispositions

          The Issuer’s income will decline if and when the Issuer applies the proceeds from matured,
 prepaid, sold or called Collateral Obligations into lower yielding instruments. A decline in income will
 affect the amount available for distributions on the Securities. Subject to criteria described herein, the
 Servicer will have discretion to use Principal Proceeds to purchase Collateral Obligations in compliance
 with the Eligibility Criteria and other requirements for the acquisition of Collateral Obligations described
 herein. The yield with respect to such Collateral Obligations will depend on, among other factors, interest
 rates available at the time, the availability of assets satisfying the Eligibility Criteria and acceptable to the
 Servicer, and market conditions related to leveraged Loans and high yield bonds in general. The need to
 satisfy the Eligibility Criteria and other requirements for the acquisition of Collateral Obligations
 described herein and identify acceptable assets may require the purchase of Collateral Obligations with a
 lower yield than those replaced, with different characteristics than those replaced (including, but not
 limited to, coupon, spread, maturity, call features and/or credit quality) or require that such funds be
 maintained in Eligible Investments pending such replacement of Collateral Obligations, which will
 further reduce the yield on the Collateral Obligations. Any decrease in the yield on the Collateral
 Obligations will have the effect of reducing the amounts available to make distributions on the Securities,
 especially the most junior Class of Securities. There can be no assurance that in the event Collateral
 Obligations are sold, prepaid, called, or mature, yields on Collateral Obligations that are available and
 eligible for purchase will be at the same levels as those replaced, that the characteristics of any Collateral
 Obligations purchased will be the same as those replaced or as to the timing of the purchase of any such
 Collateral Obligations.

          Leveraged Loans and privately placed high yield bonds are not as easily (or as quickly) purchased
 or sold as publicly traded securities for a variety of reasons, including confidentiality requirements with
 respect to obligor information, the customized non-uniform nature of loan agreements and private
 syndication. The reduced liquidity and lower volume of trading in such debt obligations, in addition to
 restrictions on purchase represented by the Eligibility Criteria, could result in periods of time during
 which the Issuer is not able to fully apply its cash to purchase Collateral Obligations. The longer the
 period before the application of cash to purchase Collateral Obligations, the greater the adverse impact
 will be on aggregate Interest Proceeds collected and distributed by the Issuer, including on the Securities,
 especially the most junior Class of Securities, thereby resulting in lower yields than could have been
 obtained if proceeds were immediately applied. In addition, leveraged Loans are often prepayable by the
 borrowers with no, or limited, penalty or premium. As a result, leveraged Loans generally prepay more
 frequently than other corporate obligations of the same borrower. Senior leveraged Loans usually have
 shorter terms than more junior obligations and often require mandatory repayments from excess cash
 flow, asset dispositions and offerings of debt and/or equity securities. The increased levels of
 prepayments and amortization of leveraged Loans increase the associated replacement risk on the
 Collateral Obligations which risk will first be borne by holders of the Securities, beginning with the
 Preference Shares as the most junior Class.

         Defaults and Market Volatility

         To the extent that a default occurs with respect to any Collateral Obligation and the Issuer sells or
 otherwise disposes of that Collateral Obligation, it is likely that the proceeds will be less than its unpaid
 principal, interest or its purchase price. This could have a material adverse effect on the payments on the
 Securities. The Issuer also may incur additional expenses to the extent it is required to seek recovery after
 a default or participate in the restructuring of an obligation. Even in the absence of a default with respect
 to any of the Collateral Obligations, the market value of the Collateral Obligation at any time will vary,
 and may vary substantially, from the price at which that Collateral Obligation was initially purchased and
 from the principal amount of such Collateral Obligation, due to market volatility, changes in relative
 credit quality, general economic conditions, the level of interest rates, changes in exchange rates, the
 supply of below investment grade debt obligations and other factors that are difficult to predict. In
 addition, the Indenture places significant restrictions on the Servicer’s ability to buy and sell Collateral
 Obligations which restrictions may be greater if amendments are made to assure compliance with Rule

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 3a-7. See “—The Servicer May Cause the Issuer to Amend the Indenture to Assure Compliance with
 Rule 3a-7 Without the Consent of the Holders of the Securities in a Manner that May Adversely Affect
 the Holders of Securities”.

          The market price of below investment grade debt obligations may from time to time experience
 significant volatility. During certain periods, this market has experienced significant volatility with
 respect to market prices, a significant increase in issues trading at distressed levels, a significant increase
 in default rates, and a significant decrease in recovery rates. No assurance can be given that volatility in
 the below investment grade debt market will not continue in the future. Such volatility can adversely
 impact the liquidity, market prices and other performance characteristics of leveraged Loans and high
 yield bonds.

         Structured Finance Obligations Involve Particular Risks

          A portion of the Collateral Obligations may consist of Structured Finance Obligations. Structured
 Finance Obligations may present risks similar to those of the other types of Collateral Obligations which
 the Issuer may purchase and, in fact, the risks may be of greater significance in the case of Structured
 Finance Obligations. Moreover, purchasing Structured Finance Obligations may entail a variety of
 unique risks. Among other risks, Structured Finance Obligations may be subject to prepayment risk,
 credit risk, liquidity risk, market risk, structural risk, legal risk and interest rate risk (which may be
 exacerbated if the interest rate payable on a Structured Finance Obligation changes based on multiples of
 changes in interest rates or inversely to changes in interest rates). In addition, certain Structured Finance
 Obligations (particularly subordinated collateralized bond obligations) may provide that non-payment of
 interest is not an event of default in certain circumstances and the holders of the securities will therefore
 not have available to them any associated default remedies. During the period of non-payment, unpaid
 interest will generally be capitalized and added to the outstanding principal balance of the related security.
 Furthermore, the performance of a Structured Finance Obligation will be affected by a variety of factors,
 including its priority in the capital structure of its issuer, the availability of any credit enhancement, the
 level and timing of payments and recoveries on and the characteristics of the underlying receivables,
 loans, or other assets that are being securitized, bankruptcy remoteness of those assets from the originator
 or transferor, the adequacy of and ability to realize on any related collateral, and the skill of the manager
 or the servicer of the Structured Finance Obligation in managing or servicing securitized assets. The
 price of a Structured Finance Obligation, if required to be sold, may be subject to certain market and
 liquidity risks for securities of its type at the time of sale. In addition, Structured Finance Obligations
 may involve initial and ongoing expenses above the costs associated with the related direct purchases.

         Synthetic Securities Involve Particular Risks

         A portion of the Collateral Obligations may consist of Synthetic Securities the Reference
 Obligations of which are Loans, Structured Finance Obligations or High-Yield Bonds. Acquiring these
 types of assets through the purchase of Synthetic Securities present risks in addition to those inherently
 associated with direct purchases of such assets. With respect to Synthetic Securities, the Issuer will
 usually have a contractual relationship only with the counterparty of the Synthetic Security, and not the
 reference obligor on the Reference Obligation. The Issuer will have no right to enforce compliance by the
 reference obligor with the Reference Obligation nor any rights of set-off against the reference obligor, nor
 have any voting or other consensual rights of ownership with respect to the Reference Obligation. The
 Issuer will not directly benefit from any collateral supporting the Reference Obligation and will not have
 the benefit of the remedies that would normally be available to a holder of the Reference Obligation.

          In addition, in the event of the insolvency of the Synthetic Security Counterparty, the Issuer will
 be treated as a general creditor of the counterparty and will not have any claim of title with respect to the
 Reference Obligation. Consequently, the Issuer will be subject to the credit risk of the counterparty as
 well as that of the reference obligor and concentrations of Synthetic Securities entered into with any one
 counterparty will subject the Securities to an additional degree of risk with respect to defaults by that
 counterparty. One or more Affiliates of CGMI may act as counterparty with respect to all or a portion of
 the Synthetic Securities, which relationship may create certain conflicts of interest. See “—Relating to
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 Certain Conflicts of Interest—The Issuer Will Be Subject to Various Conflicts of Interest Involving
 Citigroup Global Markets Inc.” below. In addition, Synthetic Securities may involve initial and ongoing
 expenses above the costs associated with the related direct acquisitions. The Issuer will be subject to
 restrictions on the amount of Synthetic Securities it may own at any one time.

         Some of the Collateral Obligations Will Be Illiquid

          Some of the Collateral Obligations purchased by the Issuer will have no, or only a limited, trading
 market. The Issuer’s acquisition of illiquid Collateral Obligations may restrict its ability to dispose of
 Collateral Obligations in a timely fashion and for a fair price, as well as its ability to take advantage of
 market opportunities, although the Issuer is generally prohibited by the Indenture from selling Collateral
 Obligations except under certain limited circumstances described under “Security for the Notes—Sale of
 Collateral Obligations; Acquisition of Collateral Obligations.” Illiquid Collateral Obligations may trade
 at a discount from comparable, more liquid assets. The market for below investment grade debt
 obligations may become illiquid from time to time as a result of adverse market conditions, regulatory
 developments or other circumstances. In addition, the Issuer may purchase privately placed Collateral
 Obligations that may or may not be freely transferable under the laws of the applicable jurisdiction or due
 to contractual restrictions on resale, and even if those privately placed Collateral Obligations are
 transferable, the prices realized from their sale could be less than those originally paid by the Issuer or
 less than what may be considered their fair value.

         Insolvency Considerations With Respect to Issuers of Collateral Obligations May Affect the
         Issuer’s Rights

          Various laws enacted for the protection of creditors may apply to the Collateral Obligations. If,
 in a lawsuit brought by a creditor or representative of creditors of an obligor under a Collateral Obligation
 (such as a trustee in bankruptcy), a court were to find that the obligor did not receive fair consideration or
 reasonably equivalent value for incurring the indebtedness evidenced by the Collateral Obligation and,
 after giving effect to the indebtedness and the use of the proceeds thereof, the obligor (i) was insolvent,
 (ii) was engaged in a business for which the remaining assets of the obligor constituted unreasonably
 small capital or (iii) intended to incur, or believed that it would incur, debts beyond its ability to pay them
 as they mature, the court could determine to invalidate, in whole or in part, the indebtedness as a
 fraudulent conveyance, to subordinate the indebtedness to existing or future creditors of the obligor, or to
 recover amounts previously paid by the obligor in satisfaction of the indebtedness. There can be no
 assurance as to what standard a court would apply to determine whether the obligor was “insolvent” or
 that, regardless of the method of valuation, a court would not determine that the obligor was “insolvent,”
 in each case, after giving effect to the incurrence of the Collateral Obligation and the use of its proceeds.
 In addition, in the event of the insolvency of an obligor under a Collateral Obligation, payments made on
 the Collateral Obligation may be subject to avoidance as a “preference” if made within a certain period
 before insolvency (which may be as long as approximately one year).

         In general, if payments on a Collateral Obligation are avoidable, whether as fraudulent
 conveyances or preferences, the payments can be recaptured either from the initial recipient (such as the
 Issuer) or from subsequent transferees of the payments (such as the Holders of the Securities). To the
 extent that any payments are recaptured from the Issuer, the resulting reduction in payments on the
 Securities will be borne by the Holders of the Securities beginning with the Preference Shares as the most
 junior Class of Securities. A court in a bankruptcy or insolvency proceeding would be able to direct the
 recapture of any payment from a Holder of the Securities to the extent that the court has jurisdiction over
 the Holder or its assets. Since there is no judicial precedent relating to structured securities such as the
 Securities, there can be no assurance that a Holder of Securities will be able to avoid recapture on this
 basis.

          The preceding discussion is based on principles of United States federal and state laws. Insofar
 as Collateral Obligations that are obligations of non-United States obligors are concerned, the laws of
 certain foreign jurisdictions may provide for avoidance remedies under factual circumstances similar to,

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 or broader or narrower than, those described above, with consequences that may or may not be analogous
 to those described above under United States federal and state laws.

         Collateral Obligations consisting of obligations of non-U.S. issuers may be subject to various
 laws enacted in their home countries for the protection of debtors or creditors, which could adversely
 affect the Issuer’s ability to recover amounts owed. These insolvency considerations will differ
 depending on the country in which each issuer is located and may differ depending on whether the issuer
 is a non-sovereign or a sovereign entity.

         International Collateral Obligations Involve Particular Risks

          A portion of the Collateral Obligations may consist of obligations of obligors Domiciled outside
 the United States. Acquiring assets outside the United States may involve greater risks than acquiring
 assets in the United States. These risks may include: less publicly available information; varying levels of
 governmental regulation and supervision; and the difficulty of enforcing legal rights in a foreign
 jurisdiction and uncertainties as to the status, interpretation and application of laws. Moreover, foreign
 companies may be subject to accounting, auditing, and financial reporting standards, practices, and
 requirements different from those applicable to U.S. companies.

          There generally is less governmental supervision and regulation of exchanges, brokers and issuers
 in foreign countries than there is in the United States. For example, there may be no comparable
 provisions under certain foreign laws with respect to insider trading and similar investor protection
 securities laws that apply with respect to securities transactions consummated in the United States.

          Foreign markets also have different clearance and settlement procedures, and in certain markets
 there have been times when settlements have failed to keep pace with the volume of securities
 transactions, making it difficult to conduct transactions. Delays in settlement could result in periods when
 assets of the Issuer are unapplied and no return is earned on them. The inability of the Issuer to make
 intended purchases of Collateral Obligations due to settlement problems or the risk of intermediary
 counterparty failures could cause the Issuer to miss opportunities to acquire Collateral Obligations. The
 inability to dispose of a Collateral Obligation due to settlement problems could result either in losses to
 the Issuer due to subsequent declines in the value of the Collateral Obligation or, if the Issuer has entered
 into a contract to sell the security, could result in possible liability to the purchaser. Transaction costs of
 buying and selling foreign securities, including brokerage, tax, and custody costs, also are generally
 higher than those involved in domestic transactions. Furthermore, foreign financial markets, while
 generally growing in volume, have, for the most part, substantially less volume than U.S. markets, and
 securities of many foreign companies are less liquid and their prices more volatile than securities of
 comparable domestic companies.

          In certain foreign countries there is the possibility of expropriation, nationalization, or
 confiscatory taxation; limitations on the convertibility of currency or the removal of securities, property,
 or other assets of the Issuer; political, economic, or social instability; or adverse diplomatic developments,
 each of which could have an adverse effect on the Issuer’s purchase of Collateral Obligations in the
 foreign countries (which may make it more difficult to pay Dollar-denominated obligations such as the
 Collateral Obligations). The economies of individual non-U.S. countries may also differ favorably or
 unfavorably from the U.S. economy in such respects as growth of gross domestic product, rate of
 inflation, volatility of currency exchange rates, depreciation, capital reinvestment, resource self-
 sufficiency and balance of payments position.

         Lender Liability Considerations and Equitable Subordination Can Affect the Issuer’s Rights with
         Respect to Collateral Obligations

         In recent years, a number of judicial decisions in the United States have upheld the right of
 borrowers to sue lenders and bondholders on the basis of various evolving legal theories (collectively
 termed “lender liability”). Generally, lender liability is founded on the premise that a lender has violated
 a duty (whether implied or contractual) of good faith and fair dealing owed to the debtor or has assumed a
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 degree of control over the debtor resulting in the creation of a fiduciary duty owed to the debtor or its
 other creditors or shareholders. Because of the nature of the Collateral Obligations, the Issuer may be
 subject to allegations of lender liability. In addition, under common law principles that in some cases
 form the basis for lender liability claims, a court may elect to subordinate the claim of the offending
 lender to the claims of the disadvantaged creditors, a remedy called “equitable subordination,” if a lender:
 (i) intentionally takes an action that results in the undercapitalization of a borrower to the detriment of
 other creditors of the borrower; (ii) engages in other inequitable conduct to the detriment of the other
 creditors; (iii) engages in fraud with respect to, or makes misrepresentations to, the other creditors; or
 (iv) uses its influence as a lender to dominate or control a borrower to the detriment of other creditors of
 the borrower.

           Because the Collateral Obligations are primarily Loans, the Issuer may be subject to claims from
 creditors of an obligor that Collateral Obligations issued by the obligor that are held by the Issuer should
 be equitably subordinated. However, the Servicer does not intend to engage in conduct that would form
 the basis for a successful cause of action based on lender liability or the equitable subordination doctrine.
 Nonetheless, no assurances can be given that actions taken in good faith by the Servicer will not result in
 losses to issuers of Collateral Obligations, and that the Issuer will not be liable for any such losses.
 Furthermore, the Issuer and the Servicer may be unable to control the conduct of lenders under a loan
 syndication agreement requiring less than a unanimous vote, yet the Issuer may be subject to lender
 liability or equitable subordination for such conduct.

          The preceding discussion is based on principles of United States federal and state laws. Insofar
 as Collateral Obligations that are obligations of non-United States obligors are concerned, the laws of
 certain foreign jurisdictions may impose liability on lenders or bondholders under factual circumstances
 similar to, or broader or narrower than, those described above, with consequences that may or may not be
 analogous to those described above under United States federal and state laws.

         Notes May Be Affected by Interest Rate Risks, Including Mismatches Between the Notes and the
         Collateral Obligations

          The Notes bear interest at a rate based on LIBOR as determined on the second Business Day prior
 to the first day of the relevant Interest Period. The Collateral Obligations will consist primarily of
 obligations that bear interest at floating rates, which floating rates may be different than the floating rates
 on the Floating Rate Notes. Accordingly, the Notes are subject to interest rate risk to the extent that there
 is an interest rate mismatch between the rates at which interest accrues on the Notes and the rates at which
 interest accrues on the Collateral. In addition, there may be a timing mismatch between the Floating Rate
 Notes and the Floating Rate Obligations as the interest on the Floating Rate Obligations may adjust more
 or less frequently, on different dates and based on different indices than the interest rates on the Floating
 Rate Notes. Furthermore, any payments of principal of or interest on Collateral received during a Due
 Period will (except to a limited extent specified in the Indenture) be held in Eligible Investments maturing
 not later than the Business Day immediately preceding the next Payment Date. There is no requirement
 that Eligible Investments bear interest at LIBOR or a similar rate, and the interest rates available for
 Eligible Investments are inherently uncertain. As a result of these mismatches, an increase or decrease in
 LIBOR for the relevant maturity could adversely affect the ability of the Issuer to make interest payments
 on the Notes (including due to a rise or a decline in the value of previously issued Collateral Obligations
 or other Collateral that bear interest at a fixed rate as LIBOR decreases or increases, as applicable) and to
 make distributions or final distributions on the Preference Shares. To mitigate a portion of the interest
 rate mismatch, the Issuer may enter into Hedge Agreements that are (in the case of Hedge Agreements
 entered into on or after the Closing Date) subject to a Rating Confirmation. However, there can be no
 assurance that the Collateral Obligations and Eligible Investments, together with the Hedge Agreements,
 will in all circumstances generate sufficient Interest Proceeds to make timely payments of interest on the
 Notes. Moreover, the benefits of any Hedge Agreements may not be achieved in the event of the early
 termination of the Hedge Agreements, including termination upon the failure of the related Hedge
 Counterparty to perform its obligations under the Hedge Agreement. Although any Hedge Counterparty
 will be a highly rated institution at the time of entering into the applicable Hedge Agreement, there can be

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 no assurance that it will meet its obligations under the applicable Hedge Agreement. In addition, the
 actual principal balance of any rate mismatch between the Collateral Obligations and the Notes may not
 exactly match the notional balance under any Hedge Agreement. All risks associated with any rate or
 notional balance mismatch will be borne by the holders of the Securities, beginning with the Preference
 Shares as the most junior Class. See “Security for the Notes—Hedge Agreements.”

         The Servicer may direct the Issuer to reduce the notional amount of, or otherwise adjust the terms
 of, any Hedge Agreement outstanding at any time, subject, in the case of any reduction or adjustment
 made on or after the Ramp-Up Completion Date, to obtaining a Rating Confirmation.

         Changes in Tax Law Could Result in the Imposition of Withholding Taxes with Respect to
         Payments on the Collateral Obligations, and the Obligors on the Collateral Obligations will not
         Gross-Up Payments to the Issuers

          The Issuer expects that payments received on the Hedge Agreements, and generally on the
 Collateral Obligations and Eligible Investments, will not be subject to withholding taxes imposed by the
 United States or reduced by withholding taxes imposed by any other country from which such payments
 are sourced unless the obligor is required to make “gross-up” payments that cover the full amount of any
 such withholding taxes. In the case of Collateral Obligations and Eligible Investments issued by U.S.
 obligors after July 18, 1984 that are in registered form, payments thereon generally are exempt under
 current United States tax law from the imposition of United States withholding tax. See “Material
 Income Tax Considerations—United States Federal Taxation of the Issuer.” However, there can be no
 assurance that, as a result of any change in any applicable law, treaty, rule or regulation or interpretation
 thereof, the payments on the Hedge Agreements, Collateral Obligations and Eligible Investments would
 not in the future become subject to withholding taxes imposed by the United States of America or another
 jurisdiction. In that event, if the obligors of such Hedge Agreements, Collateral Obligations and Eligible
 Investments were not then required to make “gross-up” payments that cover the full amount of any such
 withholding taxes, the amounts available to make payments on, or distributions to, the holders of the
 Notes would accordingly be reduced. There can be no assurance that remaining payments on the
 Collateral would be sufficient to make timely payments of interest on and payment of principal at the
 stated maturity of each Class of the Notes or distributions on the Preference Shares.

          In the event that any withholding tax is imposed on payments on, or distributions to, the holders
 of the Securities as a result of any change in any applicable law, treaty, rule or regulation or interpretation
 thereof, the holders of the Securities will not be entitled to receive “grossed-up” amounts to compensate
 for such withholding tax.

         Upon the occurrence of a Tax Event, the Notes shall be redeemable at the applicable Redemption
 Price, in whole, but not in part, by the Issuer at the written direction of the applicable Required
 Redemption Percentage, as described under “Description of the Securities—Optional Redemption.”

         An investment in the Securities involves complex tax issues (particularly in respect of the
 subordinated Securities), and delays in distributing important tax information may occur. It is expected
 that tax information from the Issuer may not be received in sufficient time to permit investors to
 incorporate such information into their annual tax information prior to April 15 of each year. As a result,
 some investors may be required to obtain extensions for filing federal, state and local income tax returns
 each year. Investors should consult their own tax advisors before investing in the Securities. See
 “Material Income Tax Considerations” herein.

         The Issuer Has the Right to Engage in Securities Lending, which Involves Counterparty Risks and
         Other Risks

          The Collateral Obligations may be loaned for a term of 90 days or less to banks, broker-dealers,
 and other financial institutions (other than insurance companies) that have, or are guaranteed by entities
 that have, long-term and short-term senior unsecured debt ratings or a guarantor with those ratings at the
 time of the loan, of at least “A1” (and not “A1” but on credit watch with negative implications) and “P-1”
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 (and not on credit watch for possible downgrade) from Moody’s and a long-term senior unsecured debt
 rating of at least “A” from S&P. See “Security for the Notes—Securities Lending.” The loans must be
 secured by cash or direct registered debt obligations of the United States of America, in an amount at least
 equal to 102% of the current Ask-Side Market Value of the loaned Collateral Obligations, determined on
 a daily basis. However, if the borrower of a loaned Collateral Obligation defaults on its obligation to
 return the loaned Collateral Obligation because of insolvency or otherwise, the Issuer could experience
 delays and costs in gaining access to the collateral posted by the borrower (and in extreme circumstances
 could be restricted from selling the collateral). If the borrower defaults, the Issuer could suffer a loss to
 the extent that the realized value of the cash or securities securing the obligation of the borrower to return
 a loaned Collateral Obligation (less expenses) is less than the amount required to purchase the Collateral
 Obligation in the open market. This shortfall could be due to, among other factors, discrepancies between
 the mark-to-market and actual transaction prices for the loaned Collateral Obligations arising from limited
 liquidity or availability of the loaned Collateral Obligations and, in extreme circumstances, the loaned
 Collateral Obligations being unavailable at any price.

          The Rating Agencies may downgrade any of the Notes if a borrower of a Collateral Obligation or,
 if applicable, the entity guaranteeing the performance of the borrower has been downgraded by one of the
 Rating Agencies such that the Issuer is not in compliance with the Securities Lending Counterparty rating
 requirements. The Securities Lending Counterparties may be Affiliates of CGMI or Affiliates of the
 Servicer, which may create certain conflicts of interest. See “—Relating to Certain Conflicts of
 Interest—The Issuer Will Be Subject to Various Conflicts of Interest Involving the Servicer” and “—The
 Issuer Will Be Subject to Various Conflicts of Interest Involving Citigroup Global Markets Inc.” below.

         A Substantial Amount of Collateral Obligations Was Acquired Before the Closing Date, and the
         Terms of the Acquisition May Adversely Affect the Issuer

          In anticipation of the issuance of the Securities, one or more Affiliates of CGMI (the “Pre-
 Closing Parties”) are financing the acquisition of Collateral Obligations by the Issuer pursuant to
 confirmations entered into by or on behalf of the Issuer confirming the Issuer’s commitment to purchase
 such Collateral Obligations during an accumulation period before the Closing Date (the “Accumulation
 Period”). Pursuant to a master participation agreement, such Pre-Closing Parties have acquired (and will
 acquire) from the Issuer at the time of the Collateral Obligation purchase, a 100% participation interest in
 each such loan, which participation will be repurchased by the Issuer on the Closing Date at an amount
 equal to the purchase price minus any distributions of principal on the obligation received by the
 respective Pre-Closing Party. In consideration for providing financing for the obligations, the Pre-
 Closing Parties will be paid a financing fee out of interest and any fees and commissions paid by the
 obligors under such obligations or accrued on such obligations, from the time of purchase through the
 Closing Date. In addition, in preparation for the closing, one or more Pre-Closing Parties may acquire
 Collateral Obligations pursuant to confirmations entered into by or on behalf of the Issuer confirming the
 Issuer’s commitment to purchase such Collateral Obligations on the Closing Date at the purchase prices
 set forth therein, plus the amount of accrued interest thereon in accordance with their terms through the
 Closing Date. Furthermore, in return for bearing the risk of loss on the Collateral Obligations acquired
 prior to the Closing Date, the Servicer or one or more if its Affiliates on the one hand and CGMI or one or
 more of its Affiliates on the other hand will each be entitled to retain 50% of the interest and any fees and
 commissions (net of any financing fees payable to the Pre-Closing Parties) paid by the obligors under
 such obligations or accrued on such obligations, from the time of purchase through the Closing Date.
 Accordingly, there can be no assurance that the market value of any such Collateral Obligation on the
 Closing Date will be equal to or greater than the price paid by the Issuer, and any net losses, as well as net
 gains, experienced in respect of any such Collateral Obligation during the period in which they were
 warehoused will be for the Issuer’s account.




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 Relating to Certain Conflicts of Interest

         In General, the Transaction Will Involve Various Potential and Actual Conflicts of Interest

          Various potential and actual conflicts of interest may arise from the overall servicing, advisory
 and other activities of the Servicer and its Affiliates and from the conduct CGMI and its Affiliates of
 other transactions with the Issuer, including acting as counterparty with respect to Hedge Agreements,
 Securities Lending Agreements, and Synthetic Securities. The following briefly summarizes some of
 these conflicts, but is not intended to be an exhaustive list of all such conflicts.

         The Holders of the Class II Preference Shares Control Appointment and Removal of Directors of
         the Issuer

          HFP and/or one or more of its subsidiaries are expected to purchase all of Class II Preference
 Shares on the Closing Date. Class II Preference Shares will control the appointment and removal of
 directors of the Issuer as long as the aggregate number of Class II Preference Shares Outstanding as of the
 relevant Voting Record Date is higher than the aggregate number of Class I Preference Shares
 Outstanding as of such date. The Class I Preference Shares will have no voting rights with respect to the
 appointment or removal of directors. If the aggregate number of Class II Preference Shares Outstanding
 as of the relevant Voting Record Date does not exceed the aggregate number of Class I Preference Shares
 Outstanding as of such date, only the Issuer Ordinary Shares will be entitled to vote with respect to the
 appointment and removal of directors of the Issuer. As of the Closing Date, the Class II Preference
 Shares Outstanding will constitute a Majority of the Preference Shares Outstanding. HFP and/or its
 subsidiaries that purchase Class II Preference Shares will agree not to transfer any of the Class II
 Preference Shares to any Person other than Investors Corp. Any transfer of Class II Preference Shares by
 HFP or any of its subsidiaries to Investors Corp. will require redesignation by the Share Registrar of such
 Class II Preference Shares as Class I Preference Shares. If at any time, due to such redesignation upon
 sale of any Class II Preference Shares by HFP or any of its subsidiaries to Investors Corp., the aggregate
 number of Class II Preference Shares Outstanding is reduced so that it is equal to or lower than the
 number of Class I Preference Shares Outstanding, Class II Preference Shares will automatically become
 non-voting shares and will no longer be entitled to vote with respect to the appointment and removal of
 directors of the Issuer (and, in such case, the directors will be appointed in accordance with the definition
 of “Board of Directors”).

         As long as Class II Preference Shares retain the voting rights with respect to the appointment and
 removal of directors of the Issuer, HFP and/or one or more of its subsidiaries that have purchased such
 Class II Preference Shares will be able to appoint and remove any of the directors. The directors
 appointed by HFP and/or one or more of its subsidiaries may be Affiliates of HFP or the Servicer. No
 Holders of the Securities will have any right to vote with respect to such appointments and removals of
 directors of the Issuer other than such Holders of the Class II Preference Shares for so long as Class II
 Preference Shares retain the voting rights with respect to the appointment and removal of directors of the
 Issuer.

         The Holders of the Class II Preference Shares May Control or Prevent Removal of the Servicer,
         Appointment of a Replacement Servicer and Optional Redemption or Refinancing of the Notes

          The Class II Preference Shares to be purchased by HFP or any of its subsidiaries at closing are
 expected to constitute a Majority of the Preference Shares. As long as HFP and/or one or more of its
 subsidiaries hold a Majority of the Preference Shares, HFP and such subsidiaries will hold the controlling
 vote on any decision to be made under the Indenture or the Servicing Agreement that requires a Majority
 of the Preference Shares (and does not exclude from voting Preference Shares held by the Servicer or its
 Affiliates) and will hold a blocking position with respect to any decision that requires a higher percentage
 of Preference Shares.

        Pursuant to the Servicing Agreement, such agreement may be terminated and the Servicer may be
 removed by the Issuer, if directed by the Trustee (acting at the direction of a Super Majority of the
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 Controlling Class of Notes) or by a Majority of the Preference Shares (excluding Preference Shares held
 by the Servicer, any of its Affiliates or any account for which the Servicer or its Affiliates have
 discretionary voting authority (or, with respect to Class I Preference Shares held by Investors Corp. at
 such time, Holding Preference Shares held by the Servicer, any of its Affiliates or any account for which
 the Servicer or its Affiliates have discretionary voting authority) other than, with respect to the Class II
 Preference Shares, HFP or any of its subsidiaries; provided that, with respect to the voting authority of the
 Class II Preference Shares owned by HFP or any of its subsidiaries, such vote shall not be excluded only
 if such vote is determined by a vote of the majority of the “independent directors” (determined in
 accordance with the governing documents of HFP or such subsidiaries and certified in writing to the
 Preference Shares Paying Agent by any of the “independent directors” of HFP) of HFP or such
 subsidiaries) (each such non-excluded Preference Share, a “Voting Preference Share”), in each case for
 “cause” upon 10 days’ prior written notice. Further, the Issuer’s ability to appoint a successor servicer is
 subject to, among other things, the written direction of a Majority of the Voting Preference Shares. As
 such, if the Class II Preference Shares continue to constitute a Majority of Preference Shares, HFP and
 any of its subsidiaries that hold Class II Preference Shares will collectively control the ability of the
 Holders of the Preference Shares to both remove the Servicer for “cause” and appoint the Servicer’s
 replacement. Since HFP is managed by the Servicer, HFP may have a conflict of interest and may be less
 likely to exercise these rights than the Holders of the Class I Preference Shares. In such case, should the
 Holders of the Class I Preference Shares believe that “cause” exists to remove the Servicer, the Holders of
 the Class II Preference Shares may prevent their ability to do so.

         The Holders of a Majority of the Aggregate Outstanding Amount of the Preference Shares may
 give written notice to the Preference Shares Paying Agent, the Trustee, the Issuer and the Servicer
 directing an optional redemption of the Notes upon the occurrence of a Tax Event or at any time after the
 Non-Call Period. After such Notes are retired, the Holders of a Majority or of all of the Preference
 Shares (depending on the form of redemption) may effect an optional redemption of the Preference
 Shares. As a result of the foregoing, and so long as they hold a controlling block of Preference Shares,
 the vote of HFP and/or its applicable subsidiaries will be required to redeem the Securities. As an entity
 managed by the Servicer, HFP may once again have interests that differ from those of the Class I
 Preference Shares. Should the Holders of the Class I Preference Shares seek to redeem the Securities, the
 Holders of the Class II Preference Shares may prevent their ability to do so.

         In addition, at any time after the Non-Call Period, upon a proposal by the Servicer, the Holders of
 a Majority of the Preference Shares may consent to a redemption of any Class of Notes pursuant to a
 Refinancing. As a result of the foregoing, and so long as they hold a controlling block of Preference
 Shares, the vote of HFP and/or its applicable subsidiaries will be required for such Refinancing. If the
 Holders of the Class I Preference Shares seek a redemption of Notes pursuant to Refinancing, the Holders
 of the Class II Preference Shares could prevent their ability to achieve this.

         The Issuer Will Be Subject to Various Conflicts of Interest Involving the Servicer

          Various potential and actual conflicts of interest may arise from the overall activities of the
 Servicer, its Affiliates and the subsidiaries of HFP. The following briefly summarizes some of these
 conflicts, but is not intended to be an exhaustive list of all such conflicts.

          On the Closing Date, (i) HFP and/or one or more of its subsidiaries are expected to purchase
 certain of the Class C Notes having an aggregate principal amount equal to U.S.$11,000,000, certain of
 the Class D Notes having an aggregate principal amount equal to U.S.$9,000,000 and all of the Class II
 Preference Shares having an aggregate Face Amount equal to U.S.$62,000,000, in each case, at a
 discounted purchase price and (ii) the Servicer or one or more of its Affiliates (other than HFP or any of
 its subsidiaries) are expected to purchase certain of the Holding Preference Shares having an aggregate
 Face Amount equal to U.S.$11,583,000 at a discounted purchase price. On the Closing Date, the Servicer
 will be reimbursed by the Issuer for certain of its expenses incurred in connection with the organization of
 the Issuer (including legal fees and expenses). In addition, a broker-dealer Affiliate of the Servicer may
 receive a fee for placing certain of the Holding Securities and/or certain of the Securities.

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          Conflicts of interest may arise for the Servicer with respect to its obligations to the Issuer from
 the overall activities of the Servicer, its Affiliates and the subsidiaries of HFP, for the accounts of its other
 clients. For example, the Servicer, its Affiliates and their respective clients and the subsidiaries of HFP
 may acquire loans, securities, and other obligations that would be appropriate for inclusion in the Issuer’s
 portfolio of Collateral Obligations, as well as in loans, securities, and other obligations that are senior to,
 or have interests different from or adverse to, assets that are pledged to secure the Notes. Furthermore,
 Affiliates of the Servicer may serve as general partners or managers of special-purpose entities organized
 to issue other collateralized loan obligations (“CLOs”) secured primarily by corporate loans and
 collateralized debt obligations (“CDOs”) secured by corporate debt obligations or asset backed securities.
 The Servicer and its Affiliates may also have ongoing relationships with, render services to, or engage in
 transactions with, companies whose loan obligations or securities are pledged to secure the Notes and
 may now or in the future own (as portfolio assets or otherwise) loan obligations or equity or debt
 securities issued by issuers of or obligors on, Collateral Obligations or other Collateral. An Affiliate of
 the Servicer may earn fees with respect to financial advisory services rendered to companies in
 connection with workouts or the subsequent restructuring of such companies. Such fees and advice may
 continue for a period of time after any such workout or restructure. The Issuer may own an interest in the
 securities of such companies. The Servicer will endeavor to resolve conflicts with respect to
 opportunities in a manner that it deems equitable to the extent possible under the prevailing facts and
 circumstances.

          The Servicer and its Affiliates may possess information relating to issuers of Collateral
 Obligations or other Collateral that (i) may constrain the Issuer’s asset acquisition as a consequence of the
 Servicer’s inability to use such information for asset acquisition purposes or otherwise to take actions that
 would be in the best of interests of the Issuer or (ii) is not known to the employees of the Servicer
 responsible for monitoring the Collateral and performing the other obligations of the Servicer under the
 Servicing Agreement. The Servicer, its Affiliates and their respective clients and the subsidiaries of HFP
 may at certain times be simultaneously seeking to purchase or dispose of assets for the respective
 accounts of the Issuer, any similar entity for which it serves as manager or advisor, and for its clients or
 Affiliates.

         Neither the Servicer nor any of its Affiliates has any affirmative obligation to offer any assets to
 the Issuer or to inform the Issuer of any assets before offering any assets to other funds or accounts that
 the Servicer or any of its Affiliates manage or service. Furthermore, the Servicer may be bound by
 affirmative obligations in the future, whereby the Servicer is obligated to offer certain assets to funds or
 accounts that it manages or services before or without the Servicer offering those assets to the Issuer.

          Pursuant to the terms of the Servicing Agreement, the Servicer will not direct the Trustee to
 acquire an obligation to be included in the Collateral from the Servicer or any of its Affiliates as principal
 or to sell an obligation to the Servicer or any of its Affiliates as principal unless (i) the Issuer shall have
 received from the Servicer such information relating to such acquisition or sale as it may reasonably
 require and shall have approved such acquisition, which approval shall not be unreasonably withheld, (ii)
 in the judgment of the Servicer, such transaction is on terms no less favorable than would be obtained in a
 transaction conducted on an arm’s length basis between third parties unaffiliated with each other and (iii)
 such transaction is permitted by the United States Investment Advisers Act of 1940, as amended (the
 “Advisers Act”). The Servicing Agreement also provides that the Servicer will not direct the Trustee to
 acquire an obligation to be included in the Collateral directly from any account or portfolio for which the
 Servicer serves as servicer or investment adviser, or direct the Trustee to sell an obligation directly to any
 account or portfolio for which the Servicer serves as servicer or investment adviser unless such
 acquisition or sale is (i) in the judgment of the Servicer, on terms no less favorable than would be
 obtained in a transaction conducted on an arm’s length basis between third parties unaffiliated with each
 other and (ii) permitted by the Advisers Act.

         The Servicer currently serves as the servicer or portfolio manager for a number of special purpose
 vehicles that have issued securities secured by or referencing collateral consisting of assets similar to the
 Collateral Obligations, which may create conflicts in allocating its time and services among the Issuer and

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 the Servicer’s other accounts. The Servicer and its Affiliates and the subsidiaries of HFP may own equity
 or other securities of issuers of or obligors on Collateral Obligations or other Collateral and may have
 provided and may provide in the future, advisory and other services to issuers of Collateral. In addition,
 the Servicer and its Affiliates may act as the Securities Lending Counterparty under any Securities
 Lending Agreement entered into by the Issuer.

          The Servicer may resign at any time and may be removed for cause by the Issuer, if directed by
 the Trustee (acting at the direction of a Super Majority of the Controlling Class of Notes) or by a Majority
 of the Voting Preference Shares. Upon the resignation or removal of the Servicer, the Issuer, at the
 written direction of a Majority of the Voting Preference Shares, may appoint a replacement servicer if (x)
 a Super Majority of the Controlling Class of Notes (excluding any Notes held by the Servicer, its
 Affiliates or any account for which the Servicer or its Affiliates have discretionary voting authority other
 than HFP or any of its subsidiaries; provided that, with respect to the voting authority of Notes owned by
 HFP or any of its subsidiaries, such vote shall not be excluded only if such vote is determined by a vote of
 the majority of the “independent directors” (determined in accordance with the governing documents of
 HFP or such subsidiaries and certified in writing to the Preference Shares Paying Agent by any of the
 “independent directors” of HFP) of HFP or such subsidiaries) (each such non-excluded Note, a “Voting
 Note”) or (y) a Majority of the Aggregate Outstanding Amount of the Voting Notes (voting as a single
 Class) do not object to the replacement servicer. See “The Servicing Agreement.” Securities (or, with
 respect to Preference Shares held by Investors Corp. at such time, Holding Preference Shares) held by the
 Servicer, its Affiliates or any account for which the Servicer or its Affiliates have discretionary voting
 authority (other than HFP or any of its subsidiaries) will have no voting rights with respect to any vote in
 connection with removal of the Servicer for “cause” and appointment of a replacement servicer and will
 be deemed not to be outstanding in connection with any vote to remove the Servicer for “cause” and to
 appoint a replacement servicer; provided that, with respect to the voting authority of Class II Preference
 Shares or Notes owned by HFP or any of its subsidiaries, such vote shall be determined by a vote of the
 majority of the “independent directors” (determined in accordance with the governing documents of HFP
 or such subsidiary) of HFP or such subsidiary. Except to the extent specified otherwise, Securities (or,
 with respect to Preference Shares held by Investors Corp. at such time, Holding Preference Shares) held
 by the Servicer, its Affiliates or any account for which the Servicer or its Affiliates have discretionary
 voting authority at the time of such vote will have voting rights with respect to all other matters as to
 which the Holders of the Securities are entitled to vote, including any vote to direct an Optional
 Redemption or a Refinancing. See “The Servicing Agreement”, “Description of the Securities—Optional
 Redemption” and “Description of the Securities—Optional Redemption—Redemption by Refinancing.”

         On the Closing Date, (i) HFP and/or one or more of its subsidiaries are expected to purchase
 Class II Preference Shares having an aggregate Face Amount equal to U.S.$62,000,000 at a discounted
 purchase price and (ii) the Servicer or its Affiliates are expected to purchase Class C Notes having an
 aggregate principal amount equal to U.S.$11,000,000, Class D Notes having an aggregate principal
 amount equal to U.S.$9,000,000 and Holding Preference Shares having an aggregate Face Amount equal
 to U.S.$11,583,000, in each case, at a discounted purchase price. In addition, the Servicer or its Affiliates
 may also acquire Securities upon the occurrence of an Amendment Buy-Out or a Maturity Extension or
 Notes upon the occurrence of a Refinancing as described herein. To the extent that the interests of the
 Holders of the Notes differ from the interests of the Holders of the Preference Shares, the holding of
 Preference Shares by the Servicer or its Affiliates may create additional conflicts of interest.

         The Servicer will be entitled to receive the Senior Servicing Fee, the Subordinate Servicing Fee
 and the Supplemental Servicing Fee, as further described herein. The structure of such fees may cause
 the Servicer to direct the Issuer to purchase more speculative Collateral Obligations than it would
 otherwise acquire in the absence of such performance based compensation. See “The Servicing
 Agreement.”

         In addition to acting as Servicer to the Issuer, Highland Capital will act as manager for HFP,
 which will, on the Closing Date, purchase all of the Class II Preference Shares. Because Highland Capital
 will receive both a Servicing Fee from the Issuer for servicing the Collateral and a management fee from

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 HFP for managing HFP’s assets, which will include the Class II Preference Shares (and therefore a
 residual interest in the Collateral), Highland Capital has agreed, in connection with the capital raising of
 HFP, to waive a portion of its Servicing Fees from the Issuer for two years following the Closing Date so
 as not to reduce the income realized by HFP or any of its subsidiaries that hold Class II Preference Shares,
 as the case may be, in respect of such Class II Preference Shares. Thereafter Highland Capital may at its
 discretion continue to waive such portion of its Servicing Fees or may elect to receive such Servicing
 Fees in their entirety. Accordingly, until (and including) the Payment Date in February 2008, an amount
 equal to a portion (representing the percentage ownership of the Preference Shares represented by the
 Class II Preference Shares) of the amounts that would otherwise be payable to the Servicer as a Servicing
 Fee will instead be payable as a special payment to the Holders of the Class II Preference Shares in
 accordance with the Priority of Payments. Thereafter, the Servicer may elect to continue to waive such
 same portion of the amounts that would otherwise be payable to the Servicer as a Servicing Fee, or any
 lesser portion of such amounts, and an amount equal to such waived amounts will be paid as a special
 payment to the Holders of the Class II Preference Shares. The Class II Preference Shares and the Class I
 Preference Shares will vote together as a single class. Receipt of Servicing Fees in the form of dividends
 on Class II Preference Shares may cause HFP to have different incentives from the Holders of the Class I
 Preference Shares.

         The Issuer Will Be Subject to Various Conflicts of Interest Involving Citigroup Global Markets
         Inc.

         Various potential and actual conflicts of interest may arise from the overall activities of CGMI
 and its Affiliates. The following briefly summarizes some of these conflicts, but is not intended to be an
 exhaustive list of all such conflicts.

          CGMI and its Affiliates are involved in a wide range of commercial banking, investment banking
 and other activities (including investment management, corporate finance and securities issuing, trading
 and research) from which conflicting interests or duties may arise. Thus, CGMI and its Affiliates may
 have had in the past and may in the future have business relationships and dealings with one or more
 issuers of the Collateral Obligations and their Affiliates and may own equity or debt securities issued by
 such issuers or their Affiliates. It is expected that CGMI and/or its Affiliates may have placed or
 underwritten and may in the future place or underwrite certain of the Collateral Obligations at original
 issuance, may own or may in the future own equity or other securities of issuers of or obligors on
 Collateral Obligations or will have provided and may in the future provide investment banking services,
 advisory, banking and other services to issuers of Collateral Obligations and may have received or may in
 the future receive compensation for such services. In addition, CGMI and its Affiliates may buy
 securities from and sell securities to an issuer of Collateral Obligations or its Affiliates for its own
 account or for the accounts of its customers. CGMI and its Affiliates may also have provided and in the
 future may provide commercial or investment banking or other services to the Servicer and its Affiliates.

          CGMI and its Affiliates are actively engaged in purchases and sales of the same securities or
 loans as owned by the Issuer. Such purchases and sales may be on terms different from those made on
 behalf of the Issuer. Subject to applicable law, CGMI and its Affiliates may purchase or sell the securities
 of, or otherwise invest in or finance or provide investment banking, advisory and other services to,
 companies in which the Issuer has an interest or to the Servicer. CGMI and its Affiliates may, or may in
 the future, also have a proprietary interest in, and may manage, or advise or provide services to other
 accounts or investment funds that have investment objectives similar or dissimilar to those of the Issuer
 and/or which engage in transactions in, the same types of securities as the Issuer. As a result, CGMI and
 its Affiliates may, or may in the future, possess information relating to obligors on or issuers of Collateral
 Obligations which is not known to the Servicer or the Issuer. Neither CGMI nor any of its Affiliates is
 under any obligation to share any investment opportunity, idea or strategy with the Servicer or the Issuer
 or to utilize for the Issuer’s benefit any non-public information acquired by it or any of its Affiliates in the
 course of providing services to any other person, engaging in any transaction (on its own account or
 otherwise) or otherwise carrying on its business. As a result, CGMI and its Affiliates may, or may in the


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 future, compete with the Issuer for appropriate securities or loans to purchase and will be under no duty or
 obligation to share such opportunities with the Issuer.

         The Issuer also may invest in the securities of companies affiliated with CGMI or in which CGMI
 has an equity or participation interest. The purchase, holding and sale of such securities by the Issuer may
 enhance the profitability of CGMI’s own investments in such companies.

          CGMI and its Affiliates may buy Securities for their own account or for re-packaging purposes or
 enter into transactions related or linked to the Securities. If CGMI holds any Securities, it will have no
 obligation to exercise any Voting Rights associated with such Securities in any manner and, at any
 applicable time, may exercise such voting rights in a manner adverse to some or all of the other holders of
 the Securities. CGMI is acting as placement agent with respect to the Holding Securities. CGMI and/or
 its Affiliates may also provide financing to the Servicer and/or its Affiliates in connection with their
 purchase of certain Class C Notes, Class D Notes and Class II Preference Shares which will be secured by
 a lien on such financed Class C Notes, Class D Notes and Class II Preference Shares.
          The Issuer’s purchase of Collateral Obligations prior to the Closing Date was financed in part
 through the sale of participation interests therein to Pre-Closing Parties. A portion of the proceeds from
 the offering of the Securities will be paid to the Pre-Closing Parties to repurchase such participation
 interests.
         CGMI and its Affiliates may, by virtue of the relationships described above or otherwise, at the
 date hereof or at any time hereafter, be in possession of information regarding certain of the issuers of
 Collateral Obligations and their respective Affiliates, that is or may be material in the context of the
 Securities and that is or may not be known to the general public. Neither CGMI nor any of its Affiliates
 has any obligation, and the offering of the Securities will not create any obligation on their part, to
 disclose to any purchaser of the Securities any such relationship or information, whether or not
 confidential.

          By purchasing a Security, each investor will be deemed to have acknowledged the existence of
 the conflicts of interest inherent to this transaction, including as described above, and to have consented
 thereto.




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                                 DESCRIPTION OF THE SECURITIES

          The Notes will be issued pursuant to the Indenture. The terms of the Preference Shares are
 contained in the Issuer Charter and in certain resolutions adopted by the Issuer’s Board of Directors on or
 before the Closing Date authorizing and approving the issuance of the Securities, as reflected in the
 minutes thereof (the “Resolutions” and, together with the Issuer Charter and the Preference Shares
 Paying Agency Agreement, the “Preference Share Documents”). The following summary describes
 certain provisions of the Notes, the Preference Shares, the Indenture and the Preference Share Documents.
 The summary does not purport to be complete and is subject to, and qualified in its entirety by reference
 to, the provisions of the Indenture and the Preference Share Documents. Copies of the Indenture may be
 obtained by prospective purchasers upon request in writing to the Trustee at 200 Clarendon Street, Mail
 Code: EUC 108, Boston, MA 02116 Attention: CDO Services Group, and will be available at the office
 of AIB International Financial Services Ltd. (in such capacity, the “Irish Paying Agent”) in the City of
 Dublin. Copies of the Preference Share Documents may be obtained upon request in writing to the
 Administrator at P.O. Box 1234, Queensgate House, George Town, Grand Cayman, Cayman Islands,
 Attention: the Directors—Eastland CLO, Ltd.

 Status and Security

          The Senior Notes are non-recourse debt obligations of the Co-Issuers. The Class D Notes are
 non-recourse debt obligations of the Issuer. Each Note within a Class will rank pari passu with all other
 Notes of that Class. Under the Indenture, the Issuer will grant to the Trustee a first-priority security
 interest in the Collateral to secure the Issuer’s obligations under the Indenture, the Notes, Hedge
 Agreements and the Servicing Agreement (collectively, the “Secured Obligations”). The Notes are
 payable solely from amounts received in respect of the Collateral pledged by the Issuer to secure the
 Notes. If the amounts received in respect of the Collateral (net of certain expenses) are insufficient to
 make payments on the Secured Obligations, in accordance with the Priority of Payments, no other assets
 will be available for payment of the deficiency and, following liquidation of all the Collateral, the
 obligations of the Issuer or the Co-Issuer, as the case may be, to pay the deficiency will be extinguished.

          The Preference Shares are entitled to proceeds of the Collateral only to the extent that any such
 proceeds are remaining on any Payment Date after payment of all interest and principal payable on each
 Class of Notes on that Payment Date and the satisfaction of certain other amounts payable in accordance
 with the Priority of Payments. In addition, the Holders of the Class II Preference Shares will be entitled,
 as and to the extent set forth herein, to the Class II Preference Share Special Payments pursuant to the
 priority provided in the Priority of Payments.

         In furtherance of the priorities of payments among the Classes of Notes and the Preference
 Shares, the Indenture contains express subordination provisions pursuant to which the Holders of each
 Class of Notes that is a Junior Class as described below agree for the benefit of the Holders of the Notes
 of each Priority Class with respect to the Junior Class that the Junior Class shall be subordinate and junior
 to the Notes of each Priority Class to the extent and in the manner provided in the Indenture.

          If any Event of Default has not been cured or waived and acceleration occurs under and in
 accordance with the Indenture, each Priority Class of Notes shall be paid in full in cash or, to the extent a
 Majority of each Class consents, other than in cash, before any further payment or distribution is made on
 account of any Junior Class of Notes with respect to the Priority Class. The Holders of each Junior Class
 of Notes agree, for the benefit of the Holders of the Notes of each Priority Class not to cause the filing of
 a petition in bankruptcy against the Issuer or the Co-Issuer for failure to pay to them amounts due to the
 Junior Class, of the Notes or each Class of Notes, as the case may be, or under the Indenture until the
 payment in full of the Priority Classes or all the Classes, as the case may be and not before one year and a
 day, or if longer, the applicable preference period then in effect, has elapsed since the payment.

          For purposes of this provision, with respect to each Class of Notes, the Classes of Notes that are
 Priority Classes and Junior Classes are as follows:
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                      Class                   Junior Classes                    Priority Classes
                                         A-3, B, C, D, Preference
                      A-1*                                                            None
                                                 Shares**
                                      A-2b, A-3, B, C, D, Preference
                      A-2a*                                                           None
                                                Shares**
                                         A-3, B, C, D, Preference
                      A-2b*                                                           A-2a
                                                 Shares**
                       A-3             B, C, D, Preference Shares**                 A-1, A-2
                        B               C, D, Preference Shares**                 A-1, A-2, A-3
                        C                 D, Preference Shares**                A-1, A-2, A-3, B
                        D                  Preference Shares**                 A-1, A-2, A-3, B, C
                Preference Shares                None***                     A-1, A-2, A-3, B, C, D
               _______________
                       * The payment of principal of and interest on the Class A-1 Notes and the
               Class A-2 Notes shall rank pari passu (provided that amounts allocated to the payment
               of the Class A-2 Notes shall be paid, first, to the Class A-2a Notes and, second, to the
               Class A-2b Notes).
                       **Other than with respect to the Class II Preference Share Special Payments,
               which may be payable to the Holders of the Class II Preference Shares as set forth
               herein and will have priority to the extent provided in the Priority of Payments.
                     ***The Preference Shares will be entitled to certain residual cash flow after
               payment of senior obligations in accordance with the Priority of Payments.

          If, notwithstanding the provisions of the Indenture, any Holder of Notes of any Junior Class has
 received any payment or distribution in respect of the Notes contrary to the provisions of the Indenture,
 then, until each Priority Class with respect to the Junior Class of Notes or each Class of Notes, as the case
 may be, or, to the extent a Majority of the Priority Class or the Class, as the case may be, consents, other
 than in cash in accordance with the Indenture, the payment or distribution shall be received and held in
 trust for the benefit of, and shall forthwith be paid over and delivered to, the Trustee, which shall pay and
 deliver the same to the Holders of the applicable Priority Classes of Notes or the Holders of all Classes of
 Notes, as the case may be. If any such payment or distribution is made other than in cash, it shall be held
 by the Trustee as part of the Collateral and subject in all respects to the Indenture.

          Each Holder of Notes of any Junior Class agrees with all Holders of the applicable Priority
 Classes that the Holder of Junior Class Notes shall not demand, accept, or receive any payment or
 distribution in respect of the Notes in violation of the Indenture. After a Priority Class has been paid in
 full, the Holders of Notes of the related Junior Class or Classes shall be fully subrogated to the rights of
 the Holders of the Priority Class. Nothing in these provisions shall affect the obligation of the Issuer to
 pay Holders of any Junior Class of Notes.

          Distributions to Holders of the Preference Shares are subordinate to distributions on the Notes as
 described in the Priority of Payments (other than, as and to the extent set forth herein, with respect to
 distribution of the Class II Preference Share Special Payments).

         The Servicing Fees shall have priority only to the extent provided in the Priority of Payments.




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 Interest Payments on the Notes and Payments of Dividends on the Preference Shares from Interest
 Proceeds

          The Notes of each Class will accrue interest during each Interest Period on their Aggregate
 Outstanding Amount (determined as of the first day of the Interest Period and after giving effect to any
 redemption or other payment of principal occurring on that day) at the applicable per annum interest rates
 for each such Class (the “Note Interest Rate”) equal to LIBOR for Eurodollar deposits for the applicable
 Interest Period plus the spread, as specified above under “Summary of Terms—Principal Terms of the
 Securities.” Interest accrued on the Notes shall be calculated on the basis of the actual number of days
 elapsed in the applicable Interest Period divided by 360. Payment of interest on each Class of Notes shall
 be subordinated to the payments of interest on the related Priority Classes and other amounts in
 accordance with the Priority of Payments.

          So long as any Priority Classes are Outstanding with respect to any Class of Deferred Interest
 Notes, any payment of Deferred Interest in accordance with the Priority of Payments on any Payment
 Date shall not be considered “payable” for the purposes of the Indenture (and the failure to pay the
 interest shall not be an Event of Default) until the Payment Date on which the interest is available to be
 paid in accordance with the Priority of Payments. Deferred Interest on any Class of Deferred Interest
 Notes shall be payable on the first Payment Date on which funds are available to be used for that purpose
 in accordance with the Priority of Payments. To the extent lawful and enforceable, interest on Deferred
 Interest with respect to any Class of Deferred Interest Notes shall accrue at the Note Interest Rate for the
 Class (and to the extent not paid as current interest on the Payment Date after the Interest Period in which
 it accrues, shall thereafter be additional Deferred Interest), until paid.

         Interest shall cease to accrue on each Note, or in the case of a partial repayment, on the part
 repaid, from the date of repayment or its Stated Maturity unless payment of principal is improperly
 withheld or unless there is some other default with respect to the payments of principal.

          On each Payment Date, the Issuer will make distributions to the Preference Shares Paying Agent
 for payment pro rata to the Holders of the Preference Shares as dividends on the Preference Shares,
 pursuant to the Preference Share Documents, to the extent legally permitted, to the extent of available
 Interest Proceeds as described under clauses (22) and (24) under “Description of the Securities—Priority
 of Payments—Interest Proceeds.”

          In addition, on each Payment Date until (and including) the Payment Date in February 2008,
 Holders of the Class II Preference Shares will be entitled to distributions, on a pro rata basis, from the
 Class II Preference Share Special Payment Account, equal to the Class II Preference Share Senior Special
 Payment, the Class II Preference Share Subordinated Special Payment and the Class II Preference Share
 Supplemental Special Payment (if any) (collectively, the “Class II Preference Share Special
 Payments”). After the Payment Date in February 2008, the Servicer may, in its sole discretion, at any
 time waive a portion of the Servicing Fees then due and payable, in which event an amount equal to such
 waived portion will be paid by the Issuer as the Class II Preference Share Special Payments. Any
 payments to the Holders of Class II Preference Shares of the Class II Preference Share Special Payments
 will have priority to the extent provided under “Description of the Securities—Priority of Payments.”

          For purposes of calculating the Class II Preference Share Special Payments, the following
 definitions shall apply:

         “Class II Preference Share Percentage” means, for any Payment Date, a fraction, expressed as
 a percentage, the numerator of which is the number of Outstanding Class II Preference Shares on such
 Payment Date and the denominator of which is the total number of Outstanding Preference Shares on
 such Payment Date.

         “Class II Preference Share Portion” means, for any Payment Date, 100% minus the Servicing
 Fee Portion for such Payment Date.

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         “Class II Preference Share Senior Special Payment” means, for any Payment Date, an amount
 equal to the product of (a) the Senior Servicing Fee for such Payment Date and (b) the Class II Preference
 Share Portion for such Payment Date.

          “Class II Preference Share Subordinated Special Payment” means, for any Payment Date, an
 amount equal to the product of (a) the Subordinated Servicing Fee for such Payment Date and (b) the
 Class II Preference Share Portion for such Payment Date.

          “Class II Preference Share Supplemental Special Payment” means, for any Payment Date, an
 amount equal to the product of (a) the Supplemental Servicing Fee for such Payment Date and (b) the
 Class II Preference Share Portion for such Payment Date.

          “Servicing Fee Portion” means 100% minus (a) for any Payment Date from the Closing Date
 until (and including) the Payment Date in February 2008, the Class II Preference Share Percentage for
 such Payment Date and (b) for any other Payment Date, a percentage (between 0% and 100%) selected by
 the Servicer in its sole discretion and reported to the Trustee in writing on or before the related
 Determination Date.

         For purposes of calculating interest on each Class of Notes, the Issuer will initially appoint the
 Trustee as calculation agent (the Trustee in that capacity, and each successor calculation agent, the
 “Calculation Agent”).

          As soon as possible after 11:00 a.m. (London time) on the second Business Day before the first
 day of each Interest Period, but in no event later than 11:00 a.m. (London time) on the next Business Day,
 the Calculation Agent will calculate the Note Interest Rate for each Class of Floating Rate Notes for the
 related Interest Period and the amount of interest for the Interest Period payable in respect of each
 $100,000 in principal amount of each Class of Floating Rate Notes (in each case rounded to the nearest
 cent, with half a cent being rounded upward) on the related Payment Date and will communicate the Note
 Interest Rate for each Class of Floating Rate Notes and the date of the next Payment Date to the Trustee,
 the Initial Purchaser, each paying agent, Euroclear, Clearstream, the Depository and (as long as the Senior
 Notes are listed on the ISE) the ISE.

          The Calculation Agent may be removed by the Co-Issuers at any time. If the Calculation Agent
 is unable or unwilling to act as such or is removed by the Co-Issuers or if the Calculation Agent fails to
 determine the Note Interest Rate for each Class of Floating Rate Notes or the amount of interest payable
 in respect of each Class of Floating Rate Notes for any Interest Period, the Issuer will promptly appoint as
 a replacement Calculation Agent a leading bank which is engaged in transactions in U.S. Dollar deposits
 in the international U.S. Dollar market and which does not control and is not controlled by or under
 common control with the Co-Issuers or any of their respective affiliates. The Calculation Agent may not
 resign its duties without a successor having been duly appointed. The determination of the Note Interest
 Rate with respect to each Class of Floating Rate Notes for each Interest Period by the Calculation Agent
 shall (in the absence of manifest error) be final and binding upon all parties.

          “LIBOR” means the offered rate, as determined by the Calculation Agent for any Interest Period,
 for three month Dollar deposits that appears on Reuters Screen LIBOR01 Page as reported on Bloomberg
 Financial Markets Commodities News (or a page that replaces Reuters Screen LIBOR01 Page for the
 purpose of displaying comparable rates), as of 11:00 a.m. (London time) on the second Business Day
 before the first day of the relevant Interest Period.

          If, on the second Business Day before the first day of any relevant Interest Period, that rate does
 not appear on Reuters Screen LIBOR01 Page as reported on Bloomberg Financial Market Commodities
 News (or a page that replaces Reuters Screen LIBOR01 Page for the purpose of displaying comparable
 rates), the Calculation Agent shall determine the arithmetic mean of the offered quotations of the
 Reference Banks to prime banks in the London interbank market for three month Dollar deposits in
 Europe, by reference to requests by the Calculation Agent to four major banks in the London interbank
 market selected by the Calculation Agent (after consultation with the Servicer) (the “Reference Banks”)
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 for quotations as of approximately 11:00 A.M. (London time) on the second Business Day before the first
 day of the Interest Period. If at least two of the Reference Banks provide quotations as requested, LIBOR
 shall equal such arithmetic mean. If fewer than two Reference Banks provide quotations, LIBOR shall be
 the arithmetic mean of the offered quotations that one or more leading banks in New York City selected
 by the Calculation Agent (after consultation with the Servicer) are quoting to the principal London offices
 of leading banks in the London interbank market on the second Business Day before the first day of the
 relevant Interest Period for three month Dollar deposits.

          If the Calculation Agent is unable to determine a rate in accordance with any of the above
 procedures, LIBOR for the Interest Period shall be calculated on the last day of the Interest Period and
 shall be the arithmetic mean of the rate of interest for each day during the Interest Period determined by
 the Calculation Agent as being the rate of interest most recently announced by the Bank at its New York
 office as its base rate, prime rate, reference rate, or similar rate for Dollar loans (or if the Bank ceases to
 exist or is not quoting a base rate, prime rate, reference rate, or similar rate for Dollar loans, another major
 money center commercial bank in New York City selected by the Calculation Agent (after consultation
 with the Servicer)).

          For the first Interest Period and, unless the Maturity Extension occurs, the last Interest Period,
 LIBOR shall be determined based on the actual number of days in the Interest Period using straight-line
 interpolation of two rates calculated in accordance with the above procedure, except that instead of using
 three month deposits, one rate shall be determined using the period for which rates are obtainable next
 shorter than the Interest Period and the other rate shall be determined using the period for which rates are
 obtainable next longer than the Interest Period. All calculations shall be calculated to at least four
 decimal places and rounded to four decimal places.

 Principal Payments on the Notes and Distributions on the Preference Shares from Principal
 Proceeds

          The principal of each Note of each Class matures at par and is payable on the Payment Date that
 is the Stated Maturity for the Class of Notes, unless the unpaid principal of the Note becomes payable at
 an earlier date by declaration of acceleration, call for redemption, or otherwise. The Preference Shares
 are scheduled to be redeemed on the Scheduled Preference Shares Redemption Date, unless redeemed
 prior thereto. The average life of each Class of Notes is expected to be shorter than the number of years
 from issuance until Stated Maturity for such Notes. See “Risk Factors—Relating to the Securities—The
 Weighted Average Lives of the Notes Interests May Vary” and “Maturity and Prepayment
 Considerations.” Notwithstanding the foregoing, and except as set forth below, the payment of principal
 of each Class of Notes: (i) may only occur after principal on each Class of Notes that is a Priority Class
 with respect to the Class has been paid in full and (ii) is subordinated to the payment on each Payment
 Date of the principal and interest payable on the Priority Classes, and other amounts in accordance with
 the Priority of Payments. However, (i) Interest Proceeds may be used to pay principal of the Class D
 Notes on any Payment Date to the extent necessary to satisfy the Class D Coverage Tests and
 (ii) Principal Proceeds may be used to pay Deferred Interest and other amounts before the payment of
 principal of the Notes. See “Description of the Securities—Priority of Payments.”

         In general, principal payments will not be made on the Notes before the end of the Replacement
 Period, except in the following circumstances: (i) in connection with an Optional Redemption, (ii) in
 connection with a Refinancing, (iii) at the option of the Servicer, to effect a Special Redemption of the
 Notes, (iv) pursuant to a redemption made in connection with a Tax Event or (v) following a mandatory
 redemption of the Notes caused by a failure to meet any of the Coverage Tests or a Rating Confirmation
 Failure. After the Replacement Period, Principal Proceeds will be applied on each Payment Date in
 accordance with the Priority of Payments to pay principal of each Class of Notes (except for Principal
 Proceeds constituting Unscheduled Principal Payments and Sale Proceeds from Credit Risk Obligations
 and Credit Improved Obligations which may be applied to purchase Collateral Obligations to the extent
 described herein). No principal of any Class of Notes will be payable on any Payment Date other than in
 accordance with the Priority of Payments and to the extent funds are available therefor on that Payment

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 Date for that purpose, except that the principal of each Class of Notes will be payable in full at the Stated
 Maturity, unless repaid before that.

         On each Payment Date, the Issuer will make distributions to the Preference Shares Paying Agent
 for payment pro rata to the Holders of the Preference Shares as dividends on the Preference Shares,
 pursuant to the Preference Share Documents, to the extent legally permitted, to the extent of available
 Principal Proceeds as described under clauses (12)(A), (15) and (16) under “Description of the
 Securities—Priority of Payments—Principal Proceeds.”

 Legal Provisions Applicable to the Payments of Dividends from Interest Proceeds and Dividends or
 Other Distributions from Principal Proceeds

          Interest Proceeds and Principal Proceeds paid to the Preference Shares Paying Agent for payment
 of dividends on, or the payment of the Redemption Price in respect of, the Preference Shares, will be
 distributable to the Holders of the Preference Shares only if the Issuer is and will remain solvent
 following such distribution and Interest Proceeds and Principal Proceeds paid to the Preference Shares
 Paying Agent for payment of dividends in respect of the Preference Shares will be distributable to the
 Holders of the Preference Shares only if the Issuer has sufficient distributable profits and/or share
 premium and if the Issuer is and will remain solvent following such distribution. Payments will be paid
 by the Trustee to the Preference Shares Paying Agent, on behalf of the Issuer, for payment of dividends
 and other distributions to the Holders of the Preference Shares pursuant to the Preference Share
 Documents, to the extent legally permitted, on a pro rata basis according to the number of Preference
 Shares held by each Holder on the Record Date for such Payment Date.

 Extension of the Replacement Period, the Stated Maturity and the Scheduled Preference Shares
 Redemption Date

         General

          The Issuer, if directed by the Servicer, shall be entitled on each Extension Effective Date to
 extend the Replacement Period to the applicable Extended Replacement Period End Date up to four times
 if (i) in the case of an Extension Effective Date occurring after the first Extension Effective Date, the
 Issuer has previously effected a Maturity Extension for each preceding Extension Effective Date and (ii)
 the Extension Conditions are satisfied and the Issuer has given the Trustee written notice of its election to
 extend the Replacement Period no later than 60 days and no earlier than 90 days prior to such Extension
 Effective Date. If the Extension Conditions are satisfied, the Stated Maturity of the Notes shall be
 automatically extended to the related Extended Stated Maturity Date, the Scheduled Preference Shares
 Redemption Date shall be automatically extended to the related Extended Scheduled Preference Shares
 Redemption Date and the Weighted Average Life Test shall be automatically extended to the related
 Extended Weighted Average Life Date, without any requirement for approval or consent of any Holders
 of Securities or amendment or supplement to the Indenture or the Preference Share Documents.

         In the case of a Maturity Extension, any Holder of Notes or Preference Shares wishing to sell all
 or a portion of its Securities (or, with respect to any Preference Shares held by Investors Corp. at such
 time, any Holder of Holding Preference Shares wishing to sell all or a portion of the Holding Preference
 Shares held by such Holder) to an Extension Qualifying Purchaser pursuant to the Extension Conditions
 must provide the applicable Extension Sale Notice within the Extension Sale Notice Period pursuant to
 “—Extension Procedure” below (such Securities (or Holding Preference Shares, as applicable) as to
 which an Extension Sale Notice has been duly given, “Extension Sale Securities”). Notwithstanding
 anything to the contrary herein, in connection with an Extension Sale, all, but not part, of the Extension
 Sale Securities must be purchased and settled at the applicable Extension Purchase Price on the applicable
 Extension Effective Date.

        The Maturity Extension shall be effective only if the following conditions (the “Extension
 Conditions”) are satisfied:

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         (i)     the purchase of all Extension Sale Securities has been settled by the designated Extension
                 Qualifying Purchasers at the applicable Extension Purchase Price as of the applicable
                 Extension Effective Date;

         (ii)    all such purchases of Extension Sale Securities individually and in the aggregate comply
                 with the applicable transfer restrictions, in the Indenture, the Preference Share
                 Documents and the Holding Preference Share Documents and described herein
                 immediately after such purchase and the legends on such Extension Sale Securities and
                 all applicable law, rules and regulations (including, without limitation, rules, regulations
                 and procedures of any applicable securities exchange, self-regulatory organization or
                 clearing agency);

         (iii)   (a) the Rating Condition has been satisfied with respect to S&P (so long as any Notes are
                 then rated by S&P) and (b) Rating Condition has been satisfied with respect to Moody’s
                 (so long as any Notes are then rated by Moody’s);

         (iv)    the Issuer has not effected more than three prior Extensions; and

         (v)     such extension is not effected for the primary purpose of decreasing losses or recognizing
                 gains resulting from market value changes.

         In the case of a Maturity Extension, each Noteholder, other than Holders of Extension Sale
 Securities, shall be entitled to receive an amount equal to the applicable Extension Bonus Payment.
 Holders of Preference Shares shall not be entitled to receive any Extension Bonus Payment.

          The Extension Bonus Payment shall be payable to any applicable qualifying beneficial owners
 who have provided the Trustee with an Extension Bonus Eligibility Certification on the first Payment
 Date from and including the Extension Effective Date on which funds are available for such purpose in
 accordance with the Priority of Payments, but in any event, no later than the earlier of the Stated Maturity
 and the date of redemption of the Notes. Extension Bonus Payments which are not available to be paid on
 a Payment Date in accordance with the Priority of Payments on a Payment Date shall not be considered
 “due and payable” hereunder. The failure to pay any such Extension Bonus Payment on such date shall
 not be an Event of Default, unless the Issuer shall fail to pay in full such Extension Bonus Payment on the
 earlier of the Stated Maturity and the date of redemption in full of the relevant Securities. Unpaid
 Extension Bonus Payments shall not accrue interest. Such amounts shall be paid, in the case of the Notes,
 to the accounts designated in the applicable Extension Bonus Eligibility Certification or, to the extent
 otherwise required by the rules of any applicable securities exchange or clearing agency, in a manner
 determined by the Issuer.

         Extension Procedure

          Not later than three Business Days following receipt by the Trustee of the notice given by the
 Issuer of its election to extend the Replacement Period (the “Extension Notice”), the Trustee shall mail
 the Extension Notice to all Holders of Notes, the Preference Shares Paying Agent (for forwarding to the
 Holders of the Preference Shares) and the Holding Preference Shares Paying Agent (for forwarding to the
 Holders of the Holding Securities) and each Rating Agency (so long as any rated Notes are Outstanding),
 in the form set out in the Indenture, and shall request the Rating Confirmation for the Maturity Extension
 from each Rating Agency, if applicable.

         Any Holder of Securities may deliver an irrevocable notice (an “Extension Sale Notice”) to the
 Issuer and the Trustee within 30 days after the Trustee has mailed the Extension Notice (the “Extension
 Sale Notice Period”) of its intention to sell all or a portion of its Securities or, with respect to Investors
 Corp., in its capacity as a Holder of the Class I Preference Shares, all or a portion of Holding Preference
 Shares, as the case may be, to an Extension Qualifying Purchaser in the case of a Maturity Extension.
 Any Extension Sale Notice received by the Trustee after the Extension Sale Notice Period shall be
 disregarded and deemed not to have been given. No Holder of Securities that has not delivered such an
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 Extension Sale Notice within the Extension Sale Notice Period shall be entitled to sell its Securities or
 Holding Preference Shares, as applicable, to an Extension Qualifying Purchaser in connection with the
 Maturity Extension.

          If any Holder of Class II Preference Shares delivers an Extension Sale Notice notifying the Issuer
 and the Trustee of its intention to sell all or a portion of its Class II Preference Shares, (i) such Holder will
 sell such Class II Preference Shares to Investors Corp. and such Preference Shares will be redesignated as
 Class I Preference Shares, (ii) Investors Corp. will issue additional Holding Preference Shares in a
 number equal to the aggregate number of, and at a price equal to the price of, such redesignated
 Preference Shares purchased by it and (iii) the Extension Qualifying Purchaser will purchase such
 additional Holding Preference Shares in lieu of such redesignated Preference Shares.

          On the applicable Extension Determination Date, the Issuer (or its agent) shall confirm
 (i) whether or not Extension Qualifying Purchasers for all Extension Sale Securities have been designated
 to purchase such Extension Sale Securities in compliance with all transfer restrictions in the Indenture, the
 Preference Share Documents and the Holding Preference Share Documents and the legends on such
 Extension Sale Securities and all applicable laws, rules and regulations (including, without limitation, any
 rules, regulations and procedures of any securities exchange, self-regulatory organization or clearing
 agency), (ii) whether the requirements of clause (iii) of the Extension Conditions are satisfied as of the
 applicable Extension Determination Date and (iii) whether all other Extension Conditions can be satisfied
 as of the applicable Extension Effective Date.

          On each Extension Effective Date, the Maturity Extension shall automatically become effective
 under the terms of the Indenture and the Preference Share Documents; provided that all Extension
 Conditions set forth above are satisfied (as certified to the Trustee by a certificate of an Authorized Officer
 of the Issuer). No later than two Business Days after each Extension Effective Date, the Trustee based on
 a determination made by the Issuer, at the expense of the Co-Issuers, shall mail a notice to all Holders of
 Notes, the Preference Shares Paying Agent (for forwarding to the Holders of Preference Shares), the
 Servicer, the Initial Purchaser, the Placement Agent, each Rating Agency (so long as any rated Notes are
 Outstanding) and the ISE (if and for so long as any Class of Senior Notes is listed thereon) confirming
 whether or not the Maturity Extension became effective. If the Maturity Extension became effective, the
 Issuer shall make any required notifications thereof to the Depositary for any Securities subject to the
 Maturity Extension.

          None of the Initial Purchaser, the Placement Agent, the Servicer or any of their respective
 Affiliates shall have any duty to act as an Extension Qualifying Purchaser.

 Optional Redemption

          Notes. The applicable Required Redemption Percentage may give written notice to the
 Preference Shares Paying Agent, the Trustee, the Issuer and the Servicer directing an optional redemption
 of the Notes (with respect to the Notes, an “Optional Redemption”) upon the occurrence of a Tax Event
 or at any time after the Non-Call Period. Such notice must be given not later than 45 days before the
 Payment Date on which the redemption is to be made. In the event that the Preference Shares Paying
 Agent, the Trustee and the Issuer receive notice directing an optional redemption from any one or more
 Holders of Preference Shares holding less than a Majority of the Preference Shares, the Preference Shares
 Paying Agent shall, within five Business Days of receipt of such notice, notify the Holders of the
 Preference Shares and the Holding Preference Shares Paying Agent (for forwarding to the Holders of the
 Holding Securities) (i) of the receipt of such notice and (ii) that any Holder of Preference Shares may join
 in directing an Optional Redemption by notifying the Issuer, the Trustee and the Preference Shares Paying
 Agent in writing within five Business Days after such Holder’s receipt of the Preference Shares Paying
 Agent’s notice.

         Upon receipt of the written notice directing an Optional Redemption of the Notes, the Co-Issuers
 with respect to the Senior Notes and the Issuer with respect to the Class D Notes are required by the
 Indenture to redeem the Notes (in whole but not in part) from amounts available therefor in accordance
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 with “—Optional Redemption Procedures” described below. Any Optional Redemption of the Notes
 shall be made at the applicable Redemption Price. Upon an Optional Redemption of the Notes, the
 Replacement Period will terminate in accordance with the definition of that term. The Issuer shall, at
 least 30 days before the Redemption Date (unless the Trustee shall agree to a shorter notice period), notify
 the Trustee, the Preference Shares Paying Agent (for forwarding to the Holders of Preference Shares), the
 Holding Preference Shares Paying Agent (for forwarding to the Holders of Holding Securities) and each
 Rating Agency of the Redemption Date, the applicable Record Date, the principal amount of Notes to be
 redeemed on the Redemption Date and the applicable Redemption Prices.

        Preference Shares. On any Payment Date on or after payment in full of the Notes, all
 administrative and other fees (without regard to any payment limitations) payable under the Priority of
 Payments (including the Senior Servicing Fee and the Subordinated Servicing Fee), and all amounts
 owing under the Indenture and any Hedge Agreement to any Hedge Counterparty have been discharged:

                  (i)     at the direction of a Majority of the Preference Shares, the Issuer shall cause the
         Trustee to make payments in redemption of all of the Preference Shares, in an aggregate amount
         equal to all of the proceeds from the sale or other disposition of all of the remaining Collateral
         less any fees and expenses owed by the Issuer (including the Redemption Price of any Notes
         being simultaneously redeemed), the aggregate amount to be distributed to the Preference Shares
         Paying Agent for distribution to the Holders of the Preference Shares pro rata in accordance with
         their respective holdings; or

                 (ii)     at the unanimous direction of the Holders of the Preference Shares, the Issuer
         shall cause the Trustee to make payments in redemption of all or a directed portion (representing
         less than all) of the Preference Shares to the Preference Shares Paying Agent for distribution to
         the Holders of the Preference Shares based upon such direction,

 (with respect to the Preference Shares and each of clauses (i) and (ii) above, an “Optional Redemption”).

         Upon a distribution pursuant to clause (i) above, the Servicer will (subject to the standard of care
 specified in the Servicing Agreement), on behalf of the Issuer (and subject to clause (ii) above), direct the
 sale of all remaining Collateral Obligations. Upon a distribution pursuant to clause (ii) above, the
 Servicer will effect the sale of Collateral Obligations in accordance with the unanimous direction of the
 Holders of the Preference Shares.

          Upon receipt of the written notice directing an Optional Redemption of the Preference Shares, the
 Issuer is required by the Preference Shares Paying Agency Agreement to redeem the Preference Shares in
 the applicable manner described above. Any Optional Redemption of the Preference Shares shall be
 made at the applicable Redemption Price.

          Optional Redemption Procedures. The Trustee will give notice of a redemption by first-class
 mail, postage prepaid, mailed not later than 10 Business Days and not earlier than 30 days before the
 applicable Redemption Date, to (i) each Holder of Notes to be redeemed, at the Holder’s address in the
 Indenture Register or otherwise in accordance with the rules and procedures of the Depository, Euroclear
 and Clearstream, as applicable, to the Preference Shares Paying Agent (for forwarding to the Holders of
 Preference Shares) and to the Holding Preference Shares Paying Agent (for forwarding to the Holders of
 Holding Securities) and (ii) in the case of an Optional Redemption of the Notes, to each Rating Agency.
 In addition, for so long as any Senior Notes are listed on the ISE and so long as the rules of the exchange
 so require, notice of an Optional Redemption of Senior Notes shall also be given to the Company
 Announcements Office of the ISE.

          Notice of redemption having been given as provided above, the Notes to be redeemed shall, on
 the Redemption Date, become payable at the Redemption Price therein specified and from and after the
 Redemption Date (unless the Issuer shall default in the payment of the Redemption Price and accrued
 interest) the Notes shall cease to bear interest on the Redemption Date.

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          Upon final payment on a Note to be so redeemed, the Holder shall present and surrender the Note
 at the place specified in the notice of redemption to receive the applicable Redemption Price unless the
 Holder provides an undertaking to surrender the Note thereafter.

        The Notes may not be optionally redeemed unless either of the following conditions is satisfied:

                  (i)      at least 10 Business Days before the Redemption Date, the Servicer shall have
        furnished to the Trustee evidence (in form reasonably satisfactory to the Trustee) that the Issuer
        has entered into a binding agreement (with a financial or other institution or entity whose short-
        term unsecured debt obligations (other than obligations whose rating is based on the credit of a
        person other than the institution) have a credit rating of at least “A-1” from S&P and of “P-1”
        (and not on credit watch for possible downgrade) from Moody’s (or to any other institution or
        entity if the Rating Condition with respect to Moody’s is satisfied with respect to the other entity)
        to sell to the financial or other institutions, not later than the Business Day before the Redemption
        Date in immediately available funds, all or part of the Collateral (directly or by participation or
        other arrangement) at a Purchase Price at least equal to an amount sufficient (together with any
        Cash and other Eligible Investments not subject to the agreements and maturing on or before the
        Redemption Date and any payments to be received with respect to the Hedge Agreements on or
        before the Redemption Date) to pay all administrative and other fees and expenses payable under
        the Priority of Payments without regard to any payment limitations (including the Senior
        Servicing Fee and the Subordinated Servicing Fee), all amounts owing under the Indenture, all
        amounts owing under the Hedge Agreements to the Hedge Counterparties and to redeem the
        Notes on the Redemption Date at the applicable Redemption Prices; or

                 (ii)    before entering into any binding agreement to sell all or a portion of the
        Collateral and selling or terminating any Hedge Agreement, the Servicer shall have certified that,
        in its commercially reasonable judgment, the settlement dates of the sales will be scheduled to
        occur on or before the Business Day before the Redemption Date and that the expected proceeds
        from the sales are to be delivered to the Trustee no later than the Business Day before the
        Redemption Date, in immediately available funds, in an amount (calculated as applicable in the
        manner provided below) sufficient (together with any Cash and other Eligible Investments not
        subject to the agreements and maturing on or before the Redemption Date and any payments to be
        received with respect to the Hedge Agreements on or before the Redemption Date) to pay all
        administrative and other fees and expenses payable under the Priority of Payments (including the
        Senior Servicing Fee and the Subordinated Servicing Fee), all amounts owing under the
        Indenture, all amounts owing under the Hedge Agreements to the Hedge Counterparties and to
        redeem the Notes on the Redemption Date at the applicable Redemption Prices. For purposes of
        this paragraph, the amount shall be calculated with respect to the classes of Collateral listed in the
        table below by multiplying the expected proceeds of sale of the Collateral by the indicated
        percentage in the table below. For the avoidance of doubt, no Hedge Agreement will be sold or
        terminated unless the third Business Day before the scheduled Redemption Date has passed and
        no notice of withdrawal has been issued.




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                                                           Number of Business Days Between
                                                           Certification to the Trustee and Sale
                                                      Same Day      1 to 2        3 to 5      6 to 15
   1.   Cash or other Eligible Investments              100%        100%          100%        100%
   2.   Loans (other than 5 below)                      100%         93%          92%          88%
   3.   High-Yield Bonds (other than 5 below) and       100%         89%          85%          75%
        Structured Finance Obligations (in each case,
        other than 4 below)
   4.   High-Yield Bonds (other than 5 below) and       100%         75%          65%          55%
        Structured Finance Obligations, in each case
        with a Moody’s Rating of “B3” and on credit
        watch with negative implications or below
        “B3”
   5.   Synthetic Securities                            100%         65%           55%         35%

          Any certification delivered by the Servicer shall include (A) the prices of, and expected proceeds
 from, the sale of any Collateral Obligations, Eligible Investments or Hedge Agreements and (B) all
 calculations required by the Indenture.

         Any notice of redemption may be withdrawn by the Issuer up to the fourth Business Day before
 the scheduled Redemption Date by written notice to the Preference Shares Paying Agent (for forwarding
 to the Holders of Preference Shares), the Holding Preference Shares Paying Agent (for forwarding to the
 Holders of Holding Securities), the Trustee and the Servicer only if:

                  (i)      in the case of an Optional Redemption of Notes, the Servicer does not deliver the
         sale agreement or certifications required under the Indenture, as the case may be, in form
         satisfactory to the Trustee;

                  (ii)   in the case of an Optional Redemption in whole of either the Notes or the
         Preference Shares as described above in “—Optional Redemption—Notes” and clause (i) of the
         first paragraph under “—Optional Redemption—Preference Shares,” the Issuer receives the
         written direction of the Preference Shares (or, in the case of an Optional Redemption of the
         Notes, the Affected Class) to withdraw the notice of redemption delivered by the percentage of
         the Preference Shares (or, in the case of an Optional Redemption of the Notes, the Affected
         Class) requesting redemption under “—Optional Redemption—Notes” or clause (i) of the first
         paragraph under “—Optional Redemption—Preference Shares,” as applicable; or

                 (iii)    in the case of an Optional Redemption of Preference Shares as described in
         clause (ii) of the first paragraph under “Optional Redemption—Preference Shares,” the Issuer
         receives the unanimous written direction of the Holders of the Preference Shares to withdraw the
         notice of redemption (and the Issuer hereby agrees for the benefit of the directing Holders to
         withdraw the applicable notice of redemption if it receives the written direction referred to in the
         preceding clause (ii) or this clause (iii)).

         Notice of any withdrawal shall be sent, not later than the third Business Day before the scheduled
 Redemption Date (assuming that the Trustee has received timely written notice from the Issuer as
 provided above), by the Trustee, to each Holder of Notes scheduled to be redeemed at the Holder’s
 address in the Indenture Register by overnight courier guaranteeing next day delivery (or, to the extent the
 address contained in the Indenture Register is not sufficient for that purpose, by first-class mail), the
 Preference Shares Paying Agent (for forwarding to each Holder of Preference Shares) and the Holding
 Preference Shares Paying Agent (for forwarding to the Holders of Holding Securities). If the Issuer so
 withdraws any notice of redemption or is otherwise unable to complete any redemption of the Notes, the
 Sale Proceeds received from the sale of any Collateral Obligations sold in accordance with the Indenture
 may, during the Replacement Period (and, in respect of Sale Proceeds from Credit Risk Obligations and


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 Credit Improved Obligations, after the Replacement Period) at the Servicer’s discretion, be used to
 purchase replacement Collateral Obligations in accordance with the Eligibility Criteria.

         Notice of redemption shall be given by the Co-Issuers or, upon an Issuer Order, by the Trustee in
 the name and at the expense of the Co-Issuers. Failure to give notice of redemption, or any defect therein,
 to any Holder of any Note selected for redemption, the Preference Shares Paying Agent (for forwarding to
 each Holder of Preference Shares) or the Holding Preference Shares Paying Agent (for forwarding to the
 Holders of Holding Securities) shall not impair or affect the validity of the redemption of any other
 Securities.

          Redemption by Refinancing. In addition, any Class of the Notes may be redeemed in whole, but
 not in part, on any Payment Date after the Non-Call Period from Refinancing Proceeds if the Servicer, on
 behalf of the Issuer, proposes to the Holders of the Preference Shares in writing (by notice to the
 Preference Shares Paying Agent (for forwarding to the Holders of Preference Shares) and to the Holding
 Preference Shares Paying Agent (for forwarding to the Holders of Holding Securities)) with a copy to the
 Trustee and the Rating Agencies) at least 30 days prior to the Payment Date for such redemption (such
 date, the “Refinancing Date”) to redeem such Notes in accordance with the Indenture, which notice shall,
 among other things, specify the Refinancing Date and the Class of Notes to be Refinanced. Such
 redemption will be effected by the Issuer obtaining a loan or an issuance of a replacement class of notes
 (“Refinancing Notes”), the terms of which loan or issuance will be negotiated by the Servicer, on behalf
 of the Issuer, from one or more financial institutions or purchasers (which may include the Servicer or its
 Affiliates) selected by the Servicer (a refinancing provided pursuant to such loan or issuance, a
 “Refinancing”), and provided that (i) such proposal is approved by a Majority of the Preference Shares
 (voting as a single class) at least 15 days prior to the Refinancing Date and (ii) the Servicer completes
 such Refinancing and causes the Refinancing Proceeds to be deposited with the Trustee (in immediately
 available funds) no later than the close of the Business Day immediately preceding the Refinancing Date.

          The Issuer will obtain a Refinancing only if the Servicer determines and certifies to the Trustee
 that:

          (i)     a Rating Agency Confirmation has been obtained from S&P for such Refinancing;

         (ii)   the proceeds from the Refinancing will be at least sufficient to pay the Refinancing Price
 plus any Administrative Expenses of the Issuer related to the Refinancing;

         (iii)     the interest rate payable in respect of the obligations providing the Refinancing is less
 than the interest rate payable on the Notes being refinanced;

         (iv)   the principal amount of any obligations providing the Refinancing is no greater than the
 principal amount of the Notes being redeemed with the proceeds of such obligations;

         (v)     the stated maturity of the obligations providing the Refinancing is no earlier than the
 Stated Maturity of the Notes being refinanced;

          (vi)    the Refinancing Proceeds will be used (to the extent necessary) to redeem the applicable
 Notes;

         (vii)   the agreements relating to the Refinancing contain non-recourse and non-petition
 provisions, investor qualification provisions and transfer restrictions equivalent to those applicable to the
 Notes being redeemed, as set forth in the Indenture;

         (viii) the obligations providing the Refinancing are subject to the Priority of Payments and do
 not rank higher in priority pursuant to the Priority of Payments than the Class of Notes being redeemed;
 and



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        (ix)     the expenses in connection with the Refinancing have been paid or will be adequately
 provided for.

         Any Refinancing Proceeds will not constitute Interest Proceeds or Principal Proceeds but will be
 applied directly on the related Refinancing Date pursuant to the Indenture to redeem the Notes being
 refinanced and pay Administrative Expenses in connection with the Refinancing without regard to the
 Priority of Payments; provided that, to the extent that any Refinancing Proceeds exceed the amount
 necessary to redeem the Notes being refinanced (and any associated Administrative Expenses), such
 excess Refinancing Proceeds will be treated as Principal Proceeds.

         Refinancing Notes may be issued from time to time pursuant to a Refinancing as described above
 and subject to and in compliance with the terms of the Indenture. Any such Refinancing Note will be
 issued by the Issuer and, if any such Refinancing Note is a Senior Note, the Co-Issuer and will be
 authenticated by the Trustee upon delivery to the Trustee of an order of the Issuer and the applicable
 opinion of counsel as set forth in the Indenture.

 Special Redemption of Notes If the Servicer Does Not Identify Replacement Collateral Obligations
 as Contemplated by the Indenture

          Principal payments on the Notes shall be made in whole or in part, at par, in accordance with the
 Priority of Payments if, at any time during the Replacement Period, the Servicer elects (subject to the
 Servicing Agreement) to notify the Trustee and each Rating Agency that it has been unable, for 45
 consecutive Business Days, to identify additional or replacement Collateral Obligations that are deemed
 appropriate by the Servicer in its sole discretion and meet the Eligibility Criteria in sufficient amounts to
 permit the application of all or a portion of the funds then in the Collection Account available to be used
 to purchase additional or replacement Collateral Obligations.

         On the Special Redemption Date, the Special Redemption Amount will be available to be applied
 in accordance with “—Priority of Payments—Principal Proceeds” to the extent of available Principal
 Proceeds. Notice of payment of the Special Redemption Amount shall be given by first-class mail,
 postage prepaid, mailed not later than three Business Days before the applicable Special Redemption
 Date, to each Holder of Notes to be redeemed, at the Holder’s address in the Indenture Register or
 otherwise in accordance with the rules and procedures of the Depository. In addition, for so long as any
 Senior Notes are listed on the ISE and so long as the rules of the exchange so require, notice of a Special
 Redemption of the Senior Notes shall also be given to the Company Announcements Office of the ISE.

         In connection with a Special Redemption, the principal of the Notes will be paid from Principal
 Proceeds in an aggregate amount equal to the Special Redemption Amount (first pro rata to any Class A-
 1 Notes and Class A-2 Notes to be redeemed (provided that amounts allocated to the payment of the Class
 A-2 Notes will be paid, first, to the Class A-2a Notes and, second, to the Class A-2b Notes), then to any
 Class A-3 Notes to be redeemed, then to any Class B Notes to be redeemed, then to any Class C Notes to
 be redeemed and then to any Class D Notes to be redeemed, in each case until paid in full) in accordance
 with the Priority of Payments. See “Description of the Securities—Priority of Payments—Principal
 Proceeds.”

 Mandatory Redemption of the Notes

         General

         In the event of a Rating Confirmation Failure or a failure to meet any Coverage Test on any
 Determination Date, a mandatory redemption of one or more Classes of Notes in whole or in part will be
 required. Any mandatory redemption could result in an elimination, deferral or reduction in interest or
 principal payments to one or more Classes of Securities, which would adversely affect the returns to the
 Holders of the Class or Classes of Securities. See “Risk Factors—Relating to the Securities—The
 Indenture Requires Mandatory Redemption of the Interests for Failure to Satisfy Coverage Tests” and
 “⎯The Indenture Requires Mandatory Redemption of the Notes Upon Rating Confirmation Failure.”
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         Mandatory Redemption of the Notes for Failure to Satisfy Coverage Tests

          Except with respect to payments made pursuant to an Optional Redemption or a redemption made
 in connection with a Tax Event as described under “—Optional Redemption,” on any Payment Date with
 respect to which any Coverage Test (as described under “Security for the Notes—The Coverage Tests”) is
 not met on any Determination Date, principal payments on the Notes will be made as described under “—
 Priority of Payments.”

         Mandatory Redemption of the Notes Upon Rating Confirmation Failure

          Upon the event of a Rating Confirmation Failure, all Interest Proceeds remaining after payment
 of amounts referred to in clauses (1) through (16) of “—Priority of Payments—Interest Proceeds” will be
 used to pay principal of the Class A-1 Notes, the Class A-2a Notes, the Class A-2b Notes, the Class A-3
 Notes, the Class B Notes, the Class C Notes and the Class D Notes sequentially in the Note Payment
 Sequence on the next Payment Date and each Payment Date thereafter until the Initial Ratings are
 confirmed. If necessary, after the foregoing payments are made out of Interest Proceeds, Principal
 Proceeds in accordance with clause (11) “—Priority of Payments—Principal Proceeds” will be used to
 pay principal of each Class of the Notes sequentially in order of their priority on each Payment Date until
 the Initial Ratings are confirmed.

         Upon receipt of notice of a Rating Confirmation Failure and if available Interest Proceeds and
 Principal Proceeds are insufficient to effect the redemption of the Notes, at par on any subsequent
 Payment Date in accordance with the Priority of Payments as and to the extent necessary for each of
 Moody’s and S&P to confirm in writing the Initial Ratings assigned by it on the Closing Date to the
 Notes, then at the direction and in accordance with the instructions of the Servicer the Trustee shall sell
 Collateral Obligations so that the proceeds from the sale and all other funds available for the purpose in
 the Collection Account will be used to redeem the Notes (but only to the extent necessary for each of
 Moody’s and S&P to confirm in writing the Initial Ratings assigned by it on the Closing Date to the
 Notes) and to pay all administrative and other fees, expenses and obligations payable under the Priority of
 Payments. Any sale under these provisions shall be conducted in such a manner that:

                  (i)     after giving effect to the sale each Overcollateralization Test is satisfied or, if any
         Overcollateralization Test is not satisfied, the extent of compliance with the Overcollateralization
         Test is not reduced;

                 (ii)     if the sale occurs on or after the second Payment Date, after giving effect to the
         sale each Interest Coverage Test is satisfied or, if any Interest Coverage Test is not satisfied, the
         extent of compliance with the Interest Coverage Test is not reduced; and

                  (iii)  after giving effect to the sale each Collateral Quality Test is satisfied or, if any
         Collateral Quality Test is not satisfied, the extent of compliance with the Collateral Quality Test
         is not reduced.

 Redemption of the Preference Shares in Connection with Mandatory Redemption of the Notes

        The Preference Shares will be redeemed in whole in accordance with the Priority of Payments
 and the Preference Share Documents on any Payment Date on which a mandatory redemption of the
 Notes described under “—Mandatory Redemption of the Notes” results in the payment in full of the
 Aggregate Outstanding Amount of each Class of Notes.

 Priority of Payments

          Collections received on the Collateral during the related Due Period will be segregated into
 Interest Proceeds and Principal Proceeds and applied on each Payment Date in the priority below under
 “—Interest Proceeds” and “—Principal Proceeds,” respectively (collectively, the “Priority of
 Payments”).

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        Interest Proceeds

          On each Payment Date, Interest Proceeds with respect to the related Due Period (other than
 Interest Proceeds previously used during such Due Period to purchase accrued interest in respect of
 Collateral Obligations or otherwise used as permitted under the Indenture) will be distributed in the
 following order of priority:

        (1)     to the payment of any taxes and registration and filing fees owed by the Co-Issuers
                (without limit) and then to the payment of Administrative Expenses up to the
                Administrative Expense Cap as follows:

                    FIRST,     in the following order of priority:

                         (i)        fees, expenses and indemnities of the Trustee; and then

                         (ii)       fees, expenses and indemnities of the Collateral Administrator; and then

                         (iii)      fees, expenses and indemnities of the Preference Shares Paying Agent;
                                    and

                         (iv)       fees, expenses and indemnities of the Holding Preferences Shares Paying
                                    Agent;

                    SECOND,      in the following order of priority;

                         (x)        fees and expenses of the Administrator; and then;

                         (y)     fees and expenses of the Co-Issuers (including fees and expenses of
                         counsel and ongoing surveillance, credit estimate, and other fees owing to the
                         Rating Agencies) and any other person (except the Servicer) if specifically
                         provided for in the Indenture, and to the expenses (but not fees) of the Servicer if
                         payable under the Servicing Agreement;

        (2)     the excess, if any, of the Administrative Expense Cap over the amounts paid pursuant to
                clause (1) above to deposit into the Expense Reimbursement Account;

        (3)     FIRST, to deposit in the Class II Preference Share Special Payment Account for payment
                in accordance with “Security for the Notes—The Accounts—Class II Preference Share
                Special Payment Account” an amount equal to the product of (i) the Class II Preference
                Share Portion for such Payment Date, if any, and (ii) any accrued and unpaid Senior
                Servicing Fee then due and payable and SECOND, to the payment to the Servicer of an
                amount equal to the difference between (i) the accrued and unpaid Senior Servicing Fee
                as of such Payment Date and (ii) the amount deposited to the Class II Preference Share
                Special Payment Account in accordance with the preceding clause;

        (4)     to the payment of all amounts due to the Hedge Counterparties under the Hedge
                Agreements (if any) other than any Defaulted Hedge Termination Payments;

        (5)     to the payment of accrued and unpaid interest on the Class A-1 Notes and the Class A-2
                Notes, and any accrued and unpaid Defaulted Interest on, and any Defaulted Interest
                Charge with respect to, the Class A-1 Notes and the Class A-2 Notes, in each case, pro
                rata in proportion to the respective amounts of interest, Defaulted Interest and Defaulted
                Interest Charge then due on each such Class (provided that amounts allocated to the
                payment of the Class A-2 Notes shall be paid, first, to the Class A-2a Notes and, second,
                to the Class A-2b Notes);


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        (6)    to the payment of accrued and unpaid interest on the Class A-3 Notes, and any accrued
               and unpaid Defaulted Interest on, and any Defaulted Interest Charge with respect to, the
               Class A-3 Notes;

        (7)    if the Class A Coverage Tests are not satisfied on the related Determination Date, to the
               payment of principal of the Class A-1 Notes, the Class A-2a Notes, the Class A-2b Notes
               and the Class A-3 Notes in the Note Payment Sequence in the amount necessary so that
               all of the Class A Coverage Tests would be met on such Determination Date on a pro
               forma basis after giving effect to any payments in reduction of the principal of Notes
               made through this clause, or until paid in full (Interest Proceeds to be applied pursuant to
               this clause (7) before the application of any Principal Proceeds as described under “—
               Principal Proceeds” below on the current Payment Date);

        (8)    to the payment of accrued and unpaid interest on the Class B Notes (excluding Class B
               Deferred Interest, but including interest accrued for the preceding Interest Period on
               Class B Deferred Interest);

        (9)    if the Class B Coverage Tests are not satisfied on the related Determination Date, to the
               payment of principal of the Class A-1 Notes, the Class A-2a Notes, the Class A-2b Notes,
               the Class A-3 Notes and the Class B Notes in the Note Payment Sequence, in each case in
               the amount necessary so that all of the Class B Coverage Tests would be met on such
               Determination Date on a pro forma basis after giving effect to any payments in reduction
               of the principal of Notes made through this clause, or until paid in full (Interest Proceeds
               to be applied pursuant to this clause (9) before the application of any Principal Proceeds
               as described under “—Principal Proceeds” below on the current Payment Date);

        (10)   to the payment of Class B Deferred Interest;

        (11)   to the payment of accrued and unpaid interest on the Class C Notes (excluding Class C
               Deferred Interest but including interest accrued for the preceding Interest Period on Class
               C Deferred Interest);

        (12)   if the Class C Coverage Tests are not satisfied on the related Determination Date, to the
               payment of principal of the Class A-1 Notes, the Class A-2a Notes, the Class A-2b Notes,
               the Class A-3 Notes, the Class B Notes and the Class C Notes in the Note Payment
               Sequence, in each case in the amount necessary so that all of the Class C Coverage Tests
               would be met on such Determination Date on a pro forma basis after giving effect to any
               payments in reduction of the principal of Notes made through this clause, or until paid in
               full (Interest Proceeds to be applied pursuant to this clause (12) before the application of
               any Principal Proceeds as described under “—Principal Proceeds” below on the current
               Payment Date);

        (13)   to the payment of Class C Deferred Interest;

        (14)   to the payment of accrued and unpaid interest on the Class D Notes (excluding Class D
               Deferred Interest but including interest accrued for the preceding Interest Period on Class
               D Deferred Interest);

        (15)   if the Class D Coverage Tests are not satisfied on the related Determination Date and (i)
               all of the Class A Coverage Tests, the Class B Coverage Tests and the Class C Coverage
               Tests are satisfied on such Determination Date (without giving effect to any amounts
               payable pursuant to clauses (7), (9) and (12) above on the related Payment Date), to the
               payment of principal of the Class D Notes in the amount necessary so that all of the Class
               D Coverage Tests would be met on such Determination Date on a pro forma basis after
               giving effect to any payments in reduction of the principal of Notes made through this
               clause, or until paid in full or (ii) the conditions of sub-clause (i) are not satisfied, to the
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               payment of principal of the Class A-1 Notes, the Class A-2a Notes, the Class A-2b Notes,
               the Class A-3 Notes, the Class B Notes, the Class C Notes and the Class D Notes in the
               Note Payment Sequence, in each case in the amount necessary so that all of the Class D
               Coverage Tests would be met on such Determination Date on a pro forma basis after
               giving effect to any payments in reduction of the principal of Notes made through this
               clause, or until paid in full (Interest Proceeds to be applied pursuant to this clause (15)
               before the application of any Principal Proceeds as described under “—Principal
               Proceeds” below on the current Payment Date);

        (16)   to the payment of Class D Deferred Interest;

        (17)   if a Rating Confirmation Failure exists on the Payment Date, to the payment of principal
               of the Class A-1 Notes, the Class A-2a Notes, the Class A-2b Notes, the Class A-3 Notes,
               the Class B Notes, the Class C Notes and the Class D Notes in the Note Payment
               Sequence, in each case in the amount necessary so that a Rating Confirmation is
               obtained, or until paid in full (Interest Proceeds to be applied pursuant to this clause (17)
               before the application of any Principal Proceeds as described under “—Principal
               Proceeds” below on the current Payment Date);

        (18)   during the Replacement Period, if the Retention Overcollateralization Test is not satisfied
               on the related Determination Date, for deposit to the Collection Account as Principal
               Proceeds 50% of the remaining Interest Proceeds available after the payments pursuant to
               clause (17) above (or, if the amount necessary to cause the Retention
               Overcollateralization Test to be satisfied as of such Determination Date is less than 50%
               of such remaining Interest Proceeds, such necessary amount);

        (19)   to the payment of any remaining Administrative Expenses not paid under clause (1)
               above in the respective priorities specified in clause (1);

        (20)   FIRST, to deposit in the Class II Preference Share Special Payment Account for payment
               in accordance with “Security for the Notes—The Accounts—Class II Preference Share
               Special Payment Account” an amount equal to the product of (i) the Class II Preference
               Share Portion for such Payment Date, if any, and (ii) any accrued and unpaid
               Subordinated Servicing Fee then due and payable and SECOND, to the payment (pro rata
               according to the amounts payable under clauses (x) and (y) below) to: (x) the Servicer of
               an amount equal to the difference between (i) the accrued and unpaid Subordinated
               Servicing Fee as of such Payment Date and (ii) the amount deposited to the Class II
               Preference Share Special Payment Account in accordance with the preceding clause; and
               (y) pro rata to each Holder of Securities entitled thereto, the applicable Extension Bonus
               Payment as described under “—Extension of the Replacement Period, the Stated Maturity
               and the Scheduled Preference Shares Redemption Date;”

        (21)   to the payment of any Defaulted Hedge Termination Payments;

        (22)   to the Preference Shares Paying Agent, on behalf of the Issuer, for deposit into the
               Preference Shares Distribution Account for payment pro rata to the Holders of the
               Preference Shares until the Holders of the Preference Shares have realized a Preference
               Share Internal Rate of Return of 12.0%;

        (23)   FIRST, to deposit in the Class II Preference Share Special Payment Account for payment
               in accordance with “Security for the Notes—The Accounts—Class II Preference Share
               Special Payment Account” of an amount equal to the product of (i) the Class II
               Preference Share Portion for such Payment Date, if any, and (ii) the Supplemental
               Servicing Fee, if applicable and SECOND, to the payment to the Servicer of an amount
               equal to the difference between (i) the accrued and unpaid Supplemental Servicing Fee as

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                  of such Payment Date and (ii) the amount deposited to the Class II Preference Share
                  Special Payment Account in accordance with the preceding clause; and

         (24)     any remaining Interest Proceeds, to the Preference Shares Paying Agent, on behalf of the
                  Issuer, for deposit into the Preference Shares Distribution Account for payment pro rata
                  to the Holders of the Preference Shares;

          provided that, in lieu of payment of Interest Proceeds referred to under clauses (22) and (24)
 above, in whole or in part on any Payment Date, the Servicer, on behalf the Issuer, will have the right to
 direct the Trustee to distribute Eligible Equity Securities pro rata to the Consenting Holders of the
 Preference Shares with respect to such Payment Date to the extent that the Market Value of such Eligible
 Equity Securities (determined by the Servicer as of the relevant Market Value Determination Date) is
 equal to or lower than the aggregate amount of Interest Proceeds that would otherwise be due and payable
 on such Payment Date to such Consenting Holders of the Preference Shares. Interest Proceeds in an
 amount equal to the Market Value of such Eligible Equity Securities (determined by the Servicer as of the
 relevant Market Value Determination Date) distributed to the Consenting Holders of the Preference
 Shares with respect to any such Payment Date will be treated for all purposes by the Issuer and the
 Servicer as Principal Proceeds available for distribution in accordance with the Priority of Payments on
 the relevant Payment Date. The amount of Interest Proceeds available on the relevant Payment Date will
 be reduced and the amount of Principal Proceeds available on the relevant Payment Date will be increased
 accordingly.

         Principal Proceeds

         On each Payment Date, Principal Proceeds with respect to the related Due Period other than:

         (A)      Principal Proceeds previously used to purchase Collateral Obligations (including any
                  related deposit into the Revolving Reserve Account or the Delayed Drawdown Reserve
                  Account or the posting by the Issuer of cash collateral with (or for the benefit of) a
                  Synthetic Security Counterparty simultaneously with the Issuer’s purchase of or entry
                  into a Synthetic Security) or otherwise used as permitted under the Indenture;

         (B)      Principal Proceeds on deposit in the Revolving Reserve Account, the Delayed Drawdown
                  Reserve Account, the Synthetic Security Collateral Account or the Securities Lending
                  Account; and

         (C)      Principal Proceeds on deposit in the Collection Account in an aggregate amount equal to
                  the agreed Purchase Prices for Collateral Obligations with respect to which the Issuer has
                  entered into a commitment before the end of the Due Period for their purchase, but has
                  not settled the purchase by the end of the Due Period;

 shall be distributed in the following order of priority:

         (1)      (x) FIRST, to the payment of the amounts referred to in clauses (1) through (6) under “—
                  Interest Proceeds” above (and in the same manner and order of priority) to the extent not
                  previously paid in full thereunder and (y) SECOND, to the payment of amounts referred to
                  in clause (7) under “—Interest Proceeds” above to the extent not previously paid in full
                  thereunder and to the extent necessary to cause the Class A Overcollateralization Test to
                  be met as of the related Determination Date on a pro forma basis after giving effect to
                  any payments made through this clause (1), or until such amounts are paid in full;

         (2)      to the payment of the amounts referred to in clause (8) under “—Interest Proceeds” above
                  to the extent not previously paid in full thereunder;

         (3)      to the payment of the amounts referred to in clause (9) under “—Interest Proceeds” above
                  to the extent not previously paid in full thereunder and to the extent necessary to cause
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               the Class B Overcollateralization Test to be met as of the related Determination Date on a
               pro forma basis after giving effect to any payments made through this clause (3), or until
               such amounts are paid in full;

        (4)    to the payment of the amounts referred to in clause (10) under “—Interest Proceeds”
               above to the extent not previously paid in full thereunder;

        (5)    to the payment of the amounts referred to in clause (11) under “—Interest Proceeds”
               above to the extent not previously paid in full thereunder;

        (6)    to the payment of the amounts referred to in clause (12) under “—Interest Proceeds”
               above to the extent not previously paid in full thereunder and to the extent necessary to
               cause the Class C Overcollateralization Test to be met as of the related Determination
               Date on a pro forma basis after giving effect to any payments made through this clause
               (6), or until such amounts are paid in full;

        (7)    to the payment of the amounts referred to in clause (13) under “—Interest Proceeds”
               above to the extent not previously paid in full thereunder;

        (8)    to the payment of the amounts referred to in clause (14) under “—Interest Proceeds”
               above to the extent not previously paid in full thereunder;

        (9)    to the payment of the amounts referred to in sub-clause (ii) in clause (15) under “—
               Interest Proceeds” above (regardless whether or not the conditions of sub-clause (i) of
               such clause (15) are satisfied) to the extent not previously paid in full thereunder and to
               the extent necessary to cause the Class D Overcollateralization Test to be met as of the
               related Determination Date on a pro forma basis after giving effect to any payments made
               through this clause (9), or until such amounts are paid in full;

        (10)   to the payment of the amounts referred to in clause (16) under “—Interest Proceeds”
               above to the extent not previously paid in full thereunder;

        (11)   to the payment of the amounts referred to in clause (17) under “—Interest Proceeds”
               above to the extent not previously paid in full thereunder;

        (12)

               (A)     if the Payment Date is a Redemption Date in the following order of priority: (i) to
                       the payment in the Note Payment Sequence of the Redemption Prices of all of the
                       Notes to be redeemed, (ii) to the payment of the amounts referred to in
                       clauses (19) through (23) under “—Interest Proceeds” above (and in the same
                       manner and order of priority) to the extent not previously paid in full thereunder
                       and (iii) to the Preference Shares Paying Agent, on behalf of the Issuer, for
                       deposit into the Preference Shares Distribution Account for payment to the
                       Holders of the Preference Shares of the Redemption Price of any Preference
                       Shares to be redeemed; and

               (B)     if the Payment Date is a Special Redemption Date, to the payment in the Note
                       Payment Sequence of principal of the Notes in an aggregate amount equal to the
                       Special Redemption Amount, in each case until paid in full;

        (13)   during the Replacement Period, all remaining Principal Proceeds to the acquisition of
               additional Collateral Obligations in accordance with the Indenture (and, until so applied
               (including any related deposit into the Revolving Reserve Account or the Delayed
               Drawdown Reserve Account or the posting by the Issuer of cash collateral with (or for
               the benefit of) a Synthetic Security Counterparty simultaneously with the Issuer’s
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                 purchase of or entry into a Synthetic Security), to be deposited in the Collection Account
                 as Principal Proceeds);

         (14)    after the Replacement Period, (i) FIRST, at the discretion of the Servicer (with respect to
                 Unscheduled Principal Payments and Sale Proceeds from the sale of Credit Risk
                 Obligations and Credit Improved Obligations) to the purchase or funding of additional or
                 replacement Collateral Obligations in accordance with the Eligibility Criteria and the
                 applicable provisions of the Indenture when appropriate Collateral Obligations are
                 available, and until such time, to the Collection Account for the purchase of Eligible
                 Investments; and (ii) SECOND, to the payment in the Note Payment Sequence of principal
                 of Notes until paid in full;

         (15)    to the extent not previously paid in full under clause (12) above, after the Replacement
                 Period, to the payment of the amounts referred to in clauses (19) through (23) under
                 “⎯Interest Proceeds” above (and in the same manner and order of priority) to the extent
                 not previously paid in full thereunder; and

         (16)    after the Replacement Period to the Preference Shares Paying Agent, on behalf of the
                 Issuer, for deposit into the Preference Shares Distribution Account for payment pro rata
                 to the Holders of the Preference Shares.

          The calculation on any Coverage Test on any Determination Date shall be made by giving effect
 to all payments to be made pursuant to all subclauses of the Priority of Payments as applicable, payable
 on the Payment Date following such Determination Date. In addition, no Principal Proceeds will be used
 to pay a subordinated Class on a Payment Date if, after giving effect to such payment, any Coverage Test
 of a more senior Class of Notes is failing on such Payment Date or would fail as a result of such
 application of the Principal Proceeds on such Payment Date.

         If on any Payment Date the amount available in the Payment Account is insufficient to make the
 full amount of the disbursements required by the Valuation Report, the Trustee shall make the
 disbursements called for in the order and according to the priority under “—Interest Proceeds” and
 “⎯Principal Proceeds,” to the extent funds are available therefor.

         The Trustee shall remit funds to pay Administrative Expenses of the Issuer or the Co-Issuer in
 accordance with the Priority of Payments under “—Interest Proceeds” and “—Principal Proceeds” above,
 to the extent available, to the Issuer, the Co-Issuer as directed and designated in an Issuer Order (which
 may be in the form of standing instructions) delivered to the Trustee no later than the Business Day before
 each Payment Date.

 Form, Denomination, Registration and Transfer of the Senior Notes

          The Senior Notes sold in Offshore Transactions may only be sold to non-U.S. Persons in reliance
 on Regulation S. Except as provided below, the Senior Notes sold in reliance on Regulation S will be
 represented by one or more Regulation S Global Notes. The Regulation S Global Notes will be deposited
 with the Trustee as custodian for, and registered in the name of, a nominee of the Depository for the
 respective accounts of the beneficial owners at Euroclear and Clearstream. Beneficial interests in a
 Regulation S Global Note may be held only through Euroclear or Clearstream. Investors may hold their
 interests in a Regulation S Global Note directly through Euroclear or Clearstream, if they are participants
 in such systems, or indirectly through organizations that are participants in such systems. Beneficial
 interests in a Regulation S Global Note may not be held by a U.S. Person at any time. By acquisition of a
 beneficial interest in a Regulation S Global Note, the purchaser thereof will be deemed to represent that it
 is not a U.S. Person and that, if in the future it determines to transfer such beneficial interest, it will
 transfer such interest only to a person whom the seller reasonably believes to be a non-U.S. Person or to a
 person who takes delivery in the form of an interest in a Rule 144A Global Note.


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          The Senior Notes initially sold in non-Offshore Transactions or to U.S. Persons in reliance on the
 exemption from registration provided by Rule 144A may only be sold to (i) Qualified Institutional Buyers
 that are also (ii) Qualified Purchasers and, except as provided below, will be represented by one or more
 permanent Rule 144A Global Notes. Investors may hold their interests in the Rule 144A Global Notes
 directly through the Depository if they are the Depository participants, or indirectly through organizations
 that are the Depository participants. The Rule 144A Global Notes will be deposited with the Trustee as
 custodian for the Depository, and registered in the name of a nominee of the Depository.

          Beneficial interests in Senior Notes represented by Global Notes will be subject to certain
 restrictions on transfer set forth therein and in the Indenture and such Global Notes will bear the
 applicable legends regarding the restrictions set forth under “Transfer Restrictions.” A beneficial interest
 in a Regulation S Global Note may be transferred to a person who takes delivery in the form of an interest
 in a Rule 144A Global Note only upon receipt by the Trustee of a written certification from (A) the
 transferor (in the form provided in the Indenture) to the effect that the transfer is being made to a person
 whom the transferor reasonably believes is a Qualified Institutional Buyer who is also a Qualified
 Purchaser and in accordance with any applicable securities laws of any state of the United States or any
 other jurisdiction and (B) the transferee (in the form provided in the Indenture) to the effect that, among
 other things, the transferee is both a Qualified Institutional Buyer and a Qualified Purchaser. Beneficial
 interests in the Rule 144A Global Notes may be transferred to a person who takes delivery in the form of
 an interest in a Regulation S Global Note only upon receipt by the Trustee of a written certification from
 (A) the transferor (in the form provided in the Indenture) to the effect that the transfer is being made to a
 non-U.S. Person in an Offshore Transaction in accordance with Regulation S and (B) the transferee (in
 the form provided in the Indenture) to the effect that, among other things, the transferee is a non-U.S.
 Person.

          Any beneficial interest in a Regulation S Global Note that is transferred to a person who takes
 delivery in the form of an interest in a Rule 144A Global Note will, upon transfer, cease to be an interest
 in such Regulation S Global Note and become an interest in the Rule 144A Global Note and, accordingly,
 will thereafter be subject to all transfer restrictions and other procedures applicable to beneficial interests
 in a Rule 144A Global Note for as long as it remains such an interest. Any beneficial interest in a Rule
 144A Global Note that is transferred to a person who takes delivery in the form of an interest in a
 Regulation S Global Note will, upon transfer, cease to be an interest in the Rule 144A Global Note and
 become an interest in the Regulation S Global Note and, accordingly, will thereafter be subject to all
 transfer restrictions and other procedures applicable to beneficial interests in a Regulation S Global Note
 for as long as it remains such an interest. No service charge will be made for any registration of transfer
 or exchange of Senior Notes, but the Issuer or Co-Issuers, as the case may be, or the Trustee may require
 payment of a sum sufficient to cover any tax or other governmental charge payable in connection
 therewith.

          Except in the limited circumstances described in this paragraph, owners of beneficial interests in
 Senior Notes held in the form of Global Notes will not be entitled to receive delivery of certificated
 Senior Notes. The Senior Notes are not issuable in bearer form. A Global Note deposited with the
 Depository pursuant to the Indenture shall be transferred to the beneficial owners thereof only if such
 transfer complies with the Indenture and either (i) the Depository notifies the Co-Issuers that it is unwilling
 or unable to continue as depository for a Global Note or ceases to be a “Clearing Agency” registered under
 the Exchange Act and a successor depository is not appointed by the Issuer within 90 days of such notice
 or (ii) as a result of any amendment to or change in, the laws or regulations of the Cayman Islands or of
 any authority therein or thereof having power to tax or in the interpretation or administration of such laws
 or regulations which become effective on or after the Closing Date, the Issuer or the Paying Agent
 becomes aware that it is or will be required to make any deduction or withholding from any payment in
 respect of the Senior Notes which would not be required if the Senior Notes were in definitive form. In
 addition, the owner of a beneficial interest in a Global Note will be entitled to receive a certificated Note
 in exchange for such interest if an Event of Default has occurred and is continuing. In the event that
 certificated Senior Notes are not so issued by the Issuer to such beneficial owners of interests in Global
 Notes, the Issuer expressly acknowledges that such beneficial owners shall be entitled to pursue any

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 remedy that the Holders of a Global Note would be entitled to pursue in accordance with the Indenture
 (but only to the extent of such beneficial owner’s interest in the Global Note) as if certificated Senior
 Notes had been issued. Payments on such certificated Senior Notes will be made by wire transfer in
 immediately available funds to a Dollar-denominated account maintained by the owner or, if a wire
 transfer cannot be effected, by a Dollar check delivered to the owner. See “Settlement and Clearing.”

         The Senior Notes will be issued in minimum denominations of U.S$250,000 and integral
 multiples of U.S$1,000 in excess thereof for each Class of Senior Notes.

 Form, Denomination, Registration and Transfer of the Class D Notes

          The Class D Notes will be issued in the form of one or more certificated Class D Notes in
 definitive, fully registered form, registered in the name of the owner thereof (the “Certificated Class D
 Notes ”).

         The Class D Notes may only be sold to persons who are Qualified Institutional Buyers (or, solely
 in the case of a Holder purchasing Class D Notes on the Closing Date, to an Institutional Accredited
 Investor) who are also Qualified Purchasers.

          The Class D Notes may be transferred only upon (inter alia) receipt by the Trustee of a written
 certification (in the form provided in the Indenture) from the transferee to the effect that, among other
 things, the transferee is a Qualified Institutional Buyer who is also a Qualified Purchaser, and such
 transfer is being made in accordance with any applicable securities laws of any state of the United States
 or any other jurisdiction. Each initial Holder as well as each transferee of the Class D Notes is also
 required to provide certain tax forms and other tax-related certifications. See “Transfer Restrictions.”

         The Class D Notes will be issued in minimum denominations of U.S$250,000 and integral
 multiples of U.S$1,000 in excess thereof.

 Form, Denomination, Registration and Transfer of the Preference Shares

          The Preference Shares will be issued in the form of one or more certificated Preference Shares in
 definitive, fully registered form, registered in the name of the owner thereof (the “Certificated
 Preference Shares”).

        Preference Shares may only be sold to persons who are Qualified Institutional Buyers who are
 also Qualified Purchasers.

          Preference Shares may be transferred only upon (inter alia) receipt by the Preference Shares
 Paying Agent of a written certification (in the form provided in the Preference Share Documents) from
 the transferee to the effect that, among other things, the transferee is a Qualified Institutional Buyer who
 is also a Qualified Purchaser, and such transfer is being made in accordance with any applicable securities
 laws of any state of the United States or any other jurisdiction. Each initial Holder as well as each
 transferee of the Preference Shares is also required to provide certain tax forms and other tax-related
 certifications. See “Transfer Restrictions.”

          Ogier Fiduciary Services (Cayman) Limited has been appointed and will serve as the registrar
 with respect to the Preference Shares (the “Share Registrar”) and will provide for (inter alia) the
 registration of the Preference Shares and the registration of transfers of the Preference Shares in
 accordance with the Preference Share Documents and the Administration Agreement in the register
 maintained by it. The Preference Shares will be issued in minimum numbers of 100 Preference Shares
 per investor and integral multiples of one Preference Share in excess thereof.




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 The Indenture

         The following summary describes certain provisions of the Indenture. The summary does not
 purport to be complete and is subject to, and qualified in its entirety by reference to, the provisions of the
 Indenture.

         Events of Default

         “Event of Default” is defined in the Indenture as:

                  (a)     a default for four Business Days in the payment of any interest on any Class of
         Notes that is currently part of the Controlling Class when it becomes payable (or in the case of a
         default in payment due to an administrative error or omission by the Trustee, the Irish Listing and
         Paying Agent or the Indenture Registrar, after seven Business Days);

                (b)     a default in the payment of principal (including Deferred Interest) of any Note
         when the same becomes payable, at its Stated Maturity or on the Redemption Date;

                (c)     the failure on any Payment Date to disburse amounts available in the Payment
         Account in accordance with the Priority of Payments and the failure continues for three Business
         Days;

                 (d)    on any Measurement Date for so long as any Class A-1 Notes, Class A-2a Notes
         or Class A-2b Notes are Outstanding, the Class A Overcollateralization Ratio is less than 100%;

                 (e)     either of the Co-Issuers or the pool of Collateral becomes an investment company
         under the Investment Company Act;

                  (f)     breach of any other covenant or other agreement of the Issuer or the Co-Issuer
         under the Indenture (other than any failure to satisfy any of the Collateral Quality Tests, any of
         the Concentration Limitations, any of the Coverage Tests, the Retention Overcollateralization
         Test, or other covenants or agreements for which a specific remedy has been provided under the
         Indenture) in any material respect, or the failure of any representation or warranty of the Issuer or
         the Co-Issuer made in the Indenture or in any certificate or other writing delivered pursuant
         thereto, or in connection therewith, to be correct in any material respect when made, and the
         breach or failure continues for 30 days after either of the Co-Issuers has actual knowledge of it or
         after notice to the Issuer, the Co-Issuer and the Servicer by the Trustee or to the Issuer, the Co-
         Issuer, the Servicer and the Trustee by the Holders of at least 25% of the Aggregate Outstanding
         Amount of the Controlling Class by registered or certified mail or overnight courier specifying
         the breach or failure and requiring it to be remedied and stating that the notice is a “Notice of
         Default” under the Indenture;

                 (g)      the entry of a decree or order by a court having competent jurisdiction adjudging
         the Issuer or the Co-Issuer as bankrupt or insolvent, or approving as properly filed a petition
         seeking reorganization, arrangement, adjustment, or composition of the Issuer or the Co-Issuer
         under the Bankruptcy Law or any other applicable law, or appointing a receiver, liquidator,
         assignee, or sequestrator (or other similar official) of the Issuer or the Co-Issuer or of any
         substantial part of its property, or ordering the winding up or liquidation of its affairs, and if the
         decree or order remains unstayed and in effect for 45 consecutive days;

                 (h)      the institution by the shareholders of the Issuer or the Co-Issuer of Proceedings to
         have the Issuer or Co-Issuer, as the case may be, adjudicated as bankrupt or insolvent, or the
         consent by the shareholders of the Issuer or the Co-Issuer to the institution of bankruptcy or
         insolvency Proceedings against the Issuer or Co-Issuer, or the filing by the Issuer or the Co-Issuer
         of a petition or answer or consent seeking reorganization or relief under the Bankruptcy Law or
         any other similar applicable law, or the consent by the Issuer or the Co-Issuer to the filing of any
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         such petition or to the appointment of a receiver, liquidator, assignee, trustee, or sequestrator (or
         other similar official) of the Issuer or the Co-Issuer or of any substantial part of its property, or
         the making by the Issuer or the Co-Issuer of an assignment for the benefit of creditors, or the
         admission by the Issuer or the Co-Issuer in writing of its inability to pay its debts generally as
         they become due, or the taking of any action by the Issuer or the Co-Issuer in furtherance of any
         such action; or

                 (i)     one or more final judgments is rendered against the Issuer or the Co-Issuer that
         exceed in the aggregate U.S.$2,000,000 (or any lesser amount specified by any Rating Agency)
         and that remain unstayed, undischarged, and unsatisfied for 30 days after the judgments become
         nonappealable, unless adequate funds have been reserved or set aside for their payment, and
         unless (except as otherwise specified in writing by Moody’s) the Rating Condition with respect to
         each Rating Agency is satisfied with respect thereon.

         Upon the occurrence of an Event of Default, the Trustee must give prompt (and in no event later
 than five Business Days after becoming aware of such event) notice thereof to the Noteholders.

         If an Event of Default is continuing (other than an Event of Default described in clauses (e), (g)
 or (h) under “⎯Events of Default” above), the Trustee may, with consent of the Majority of the
 Controlling Class, and must, upon the written direction of a Majority of the Controlling Class, declare the
 principal of all the Notes to be immediately payable by notice to the Co-Issuers and the Noteholders, and
 upon that declaration the unpaid principal of all the Notes, together with all its accrued and unpaid interest
 (and any applicable Defaulted Interest Charge), and other amounts payable under the Indenture, shall
 become immediately payable. The Replacement Period shall terminate upon a declaration of acceleration
 (subject to re-commencement as described below). If an Event of Default described in clauses (e), (g) or
 (h) above under “⎯Events of Default” occurs, all unpaid principal, together with all its accrued and
 unpaid interest (and any applicable Defaulted Interest Charge), of all the Notes, and other amounts
 payable under the Indenture, shall automatically become payable without any declaration or other act on
 the part of the Trustee or any Noteholder and the Replacement Period shall terminate automatically
 (subject to re-commencement as described below).

         At any time after the declaration of acceleration of maturity has been made and before a judgment
 or decree for payment of the money due has been obtained by the Trustee, a Majority of the Controlling
 Class by written notice to the Issuer, the Trustee and the Preference Shares Paying Agent, may rescind the
 declaration and its consequences if:

         (i)     the Issuer or the Co-Issuer has paid or deposited with the Trustee a sum sufficient to pay:

                  (A)      all unpaid installments of interest and principal on the Notes then due (other than
     as a result of the acceleration);

                 (B)    to the extent that payment of the interest is lawful, interest on any Deferred
     Interest and Defaulted Interest at the Applicable Note Interest Rate or Default Interest Rate, as
     applicable;

                 (C)     all Administrative Expenses of the Co-Issuers and other sums paid or advanced
     by the Trustee under the Indenture;

                 (D)      all unpaid Senior Servicing Fees; and

                 (E)      all amounts then payable to any Hedge Counterparty; and




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          (ii)    the Trustee has determined that all Events of Default, other than the nonpayment of the
                  interest on or principal of the Notes, that have become due solely by the acceleration,
                  have been (A) cured, and a Majority of the Controlling Class by written notice to the
                  Trustee has agreed with that determination, or (B) waived as provided in the Indenture.

          No rescission shall affect any subsequent Default or impair any right resulting from the Default.
  The Issuer shall not terminate any Hedge Agreement at any time after a declaration of acceleration of
  Maturity of the Notes has been made, unless such declaration and its consequences may no longer be
  rescinded and annulled in accordance with the Indenture and liquidation of the Collateral has begun.

           If an Event of Default is continuing, the Trustee will retain the Collateral, collect, and cause the
  collection of the proceeds of the Collateral and make and apply all payments and deposits and maintain
  all accounts in respect of the Collateral and the Notes and any Hedge Agreements (other than amounts
  received under a Hedge Agreement that are used in putting a replacement hedge in place) in the manner
  described under “—Priority of Payments” and the Indenture unless either:

                   (i)      the Trustee, in consultation with the Servicer, determines (bid prices having been
          obtained with respect to each security contained in the Collateral from two nationally recognized
          dealers (or if there is only one dealer, that dealer and if there is no dealer, from a pricing service),
          selected and specified by the Servicer to the Trustee in writing, at the time making a market in
          those securities, and having computed the anticipated proceeds of sale or liquidation on the basis
          of the lower of the bid prices for each security) that the anticipated net proceeds of a sale or
          liquidation of the Collateral would (after deduction of the reasonable expenses of the sale or
          liquidation) be sufficient to discharge in full the amounts then due and unpaid on the Notes for
          principal and interest (including Defaulted Interest and Deferred Interest and any interest on the
          Defaulted Interest and the Deferred Interest), all Administrative Expenses, all other amounts (if
          any) then payable to the Hedge Counterparty by the Issuer (including any applicable termination
          payments) net of all amounts then payable to the Issuer by the Hedge Counterparty and all other
          amounts then payable under clause (3) under “—Priority of Payments—Interest Proceeds,” and a
          Majority of the Controlling Class agrees with that determination; or

                  (ii)    the Holders of a Super Majority of each of the Class A-1 Notes, the Class A-2a
          Notes, the Class A-2b Notes, the Class A-3 Notes, the Class B Notes, the Class C Notes and the
          Class D Notes direct the sale and liquidation of the Collateral.

           During the continuance of an Event of Default, a Majority of the Controlling Class may institute
  and direct the Trustee in the conduct of any proceedings for any remedy available to the Trustee or for the
  exercise of any right of the Trustee under the Indenture if the direction does not conflict with any rule of
  law or with any express provision of the Indenture and the Trustee has been indemnified to its reasonable
  satisfaction. Any direction to the Trustee to undertake a sale of the Collateral shall be by the Holders of
  Notes representing the requisite percentage of the Aggregate Outstanding Amount of the Notes specified
  in the Indenture. The Trustee need not take any action that it determines might involve it in liability or
  expense unless it has received an indemnity reasonably satisfactory to it against the liability or expense.

           A Majority of the Controlling Class may on behalf of the Holders of all the Notes, before the time
  a judgment or decree for the payment of money due has been obtained by the Trustee, waive any past
  Event of Default or event that, with notice or the lapse of time or both, would become an Event of Default
  and its consequences, except such a default:

          (i)     in the payment of principal or Redemption Price of any Note or in the payment of interest
                  (including Defaulted Interest, Deferred Interest, and any interest on Defaulted Interest or
                  Deferred Interest) on the Notes;

          (ii)    with respect to a provision of the Indenture that cannot be modified or amended without
                  the waiver or consent of the Holder of each Outstanding Note adversely affected by the
                  modification or amendment;
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          (iii)   in the payment of amounts due to the Servicer, the Trustee, or the Hedge Counterparty,
                  which may only be waived with the consent of the affected party; or

          (iv)    arising as a result of an Event of Default described in clause (e), (g) or (h) under
                  “⎯Events of Default.”

         No Holder of any Note may institute any proceeding with respect to the Indenture, or for the
  appointment of a receiver or trustee, or for any other remedy under the Indenture, unless:

          (i)     the Holder has previously given to the Trustee written notice of an Event of Default;

          (ii)    the Holders of not less than 25% of the Aggregate Outstanding Amount of the
                  Controlling Class shall have made written request to the Trustee to institute Proceedings
                  with respect to the Event of Default in its own name as Trustee under the Indenture and
                  the Holders have offered to the Trustee indemnity satisfactory to it against the expenses
                  and liabilities to be incurred in compliance with the request;

          (iii)   the Trustee for 30 days after its receipt of the notice, request, and offer of indemnity has
                  failed to institute a Proceeding; and

          (iv)    no direction inconsistent with the written request has been given to the Trustee during the
                  30 day period by a Majority of the Controlling Class.

            If the Trustee receives conflicting or inconsistent requests and indemnity from two or more
  groups of Holders of the Controlling Class, each representing less than a Majority of the Controlling
  Class, the Trustee shall take the action requested by the Holders of the largest percentage in Aggregate
  Outstanding Amount of the Controlling Class, notwithstanding any other provisions of the Indenture but
  subject to such Holders having offered to the Trustee indemnity satisfactory to it against the costs and
  liabilities that might reasonably be incurred by it in compliance with the request as provided in the
  Indenture.

  Supplemental Indentures

          Without Consent of Holders

           Without the consent of the Holders of any Securities (other than with respect to the consent of the
  Majority of the Controlling Class specified in clause (15) below), but with the consent of the parties the
  consent of which is required as described in the following paragraph, the Co-Issuers, in each instance
  when authorized by resolutions of the respective Boards of Directors, and the Trustee, at any time and
  from time to time subject to the requirement provided below with respect to receipt of a Rating
  Confirmation, may, if, with respect to any matters described in clauses (1) through (23) below, the
  interests of the Holders of the Securities (except, in the case of clause (12) below, any Holders of Notes
  subject to the applicable Refinancing) are not materially and adversely affected thereby (the Co-Issuers
  and the Trustee will be bound by a standard of good faith and fair dealing in making such determination)
  enter into one or more indentures supplemental to the Indenture, in form satisfactory to the Trustee, for
  any of the following purposes:

          (1)     to evidence the succession of another person to the Issuer or the Co-Issuer and the
                  assumption by the successor person of the obligations of the Issuer or the Co-Issuer under
                  the Indenture and in the Securities;

          (2)     to add to the covenants of the Co-Issuers or the Trustee for the benefit of the Noteholders
                  or to surrender any right in the Indenture conferred on the Co-Issuers;




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        (3)    to convey, transfer, assign, mortgage, or pledge any property to the Trustee, or add to the
               conditions, limitations or restrictions on the authorized amount, terms and purposes of the
               issue, authentication and delivery of the Notes;

        (4)    to evidence and provide for the acceptance of appointment under the Indenture by a
               successor Trustee and to add to or change any of the provisions of the Indenture
               necessary to facilitate the administration of the trusts under the Indenture by more than
               one Trustee, pursuant to the requirements of the Indenture;

        (5)    to correct or amplify the description of any property at any time subject to the lien of the
               Indenture, or to better assure, convey, and confirm to the Trustee any property subject or
               required to be subject to the lien of the Indenture (including all actions appropriate as a
               result of changes in law) or to subject to the lien of the Indenture any additional property;

        (6)    to conform any provision in the Indenture to the related provision in this Offering
               Memorandum that is intended to be a verbatim recitation of such provision;

        (7)    to modify the restrictions on and procedures for resales and other transfers of the Notes to
               reflect any changes in applicable law (or its interpretation) or to enable the Co-Issuers to
               rely on any less restrictive exemption from registration under the Securities Act or the
               Investment Company Act or to remove restrictions on resale and transfer to the extent not
               required under the Indenture;

        (8)    with the consent of the Servicer, to modify (A) the restrictions on the sales of Collateral
               Obligations described in “Security for the Notes⎯Sale of Collateral Obligations;
               Acquisition of Replacement Collateral Obligations” or (B) with the consent of the
               Majority of the Controlling Class (which consent shall not be unreasonably withheld), the
               Eligibility Criteria described in “Security for the Notes⎯Eligibility Criteria” (and the
               related definitions); provided that, for the avoidance of doubt, the consent of a Majority
               of the Controlling Class shall not be required if such amendment also satisfies the
               requirements of clause (24) below;

        (9)    to make appropriate changes for any Class of Senior Notes to be listed on an exchange
               other than the ISE;

        (10)   otherwise to correct any inconsistency or cure any ambiguity or errors in the Indenture;

        (11)   to accommodate the issuance of the Senior Notes in book-entry form through the
               facilities of DTC or otherwise;

        (12)   to accommodate a Refinancing effected pursuant to and in compliance with the terms of
               the Indenture; provided that no Holders of Notes or Preference Shares are materially
               adversely affected thereby, other than Holders of Notes subject to such Refinancing;

        (13)   to take any appropriate action to prevent the Issuer, the Holders of Securities or the
               Trustee from becoming subject to withholding or other taxes, fees, or assessments or to
               prevent the Issuer from being treated as being engaged in a U.S. trade or business or
               otherwise being subject to U.S. federal, state or local income tax on a net income basis,
               so long as the action will not cause the Holders of any Securities to be adversely affected
               to any material extent by any change to the timing, character, or source of the income
               from the Securities, as evidenced by an opinion of counsel (which may be supported as to
               factual (including financial and capital markets) matters by any relevant certificates and
               other documents necessary or advisable in the judgment of counsel delivering the
               opinion);


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        (14)   to authorize the appointment of any listing agent, transfer agent, paying agent or
               additional registrar for any Class of Notes appropriate in connection with the listing of
               any Class of Senior Notes on the ISE or any other stock exchange, and otherwise to
               amend the Indenture to incorporate any changes required or requested by any
               governmental authority, stock exchange authority, listing agent, transfer agent, paying
               agent or additional registrar for any Class of Notes in connection with its appointment, so
               long as the supplemental indenture would not materially and adversely affect any
               Noteholders, as evidenced by an opinion of counsel (which may be supported as to
               factual (including financial and capital markets) matters by any relevant certificates and
               other documents necessary or advisable in the judgment of counsel delivering the
               opinion) or a certificate of an Authorized Officer of the Servicer, to the effect that the
               modification would not be materially adverse to the Holders of any Class of Notes;

        (15)   with the consent of the Majority of the Controlling Class, to amend, modify, enter into or
               accommodate the execution of any contract relating to a Synthetic Security (including
               posting collateral under a Synthetic Security Agreement) if such particular action is not
               otherwise permitted under the Indenture;

        (16)   to modify certain representations as to Collateral in the Indenture in order that it may be
               consistent with applicable laws or Rating Agency requirements;

        (17)   to evidence any waiver by any Rating Agency as to any requirement or condition, as
               applicable, of the Rating Agency in the Indenture;

        (18)   to facilitate the issuance of participation notes, combination notes, composite securities
               and other similar securities;

        (19)   to facilitate hedging transactions;

        (20)   to facilitate the ability of the Issuer to lend collateral pursuant to a Securities Lending
               Agreement;

        (21)   to modify any provision to facilitate an exchange of one security for another security of
               the same issuers that has substantially identical terms except transfer restrictions,
               including to effect any serial designation relating to the exchange;

        (22)   with the consent of the Servicer to enter into any additional agreements not expressly
               prohibited by the Indenture as well as any amendment, modification, or waiver if the
               Issuer determines that the amendment, modification, or waiver would not, upon or after
               becoming effective, materially and adversely affect the rights or interest of the Holders of
               any Class of Securities, as evidenced by an opinion of counsel (which may be supported
               as to factual (including financial and capital markets) matters by any relevant certificates
               and other documents necessary or advisable in the judgment of counsel delivering the
               opinion) or a certificate of an officer of the Servicer, to the effect that the modification
               would not be materially adverse to the Holders of any Class of Securities; provided that,
               for the avoidance of doubt, this clause (22) shall not permit the Co-Issuers and the
               Trustee to effect any amendment that expressly requires the consent of the Majority of
               the Controlling Class without such consent;

        (23)   to provide for the issuance of additional Preference Shares to the extent permitted by the
               Preference Share Documents and to extend to such additional Preference Shares the
               benefits applicable to the Preference Shares under the Indenture and the Preference Share
               Documents; or

        (24)   to prevent the Issuer from becoming an “investment company” as defined in the
               Investment Company Act or to better assure compliance with the requirements of Rule
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                  3a-7 and/or to remove transfer restrictions and other requirements relating to Section
                  3(c)(7); provided that, as a condition to the effectiveness of any such supplemental
                  indenture, each of the Issuer, the Trustee and the Servicer shall have received (A) a
                  Rating Confirmation with respect to such supplemental indenture and (B) a customary
                  opinion of counsel (which may be supported as to factual matters by any relevant
                  certificates or other documents necessary or advisable in the judgment of counsel
                  delivering such opinion) from a nationally recognized law firm providing that, after
                  giving effect to such supplemental indenture, the Issuer is exempt from registration as an
                  “investment company” under the Investment Company Act in reliance on the exemption
                  provided by Rule 3a-7.

           Without the consent of the Servicer, no supplemental indenture may be entered into that would
  reduce the rights, decrease the fees or other amounts payable to the Servicer under the Indenture or
  increase the duties or obligations of the Servicer. The Trustee is authorized to join in the execution of any
  such supplemental indenture and to make any further appropriate agreements and stipulations that may be
  in the agreements, but the Trustee should not be obligated to enter into any such supplemental indenture
  that affects the Trustee’s own rights, duties, liabilities or immunities under the Indenture or otherwise,
  except to the extent required by law. Unless notified by a Majority of any Class of Securities that the
  Class of Securities would be materially and adversely affected, the Trustee may rely on a certificate of the
  Servicer and an opinion of counsel (which may be supported as to factual (including financial and capital
  markets) matters by any relevant certificates and other documents necessary or advisable in the judgment
  of counsel delivering the opinion) as to whether the interests of any Holder of Securities would be
  materially and adversely affected by any such supplemental indenture.

          If any Outstanding Notes are rated by a Rating Agency, the Trustee will enter into a supplemental
  indenture without the consent of Holders only if either (1) the Rating Condition with respect to each
  Rating Agency is satisfied with respect to the supplemental indenture or (2) the Servicer and the Holders
  of 100% in Aggregate Outstanding Amount of each Class of Notes the ratings on which would be reduced
  or withdrawn consent to the supplemental indenture. Prior to the entry into any supplemental Indenture
  with respect to which a Rating Confirmation for one or more Classes of Notes is not expected to be
  delivered, the Trustee shall provide written notice to each Holder of each Outstanding Note informing
  them of such fact.

           At the cost of the Co-Issuers, the Trustee will mail to the Noteholders, the Preference Shares
  Paying Agent (for forwarding to the Holders of Preference Shares), the Holding Preference Shares Paying
  Agent (for forwarding to the Holders of Holding Securities), each Rating Agency (for so long as any
  Notes are Outstanding and rated by a Rating Agency) and each Hedge Counterparty a copy of any such
  proposed supplemental indenture at least 15 Business Days before its execution by the Trustee (or 60
  calendar days before execution in the case of a supplemental indenture for the purpose described in clause
  (8) above, which shall be identified as such in a certificate of the Servicer delivered to the Trustee before
  the date on which such notice is required to be given).

          With Consent of Holders

           If the Rating Condition is satisfied with respect to each Rating Agency, with the consent of (a) the
  Servicer if the supplemental indenture would reduce the rights, decrease the fees or other amounts
  payable to it under the Indenture or increase the duties or obligations of the Servicer, (b) a Majority of
  each Class of Notes adversely affected thereby, by Act of the Holders of each such Class of Notes and (c)
  a Majority of the Preference Shares adversely affected thereby, the Trustee and the Co-Issuers may enter
  into a supplemental indenture to add any provisions to, or change in any manner or eliminate any of the
  provisions of, the Indenture or modify in any manner the rights of the Holders of the Notes under the
  Indenture.

          Any proposed supplemental indenture that would also necessitate a change to the Issuer Charter
  (or the memorandum and articles of association of Investors Corp.) may only be made after a Special
  Resolution (as defined therein) has been passed to permit the Issuer’s (or Investors Corp.’s) constitutional
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  documents to be altered to conform with such proposed change to the Indenture as certified to the Trustee
  by the Issuer.

          Notwithstanding anything in the Indenture to the contrary, without the consent of the Holder of
  each Outstanding Note adversely affected thereby and the Holder of each Outstanding Preference Share
  adversely affected thereby, no supplemental indenture shall:

                    (i)     change the Stated Maturity of the principal of or the due date of any installment
          of interest on any Note or of any payment to the Preference Shares Paying Agent for payment to
          the Holders of the Preference Shares (other than in the case of any Maturity Extension in
          connection with an extension of the Replacement Period as descried in “—Extension of the
          Replacement Period, the Stated Maturity and the Scheduled Preference Shares Redemption
          Date”), reduce the principal amount or the rate of interest on any Note, or the Default Interest
          Rate or the Redemption Price with respect to any Note or Preference Share, or change the earliest
          date on which Notes of any Class or Preference Share may be redeemed at the option of the
          Issuer, change the provisions of the Indenture relating to the application of proceeds of any
          Collateral to the payment of principal of or interest on Notes or to payment to the Preference
          Shares Paying Agent for payment to the Holders of the Preference Shares, or change any place
          where, or the coin or currency in which, Notes or their principal or interest are paid or impair the
          right to institute suit for the enforcement of any such payment on or after their Stated Maturity
          (or, in the case of redemption, on or after the applicable Redemption Date);

                  (ii)    reduce the percentage of the Aggregate Outstanding Amount of Holders of Notes
          of each Class or Holders of Preference Shares whose consent is required for the authorization of
          any such supplemental indenture or for any waiver of compliance with certain provisions of the
          Indenture or certain defaults under the Indenture or their consequences provided for in the
          Indenture;

                  (iii)   permit the creation of any lien ranking prior to or on a parity with the lien of the
          Indenture with respect to any part of the Collateral or terminate the lien on any property at any
          time subject hereto or deprive the Holder of any Note of the security afforded by the lien of the
          Indenture;

                  (iv)     reduce the percentage of the Aggregate Outstanding Amount of Holders of Notes
          of each Class whose consent is required to request the Trustee to retain the Collateral pursuant to
          the Indenture or to sell or liquidate the Collateral pursuant to the Indenture;

                  (v)     modify any of the provisions of the Indenture with respect to supplemental
          indentures or to provide that certain other provisions of the Indenture cannot be modified or
          waived without the consent of the Holder of each Outstanding Note and Preference Share affected
          thereby;

                  (vi)     modify the definition of “Outstanding,” “Controlling Class,” or “Majority,” or
          the Priority of Payments in the Indenture; or

                   (vii)   modify any of the provisions of the Indenture in such a manner as to affect the
          calculation of the amount of any payment of Redemption Price or of interest or principal on any
          Note or any payment to the Preference Shares Paying Agent for the payment of dividends or other
          payments on the Preference Shares on any Payment Date or to affect the rights of the Holders of
          Notes or Preference Shares to the benefit of any provisions for the redemption of the Notes or the
          Preference Shares contained in the Indenture.

          Not later than 15 Business Days prior to the execution of any proposed supplemental indenture
  pursuant to the above provision, the Trustee, at the expense of the Co-Issuers, will mail to the
  Noteholders, the Servicer, the Preference Shares Paying Agent (for forwarding to the Holders of
  Preference Shares), the Holding Preference Shares Paying Agent (for forwarding to the Holders of
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  Holding Securities) and each Rating Agency (so long as any rated Notes are Outstanding) a copy of such
  proposed supplemental indenture and will request any required consent from the applicable Holders of
  Securities to be given within the Initial Consent Period. Any consent given to a proposed supplemental
  indenture by the Holder of any Securities will be irrevocable and binding on all future Holders or
  beneficial owners of that Security, irrespective of the execution date of the supplemental indenture. If the
  Holders of less than the required percentage of the Aggregate Outstanding Amount of the relevant
  Securities consent to a proposed supplemental indenture within the Initial Consent Period, on the first
  Business Day after the Initial Consent Period, the Trustee will notify the Issuer and the Servicer which
  Holders of Securities have consented to the proposed supplemental indenture and, which Holders (and, to
  the extent such information is reasonably available to the Trustee, which beneficial owners) have not
  consented to the proposed supplemental indenture. If it intends to exercise its Amendment Buy-Out
  Option, the Amendment Buy-Out Purchaser must so notify the Trustee (which notice will designate a date
  for the Amendment Buy-Out to occur no earlier than 10 Business Days after the date of such notice) no
  later than five Business Days after the Servicer is so notified by the Trustee and the Trustee will promptly
  mail such notice to all Noteholders, the Preference Shares Paying Agent (for forwarding to the Holders of
  Preference Shares) and the Holding Preference Shares Paying Agent (for forwarding to the Holders of
  Holding Securities). Any Non-Consenting Holder may give consent to the related proposed supplemental
  indenture until the 5th Business Day prior to the date of the Amendment Buy-Out designated by the
  Amendment Buy-Out Purchaser, and in such case will cease to be a Non-Consenting Holder for purposes
  of the Amendment Buy-Out. If the Amendment Buy-Out Purchaser exercises its Amendment Buy-Out
  Option and purchases the applicable Securities, the Amendment Buy-Out Purchaser, as Holder or
  beneficial owner of the applicable Securities, may consent to the related proposed supplemental indenture
  within five Business Days of the Amendment Buy-Out.

          It is not necessary for any Act of Noteholders under the above provision to approve the particular
  form of any proposed supplemental indenture, but it shall be sufficient if the Act or consent approves its
  substance.

           The Trustee, at the expense of the Co-Issuers, will mail to the Noteholders, the Servicer, the
  Preference Shares Paying Agent (for forwarding to the Holders of Preference Shares), the Holding
  Preference Shares Paying Agent (for forwarding to the Holders of Holding Securities) and each Rating
  Agency a copy of any supplemental indenture promptly after its execution by the Co-Issuers and the
  Trustee.

  Additional Issuance of Preference Shares

          The Preference Share Documents will provide that, at any time during the Replacement Period,
  the Issuer may issue and sell additional Preference Shares and use the proceeds from such issuance and
  sale to purchase additional Collateral Obligations or as otherwise permitted under the Preference Share
  Documents and the Indenture; provided that the following conditions are met: (a) the terms of the
  Preference Shares issued must be identical to the terms of previously issued Preference Shares and (b) the
  net proceeds of any additional Preference Shares are used to purchase additional Collateral Obligations.
  Such additional Preference Shares may be offered and sold at prices that differ from the initial offering
  prices of the outstanding Preference Shares; provided that the initial offering prices of additional
  Preference Shares shall not be below 100% of the face amount thereof. The Issuer must cause purchases
  of additional Preference Shares made pursuant to an additional issuance of Preference Shares to comply
  individually and in the aggregate with the applicable purchase and transfer restrictions for the Preference
  Shares set forth herein in “Transfer Restrictions” and all applicable laws, rules and regulations (including,
  without limitation, any rules, regulations and procedures of any securities exchange, self-regulatory
  organization or clearing agency).

          Any additional Preference Shares issued will, to the extent reasonably practicable, be offered by
  the Issuer first to the existing Holders of the Preference Shares, in such amounts as are necessary to
  preserve their pro rata holdings of the Preference Shares. By its acceptance of the Preference Shares,
  each Holder of a Preference Share agrees that additional Preference Shares can be issued in accordance
  with the Preference Share Documents and the Indenture without consent of any Holder of the Securities.
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          It is expected that Investors Corp. will finance the purchase of any additional Class I Preference
  Shares issued by the Issuer by issuing additional Holding Preference Shares in a number equal to the
  aggregate number of, and at a price equal to the price of, such additional Class I Preference Shares
  purchased by it.

          Except as contemplated in connection with a Refinancing, the Indenture does not permit the
  issuance of additional Class A-1 Notes, Class A-2a Notes, Class A-2b Notes, Class A-3 Notes, Class B
  Notes, Class C Notes or Class D Notes or other obligations with terms similar to those of such Classes of
  Notes. See “—Redemption by Refinancing.”

  Amendment Buy-Out

           In the case of any supplemental indenture that requires the consent of one or more Holders of
  Securities, the Amendment Buy-Out Purchaser shall have the right, but not the obligation, to purchase
  from Non-Consenting Holders all Securities held by such Holders of the Class of Securities whose
  consent was solicited with respect to such supplemental indenture or, with respect to any Class I
  Preference Shares held by Investors Corp. if the consent of the Holders of Holding Securities has been
  solicited, to purchase from Non-Consenting Holding Preference Share Holders all Holding Preference
  Shares held by such Holders (the “Amendment Buy-Out Option”), in each case, for the applicable
  Amendment Buy-Out Purchase Price; provided, however, that the Amendment Buy-Out Purchaser may not
  exercise the Amendment Buy-Out Option during the Non-Call Period in connection with a proposed
  amendment to reduce the rate of interest on any Securities or to change the earliest date on which Notes
  of any Class or Preference Shares may be redeemed at the option of the Issuer. If such option is exercised,
  the Amendment Buy-Out Purchaser must purchase all such Securities of Non-Consenting Holders and all
  such Holding Preference Shares of the Non-Consenting Holding Preference Share Holders, as the case
  may be, in each case, for the applicable Amendment Buy-Out Purchase Price, regardless of the applicable
  percentage of the Aggregate Outstanding Amount of the Securities the consent of whose Holders is
  required for such supplemental indenture (an “Amendment Buy-Out”); provided that if any Non-
  Consenting Holder holds Class II Preference Shares, (i) such Non-Consenting Holder will sell such Class
  II Preference Shares to Investors Corp. and such Preference Shares will be redesignated as Class I
  Preference Shares, (ii) Investors Corp. will issue additional Holding Preference Shares in a number equal
  to the aggregate number of, and at a price equal to the price of, such redesignated Preference Shares
  purchased by it and (iii) the Amendment Buy-Out Purchaser will purchase such additional Holding
  Preference Shares in lieu of such redesignated Preference Shares. By its acceptance of its Securities
  under the Indenture or the Preference Share Documents, as applicable, each Holder of Securities agrees
  that if the Amendment Buy-Out Option is exercised, any Non-Consenting Holder and any Non-
  Consenting Holding Preference Share Holder will be required to sell its applicable Transaction Securities
  to the Amendment Buy-Out Purchaser. Neither the Amendment Buy-Out Purchaser nor any other Person
  shall have any liability to any Holder or beneficial owner of Transaction Securities as a result of an
  election by the Amendment Buy-Out Purchaser not to exercise the Amendment Buy-Out Option.

          All purchases made pursuant to an Amendment Buy-Out Option individually and in the aggregate
  must comply with the applicable transfer restrictions for the relevant Transaction Securities set forth
  herein in “Transfer Restrictions” or in the Investors Corp. Offering Memorandum, as applicable, and all
  applicable laws, rules and regulations (including, without limitation, any rules, regulations and procedures
  of any securities exchange, self-regulatory organization or clearing agency).

  Notices

           Notices to the Holders of the Securities will be given by first-class mail, postage prepaid, to the
  registered Holders of the Notes at their respective addresses appearing in the Indenture Register, the
  Preference Shares Paying Agent (for forwarding to the Holders of Preference Shares) and the Holding
  Preference Shares Paying Agent (for forwarding to the Holders of Holding Securities). If and for so long
  as any Class of Senior Notes is listed on the ISE and the rules of the exchange so require, notice will also
  be given to the Company Announcements Office of the ISE.

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          Any Holder or beneficial owner of any Class A-1 Notes, Class A-2a Notes or Class A-2b Notes
  may elect to acquire bond insurance, a surety bond, a credit default swap or similar credit enhancement
  supporting the payment of principal and/or interest on such Class A-1 Notes, Class A-2a Notes or Class
  A-2b Notes on terms and conditions acceptable to such Holder or beneficial owner and at the sole
  expense of such Holder or beneficial owner. On or after any such acquisition, such Holder or beneficial
  owner may deliver notice (and if from a beneficial owner, any such notice shall include certification that
  such owner is a beneficial owner of the Class A-1 Notes, Class A-2a Notes or Class A-2b Notes, as
  applicable) to the Trustee in substantially the form set out in the Indenture, specifying the name and
  contact information of the insurer, surety, credit protection seller or enhancer of such Class A-1 Notes,
  Class A-2a Notes or Class A-2b Notes, as applicable (each, an “Insurer”). After receipt of any such
  notice by the Trustee, the Trustee shall copy the related Insurer on all notices, reports or other documents
  delivered to the Noteholders.

  Certain Covenants

            The Indenture contains certain covenants restricting the conduct of the Co-Issuers, including
  (i) restrictions on consolidations, mergers and transfers or conveyances of assets involving either Co-
  Issuer, (ii) restrictions on incurrence of debt other than the Notes and certain obligations incidental to the
  performance by each Co-Issuer of its obligations under the Indenture, (iii) restrictions on the ability of
  either Co-Issuer to conduct activities inconsistent with its special-purpose nature and (iv) certain
  restrictions on amendments of the Collateral Administration Agreement and the Servicing Agreement.

  Certain Additional Issues Relating to Listing of Senior Notes

          Application will be made to admit each Class of Senior Notes to the Official List of the ISE.
  There can be no assurance that any such admission will be granted or maintained.

           The Indenture provides that, so long as any Senior Notes remain Outstanding, the Co-Issuers shall
  use all reasonable efforts to obtain and maintain the listing of the Senior Notes on the regulated market of
  the ISE; provided that the Co-Issuers will not be required to maintain a listing on a stock exchange in the
  European Union if compliance with requirements of the European Commission on a member state
  becomes burdensome in the sole judgment of the Servicer.

  Cancellation

          All Securities that are paid in full or redeemed and surrendered for cancellation will forthwith be
  canceled and may not be reissued or resold.

  No Gross-Up

          All payments made by the Issuer under the Securities will be made without any deduction or
  withholding for or on account of any tax unless the deduction or withholding is required by any
  applicable law, as modified by the practice of any relevant governmental revenue authority, then in effect.
  If the Issuer is so required to deduct or withhold, then the Issuer will not be obligated to pay any
  additional amounts in respect of the withholding or deduction.

  Petitions for Bankruptcy

          The Indenture provides that the Trustee, each Hedge Counterparty, the Servicer and the Holders
  of the Notes may not cause the Issuer or Co-Issuer to petition for bankruptcy before one year and one day
  have elapsed since the final payments to the Holders of all Notes or, if longer, the applicable preference
  period then in effect, including any period established pursuant to the laws of the Cayman Islands.




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  Standard of Conduct

           The Indenture provides that, in exercising any of its or their voting rights, rights to direct and
  consent or any other rights as a Noteholder under the Indenture, subject to the terms and conditions of the
  Indenture, a Noteholder shall not have any obligation or duty to any Person or to consider or take into
  account the interests of any Person and shall not be liable to any Person for any action taken by it or them
  or at its or their direction or any failure by it or them to act or to direct that an action be taken, without
  regard to whether the action or inaction benefits or adversely affects any Noteholder, the Issuer, or any
  other Person, except for any liability to which the Noteholder may be subject to the extent the same
  results from the Noteholder’s taking or directing an action, or failing to take or direct an action, in bad
  faith or in violation of the express terms of the Indenture.

  Satisfaction and Discharge of Indenture

          The Indenture will be discharged with respect to the Collateral upon delivery to the Trustee for
  cancellation of all of the Notes, or, within certain limitations (including the obligation to pay interest on
  or principal of the Notes) upon deposit with the Trustee of funds sufficient for the payment or redemption
  thereof and the payment by the Co-Issuers or the Issuer, as applicable, of all other amounts due under the
  Indenture.

  Trustee

          Investors Bank & Trust Company will be the Trustee under the Indenture. The Co-Issuers, the
  Servicer and their respective Affiliates may maintain other banking relationships in the ordinary course of
  business with the Trustee and its Affiliates. The payment of the fees and expenses of the Trustee relating
  to the Notes is solely the obligation of the Issuer. The payment of the fees and expenses, which will be
  paid in accordance with the Priority of Payments, is secured by a lien on the Collateral which is senior to
  the lien of the Holders of the Notes. The Trustee and its Affiliates may receive compensation in
  connection with the purchase of trust assets in certain Eligible Investments as provided in the Indenture.
  Eligible Investments may include assets for which the Trustee or an Affiliate of the Trustee is the obligor
  or depository institution or provide services. The Indenture contains provisions for the indemnification of
  the Trustee for any loss, liability or expense (including reasonable attorney’s fees and costs) incurred
  without negligence, willful misconduct or bad faith arising out of or in connection with the acceptance or
  administration of the Indenture.

           Pursuant to the Indenture, as security for the payment by the Issuer of the compensation and
  expenses of the Trustee and any sums the Trustee may be entitled to receive as indemnification by the
  Issuer, the Issuer will grant the Trustee a senior lien on the Collateral, which is senior to the lien of the
  holders of the Secured Obligations on the Collateral.

           Pursuant to the Indenture, the Trustee may resign at any time by providing 30 days’ written notice
  to the Co-Issuers, the Servicer, the Holders of each Class of Notes, the Preference Shares Paying Agent
  (for forwarding to the Holders of Preference Shares), the Holding Preference Shares Paying Agent (for
  forwarding to the Holders of Holding Securities) and each Rating Agency, upon receipt of which the Co-
  Issuers shall by board resolution (or, if an Event of Default shall have occurred and be continuing, at the
  direction of a Majority of the Controlling Class) promptly appoint a successor trustee that meets the
  requirements set forth in the Indenture. If no successor trustee is appointed within 60 days after such
  notice, the resigning Trustee or any Holder of a Class of Notes may petition any court of competent
  jurisdiction for the appointment of such successor. The Trustee may be removed (i) at any time by the
  Co-Issuers as directed by board resolution (or, if an Event of Default has occurred and is continuing, by a
  Majority of the Controlling Class) or (ii) by order of a court of competent jurisdiction. If at any time the
  Trustee ceases to be an eligible trustee under the Indenture and fails to resign after written request by the
  Co-Issuers or a Majority of the Controlling Class, or the Trustee becomes incapable of acting or is
  adjudged bankrupt or insolvent, then (A) the Co-Issuers may, and at the direction of a Majority of the
  Controlling Class shall, remove the Trustee, or (B) any Holder of a Security may petition any court of
  competent jurisdiction for the removal of the Trustee and the appointment of a successor trustee. If the
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  Trustee is removed or becomes incapable of acting, or if a vacancy occurs in the office of the Trustee for
  any reason (other than resignation), the Co-Issuers shall promptly appoint a successor trustee. If the Co-
  Issuers fail to appoint a successor trustee within 60 days after the removal or incapability or the
  occurrence of the vacancy, a successor trustee may be appointed by a Majority of the Controlling Class by
  written instrument. If no successor trustee has been so appointed by the Co-Issuers or a Majority of the
  Controlling Class, then the Trustee to be replaced or any Holder of a Security, may petition any court of
  competent jurisdiction for the appointment of a successor trustee. Notwithstanding anything to the
  contrary, no resignation or removal of the Trustee will become effective until the acceptance of
  appointment by a successor trustee pursuant to the terms of the Indenture.

  Governing Law

           The Notes, the Indenture, the Preference Shares Paying Agency Agreement, the Servicing
  Agreement, the Collateral Administration Agreement, the Subscription Agreements, the Securities
  Lending Agreements, and the Hedge Agreements will be governed by the laws of the State of New York.
  The Administration Agreement and the Issuer Charter will be governed by the laws of the Cayman
  Islands.

  Method of Payments

           Payments of principal and interest on any Note or payments on or in respect of the Preference
  Shares (including any Redemption Price paid on the applicable Redemption Date) and of any payments
  on any Notes or Preference Shares will be made to the person in whose name the related Note or
  Preference Share is registered 15 days before the applicable Payment Date (the “Record Date”).
  Payments will be made (i) in the case of a Global Note, to the Depository or its designee and to the
  Holder or its nominee with respect to a Definitive Security, by wire transfer in immediately available
  funds to a United States dollar account maintained by the Depository or its nominee with respect to a
  Global Note and to the Holder or its designee with respect to a Definitive Security if the Holder has
  provided written wiring instructions to the Trustee and, if the payment is to be made by the Irish Paying
  Agent, the Irish Paying Agent on or before the related Record Date or, (ii) if appropriate wiring
  instructions are not received by the related Record Date, by check drawn on a U.S. bank mailed to the
  address of the Holder in the Indenture Register (or, in the case of the Preference Shares, the Preference
  Share register). Final payments of principal of the Notes or Preference Shares will be made against
  surrender of the related Notes or Preference Shares at the office designated by the Trustee and the
  Preference Shares Paying Agent. None of the Issuer, the Co-Issuer, the Trustee, the Preference Shares
  Paying Agent, the Servicer, the Initial Purchaser, the Placement Agent, any paying agent, or any of their
  respective affiliates will have any responsibility or liability for any aspects of the records maintained by
  the Depository or its nominee or any of its direct or indirect participants (including Euroclear or
  Clearstream or any of their respective direct or indirect participants) relating to payments made on
  account of beneficial interests in a Global Note.

           The Co-Issuers expect that the Depository or its nominee, upon receipt of any payment of
  principal or interest in respect of a Global Note held by the Depository or its nominee, will immediately
  credit participants’ accounts with payments in amounts proportionate to their respective beneficial
  interests in the Global Note as shown on the records of the Depository or its nominee. The Co-Issuers
  also expect that payments by participants (i.e., direct participants) to owners of beneficial interests in a
  Global Note held through the participants (i.e., indirect participants) will be governed by standing
  instructions and customary practices, as is now the case with securities held for the accounts of customers
  registered in the names of nominees for the customers. The payments will be the responsibility of the
  participants.

           For so long as any Senior Notes are listed on the ISE and the rules of the exchange shall so
  require, the Issuer and the Co-Issuers, as applicable, will have the Irish Paying Agent for the Senior Notes
  in Ireland and payments on the Senior Notes may be effected through the Irish Paying Agent. If the Irish
  Paying Agent is replaced at any time during the period, notice of the appointment of any replacement will
  be given to the Company Announcements Office of the ISE.
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  Preference Shares Paying Agency Agreement

          General

           Pursuant to the Preference Shares Paying Agency Agreement, the Preference Shares Paying
  Agent will perform various fiscal services with respect to the Preference Shares on behalf of the Issuer,
  including the maintenance of the Preference Shares Distribution Account and the making of distributions
  on the Preference Shares. The Preference Shares Paying Agent will deliver or request the Trustee to
  deliver all Monthly Reports and Valuation Reports prepared pursuant to the Indenture to the Holders of
  the Preference Shares, and the Preference Shares Paying Agent will deliver, or shall cause the Trustee to
  deliver, a copy of any other notice or information it receives from the Trustee under the Indenture to the
  Holders of the Preference Shares, in each case (i) by first-class mail, postage prepaid, to each Holder of a
  Preference Share at the address appearing in the Preference Share register or (ii) with respect to delivery
  of Monthly Reports and Valuation Reports, by making such reports available via its internet website,
  initially located at http://www.cdocalc.com/ibt/cdo/. All information made available on the Preference
  Shares Paying Agent’s website will be restricted and the Preference Shares Paying Agent will only
  provide access to such reports to those parties entitled thereto pursuant to the Preference Shares Paying
  Agency Agreement. In connection with providing access to its website, the Preference Shares Paying
  Agent may require registration and the acceptance of a disclaimer. Questions regarding the Preference
  Shares Paying Agent’s website can be directed to the Preference Shares Paying Agent’s customer service
  desk at (617) 937-5585. The payment of the fees and expenses of the Preference Shares Paying Agent is
  solely the obligation of the Issuer. The Preference Shares Paying Agency Agreement contains provisions
  for the indemnification of the Preference Shares Paying Agent for any loss, liability or expense incurred
  without gross negligence, willful misconduct or bad faith on its part, arising out of or in connection with
  the performance of its function under the Preference Shares Paying Agency Agreement.

          Redemption

          On the Scheduled Preference Shares Redemption Date, the Issuer is scheduled to redeem the
  Preference Shares for a redemption price equal to all amounts distributable to the Preference Shares
  Paying Agent for distribution to the Holders of the Preference Shares as provided under “—Priority of
  Payments,” unless the Preference Shares have been redeemed earlier through an optional redemption as
  described herein or otherwise.

          Governing Law

           The Preference Shares Paying Agency Agreement will be governed by, and construed in
  accordance with, the laws of the State of New York. The rights of the Holders of the Preference Shares
  will be governed by, and construed in accordance with, the laws of the Cayman Islands.

          Redesignation of Class I Preference Shares and Class II Preference Shares

          The Share Registrar will record in the register maintained by it which Preference Shares are held
  by HFP or any of its subsidiaries. Such Preference Shares will be designated by the Share Registrar as
  Class II Preference Shares. HFP and its subsidiaries will agree not to transfer any of the Class II
  Preference Shares to any third party other than Investors Corp. Any transfer of Class II Preference Shares
  by HFP or any of its subsidiaries to Investors Corp. will require redesignation by the Share Registrar of
  such Class II Preference Shares into Class I Preference Shares and any transfer of Class I Preference
  Shares to HFP or any of its subsidiaries from Investors Corp. will require redesignation by the Share
  Registrar of such Class I Preference Shares into Class II Preference Shares. Investors Corp. will finance
  the purchase of any Class II Preference Shares to be redesignated in connection with such transfer by
  issuing additional Holding Preference Shares in a number equal to the aggregate number of, and at a price
  equal to the price of, such Class II Preference Shares.



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          Distribution of Eligible Equity Securities

           If the Servicer, on behalf of the Issuer, desires to make distributions of Eligible Equity Securities
  on any Payment Date in lieu of Interest Proceeds that are otherwise available for distribution to the
  Holders of Preference Shares on such Payment Date pursuant to the Priority of Payments, the Servicer
  will notify the Trustee, the Preference Shares Paying Agent and the Holding Preference Shares Paying
  Agent not later than 20 calendar days prior to such Payment Date and provide the Trustee, the Preference
  Shares Paying Agent (for forwarding on the Record Date or promptly thereafter, but in any event no later
  than two Business Days after the Record Date, to each Holder of the Preference Shares registered as such
  on the Record Date for such Payment Date) and the Holding Preference Shares Paying Agent (for
  forwarding on the Record Date or promptly thereafter, but in any event no later than two Business Days
  after the Record Date, to each Holder of the Holding Securities registered as such on the Record Date for
  such Payment Date) with (i) details of the Eligible Equity Securities to be distributed, (ii) the Market
  Value of such Eligible Equity Securities determined as of the relevant Market Value Determination Date,
  (iii) any other information considered necessary by the Servicer in connection with such proposed
  distribution and (iv) any information as otherwise required by the Trustee, the Preference Shares Paying
  Agent and/or the Holding Preference Shares Paying Agent with respect to such proposed distribution.
  The Preference Shares Paying Agent will then mail such materials, within two Business Days of its
  receipt thereof from the Servicer, to each registered Holder of Preference Shares on the Record Date for
  such Payment Date along with a form of notice and consent (in a form attached to the Preference Shares
  Paying Agency Agreement) seeking the written consent of each such Holder of Preference Shares to
  distribute such Eligible Equity Securities to such Holder in lieu of all or a portion of the Interest Proceeds
  available for distribution to such Holder on such Payment Date. Each Holder of the Preference Shares
  wishing to receive such Eligible Equity Securities in lieu of a distribution of all or a portion of the Interest
  Proceeds available for distribution to such Holder on such applicable Payment Date (each such Holder
  with respect to such Payment Date, a “Consenting Holder of the Preference Shares”) must deliver to
  the Preference Shares Paying Agent a written consent (which consent will be irrevocable) not later than
  five Business Days prior to such Payment Date. If any Holder of Preference Shares does not timely
  deliver its written consent to the Preference Shares Paying Agent in the manner set forth in such notice
  indicating its consent to the receipt of such Eligible Equity Securities in lieu of a distribution of all or a
  portion of the Interest Proceeds available for distribution to such Holder on such Payment Date, such
  Holder will be deemed to have not given its consent and shall not be a Consenting Holder of Preference
  Shares with respect to such Payment Date. On each applicable Payment Date (or as soon thereafter as
  reasonably practicable), Eligible Equity Securities will be distributed pro rata to each Consenting Holder
  of the Preference Shares with respect to such Payment Date. Each Holder of Preference Shares that is not
  a Consenting Holder of Preference Shares (and, for the avoidance of doubt, each Consenting Holder of
  the Preference Shares to the extent the Market Value as of the relevant Market Value Determination Date
  of the pro rata portion of Eligible Equity Securities distributed to it on such Payment Date is less than the
  pro rata portion of the Interest Proceeds that it would have received on such Payment Date had the
  Eligible Equity Securities not been distributed on such Payment Date) on any applicable Payment Date
  will receive a distribution of Interest Proceeds to the extent available in accordance with the Priority of
  Payments on such Payment Date. See “Description of the Securities-Priority of Payments—Interest
  Proceeds.”

          Amendment

          Without the Consent of Holders. The Preference Shares Paying Agency Agreement may be
  amended by the parties thereto, without the consent of the Holders of any Preference Shares, for the
  purpose of curing any ambiguity, or of curing, correcting or supplementing any defective provision
  contained therein, or in regard to matters or questions arising under the Preference Shares Paying Agency
  Agreement as the Issuer and the Preference Shares Paying Agent may deem necessary or desirable and
  which shall not materially adversely affect the interests of Holders of the Preference Shares. In addition,
  the Preference Shares Paying Agency Agreement may be amended without the consent of any Holders of
  the Preference Shares and without regard to whether or not such amendment adversely affects the interest
  of the Holders of the Preference Shares in order to prevent the Issuer from becoming an “investment

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  company” as defined in the Investment Company Act or to better assure compliance with the
  requirements of Rule 3a-7 and/or to remove transfer restrictions and other requirements relating to
  Section 3(c)(7); provided that, as a condition to the effectiveness of any such amendment, each of the
  Issuer, the Trustee, the Preference Shares Paying Agent and the Servicer shall have received a customary
  opinion of counsel (which may be supported as to factual matters by any relevant certificates or other
  documents necessary or advisable in the judgment of counsel delivering such opinion) from a nationally
  recognized law firm providing that, after giving effect to such amendment, the Issuer is exempt from
  registration as an “investment company” under the Investment Company Act in reliance on the exemption
  provided by Rule 3a-7.

          With the consent of Holders. Unless otherwise set forth in the preceding paragraph, the
  Preference Shares Paying Agency Agreement may be amended with the consent of Holders of a Majority
  of the Preference Shares materially and adversely affected thereby.

          Any amendment to the Preference Shares Paying Agency Agreement must be in writing, executed
  by each party thereto. The Preference Shares Paying Agent is entitled to receive, and (subject to the terms
  of the Preference Shares Paying Agency Agreement) shall be fully protected in relying upon, an opinion
  of counsel, consent or certificate of the Issuer in determining whether or not any proposed amendment is
  permitted under Preference Shares Paying Agency Agreement.

          Any amendment to the Preference Shares Paying Agency Agreement that would also necessitate
  a change to the Issuer Charter may only be made after a Special Resolution (as defined in the Issuer
  Charter) has been passed to permit the Issuer Charter to be altered to conform with such proposed
  amendment.

  The Issuer Charter

          The following summary describes certain provisions of the Issuer Charter relating to the
  Preference Shares that are not referred to elsewhere in this Offering Memorandum.

          Voting Rights

           Other than as provided below, only the holders of the Issuer Ordinary Shares shall have the right
  to receive notice of, attend at and vote as a shareholder of the Issuer at any general meeting of the Issuer.
  Every holder of an Issuer Ordinary Share present at any meeting shall, on a show of hands, be entitled to
  one vote and, on a poll, shall be entitled to one vote per Issuer Ordinary Share held by such holder.

          Other than as provided below, the Holders of the Preference Shares shall have the right to receive
  notice of, attend at and vote as a shareholder of the Issuer at any general meeting of the Issuer only in
  respect of a resolution which relates to any circumstance or matter which under the Indenture, the
  Preference Share Documents or the Servicing Agreement can take place or occur only at the direction of
  the Holders of the Preference Shares (a “Preference Share Vote”). Every Holder of Preference Shares
  present shall, on a show of hands, be entitled to one vote and, on a poll, shall be entitled to one vote per
  Preference Share held by such Holder except that, in relation to a Preference Share Vote relating to
  certain matters (as set out in the Indenture) Preference Shares held by certain Holders (as set out in the
  Indenture), shall be ignored.

          The Class II Preference Shares will have total control with respect to the appointment and
  removal of the directors of the Issuer as long as the aggregate number of Class II Preference Shares
  Outstanding as of the relevant Voting Record Date is higher than the aggregate number of Class I
  Preference Shares Outstanding as of such date. If the aggregate number of Class II Preference Shares
  Outstanding as of the relevant Voting Record Date is lower than or equal to the aggregate number of
  Class I Preference Shares Outstanding as of such date, only the Issuer Ordinary Shares will be entitled to
  vote with respect to the appointment and removal of the directors of the Issuer.


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          Liquidation

          In the event of any voluntary or involuntary liquidation, dissolution or winding up of the Issuer:

           (i)     the Holders of the Issuer Ordinary Shares at the time outstanding will be entitled to
  receive out of the assets of the Issuer available for distribution to shareholders, before any distribution of
  assets is made to Holders of the Preference Shares, an amount equal to U.S.$2.00 in respect of each Issuer
  Ordinary Share held by each such holder; and

          (ii)    the Holders of the Preference Shares at the time Outstanding will be entitled to the
  balance of the assets of the Issuer available for distribution to shareholders, after distribution of amounts
  due to holders of Issuer Ordinary Shares under the above subparagraph, pro rata according to the number
  of Preference Shares held by each such holder.

           If the assets available for distribution to holders of the Issuer Ordinary Shares are not sufficient to
  pay to such holders U.S.$2.00 in respect of each Issuer Ordinary Share, the available assets shall be
  distributed to holders of the Issuer Ordinary Shares pro rata according to the number of Issuer Ordinary
  Shares held by each such holder.

          Transfer

           The rights of a Holder of a Preference Share to transfer such Preference Share are subject to
  restrictions set out in the Preference Share Documents and as described in “Transfer Restrictions.”

          Petitions for Bankruptcy

          Each Holder of a Preference Share will be required to agree (or be deemed to have agreed) not to
  cause the filing of a petition in bankruptcy or winding up against the Issuer before one year and one day
  have elapsed since the payment in full of the Notes or, if longer, the applicable preference period then in
  effect.

                                             USE OF PROCEEDS

          The Securities will be issued and sold for Cash on the Closing Date. The gross proceeds from the
  issuance of such Securities on the Closing Date are expected to equal approximately U.S.$1,531,600,000
  and will be used by the Issuer to:

              •    purchase a portfolio of Collateral Obligations;

              •    fund the Revolving Reserve Account and the Delayed Drawdown Reserve Account to
                   cover any future draws on Revolving Loans and Delayed Drawdown Loans;

              •    enter into any Hedge Agreements, as applicable;

              •    enter into Synthetic Security Agreements (and correspondingly to fund the related
                   accounts);

              •    repurchase participations sold to the Pre-Closing Parties to finance the Issuer’s pre-
                   closing acquisition of loans;

              •    fund the Closing Date Expense Account and the Interest Reserve Account;

              •    pay certain expenses related to the transaction; and

              •    undertake certain related activities.

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                                      SECURITY FOR THE NOTES

           The Notes and the Issuer’s obligations under the Hedge Agreements and the Servicing Agreement
  will be secured by the following:

                  (i)     the Collateral Obligations and all Workout Assets;

                  (ii)    the Custodial Account, the Collection Account, the Payment Account, the
          Revolving Reserve Account, the Delayed Drawdown Reserve Account, the Interest Reserve
          Account, the Closing Date Expense Account, the Expense Reimbursement Account and the
          Securities Lending Account (such accounts, collectively, the “Issuer Accounts”), Eligible
          Investments purchased with funds on deposit in the Issuer Accounts, and all income from funds in
          the Issuer Accounts;

                  (iii)   the Synthetic Security Counterparty Account (and together with the Issuer
          Accounts, the Synthetic Security Collateral Account, the Class II Preference Share Special
          Payment Account and the Hedge Counterparty Collateral Account, the “Accounts”) and assets
          included therein, subject to the terms of the related Synthetic Security (provided, however, that
          any such rights in any Synthetic Security Counterparty Account shall be held in trust by the
          Trustee (or securities intermediary) first to secure the Issuer’s payment obligations to the relevant
          Synthetic Security Counterparty and second for the benefit of the Secured Parties);

                  (iv)     the Servicing Agreement, the Synthetic Security Collateral Account, the
          Securities Lending Agreements and all Securities Lending Collateral and the Securities Lending
          Account, the Hedge Agreements as set forth in the Indenture and all Collateral securing the
          Hedge Counterparty’s obligations thereunder including, without limitation, the Hedge
          Counterparty Collateral Account and the Collateral Administration Agreement to the extent of
          any rights of the Issuer therein;

                  (v)     all Cash or money delivered to the Trustee (or its bailee); and

                  (vi)    all proceeds with respect to the foregoing (collectively, the “Collateral”).

          For the avoidance of any doubt, Collateral will exclude (i) amounts released from the Trustee’s
  lien in connection with certain Synthetic Securities, Hedge Agreements and Securities Lending
  Agreements in accordance with the Indenture and (ii) the Excluded Property.

  Purchase of Collateral Obligations

           The Indenture will provide that the Servicer will use commercially reasonable efforts to cause the
  Issuer to purchase or enter into binding commitments to purchase Collateral Obligations that meet certain
  minimum amounts and characteristics. The composition of the portfolio of Collateral Obligations will be
  determined by the selections of the Servicer designed to meet the Eligibility Criteria, the Collateral
  Quality Tests, the Coverage Tests and the requirements provided in paragraphs (i) through (ix) in “—Sale
  of Collateral Obligations; Acquisition of Collateral Obligations.” See “—Eligibility Criteria,” “—The
  Collateral Quality Tests,” “—The Coverage Tests” and “—Sale of Collateral Obligations; Acquisition of
  Collateral Obligations.”

           The Servicer expects that, by the end of the Ramp-Up Period, the Issuer will have purchased or
  committed to purchase Collateral Obligations having an Aggregate Principal Balance of approximately
  $1,500,000,000 (for the avoidance of doubt, without giving effect to any reductions of that amount that
  may have resulted from scheduled principal payments, principal prepayments or dispositions made with
  respect to any Collateral Obligations on or before the Ramp-Up Completion Date).




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  Eligibility Criteria

           On any date during the Replacement Period (and, in respect of Principal Proceeds constituting
  Unscheduled Principal Payments and Sale Proceeds from Credit Risk Obligations and Credit Improved
  Obligations, on any date after the Replacement Period), so long as no Event of Default is continuing, at
  the direction of the Servicer, the Issuer may direct the Trustee to apply Principal Proceeds (together with
  Interest Proceeds, but only to the extent used to pay for accrued interest on Collateral Obligations) to
  purchase Collateral Obligations (including any related deposit into the Revolving Reserve Account or the
  Delayed Drawdown Reserve Account or the posting by the Issuer of cash collateral with (or for the
  benefit of) a Synthetic Security Counterparty simultaneously with the Issuer’s purchase of or entry into a
  Synthetic Security) if the conditions specified in the Indenture are satisfied. No obligations may be
  purchased unless each of the conditions in the following clauses (1) through (12) (the “Eligibility
  Criteria”) is satisfied as evidenced by a certificate of the Servicer as of the date the Issuer commits to
  make the purchase, in each case after giving effect to the purchase and all other purchases and sales
  previously or simultaneously committed to:

          (1)     the obligation is a Collateral Obligation;

          (2)     for any date occurring during the Replacement Period:

                  (A)     each Overcollateralization Test is satisfied and, if the commitment is made on or
                          after the second Payment Date, each Interest Coverage Test is satisfied; or

                  (B)     if any such Coverage Test is not satisfied, both:

                          (i)      the extent of satisfaction of the Coverage Test is not reduced; and

                          (ii)     the Collateral Obligation is being purchased with Principal Proceeds
                                   other than:

                                   (x)     Principal Proceeds received in respect of a Defaulted Collateral
                                           Obligation; or

                                   (y)     Principal Proceeds received in respect of a Workout Asset that
                                           has been received in exchange for a Defaulted Collateral
                                           Obligation;

          (3)     for any date occurring during the Replacement Period, the Diversity Test is satisfied or, if
                  not satisfied, the extent of satisfaction is not reduced;

          (4)     for any date occurring during the Replacement Period, the Weighted Average Rating
                  Factor Test is satisfied or, if not satisfied, the extent of satisfaction is not reduced;

          (5)     for any date occurring during the Replacement Period, each of the limits in the definition
                  of “Concentration Limitations” is satisfied or, if any such limit is not satisfied, the extent
                  of satisfaction is not reduced;

          (6)     for any date occurring during the Replacement Period, the Weighted Average Spread
                  Test is satisfied or, if not satisfied, the extent of satisfaction is not reduced;

          (7)     for any date occurring during the Replacement Period, the Weighted Average Fixed Rate
                  Coupon Test is satisfied or, if not satisfied, the extent of satisfaction is not reduced;

          (8)     for any date occurring during the Replacement Period, the Weighted Average Life Test is
                  satisfied or, if not satisfied, the extent of satisfaction is not reduced;


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          (9)     for any date occurring during the Replacement Period, the Weighted Average Moody’s
                  Recovery Rate Test is satisfied or, if not satisfied, the extent of satisfaction is not
                  reduced;

          (10)    for any date occurring during the Replacement Period, the Weighted Average S&P
                  Recovery Rate Test is satisfied or, if not satisfied, the extent of satisfaction is not
                  reduced;

          (11)    for any date occurring during the Replacement Period, the S&P CDO Monitor Test is
                  satisfied or, if not satisfied, the extent of satisfaction is not reduced; provided, however,
                  that this Eligibility Criterion (11) shall not apply either to the application of the proceeds
                  from the sale of a Credit Risk Obligation, Non-Performing Collateral Obligation or
                  Workout Asset or to the application of Principal Proceeds in respect of Defaulted
                  Collateral Obligations; and

          (12)    for any date occurring after the Replacement Period:

                  (A)     each Coverage Test is satisfied and the extent of satisfaction is not reduced;

                 (B)     each Collateral Quality Test is maintained or improved and the Weighted
          Average Rating Factor Test is satisfied;

                  (C)     each Concentration Limitation is maintained or improved and the Aggregate
          Principal Balance of all CCC+/Caa1 Collateral Obligations do not exceed 7.5% of the Maximum
          Amount;

                  (D)     the Weighted Average Life Test is satisfied;

                  (E)     the S&P Rating of such Collateral Obligation is at least equal to the S&P Rating
          of the Collateral Obligation being the source of the Unscheduled Principal Payments or of the
          Credit Risk Obligations or Credit Improved Obligation being the source of Sale Proceeds, as
          applicable; and

                    (F)   the current Moody’s Rating on Class A-1 Notes and Class A-2a Notes is “Aaa”
          and the current Moody’s Ratings on the Class A-2b Notes, the Class A-3 Notes, the Class B
          Notes, the Class C Notes and the Class D Notes are no lower than one subcategory below their
          initial rating.

          Notwithstanding the foregoing, (i) one or more Collateral Obligations may be purchased pursuant
  to a Portfolio Improvement Exchange effected in compliance with “—Sale of Collateral Obligations;
  Acquisition of Replacement Collateral Obligations—Credit Improved Obligations” regardless of whether
  such purchase would otherwise satisfy the Eligibility Criterion set forth in clause (12) above and (ii) the
  Issuer (or the Servicer on its behalf) shall not direct the Trustee to purchase any Collateral Obligation
  following receipt by the Servicer of notice of removal or resignation pursuant to the provisions of the
  Servicing Agreement until a successor servicer is appointed pursuant to the provisions of the Servicing
  Agreement. See “The Servicing Agreement.”

          The Issuer may, at the direction of the Servicer, exchange a Collateral Obligation for another
  Collateral Obligation in an exchange of one security for another security of the same issuers that has
  substantially identical terms except transfer restrictions.

          Cash on deposit in the Collection Account may be held in Eligible Investments in accordance
  with this “Eligibility Criteria” section pending the application thereof to purchase Collateral Obligations.

         The Indenture provides that any sale or purchase by the Issuer of a Collateral Obligation shall be
  conducted on an arm’s length basis and, if effected with the Servicer or a person Affiliated with the
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  Servicer or any fund or account for which the Servicer or an Affiliate of the Servicer acts as investment
  adviser, shall be effected in accordance with the requirements the Servicing Agreement on terms no less
  favorable to the Issuer than would be the case if the person were not so Affiliated.

  The Collateral Quality Tests

          The Collateral Quality Tests will be used primarily as criteria for purchasing Collateral
  Obligations. See “—Eligibility Criteria” above and “—Sale of Collateral Obligations; Acquisition of
  Collateral Obligations” below. The Collateral Quality Tests are described below.

         Measurement of the degree of compliance with the Collateral Quality Tests will be required on
  each Measurement Date on and after the Ramp-Up Completion Date.

          The Diversity Test

           The “Diversity Test” is a test that will be satisfied on any Measurement Date if the Diversity
  Score as of the Measurement Date equals or exceeds the Minimum Diversity Score. For the purposes of
  calculating the Diversity Test, any Structured Finance Obligation that is a collateralized loan obligation
  will be disregarded.

          Weighted Average Life Test

           The “Weighted Average Life Test” is a test that is satisfied on any Measurement Date if the
  Weighted Average Life on that date of all Collateral Obligations is equal to or less than the greater of (a)
  the number of years (including any fraction of a year) between such Measurement Date and May 1, 2017
  or, in the case of a Maturity Extension, the Extended Weighted Average Life Date and (b) 3 years.

          Weighted Average Moody’s Recovery Rate Test

         The “Weighted Average Moody’s Recovery Rate Test” is a test that is satisfied as of any
  Measurement Date if the Moody’s Minimum Average Recovery Rate is greater than or equal to 43.2%.

          Weighted Average S&P Recovery Rate Test

          The “Weighted Average S&P Recovery Rate Test” is a test that is satisfied as of any
  Measurement Date if the S&P Minimum Average Recovery Rate for each Class of Notes is greater than
  or equal to: (i) with respect to the Class A-1 Notes, 52.4%; (ii) with respect to the Class A-2 Notes,
  52.4%; (iii) with respect to the Class A-3 Notes, 56.0%; (iv) with respect to the Class B Notes, 59.6%; (v)
  with respect to the Class C Notes, 62.4% and (vi) with respect to the Class D Notes, 65.1%.

         “S&P Minimum Average Recovery Rate” is, for a Class of Notes, a rate, as of any
  Measurement Date, equal to the number obtained by:

                  (i)     summing the products obtained by multiplying the Principal Balance of each
          Collateral Obligation by its respective S&P Priority Category Recovery Rate specified in the S&P
          Priority Category Recovery Rate Matrix for the S&P Priority Category of such Collateral
          Obligation under the S&P Rating that is the then current S&P Rating on such Class of Notes;

                 (ii)    dividing the sum determined pursuant to clause (i) above by the sum of the
          Aggregate Principal Balance of all Collateral Obligations; and

                  (iii)   rounding up to the first decimal place.




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          Weighted Average Fixed Rate Coupon Test

         The “Weighted Average Fixed Rate Coupon Test” is a test that is satisfied if, as of any
  Measurement Date, the Weighted Average Fixed Rate Coupon equals or exceeds 7.5%.

          Weighted Average Spread Test

         The “Weighted Average Spread Test” is a test that is satisfied as of any Measurement Date if
  the Weighted Average Spread as of the Measurement Date equals or exceeds the Minimum Weighted
  Average Spread.

          Weighted Average Rating Factor Test

         The “Weighted Average Rating Factor Test” is a test that is satisfied on any Measurement Date
  if the Weighted Average Moody’s Rating Factor of the Collateral Obligations (excluding Eligible
  Investments) as of the Measurement Date is less than or equal to the Maximum Weighted Average
  Moody’s Rating Factor.

          S&P CDO Monitor Test

           The “S&P CDO Monitor Test” is a test that is satisfied on any Measurement Date if, after
  giving effect to the sale of a Collateral Obligation or the purchase of a Collateral Obligation, each Note
  Class Loss Differential of the Proposed Portfolio is positive. The S&P CDO Monitor Test shall be
  considered to be improved if each Note Class Loss Differential of the Proposed Portfolio is at least equal
  to the corresponding Note Class Loss Differential of the Current Portfolio. The S&P CDO Monitor Test
  is not required to be satisfied or improved upon the sale of a Credit Risk Obligation and the application of
  the related Sale Proceeds to purchase additional Collateral Obligations. For purposes of the S&P CDO
  Monitor Test:

          (i)     the S&P Rating of any S&P Unrated DIP Loan shall be “CCC”; and

          (ii)    the S&P Industry Classification for a Synthetic Security shall be that of the related
                  Reference Obligation and not the Synthetic Security.

          The “Note Class Loss Differential” with respect to any Measurement Date and any Class of
  Notes that is rated by S&P, the rate calculated by subtracting the Class Scenario Loss Rate for the Class
  from the then-applicable Note Break-Even Loss Rate for the Class of Notes.

          The “Note Break-Even Loss Rate” with respect to each Class of Notes that is rated by S&P, the
  maximum percentage of defaults that the Current Portfolio or Proposed Portfolio can sustain and
  nevertheless sufficient funds will remain for the payment of principal of the Class of Notes in full by its
  Stated Maturity and the timely payment of interest on the Class A-1 Notes, the Class A-2a Notes, the
  Class A-2b Notes and the Class A-3 Notes and the ultimate payment of interest on the Class B Notes, the
  Class C Notes and the Class D Notes using S&P’s assumptions on recoveries, defaults, and timing, and
  taking into account the Priority of Payments and the adjusted Weighted Average Spread level specified in
  the applicable row of the table below. The adjusted Weighted Average Spread as of any Measurement
  Date is the Weighted Average Spread as of the Measurement Date minus the amount of any Spread
  Excess added to the Weighted Average Fixed Rate Coupon as of the Measurement Date.




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                      Row                Adjusted Weighted Average Spread
                       1                     Greater than or equal to 3.00%
                       2           Greater than or equal to 2.90% but less than 3.00%
                       3           Greater than or equal to 2.80% but less than 2.90%
                       4           Greater than or equal to 2.70% but less than 2.80%
                       5           Greater than or equal to 2.60% but less than 2.70%
                       6           Greater than or equal to 2.50% but less than 2.60%
                       7           Greater than or equal to 2.40% but less than 2.50%
                       8           Greater than or equal to 2.30% but less than 2.40%
                       9           Greater than or equal to 2.20% but less than 2.30%

  The Coverage Tests

          General

           The Coverage Tests will be used to determine, among other things, whether Notes will be
  redeemed in certain circumstances as described under “Description of the Securities—Priority of
  Payments” and whether additional Collateral Obligations may be acquired as described under “—
  Eligibility Criteria.” There will not be any Coverage Test applicable to the Preference Shares.

          The Overcollateralization Tests

         The “Overcollateralization Tests” will consist of the Class A Overcollateralization Test, the
  Class B Overcollateralization Test, the Class C Overcollateralization Test and the Class D
  Overcollateralization Test.

          Each Overcollateralization Test will be satisfied with respect to any Class of Notes on any
  Measurement Date if, as of such Measurement Date, the Overcollateralization Ratio for the Class is at
  least equal to the specified required level for the Class indicated in the table in “Summary of Terms—The
  Overcollateralization Tests.”

          The Overcollateralization Ratio, with respect to each Class of Notes on any Measurement Date, is
  referred to as an “Overcollateralization Ratio,” and is the ratio calculated by dividing:

          (i)       the Overcollateralization Ratio Numerator; by

          (ii)      the Aggregate Outstanding Amount of the Class of Notes and all Notes ranking senior to
                    it (excluding any Deferred Interest on the Notes and all Notes ranking senior to it).

          The “Overcollateralization Ratio Numerator” is, on any date, the sum of:

          (1)     the Aggregate Principal Balance of all Collateral Obligations (other than any Excess
                  CCC+/Caa1 Collateral Obligations, any Non-Performing Collateral Obligations, any
                  Deep Discount Obligations and any Collateral Obligations loaned pursuant to a Securities
                  Lending Agreement with respect to which an “event of default” (under and as defined in
                  the Securities Lending Agreement) is continuing); plus




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           (2)    unpaid Accrued Interest Purchased With Principal (excluding any unpaid Accrued
                  Interest Purchased With Principal in respect of Non-Performing Collateral Obligations);
                  plus

           (3)    the Aggregate Principal Balance of any Eligible Investments that were purchased with
                  Principal Proceeds and the amount of Principal Proceeds on deposit in the Collection
                  Account; plus

           (4)    the Aggregate Principal Balance of Eligible Investments on deposit in a Securities
                  Lending Account that relate to a Securities Lending Agreement with respect to which an
                  “event of default” (under and as defined in the Securities Lending Agreement) is
                  continuing; plus

           (5)    with respect to Collateral Obligations that are Non-Performing Collateral Obligations,
                  Deep Discount Obligations or Excess CCC+/Caa1 Collateral Obligations, the amount
                  determined by using one of the following methods applicable to such type of Collateral
                  Obligation; provided that if a Collateral Obligation falls within more than one of such
                  types, the Issuer will be required to use the method that results in the smallest amount:

                  (A)     with respect to any Excess CCC+/Caa1 Collateral Obligations, an amount equal
                          to the product of (i) the CCC+/Caa1 Excess Market Value Percentage, multiplied
                          by (ii) the Excess CCC+/Caa1 Collateral Obligations;

                  (B)     with respect to any Non-Performing Collateral Obligations, the aggregate of the
                          Applicable Collateral Obligation Amounts for all included Non-Performing
                          Collateral Obligations (other than Defaulted Collateral Obligations that have
                          been held by the Issuer for more than three years, which shall be deemed to be
                          zero for purposes of this clause (B)); and

                  (C)     with respect to any Deep Discount Obligations, the Aggregate Purchase Price
                          Amount for all Deep Discount Obligations.

           “Applicable Collateral Obligation Amount” for any Non-Performing Collateral Obligation
  means:

           (1)    the lesser of (x) the Market Value Percentage of the Non-Performing Collateral
                  Obligation and (y) the Applicable Percentage for the Non-Performing Collateral
                  Obligation multiplied by:

           (2)    if the Non-Performing Collateral Obligation is:

                  (A)     any Pledged Obligation other than those in clauses (B) through (D) below, the
                          outstanding principal amount of the Pledged Obligation as of the relevant
                          Measurement Date;

                  (B)     a Synthetic Security, the notional amount specified in the Synthetic Security;

                  (C)     any Revolving Loan or Delayed Drawdown Loan, its Principal Balance including
                          any unfunded amount thereof (regardless of the nature of the contingency
                          relating to the Issuer’s obligation to fund the unfunded amount); and

                  (D)     any PIK Security, its Principal Balance.

          As used in the calculation of Market Value Percentage of the Non-Performing Collateral
  Obligation, the Principal Balance of any Defaulted Collateral Obligation shall be, if the Defaulted
  Collateral Obligation is:
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          (i)     any Pledged Obligation other than those in clauses (ii) through (iv) below, the
                  outstanding principal amount of the Pledged Obligation as of the relevant Measurement
                  Date;

          (ii)    a Synthetic Security, the notional amount specified in the Synthetic Security;

          (iii)   any Revolving Loan or Delayed Drawdown Loan, its Principal Balance including any
                  unfunded amount thereof (regardless of the nature of the contingency relating to the
                  Issuer’s obligation to fund the unfunded amount); and

          (iv)    any PIK Security, its Principal Balance.

          The Interest Coverage Tests

           The Interest Coverage Test in respect of each Class of Notes (each an “Interest Coverage Test”)
  is a test the first Measurement Date for which will be on the second Payment Date and that is satisfied
  with respect to any specified Class of Notes if, as of the second Payment Date and any Measurement Date
  thereafter on which any Notes remain Outstanding, the Interest Coverage Ratio equals or exceeds the
  applicable required level specified in the table in “Summary of Terms— The Interest Coverage Tests.”

         The “Interest Coverage Ratio” with respect to any specified Class of Notes on any
  Measurement Date, the ratio calculated by dividing:

          (i)     the sum of:

                  (A)     the Interest Proceeds received or scheduled to be received with respect to the Due
                          Period in which the Measurement Date occurs; minus

                  (B)     amounts payable under clauses (1), (2), (3) and (4) of “Description of the
                          Securities—Priority of Payments—Interest Proceeds” on the related Payment
                          Date; by

          (ii)    all accrued and unpaid interest on the specified Class of Notes and all Notes ranking
                  senior to the Class, including any Deferred Interest on the related Payment Date.

          For purposes of the Interest Coverage Ratio, only the amount of any interest payment (including
  any “gross up” payment) on any Collateral Obligation in excess of any withholding tax or other
  deductions on account of tax of any jurisdiction on any date of determination shall be included in Interest
  Proceeds.

          Retention Overcollateralization Test

         The “Retention Overcollateralization Test” is a test that is satisfied as of any Measurement
  Date during the Replacement Period on which any Notes remain Outstanding, if the Retention
  Overcollateralization Ratio as of such Measurement Date is at least equal to 103.5%.

  Ramp-Up

          In connection with the Ramp-Up Completion Date, the Issuer shall use its best efforts to purchase
  Collateral Obligations on any Business Day during the Ramp-Up Period or enter into commitments to
  purchase Collateral Obligations on any Business Day during the Ramp-Up Period for purchase on or as
  soon as practicable thereafter (not to exceed 60 days thereafter), in each case, for inclusion in the
  Collateral so that the Overcollateralization Ratio Numerator with respect to the Class A Notes is at least
  U.S.$1,500,000,000.



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           No Collateral Obligations may be purchased prior to the Ramp-Up Completion Date unless
  immediately following the purchase of any Collateral Obligation (as certified by the Servicer in writing),
  the remaining funds in the Collection Account, after giving effect to such purchase, are sufficient as of the
  date of determination to purchase Collateral Obligations for inclusion in the Collateral so that the
  Overcollateralization Ratio Numerator with respect to the Class A Notes is at least U.S.$ 1,500,000,000
  (taking into account the Collateral Obligations already part of the Collateral (without giving effect to any
  reductions of that amount that may have resulted from scheduled principal payments, principal
  prepayments or dispositions made with respect to any Collateral Obligations on or before the Ramp-Up
  Completion Date)).

          Notwithstanding the foregoing, or any other provision of the Indenture, if the Issuer has
  previously entered into a commitment to purchase a Collateral Obligation to be included in the Collateral,
  such commitment initially not to exceed 60 days, and at the time of the commitment the Collateral
  Obligation complied with the definition of “Collateral Obligation” and the requirements set forth under
  “—Ramp-Up,” the Issuer may consummate the purchase of the Collateral Obligation notwithstanding that
  the Collateral Obligation fails to comply with the definition of “Collateral Obligation” and the
  requirements set out above on the date of settlement.

          The Issuer will use commercially reasonable efforts to purchase, or to enter into binding
  agreements to purchase, Collateral Obligations by the Ramp-Up Completion Date, that, together with the
  Collateral Obligations purchased on or before the Closing Date and then held by the Issuer, will satisfy, as
  of the Ramp-Up Completion Date (without giving effect to any reductions of that amount that may have
  resulted from scheduled principal payments, principal prepayments or dispositions made with respect to
  any Collateral Obligations on or before the Ramp-Up Completion Date), the Collateral Quality Tests, the
  Concentration Limitations, the criteria set forth in the Indenture and the Overcollateralization Tests.

          Within five Business Days after the Ramp-Up Completion Date, the Issuer or the Servicer (on
  behalf of the Issuer) shall request a S&P Rating Confirmation and shall provide a report to the Rating
  Agencies identifying the Collateral Obligations then included in the Collateral and the Issuer shall obtain
  and deliver to the Trustee and the Rating Agencies, together with the delivery of a report (and, with
  respect to S&P, the Excel Default Model Input File and, with respect to each Collateral Obligation, the
  name of the obligor thereon, the CUSIP number thereof (if applicable) and the S&P Priority Category
  thereof) substantially in the form of a Monthly Report as of the Ramp-Up Completion Date, an
  accountants’ certificate:

          (i)      confirming the maturity date, rating, spread and recovery rate for each item of original
  Collateral Obligations owned by the Issuer as of the Ramp-Up Completion Date and the information
  provided by the Issuer with respect to every other asset included in the Collateral, by reference to such
  sources as shall be specified therein;

          (ii)    confirming that as of the Ramp-Up Completion Date:

                  (1)      each of the Coverage Tests are satisfied;

                 (2)     the Aggregate Principal Balance of Collateral Obligations that the Issuer owned
          or committed to purchase as of the Ramp-Up Completion Date is at least equal to the Maximum
          Amount; and

                  (3)     the Collateral Obligations comply with all of the requirements of the Collateral
          Quality Tests and the Concentration Limitations; and

           (iii)   specifying the procedures undertaken by them to review data and computations relating
  to the foregoing statements.




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          If a Rating Confirmation Failure should occur, the Notes will be redeemed pursuant to the
  Indenture and as described in “Description of the Securities—Mandatory Redemption of the Notes—
  Mandatory Redemption of the Notes upon Rating Confirmation Failure.”

  Sale of Collateral Obligations; Acquisition of Replacement Collateral Obligations

          Pursuant to the Indenture and so long as no Event of Default has occurred and is continuing, the
  Issuer may, at the direction of the Servicer, direct the Trustee to sell (and the Trustee will sell) any
  Collateral Obligation or Workout Asset if the sale meets the requirements in paragraphs (i) through (ix)
  below:

         (i)     Credit Risk Obligations. At the direction of the Servicer, the Issuer may direct the
                 Trustee to sell any Credit Risk Obligation at any time during or after the Replacement
                 Period without restriction and the Trustee shall sell the Credit Risk Obligation in
                 accordance with such direction. Following any sale of a Credit Risk Obligation pursuant
                 to the Indenture, at the direction of the Servicer during the Replacement Period, the Issuer
                 shall use commercially reasonable efforts to purchase additional Collateral Obligations
                 (to the extent the purchase is in the best interest of the Issuer) meeting the Eligibility
                 Criteria with an Aggregate Principal Balance at least equal to the Sale Proceeds received
                 by the Issuer with respect to the Collateral Obligation sold. For this purpose, the
                 Principal Balance of any Revolving Loan or Delayed Drawdown Loan shall only include
                 its funded amount.

         (ii)    Credit Improved Obligations. At the direction of the Servicer, the Issuer may direct the
                 Trustee to sell any Credit Improved Obligation if either:

                 (1)     during the Replacement Period, the Servicer has identified in writing before the
                         sale one or more specific manners in which it will be able, in compliance with the
                         Eligibility Criteria and the requirements set forth in paragraph (ix) below, to
                         cause the Issuer to use the Sale Proceeds (it being understood that such
                         identification shall not be considered either a requirement or an assurance that
                         any specified purchase will be consummated) to purchase one or more additional
                         Collateral Obligations with an Aggregate Principal Balance at least equal to the
                         Purchase Criteria Adjusted Balance of the Credit Improved Obligation by the end
                         of the immediately succeeding Due Period (for this purpose, the Principal
                         Balance of any Revolving Loan or Delayed Drawdown Loan shall only include
                         its funded amount and Principal Balance shall include the principal balance of
                         Collateral Obligations in which the Trustee does not have a first priority
                         perfected security interest) which in aggregate will result in (i) the Collateral
                         Quality Tests, the Interest Coverage Tests, the Overcollateralization Tests and the
                         Concentration Limitations herein being satisfied or if one or more of such
                         Collateral Quality Tests, Interest Coverage Tests, Overcollateralization Tests or
                         Concentration Limitations are not satisfied, the degree of compliance therewith
                         being improved, (ii) the quality of the total portfolio of Collateral Obligations as
                         measured by such Collateral Quality Tests, Interest Coverage Tests,
                         Overcollateralization Tests and Concentration Limitations being improved on a
                         net basis in the commercially reasonable judgment of the Servicer and (iii) in the
                         case of each of clause (i) and (ii), any other Collateral Quality Tests, Interest
                         Coverage Tests, Overcollateralization Tests or Concentration Limitations not
                         being violated or, in the commercially reasonable judgment of the Servicer, the
                         likelihood of such violation in the future not being significantly increased; and

                 (2)     after the Replacement Period, the Sale Proceeds received in respect of the Credit
                         Improved Obligation are at least equal to its Purchase Criteria Adjusted Balance
                         (for this purpose, the Principal Balance of any Revolving Loan or Delayed
                         Drawdown Loan shall only include its funded amount and Principal Balance
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                         shall include the principal balance of Collateral Obligations in which the Trustee
                         does not have a first priority perfected security interest);

                 and the Trustee shall sell the Credit Improved Obligation in accordance with such
                 direction.

         (iii)   Non-Performing Collateral Obligations. At the direction of the Servicer, the Issuer may
                 direct the Trustee to sell any Non-Performing Collateral Obligation at any time during or
                 after the Replacement Period without restriction and the Trustee shall sell the Non-
                 Performing Collateral Obligation in accordance with such direction. Non-Performing
                 Collateral Obligations may be sold regardless of price.

        (iv)     Non-qualifying Collateral Obligations. At the direction of the Servicer, the Issuer may
                 direct the Trustee to sell any obligation that at the time of acquisition, conversion, or
                 exchange does not satisfy the requirements of a Collateral Obligation (the “Non-
                 Qualifying Collateral Obligation”) at any time during or after the Replacement Period
                 without restriction and the Trustee shall sell that obligation in accordance with such
                 direction.

        (v)      Withholding Tax Sales. At the direction of the Servicer, the Issuer may direct the Trustee
                 to sell any Collateral Obligation subject to withholding tax at any time during or after the
                 Replacement Period without restriction and the Trustee shall sell the Collateral
                 Obligation in accordance with such direction.

        (vi)     Optional Redemption. After the Issuer has notified the Trustee of an Optional
                 Redemption of the Notes, at the direction of the Servicer, the Issuer shall direct the
                 Trustee to sell all or a portion of the Collateral Obligations as contemplated therein if (A)
                 the requirements in respect of an Optional Redemption under the Indenture have been
                 satisfied and (B) the independent certified public accountants appointed pursuant to the
                 Indenture have confirmed the calculations contained in any required certificate furnished
                 by the Servicer pursuant to the Indenture’s Note redemption procedure provisions. After
                 the Holders of a Majority of the Preference Shares have directed an Optional Redemption
                 of the Preference Shares in accordance with the Indenture, at the direction of the Servicer,
                 the Issuer shall direct the Trustee to sell all of the remaining Collateral Obligations (in the
                 case of an Optional Redemption pursuant to clause (i) under “Description of the
                 Securities—Optional Redemption—Preference Shares”) or a portion of the remaining
                 Collateral Obligations in accordance with the unanimous directions of Holders of the
                 Preference Shares (in the case of an Optional Redemption pursuant to clause (ii) under
                 “Description of the Securities—Optional Redemption—Preference Shares”) and the
                 Trustee shall sell the remaining Collateral Obligations in accordance with such direction.

        (vii)    Rating Confirmation Failure. After the Servicer has received notice of a Rating
                 Confirmation Failure and if available Interest Proceeds and Principal Proceeds are
                 insufficient to effect the redemption of the Notes at par on any subsequent Payment Date
                 in accordance with the Priority of Payments as and to the extent necessary for each of
                 Moody’s and S&P to confirm the Initial Ratings assigned by it on the Closing Date to the
                 Securities, the Issuer may, at the direction of the Servicer, direct the Trustee to sell
                 Collateral Obligations as contemplated in the Indenture and the Trustee shall sell the
                 Collateral Obligations in accordance with such direction.

        (viii)   Workout Assets. At the direction of the Servicer, the Issuer may direct the Trustee to sell
                 any Workout Asset at any time during or after the Replacement Period without restriction
                 and regardless of price and the Trustee shall sell the Workout Assets in accordance with
                 such direction.


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          (ix)    Supervening Requirement. Notwithstanding anything herein to the contrary, the Issuer
                  (at the direction of the Servicer or otherwise) will not acquire or dispose of a Collateral
                  Obligation or other eligible asset (as defined in Rule 3a-7) for the primary purpose of
                  recognizing gains or decreasing losses resulting from market value changes. For the
                  avoidance of doubt, the Issuer, at the direction of the Servicer or otherwise, may direct
                  the Trustee to sell any CCC+/Caa1 Collateral Obligation or Deep Discount Obligation
                  only (a) if it constitutes Credit Risk Obligation or Non-Performing Collateral Obligation
                  or (b) in connection with the Optional Redemption as set out in paragraph (vi) above.
                  The Trustee will have no obligation to monitor compliance by the Issuer or the Servicer
                  with respect to the requirement set out in this paragraph.

          Notwithstanding the foregoing, the Issuer (or the Servicer on its behalf) shall not direct the
  Trustee to sell any Collateral Obligation (other than the sale of a Credit Risk Obligation or a Non-
  Performing Collateral Obligation pursuant to a sale that meets the requirements in paragraph (i) or (iii)
  above, as applicable) following receipt by the Servicer of notice of removal pursuant to the provisions of
  the Servicing Agreement until a successor servicer is appointed pursuant to the provisions of the
  Servicing Agreement. See “The Servicing Agreement.”

  Certain Determinations Relating to Collateral Obligations

          The Indenture provides that, notwithstanding anything to the contrary contained therein, solely
  for the purpose of calculations in connection with the Eligibility Criteria, the Issuer or the Servicer on
  behalf of the Issuer shall be deemed to have purchased any Collateral Obligations as of the date on which
  the Issuer enters into a contract to purchase, a commitment letter, a confirmation or a due bill for such
  Collateral Obligation, in each case entitling the Issuer (or the Trustee as assignee thereof) to receive such
  Collateral Obligations and, in such event, the Issuer shall be deemed to have acquired, granted or
  delivered, as the case may be, such Collateral Obligations on such date.

          The Indenture provides that, notwithstanding anything to the contrary contained therein, solely
  for the purpose of calculations in connection with the Eligibility Criteria, the Issuer or the Servicer on
  behalf of the Issuer shall be deemed to have sold any Collateral Obligations as of the date on which the
  Issuer enters into a contract to sell, a commitment letter, a confirmation or a due bill for such Collateral
  Obligation, in each case entitling the Issuer (or the Trustee as assignee thereof) to sell, and requiring the
  purchaser to purchase, such Collateral Obligations and, in such event, the Issuer shall be deemed to have
  sold such Collateral Obligations on such date.

           Under the circumstances described in the two preceding paragraphs, if the transaction
  contemplated by the contract, commitment letter, confirmation or due bill referred to therein does not
  settle on or before the 60th day following the scheduled settlement date (the “Deadline”), the deemed
  purchase or sale shall be deemed not to have occurred; provided, however, that the Servicer shall have the
  right to extend the Deadline for an additional period (not to exceed an additional 60 days) by notice to the
  Trustee, which notice shall include the Servicer’s certification to the effect that the Servicer believes that
  the settlement shall occur on or before the extended Deadline.

         Scheduled distributions with respect to any Pledged Collateral Obligation shall be determined in
  accordance with the applicable provisions of the Indenture.

  The Accounts

           The Indenture provides that the Trustee will establish separate segregated non-interest bearing
  trust accounts, which will be designated as the Collection Account, the Payment Account, the Custodial
  Account, the Revolving Reserve Account, the Delayed Drawdown Reserve Account, the Synthetic
  Security Collateral Account, the Hedge Counterparty Collateral Account, the Closing Date Expense
  Account, the Expense Reimbursement Account, the Interest Reserve Account, the Securities Lending
  Account and the Class II Preference Share Special Payment Account. In addition, Synthetic Security
  Counterparty Accounts may also be established. Any account may contain any number of subaccounts.
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          Collection Account. The Trustee shall deposit into the “Collection Account:”

          (i)     any funds transferred from (1) the Closing Date Expense Account pursuant to the
                  Indenture or (2) the Interest Reserve Account pursuant to the Indenture;

          (ii)    all Principal Proceeds (unless (1) simultaneously used to purchase Collateral Obligations
                  in accordance with the Indenture, (2) deposited into the Revolving Reserve Account or
                  the Delayed Drawdown Reserve Account or (3) posted by the Issuer as cash collateral
                  with (or for the benefit of) a Synthetic Security Counterparty simultaneously with the
                  Issuer’s purchase of or entry into a Synthetic Security or in Eligible Investments)
                  received by the Trustee;

          (iii)   all Interest Proceeds received by the Trustee (unless simultaneously used to purchase
                  accrued interest in respect of Collateral Obligations in accordance with the Indenture or
                  in Eligible Investments); and

          (iv)    all other funds received by the Trustee from the Collateral and not excluded above.

         The Issuer and the Servicer may, but will not be required to, jointly deposit from time to time any
  monies in the Collection Account it deems, in its sole discretion, to be advisable (and may designate any
  amounts so deposited as Principal Proceeds or Interest Proceeds in its discretion).

           Any Principal Proceeds received during the Replacement Period, and Sale Proceeds from the sale
  of Credit Risk Obligations and Credit Improved Obligations and Unscheduled Principal Payments
  received after the Replacement Period, which have not been used to purchase additional Collateral
  Obligations on the Business Day of receipt shall be deposited in the Collection Account and shall at the
  direction of the Servicer be applied to the purchase of additional Collateral Obligations in accordance
  with the Eligibility Criteria and the other requirements set forth in the Indenture or the purchase of
  Eligible Investments pending such application or used to enter into additional Hedge Agreements or used
  in connection with a Special Redemption. Principal Proceeds (other than Sale Proceeds from the sale of
  Credit Improved Obligations, Credit Risk Obligations and Unscheduled Principal Payments) received
  after the Replacement Period shall be deposited into the Collection Account and applied to the purchase
  of Eligible Investments.

           The Collection Account shall be maintained for the benefit of the Noteholders, the Trustee, the
  Servicer and each Hedge Counterparty and amounts on deposit in the Collection Account will be
  available for application in the order of priority under “Description of the Securities—Priority of
  Payments” and for the acquisition of Collateral Obligations under the circumstances and pursuant to the
  requirements in the Indenture. Amounts received in the Collection Account during a Due Period and
  amounts received in prior Due Periods and retained in the Collection Account under the circumstances
  stated above in “Description of the Securities—Priority of Payments” will be applied in Eligible
  Investments with Stated Maturities no later than the Business Day before the next Payment Date as
  directed by the Servicer (which may be in the form of standing instructions). All proceeds deposited in
  the Collection Account will be retained therein unless used to purchase Collateral Obligations during the
  Replacement Period (or, in respect of Principal Proceeds constituting Unscheduled Principal Payments
  and Sale Proceeds from Credit Risk Obligations and Credit Improved Obligations, after the Replacement
  Period) in accordance with the Eligibility Criteria, to honor commitments with respect thereto entered into
  during or after the Replacement Period, or used as otherwise permitted under the Indenture. See “—
  Eligibility Criteria.”

         The Trustee shall transfer to the Payment Account from the Collection Account for application
  pursuant to the Priority of Payments, no later than the Business Day preceding each Payment Date, the
  amount set forth to be so transferred in the Valuation Report for the Payment Date.

         At any time during or after the Replacement Period, at the direction of the Servicer, the Issuer
  may direct the Trustee to pay from amounts on deposit in the Collection Account on any Business Day
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  during any Interest Period from Interest Proceeds only, any Administrative Expenses that require payment
  before the next Payment Date to the extent that the amount of the payments does not exceed the aggregate
  amount that may be paid on the next payment Date under, and at the level of priority specified by,
  “Description of the Securities—Priority of Payments—Interest Proceeds.”

          Custodial Account. The Trustee will from time to time deposit collateral into the “Custodial
  Account,” over which the Trustee will have exclusive control and sole right of withdrawal, in accordance
  with the Indenture. All assets or securities at any time on deposit in or otherwise to the credit of the
  Custodial Account will be held in trust by the Trustee for the benefit of the Noteholders, the Trustee, the
  Servicer and each Hedge Counterparty.

          Revolving Reserve Account and Delayed Drawdown Reserve Account. Upon the purchase of any
  Collateral Obligation that is a Revolving Loan or Delayed Drawdown Loan, at the direction of the
  Servicer, the Trustee shall deposit Principal Proceeds into the Revolving Reserve Account, in the case of
  a Revolving Loan, and the Delayed Drawdown Reserve Account, in the case of a Delayed Drawdown
  Loan, each equal to the unfunded commitment amount of the Revolving Loan or Delayed Drawdown
  Loan, respectively, and the Principal Proceeds so deposited shall be considered part of the Purchase Price
  of the Revolving Loan or Delayed Drawdown Loan for purposes of the Indenture. At the direction of the
  Servicer at any time during or after the Replacement Period, the Trustee shall withdraw funds from the
  Revolving Reserve Account or the Delayed Drawdown Reserve Account to fund extensions of credit
  pursuant to Revolving Loans or Delayed Drawdown Loans, respectively. In addition, to the extent that
  the Issuer receives proceeds of a repayment in respect of a Revolving Loan (except to the extent of any
  concurrent commitment reduction) at any time during or after the Replacement Period, the Trustee shall
  deposit the proceeds into the Revolving Reserve Account.

           Upon the sale of a Revolving Loan or Delayed Drawdown Loan in whole or in part or the
  reduction in part or termination of the Issuer’s commitment thereunder, an amount on deposit in the
  Revolving Reserve Account or the Delayed Drawdown Reserve Account, as the case may be, specified by
  the Servicer as being equal to (i) the unfunded amount of the commitment (in the case of a sale in whole
  or a termination of the commitment), (ii) the proportionate amount of the amount on deposit (in the case
  of a sale in part) or (iii) the amount by which the commitment is reduced (in the case of a reduction
  thereof in part), shall be transferred by the Trustee to the Collection Account as Principal Proceeds.

          Amounts on deposit in the Revolving Reserve Account or the Delayed Drawdown Reserve
  Account will be held in Eligible Investments with Stated Maturities as directed by the Servicer (which
  may be in the form of standing instructions) not later than the Business Day after the date of their
  purchase. All interest and other income from amounts in the Revolving Reserve Account and the
  Delayed Drawdown Reserve Account deposited to the Collection Account under the Indenture shall be
  considered Interest Proceeds in the Due Period in which they are so deposited.

           Synthetic Security Collateral Account. On or before the date on which the Issuer enters into a
  Synthetic Security the Trustee shall create a sub-account of the non-interest bearing trust account
  established for Synthetic Security Collateral (the “Synthetic Security Collateral Account”) with respect
  to the Synthetic Security. All Synthetic Security Collateral posted by any Synthetic Security
  Counterparty in support of its respective obligation under a Synthetic Security shall be immediately
  deposited into the Synthetic Security Collateral Account and posted to the sub-account related to the
  Synthetic Security. On each day on which amounts are payable to the Issuer out of Synthetic Security
  Collateral, the Issuer shall direct the Trustee to withdraw amounts on deposit in the Synthetic Security
  Collateral Account in an amount sufficient to make the payment (including any total or partial release of
  Synthetic Security Collateral). The only permitted withdrawal from or application of funds on deposit in,
  or otherwise to the credit of, the Synthetic Security Collateral Account shall be:

          (i)     for application to obligations of the relevant Synthetic Security Counterparty to the Issuer
                  under a Synthetic Security if the Synthetic Security becomes subject to early termination
                  or in the exercise of remedies under the Synthetic Security upon any “event of default”

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                   under and as defined in the terms of the Synthetic Security, including liquidating the
                   related Synthetic Security Collateral Account; or

          (ii)     to return the Synthetic Security Collateral to the relevant Synthetic Security Counterparty
                   when and as required by the terms of the Synthetic Security, in each case as directed by
                   the Servicer.

  Amounts on deposit in the Synthetic Security Collateral Account will be held in Eligible Investments
  having Stated Maturities not later than one Business Day after their purchase, as directed by the Servicer
  (which may be in the form of standing instructions), and shall not be considered an asset of the Issuer for
  the purposes of the Coverage Tests.

          Hedge Counterparty Collateral Account. The Trustee will deposit all collateral received from a
  Hedge Counterparty under any Hedge Agreement into the “Hedge Counterparty Collateral Account.”
  The only permitted withdrawal from or application of funds on deposit in, or otherwise to the credit of,
  the Hedge Counterparty Collateral Account will be (i) for application to obligations of the relevant Hedge
  Counterparty to the Issuer under a Hedge Agreement if the Hedge Agreement becomes subject to early
  termination or (ii) to return collateral to the relevant Hedge Counterparty when and as required by the
  relevant Hedge Agreement, in each case as directed by the Servicer. Amounts on deposit in the Hedge
  Counterparty Collateral Account will be held in Eligible Investments with Stated Maturities no later than
  the Business Day before the next Payment Date as directed by the Servicer (which may be in the form of
  standing instructions) and shall not be considered an asset of the Issuer for the purposes of the Coverage
  Tests.

           Closing Date Expense Account. Amounts deposited in the “Closing Date Expense Account” on
  the Closing Date will be withdrawn to pay certain administrative expenses of the Co-Issuers. On the
  Payment Date in November 2007 (or, at the discretion of the Servicer, on the Payment Date in August
  2007), the Trustee, at the direction of the Servicer in its sole discretion, shall transfer all funds on deposit
  in the Closing Date Expense Account to the Collection Account as Interest Proceeds or Principal
  Proceeds and close the Closing Date Expense Account. Amounts on deposit in the Closing Date Expense
  Account shall be held in Eligible Investments with Stated Maturities no later than the Business Day
  before the second Payment Date as directed by the Servicer (which may be in the form of standing
  instructions) and shall not be considered an asset of the Issuer for the purposes of the Coverage Tests.

           Expense Reimbursement Account. On any Payment Date and on any date between Payment
  Dates, the Trustee will apply amounts, if any, in the “Expense Reimbursement Account” to the payment
  of expenses and fees that must be paid between Payment Dates or that are due on that Payment Date
  under clause (1) of “Description of the Securities—Priority of Payments—Interest Proceeds” and the
  Trustee shall on any Payment Date transfer to the Expense Reimbursement Account an amount equal to
  the excess, if any of the Administrative Expense Cap over the amounts due under clause (1) of
  “Description of the Securities—Priority of Payments—Interest Proceeds” to the Expense Reimbursement
  Account in accordance with clause (2) of “Description of the Securities—Priority of Payments—Interest
  Proceeds.” Amounts on deposit in the Expense Reimbursement Account shall be held in Eligible
  Investments with Stated Maturities as directed by the Servicer (which may be in the form of standing
  instructions), no later than the Business Day before the next Payment Date.

          Securities Lending Account. The Trustee will deposit all Securities Lending Collateral posted by
  any Securities Lending Counterparty in support of its respective obligation under a Securities Lending
  Agreement in a non-interest bearing trust account (the “Securities Lending Account”). The only
  permitted withdrawal from or application of funds on deposit in, or otherwise to the credit of, the
  Securities Lending Account will be (i) for application to obligations of the relevant Securities Lending
  Counterparty to the Issuer under a Securities Lending Agreement if the Securities Lending Agreement
  becomes subject to early termination or in the exercise of remedies under the Securities Lending
  Agreement upon any “event of default” under and as defined in the Securities Lending Agreement,
  including liquidating the related Securities Lending Collateral or (ii) to return collateral to the Securities
  Lending Counterparty when and as required by a Securities Lending Agreement. Amounts on deposit in
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  the Securities Lending Account shall be held in Eligible Investments with Stated Maturities as directed by
  the Servicer (which may be in the form of standing instructions) no later than the Business Day before the
  next Payment Date. Amounts on deposit in the Securities Lending Account shall not be considered an
  asset of the Issuer for the purposes of the Coverage Tests, but the loaned security or asset that relates to
  the Securities Lending Account shall be so considered an asset of the Issuer.

           Payment Account. The Trustee will deposit collateral into the “Payment Account,” over which
  the Trustee will have exclusive control and sole right of withdrawal, in accordance with the Indenture.
  All assets or securities at any time on deposit in or otherwise to the credit of the Payment Account will be
  held in trust by the Trustee for the benefit of the Noteholders, the Trustee, the Servicer, and each Hedge
  Counterparty. The only permitted withdrawal from or application of funds on deposit in, or otherwise to
  the credit of, the Payment Account shall be to pay amounts due and payable on the Notes and to pay
  Administrative Expenses and other amounts specified in the Indenture, each in accordance with the
  Priority of Payments.

           Interest Reserve Account. Amounts deposited in the “Interest Reserve Account,” on the Closing
  Date may be withdrawn at any time before the Payment Date in November 2007 to be transferred, at the
  discretion of the Servicer, to the Collection Account as Interest Proceeds or Principal Proceeds. On the
  Payment Date in November 2007 (or, at the discretion of the Servicer, on the Payment Date in August
  2007), the Trustee, at the direction of the Servicer, will transfer all funds on deposit in the Interest
  Reserve Account to the Collection Account as Interest Proceeds or Principal Proceeds and close the
  Interest Reserve Account. Amounts on deposit in the Interest Reserve Account will be held in Eligible
  Investments with Stated Maturities as directed by the Servicer (which may be in the form of standing
  instructions), no later than the Business Day before the second Payment Date.

          Class II Preference Share Special Payment Account. On each Payment Date, to the extent of
  available funds in accordance with the Priority of Payments, the Trustee will deposit into the “Class II
  Preference Share Special Payment Account” amounts equal to the products of (a) the Class II
  Preference Share Portion for such Payment Date and (b) the Servicing Fees then due and payable, as
  described in “Description of the Securities—Priority of Payments,” for payment to the Servicer on such
  Payment Date. The Servicer has agreed to waive amounts that would otherwise be payable to the Servicer
  as Servicing Fees, on each Payment Date until (and including) the Payment Date in February 2008 and an
  amount equal to such waived amounts will be distributed by the Trustee to the Preference Shares Paying
  Agent, subject to the laws of the Cayman Islands, for payment pro rata to the Holders of the Class II
  Preference Shares as Class II Preference Share Special Payments. After the Payment Date in February
  2008, the Servicer may, in its sole discretion, at any time waive a portion of the Servicing Fees then due
  and payable, in which event an amount equal to such waived portion will be paid by the Trustee to the
  Preference Shares Paying Agent, subject to the laws of the Cayman Islands, for payment pro rata to the
  Holders of the Class II Preference Shares as Class II Preference Share Special Payments. For purposes of
  any calculation under the Indenture and the Servicing Agreement, the Servicer will be deemed to have
  received the Servicing Fee in an amount equal to the sum of the Servicing Fee actually paid to the
  Servicer and the amount distributed to the Holders of the Class II Preference Shares as Class II Preference
  Share Special Payments.

           Synthetic Security Counterparty Account. To the extent that any Synthetic Security requires the
  Issuer to secure its obligations to the Synthetic Security Counterparty or to the extent that any Synthetic
  Security has an unfunded amount payable by the Issuer that does not by its terms require collateral, the
  Issuer shall direct the Trustee and the Trustee shall establish a segregated non-interest bearing trust
  account (the “Synthetic Security Counterparty Account”) for the Synthetic Security which shall be
  held in trust for the benefit of the related Synthetic Security Counterparty and over which the Trustee
  shall have exclusive control and the sole right of withdrawal in accordance with the applicable Synthetic
  Security and the Indenture. In the alternative, a Synthetic Security Counterparty Account may be
  established with a trustee designated by the Synthetic Security Counterparty that satisfies the
  requirements with respect to being a securities intermediary with respect to the posted collateral if that


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  trustee would qualify to be a successor trustee under the Indenture and the account satisfies the other
  requirements of a Synthetic Security Counterparty Account under the Indenture.

          As directed in writing by the Servicer, the Trustee shall deposit (or deliver for deposit) into each
  Synthetic Security Counterparty Account all amounts or securities that are required to secure the
  obligations of the Issuer in accordance with the related Synthetic Security and, without duplication, an
  amount equal to the unfunded amount of a Synthetic Security, including the entire notional amount of any
  Synthetic Security in the form of a credit default swap or other similar transaction. The Servicer shall
  direct any such deposit only during the Replacement Period and only to the extent that monies are
  available for the purchase of Collateral Obligations pursuant to the Indenture. Any income received on
  amounts in the Synthetic Security Counterparty Account shall, after application in accordance with the
  relevant Synthetic Security, be withdrawn from the Synthetic Security Counterparty Account and
  deposited in the Collection Account for distribution as Interest Proceeds.

          As directed by the Servicer in writing and in accordance with the applicable Synthetic Security
  and the Indenture, amounts on deposit in a Synthetic Security Counterparty Account shall be held in
  Synthetic Security Collateral.

           In connection with the occurrence of a credit event or an event of default or a termination event
  (each as defined in the applicable Synthetic Security) under the related Synthetic Security, amounts in any
  Synthetic Security Counterparty Account shall be withdrawn by the Trustee (or the Trustee shall request
  their withdrawal) and applied toward the payment of any amounts payable by the Issuer to the related
  Synthetic Security Counterparty in accordance with the Synthetic Security, as directed by the Servicer in
  writing. Any excess amounts held in a Synthetic Security Counterparty Account, or held directly by a
  Synthetic Security Counterparty, after payment of all amounts owing from the Issuer to the related
  Synthetic Security Counterparty in accordance with the related Synthetic Security shall be withdrawn
  from the Synthetic Security Counterparty Account and deposited in the Collection Account for
  distribution as Principal Proceeds.

          Amounts on deposit in any Synthetic Security Counterparty Account shall not be considered an
  asset of the Issuer for the purposes of the Coverage Tests, but the Synthetic Security that relates to the
  Synthetic Security Counterparty Account shall be so considered an asset of the Issuer (with the notional
  amount as the Principal Balance unless a default exists under the applicable Synthetic Security).

  Hedge Agreements

          At any time and from time to time on or after the Closing Date, the Issuer, at the direction of the
  Servicer and with the consent of a Majority of the Controlling Class, shall enter into the Hedge
  Agreements and will assign its rights (but none of its obligations) under the Hedge Agreements to the
  Trustee pursuant to the Indenture. The Trustee will, on behalf of the Issuer and in accordance with the
  Valuation Report, pay amounts due to the Hedge Counterparties under the Hedge Agreements on any
  Payment Date in accordance with the Priority of Payments.

           Each Hedge Counterparty will be required to have (i) a debt rating by Moody’s for long-term debt
  of “A1” or higher if the Hedge Counterparty has only a long-term rating; or a debt rating by Moody’s for
  long-term debt of “A2” or higher and a debt rating by Moody’s for short-term debt of “P-1” if the Hedge
  Counterparty has both long-term and short-term ratings and (ii) a short-term debt rating by S&P of not
  less than “A-1” or, if the Hedge Counterparty does not have a short-term debt rating by S&P, a long-term
  debt rating of not less than “A+” (the “Required Rating”).

         If at any time a Hedge Counterparty does not have the Required Rating, then the Hedge
  Counterparty shall be required, at its sole expense, to, within the applicable period specified in the related
  Hedge Agreement, either:

          (i)     post collateral with the Trustee to secure the Hedge Counterparty’s obligations under the
                  Hedge Agreement, in an amount and of the type specified under the relevant Hedge
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                  Agreement; provided that the Hedge Counterparty shall, at the time such collateral is first
                  posted, deliver to the Issuer, the Trustee and the Rating Agencies an opinion of counsel
                  of nationally recognized standing in the jurisdiction in which the Hedge Counterparty is
                  incorporated confirming that such collateral will be available in a timely manner upon a
                  bankruptcy of the Hedge Counterparty;
          (ii)    obtain a guarantor that has a short-term debt rating by S&P of not less than “A-1” and
                  otherwise has the Required Rating, subject to satisfaction of the Rating Condition; or
          (iii)   replace itself under the related or substantially equivalent Hedge Agreement with a
                  substitute Hedge Counterparty that has the Required Rating, subject to satisfaction of the
                  Rating Condition.
          provided that failure to take any such steps set forth under paragraphs (i) through (iii) above
          within 30 days shall be treated as an “Additional Termination Event” under such Hedge
          Agreement.
          If at any time the Hedge Counterparty has (x) no short-term Moody’s rating and a long-term
  Moody’s that is below “A3” or (y) both a short-term and long-term Moody’s rating and either the long-
  term Moody’s rating that is below “A3” or the short-term Moody’s rating that is below “P-2”, then the
  Hedge Counterparty shall be required, at its sole expense, to, within the applicable period specified in the
  related Hedge Agreement, either:
          (i)     obtain a guarantor that has the Required Rating, subject to satisfaction of the Rating
                  Condition; or
          (ii)    replace itself under the related or substantially equivalent Hedge Agreement with a
                  substitute Hedge Counterparty that has the Required Rating, subject to satisfaction of the
                  Rating Condition;
          provided that failure to take any such steps set forth under paragraphs (i) and (ii) above shall be
          treated as an “Additional Termination Event” under such Hedge Agreement.
          If at any time the Hedge Counterparty has a long-term unsecured debt rating by S&P below
  “BBB-”, then the Hedge Counterparty will be required, within 10 days, to replace itself under the related
  or substantially equivalent Hedge Agreement with a substitute Hedge Counterparty that has the Required
  Rating, subject to satisfaction of the Rating Condition; provided that failure to do so shall be treated as an
  “Additional Termination Event” under such Hedge Agreement.
         Whenever the Issuer enters into a Hedge Agreement, the Hedge Counterparty thereto shall
  comply with the then currently applicable rating criteria of each Rating Agency from time to time.
          Any payments required to be made under the Hedge Agreements shall be made in accordance
  with the Priority of Payments. Defaulted Hedge Termination Payments shall be subordinate to interest
  and principal payments on the Notes and any other payments required to be made by the Issuer under the
  Hedge Agreements, but senior to distributions to Holders of the Preference Shares pursuant to the
  Indenture.

           Unless the Rating Condition with respect to each Rating Agency is otherwise satisfied, following
  the early termination of a Hedge Agreement (other than on a Redemption Date) the Issuer, at the direction
  of the Servicer, shall promptly (but no later than 60 days after the early termination), and to the extent
  possible through Hedge Termination Receipts, enter into a replacement hedge, unless, in the exercise of
  the Servicer’s commercially reasonable judgment, to do so would not be in the best interest of the Issuer
  and the Rating Condition with respect to each Rating Agency is satisfied with respect to not entering into
  a replacement hedge. In addition, a replacement hedge may not be entered into unless the Issuer provides
  the Rating Agencies with at least seven Business Days’ prior written notice of its intention to enter into a
  replacement hedge, together with its form and the Rating Condition with respect to each Rating Agency is
  satisfied with respect to the replacement hedge. The Issuer shall use commercially reasonable efforts to
  cause the termination of a Hedge Agreement (other than a termination resulting from the bankruptcy,
  insolvency, or similar event with respect to the Hedge Counterparty) to become effective simultaneously
  with its entering into a replacement hedge. To the extent that (i) the Servicer determines not to replace
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  the Hedge Agreement and the Rating Condition with respect to each Rating Agency is satisfied with
  respect to the determination; or (ii) termination is occurring on a Redemption Date, the Hedge
  Termination Receipts shall become part of Principal Proceeds and be distributed in accordance with the
  Priority of Payments on the next following Payment Date (or on the Redemption Date, if the Notes are
  redeemed on the Redemption Date).

          The notional amounts of the Hedge Agreements outstanding at any time may be reduced or
  increased from time to time, by the Issuer, and the Hedge Agreements may be amended, modified, or
  terminated in accordance with the Hedge Agreements if the Rating Condition with respect to each Rating
  Agency is satisfied with respect to the reduction, increase, amendment, modification, or termination, as
  the case may be.

           Each Hedge Agreement may be terminated pursuant to its terms by the Hedge Counterparty upon
  an Optional Redemption of the Notes, an acceleration of maturity of the Notes followed by the liquidation
  of any or all of the Collateral after an Event of Default or the entry into certain amendments to the
  Indenture without the consent of the Hedge Counterparty. The Hedge Agreement will not be permitted to
  be terminated by the Issuer as the result of a Default or Event of Default unless any acceleration of
  maturity of the Notes resulting from the Event of Default is no longer permitted to be rescinded pursuant
  to the Indenture.

           Except for Hedge Agreements entered into on or before the Closing Date, the Issuer shall not
  enter into any Hedge Agreement unless the Rating Condition with respect to each Rating Agency is
  satisfied.

  Securities Lending

          The Indenture permits the Issuer to engage in a limited number of securities lending transactions
  as described below.

           The Servicer may instruct the Trustee to cause Collateral Obligations that are not Defaulted
  Collateral Obligations to be lent for a term of 90 days or less to banks, broker-dealers, and other financial
  institutions (other than insurance companies) having long-term and short-term senior unsecured debt
  ratings or guarantors with ratings of at least “A1” (and not “A1” but on credit watch with negative
  implications) and “P-1” (and not on credit watch for possible downgrade) from Moody’s and a long-term
  senior unsecured debt rating of at least “A” or a short-term senior unsecured debt rating of at least “A-1”
  from S&P (each, a “Securities Lending Counterparty”) pursuant to one or more agreements (each, a
  “Securities Lending Agreement”); provided that Collateral Obligations the Market Value of which
  cannot be determined under clause (i), (ii) or (iii) of that definition may not be lent pursuant to a
  Securities Lending Agreement. Upon receipt of an Issuer Order, the Trustee shall release any lent
  Collateral Obligations to a Securities Lending Counterparty as directed by the Servicer. The Securities
  Lending Counterparties may be Affiliates of CGMI or Affiliates of the Servicer. The duration of any
  Securities Lending Agreement shall not exceed the Stated Maturity of the Notes. Collateral Obligations
  representing no more than 15% (measured by Aggregate Principal Balance) of the Maximum Amount
  may be loaned pursuant to Securities Lending Agreements at any time.

          Each Securities Lending Agreement shall be on market terms as determined by the Servicer
  (except to the extent specified in the Indenture) and shall:

          (i)     require that the Securities Lending Counterparty return to the Issuer debt obligations that
                  are identical (in terms of issue and class) to the lent Collateral Obligations;

          (ii)    require that the Securities Lending Counterparty pay to the Issuer amounts equivalent to
                  all interest and other payments that the owner of the lent Collateral Obligation is entitled
                  to for the period during which the Collateral Obligation is lent and require that any such
                  payments not be subject to withholding tax imposed by any jurisdiction unless the
                  Securities Lending Counterparty is required under the Securities Lending Agreement to
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                  make “gross-up” payments to the Issuer that cover the full amount of the withholding tax
                  on an after-tax basis;

         (iii)    require that the Rating Condition with respect to each Rating Agency shall be satisfied
                  with respect to the execution of the Securities Lending Agreement;

         (iv)     satisfy any other requirements of Section 1058 of the Code and the Treasury Regulations
                  promulgated under it;

         (v)      be governed by the laws of New York;

         (vi)     permit the Issuer to assign its rights under the Securities Lending Agreement to the
                  Trustee pursuant to the Indenture;

         (vii)    provide for early termination and the delivery of any lent Collateral Obligation with no
                  penalty if the Collateral Obligation becomes a Credit Risk Obligation or is subject to
                  redemption in accordance with its terms;

         (viii)   provide for early termination and the delivery of any lent Collateral Obligation with no
                  penalty upon any redemption of the Notes in whole;

         (ix)     require the Securities Lending Counterparty to post with the Trustee collateral consisting
                  of cash or direct registered debt obligations of the United States of America that have a
                  maturity date no later than the Business Day preceding the stated termination date of the
                  Securities Lending Agreement to secure its obligation to return the Collateral Obligations
                  or in the alternative post that collateral with a custodian for the benefit of the Issuer
                  designated by the Securities Lending Counterparty that satisfies the requirements with
                  respect to being a securities intermediary with respect to the posted collateral if that
                  custodian would qualify to be a successor trustee under the Indenture;

         (x)      provide that the Securities Lending Collateral shall be maintained at all times in an
                  amount equal to at least 102% of the current Ask-Side Market Value (determined daily
                  and monitored by the Servicer) of the lent Collateral Obligations and if securities are
                  delivered to the Trustee as security for the obligations of the Securities Lending
                  Counterparty under the related Securities Lending Agreement, the Servicer on behalf of
                  the Issuer will negotiate with the Securities Lending Counterparty a rate for the loan fee
                  to be paid to the Issuer for lending the lent Collateral Obligations;

         (xi)     the lent Collateral Obligations shall be marked-to-market on a daily basis by the Servicer
                  on the basis of their Market Value;

         (xii)    the Collateral will include the Issuer’s rights under the related Securities Lending
                  Agreement rather than the loaned Collateral Obligation;

         (xiii)   provide for early termination within 10 days at the option of the Issuer and the delivery of
                  any lent Collateral Obligation with no penalty if the Securities Lending Counterparty is
                  no longer in compliance with the requirements relating to the credit ratings of the
                  Securities Lending Counterparty and the noncompliance is not cured as provided in the
                  Indenture; and

         (xiv)    contain appropriate limited recourse and non-petition provisions (to the extent the Issuer
                  has contractual payment obligations to the Securities Lending Counterparty) equivalent
                  (mutatis mutandis) to those in the Indenture.

        In addition, each Securities Lending Agreement must provide that if either Moody’s or S&P
  downgrades a Securities Lending Counterparty such that the Securities Lending Agreements to which the
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  Securities Lending Counterparty is a party are no longer in compliance with the requirements relating to
  the credit ratings of the Securities Lending Counterparty, then the Issuer, within 10 days of the
  downgrade, shall (i) terminate its Securities Lending Agreements with the Securities Lending
  Counterparty unless a guarantor with the required ratings for the Securities Lending Counterparty’s
  obligations under the Securities Lending Agreements has been obtained; or (ii) reduce the percentage of
  the Aggregate Principal Balance of the Collateral Obligations lent to the downgraded Securities Lending
  Counterparty so that the Securities Lending Agreements to which the Securities Lending Counterparty is
  a party, together with all other Securities Lending Agreements, are in compliance with the requirements
  relating to the credit ratings of Securities Lending Counterparties; or (iii) take any other steps Moody’s or
  S&P may require to cause the Securities Lending Counterparty’s obligations under the Securities Lending
  Agreements to which the Securities Lending Counterparty is a party to be treated by Moody’s or S&P, as
  the case may be, as if the obligations were owed by a counterparty having a rating at least equivalent to
  the rating that was assigned by Moody’s or S&P, as the case may be, to the downgraded Securities
  Lending Counterparty before its being downgraded.

           The Servicer shall instruct the Trustee in writing with respect to the administration of any
  Securities Lending Agreement (including with respect to any default and the exercise of rights under it).
  The Trustee shall not have any responsibility for evaluating the sufficiency, validity, or acceptability of
  any Securities Lending Agreement or for the qualifications or eligibility of any Securities Lending
  Counterparty. Nothing in the Indenture shall be construed to cause the Trustee to have any fiduciary
  duties to any Securities Lending Counterparty.

           So long as any Collateral Obligation is on loan pursuant to a Securities Lending Agreement,
  (a) the Trustee shall have no liability for any failure or inability on its part to receive any information or
  take any action with respect to the Collateral Obligation because of its being on loan (including any
  failure to take action with respect to a notice of redemption, consent solicitation, exchange or tender offer,
  or similar corporate action) and (b) the loaned Collateral Obligations shall not be disqualified for return to
  the Trustee as a Collateral Obligation by any change in circumstance or status during the time while on
  loan (including any change that would cause the Collateral Obligation to be ineligible for purchase by the
  Issuer under the Indenture if applied to a proposed purchase of it in the open market at the time of its
  return from loan).

                         MATURITY AND PREPAYMENT CONSIDERATIONS

          The Stated Maturity of each Class of Notes will be May 1, 2022 or, upon a Maturity Extension (if
  any), the applicable Extended Stated Maturity Date; however, the principal of each Class of the Notes is
  expected to be paid in full prior to its Stated Maturity (or Extended Stated Maturity Date, as applicable).
  Average life refers to the average amount of time that will elapse from the date of delivery of a security
  until each dollar of the principal of such security will be paid to the investor. The average lives of the
  Notes will be determined by the amount and frequency of principal payments, which are dependent upon,
  among other things, the amount of sinking fund payments and any other payments received at or in
  advance of the scheduled maturity of Collateral Obligations (whether through sale, maturity, redemption,
  default or other liquidation or disposition).

           The actual performance of the Securities will also be affected by the financial condition of the
  obligors on or issuers of the Collateral Obligations and the characteristics of the Collateral Obligations,
  including the interest rate or other rate of distribution, the actual default rate and actual losses sustained,
  the existence and frequency of exercise of any prepayment, optional redemption, or sinking fund features
  and any related premium, the prevailing level of interest rates, any sales of Collateral Obligations, and
  any unique risks of the Collateral Obligations. Any disposition of a Collateral Obligation may change the
  composition and characteristics of the portfolio of Collateral Obligations and their rate of payment, and,
  accordingly, may affect the actual performance of each respective Class of Securities. The ability of the
  Issuer to apply any Interest Proceeds or Principal Proceeds in the manner described under “Security for
  the Notes” will also affect the performance of the Securities. Redemptions will also affect the
  performance of the Securities.

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                                              THE SERVICER

          The information appearing in this section has been prepared by the Servicer and has not been
  independently verified by the Co-Issuers, the Initial Purchaser or the Placement Agent. Accordingly,
  notwithstanding anything to the contrary herein, none of the Co-Issuers, the Initial Purchaser or the
  Placement Agent assume any responsibility for the accuracy, completeness or applicability of such
  information.

  General

           Based in Dallas, Texas, Highland Capital is a registered investment adviser specializing in
  below investment-grade credit and special situation investing. As of September 30, 2006, Highland
  Capital managed over $31 billion in leveraged loans, high yield bonds, structured products and other
  assets for banks, insurance companies, pension plans, foundations and high net worth individuals.

           Highland Capital manages or services these assets through a variety of fund structures
  including separate accounts, CDOs, hedge funds and mutual funds. As of September 30, 2006,
  Highland Capital invested in approximately 1,200 below investment grade and credit sensitive credit
  positions, and Highland Capital’s 79-person credit team followed approximately 1,400 below
  investment grade and credit sensitive credit positions across over 36 industries. Highland Capital or an
  Affiliate or predecessor thereof has been an SEC-registered investment adviser since April 1993.

  Philosophy and Process

          Highland Capital has a large range and depth of experience. It has expertise in the fields of
  syndicated loans, high yield bonds, and distressed assets. Highland Capital believes it is in a position to
  maximize the spread differential between the yields on underlying collateral and the cost of financing. In
  addition, Highland Capital seeks to construct portfolios to (a) maximize relative value based on its credit
  views and (b) maximize diversification in order to minimize the effect of isolated credit events on the
  overall portfolio, utilizing Highland Capital’s infrastructure to minimize defaults of underlying assets and
  to maximize recoveries in the case of defaults. Highland Capital has over $600 million of firm capital
  exposure to the firm’s funds and expects that HFP, an Affiliate of the Servicer, and/or one or more of
  HFP’s subsidiaries will on the Closing Date purchase all of the Class II Preference Shares.

            Highland Capital believes that its disciplined selection process minimizes a portfolio’s risk and
  that its analysis seeks to maximize yield spread while limiting downside risk. Portfolio managers actively
  follow each credit and several times each year the entire staff reviews all positions during multi-day
  monitoring meetings. Highland Capital diversifies its portfolios with set limits on exposure to any one
  given industry or issuer. Highland Capital believes that this philosophy and selection process has resulted
  in positive returns on its underlying loan portfolio and consistent outperformance relative to its indices.

          Highland Capital focuses on a “team” approach that it has used since 1990. It is Highland Capital
  management’s belief that this style creates the optimum environment for the exchange of information and
  the development of all asset management professionals. All aspects of the selection, monitoring and
  servicing process are coordinated through the senior asset portfolio managers’ direct interaction. A
  committee of senior portfolio managers and analysts, Highland Capital’s Chief Investment Officer and its
  Head of Structured Products meets every morning to discuss the status of the credits. Collectively, the
  committee utilizes a selection and monitoring process which is driven by fundamental credit research.
  Each portfolio manager/analyst makes specific credit recommendations based upon industry coverage.
  The credit recommendation is then brought to the committee for consideration. Based upon the consensus
  decision, the portfolio manager with the recommendation will direct Highland traders to execute the trade.
  Highland Capital has also provided its committee with a strong commitment to technology. The firm
  developed Wall Street Office® which is a proprietary software system that allows Highland Capital to
  model, portfolio manage, and trade syndicated loans. This software has been licensed to more than 70
  financial institutions that acquire syndicated loans.

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  Professionals of the Servicer

          Set forth below is information regarding certain persons who are currently employed by the
  Servicer. Such persons may not necessarily continue to be so employed during the entire term of the
  Servicing Agreement.

          James Dondero, CFA, CPA, CMA – Managing Partner, President

          Mr. Dondero is a Founder and President of Highland Capital Management, L.P. Prior to
  Highland, Mr. Dondero served as Chief Investment Officer of Protective Life’s GIC subsidiary, and
  helped grow the business from concept to over $2 billion from 1989 to 1993. His portfolio
  management experience includes mortgage-backed securities, investment grade corporates, leveraged
  bank loans, emerging markets, derivatives, preferred stocks and common stocks. From 1985 to 1989,
  he managed approximately $1 billion in fixed income funds for American Express. Prior to American
  Express, he completed the financial training program at Morgan Guaranty Trust Company. Mr.
  Dondero is a Beta Gamma Sigma graduate of the University of Virginia, 1984 with degrees in
  Accounting and Finance. Mr. Dondero is a Certified Public Accountant and a Certified Management
  Accountant. He has earned the right to use the Chartered Financial Analyst designation.

          Mark Okada, CFA – Managing Partner, Chief Investment Officer

          Mr. Okada is a Founder and Chief Investment Officer of Highland. He is responsible for
  overseeing Highland’s investment activities for its various strategies, and has over 20 years of
  experience in the leveraged finance market. Prior to Highland, Mr. Okada served as Manager of Fixed
  Income for Protective Life’s GIC subsidiary from 1990 to 1993. He was primarily responsible for the
  bank loan portfolio and other risk assets. Protective was one of the first non-bank entrants into the
  syndicated loan market. From 1986 to 1990, he served as Vice President for Hibernia National Bank,
  managing over $1 billion of high yield bank loans. Mr. Okada is an honors graduate of the University
  of California Los Angeles with degrees in Economics and Psychology. He completed his credit training
  at Mitsui and has earned the right to use the Chartered Financial Analyst designation. Mr. Okada is also
  Chairman of the Board of Directors of Common Grace Ministries Inc.

          Todd Travers, CFA – Partner, Head of Structured Products, Senior Portfolio Manager

          Mr. Travers is responsible for Highland’s CDO business and is the primary portfolio manager
  for Highland’s CDOs. He is a member of the Credit Committee and heads a team that is responsible
  for structuring new CDO transactions and implementing additional opportunities in Highland’s core
  businesses. Formerly, Mr. Travers served as Portfolio Manager/Portfolio Analyst from 1994 to 1998
  for Highland. His prior responsibilities included managing a portion of Highland’s leveraged loan and
  high yield debt portfolios across a wide range of industry sectors. Prior to joining Highland, Mr.
  Travers was a Finance Manager at American Airlines. Mr. Travers is a graduate of Iowa State
  University with a BS in Industrial Engineering. He received his MBA from Southern Methodist
  University. Mr. Travers has earned the right to use the Chartered Financial Analyst designation.

          Patrick H. Daugherty – Partner, Head of Distressed and Special Situations Investments

          Mr. Daugherty is Head of Distressed and Special Situations Investing, and a Senior Portfolio
  Manager at Highland Capital Management, L.P. (“Highland”). His responsibilities include managing the
  Distressed Investments Group, and co-managing the Private Equity Investments Group. He has formerly
  served as General Counsel to Highland. Prior to joining Highland in April 1998, Mr. Daugherty served as
  Vice President in the Corporate Finance Group at Bank of America Capital Markets, Inc (formerly
  NationsBanc Capital Markets, Inc.) where he originated and structured leveraged transactions of mid-cap
  companies located in the Southwest. Prior to joining Bank of America, Mr. Daugherty was an Associate
  with the law firm of Baker, Brown, Sharman and Parker in Houston, Texas, where he worked with banks
  and financial institutions in the liquidation of various RTC portfolios. Mr. Daugherty has over 15 years of
  experience in distressed, high yield and corporate restructuring. He has been involved in over 100
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  restructurings and held steering committee positions in over 40 bankruptcies. Mr. Daugherty currently
  serves on the Board of Directors of Trussway Holdings, Inc. and its affiliates (as Chairman), Home
  Interiors & Gifts, Inc. and its affiliates (as Chairman), Nexpak Corporation and its affiliates (as
  Chairman), Moll Industries and its affiliates (as Chairman), Safety-Kleen Holdco., Inc. and is a former
  board member of Norse Merchant Group and its affiliates, Ferrimorac Holdings Limited and Mariner
  Health Care, Inc. He received a BBA in Finance from The University of Texas at Austin and a Juris
  Doctorate from The University of Houston School of Law. Mr. Daugherty’s professional certifications
  include membership in the Texas Bar Association and admittance to the American Bar Association in
  1992.

          John Morgan, CFA – Partner, Senior Portfolio Manager, Real Estate

           Mr. Morgan is a Senior Portfolio Manager, and has responsibility for overseeing the firm’s Real
  Estate debt investments. The firm’s real estate investments include a variety of asset types, including
  Collateralized Mortgage Backed Securities (“CMBSs”), mezzanine notes, and real estate bank loans.
  Since joining Highland in March 2000, Mr. Morgan has also covered a variety of other industries,
  including retail, restaurants, and supermarkets. Prior to joining Highland in March 2000, Mr. Morgan
  served as Portfolio Analyst for Falcon Fund Management, LTD from August 1995-February 2000. At
  Falcon, he created comparables to assess the attractiveness of companies within industries and across the
  portfolio. He assisted the Portfolio Manager in the security selection process and management of the
  portfolio. Prior to Falcon, he was an Analyst for a Convertible Arbitrage Fund at Q Investments. His
  primary responsibility included analyzing financial statements and related corporate disclosures and
  performing analysis on potential investment opportunities. He received both a BS in Biological Sciences
  and an MBA from Southern Methodist University, and has earned the right to use the Chartered Financial
  Analyst designation.

          Kurtis S. Plumer, CFA – Partner, Senior Portfolio Manager, Multi-Strategies

          Mr. Plumer is a Senior Portfolio Manager for Multi-Strategies. Prior to joining Highland in July
  1999, Mr. Plumer was a distressed High Yield Bond Trader at Lehman Brothers in New York, where he
  managed a $250 million portfolio invested in global distressed securities. While at Lehman, he also traded
  emerging market sovereign bonds. Prior to joining Lehman Brothers, Mr. Plumer was a Corporate
  Finance Banker at NationsBanc Capital Markets, Inc. (now Bank of America Capital Markets, Inc.) where
  he focused on M&A and financing transactions for the bank's clients. Mr. Plumer has over 14 years of
  experience in distressed, high yield bond and leveraged loan products. Mr. Plumer earned a BBA in
  Economics and Finance from Baylor University, and an MBA in Strategy and Finance from the Kellogg
  School at Northwestern University. Mr. Plumer has earned the right to use the Chartered Financial
  Analyst designation.

          David Walls, CFA – Partner, Senior Portfolio Manager, Par Credits

          Mr. Walls is a Senior Portfolio Manager of Par Credit Investments at Highland. Prior to joining
  Highland in October 2000, Mr. Walls worked for Lend Lease Real Estate Investments as an Associate in
  their Asset Management unit underwriting and structuring acquisitions of bulk portfolios of distressed
  Korean real estate and corporate debt. Before his international responsibilities at Lend Lease, Mr. Walls
  performed loan workouts on a domestic portfolio of sub- and non-performing real estate secured assets.
  Prior to Lend Lease, Mr. Walls worked at U.S. Trust Company of California as an Assistant Vice
  President, Junior Portfolio Manager in their Fixed Income Portfolio Management group and for Capital
  Research & Management Company as a Fixed Income Trader. Mr. Walls has worked in finance for the
  cable, media, satellite, and communication equipment sectors for 14 years. At Highland, Mr. Walls is a
  Senior Portfolio Manager with oversight of the Cable and Satellite sectors. He holds a BA in Economics
  from Northwestern University, and an MBA in Finance and Marketing from the Kellogg School of
  Management at Northwestern University. Mr. Walls is a member of AIMR and DAIA. Mr. Walls has
  earned the right to use the Chartered Financial Analyst designation.


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         Brett Pope, CFA – Partner, Senior Portfolio Manager, Par Credits

          Mr. Pope is a Senior Portfolio Manager for Par Credit Investments. Prior to joining Highland in
  March 2001, Mr. Pope served as a Senior Equities Analyst in Healthcare at Street Advisor.com from 1999
  to 2001. His experience also includes working as a Senior Research Analyst covering the Building
  Products and Financial Service sectors at Southwest Securities from 1996 to 1999. Prior to 1996, he
  served as a Senior Financial Analyst with Associates First Capital Corporation. At Highland, Mr. Pope is
  a Senior Portfolio Manager covering the Healthcare and Information Technology sectors. Mr. Pope is a
  graduate of the University of Texas at Austin where he graduated Magna Cum Laude. Mr. Pope has
  earned the right to use the Chartered Financial Analyst designation.

         Patrick Conner, CFA – Senior Portfolio Manager

           Mr. Conner is a Senior Portfolio Manager for Par Credit Investments. Prior to joining Highland
  Capital in February 2002, Mr. Conner worked from 2001-2002 as a Portfolio Manager for an equity
  hedge fund at Enron Corp. Prior to this position, Mr. Conner evaluated business unit strategy, mergers,
  acquisitions, and divestitures as a Director in Enron's Corporate Development group from 1997-2001.
  Prior to joining Enron, Mr. Conner worked as a Corporate Lending Officer at Boatmen's Bancshares in
  middle market banking. Mr. Conner has acquired 14 years of investment experience. He holds an MBA
  in Finance from The Wharton School of Business at the University of Pennsylvania and a BBA in
  Finance from Wichita State University. Mr. Conner has earned the right to use the Chartered Financial
  Analyst designation. Mr. Conner is a Senior Portfolio Manager for Par Credit Investments.

         Brad Borud – Partner, Senior Trader and Co-Director of Portfolio Management

          Mr. Borud is a Senior Trader and Co-director of Portfolio Management. Prior to joining Highland
  in November 1996, Mr. Borud worked as a Global Finance Analyst in the Corporate Finance Group at
  NationsBank from 1995 to 1996 where he was involved in the originating, structuring, modeling, and
  credit analysis of leveraged transactions for large corporate accounts in the Southwest portion of the
  United States. During 1994, Mr. Borud also served at Conseco Capital Management as an Analyst Intern
  in the Fixed Income Research Department, following the Transportation and Energy sectors. Prior to his
  current duties at Highland, Mr. Borud served as a Portfolio Analyst from 1996 to 1998. From 1998 to
  2003, Mr. Borud was a Portfolio Manager covering a wide range of industries, including Wireline
  Telecommunications, Wireless Telecommunications, Telecommunication Equipment Manufacturers,
  Multi-channel Video, and Media. He has a BS in Business Finance from Indiana University.

         Paul Kauffman, CFA, CPA – Partner, Senior Trader and Co-Director of Portfolio Management

          Mr. Kauffman is a Senior Trader and Co-director of Portfolio Management. Prior to joining
  Highland in June 1999, Mr. Kauffman spent four years in the public accounting industry, including two
  and a half years at KPMG Peat Marwick. At KPMG, Mr. Kauffman gained audit experience in a wide
  range of industries, with particular focus on the Energy and Cable industries. He joined Highland as a
  Portfolio Analyst, and was a Portfolio Manager prior to moving into his current role. At Highland, Paul
  has followed a variety of industries, including Paper & Packaging, General Industrials, Metals, and the
  Automotive sector. He received a BBA in Accounting from Baylor University, and an MBA from Duke
  University. Mr. Kauffman has earned the right to use the Chartered Financial Analyst designation.

          See “Risk Factors—Relating to the Servicer—The Issuer Will Depend on the Managerial
  Expertise Available to the Servicer and Its Key Personnel.”

                                   THE SERVICING AGREEMENT
          The following summary describes certain provisions of the Servicing Agreement. The summary
  does not purport to be complete and is subject to, and qualified in its entirety by reference to, the
  Servicing Agreement.


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           Pursuant to the terms of the Servicing Agreement, and in accordance with the requirements set
  forth in the Indenture, the Servicer will select the portfolio of Collateral Obligations and will instruct the
  Trustee with respect to any acquisition, disposition or sale of a Collateral Obligation or an Eligible
  Investment. None of the Initial Purchaser, the Placement Agent or any Affiliate thereof will select any of
  the Collateral Obligations.

          Pursuant to the terms of the Servicing Agreement, the Servicer will monitor the Collateral
  Obligations and provide the Issuer with certain information received from the Collateral Administrator
  with respect to the composition and characteristics of the Collateral Obligations, any disposition or tender
  of a Collateral Obligation, the application of the proceeds of any such disposition to the purchase of
  Eligible Investments and with respect to the retention of the proceeds of any such disposition or the
  application thereof toward the purchase of additional Collateral Obligations. The Servicer will, and will
  be authorized to, negotiate, on behalf of the Issuer, with respect to all actions to be taken by the Issuer
  under any Hedge Agreements.

           As compensation for the performance of its obligations as Servicer, the Servicer will be entitled
  to receive:

          (i)     a fee (the “Senior Servicing Fee”) that accrues from the Closing Date payable to the
                  Servicer in arrears on each Payment Date equal to 0.30% per annum of the Maximum
                  Amount if and to the extent funds are available for that purpose in accordance with the
                  Priority of Payments (with the Senior Servicing Fee being calculated on the basis of a
                  360-day year consisting of twelve 30-day months);

          (ii)    an amount (the “Subordinated Servicing Fee”) payable on each Payment Date equal to
                  the sum of (a) a fee that accrues from the Closing Date payable to the Servicer in arrears
                  on each Payment Date equal to 0.25% per annum of the Maximum Amount if and to the
                  extent funds are available for that purpose in accordance with the Priority of Payments
                  and (b) on any Payment Date that any part of the Subordinated Servicing Fee was not
                  paid on the preceding Payment Date, an amount equal to interest on such unpaid amount
                  at a rate of LIBOR for the applicable period plus 3.00% per annum (with the portion of
                  the Subordinated Servicing Fee, in clauses (a) and (b) above, as applicable, being
                  calculated on the basis of a 360-day year consisting of twelve 30-day months); and

          (iii)   a fee (the “Supplemental Servicing Fee“ and together with the Senior Servicing Fee and
                  the Subordinated Servicing Fee, the “ Servicing Fee”), if any, payable on each Payment
                  Date to the Servicer in an amount equal to: (i) 20% of the remaining Interest Proceeds, if
                  any, available after making the distributions on such Payment Date pursuant to clause
                  (22) under “Description of the Securities—Priority of Payments—Interest Proceeds” and
                  (ii) 20% of the remaining Principal Proceeds, if any, available for payment in respect of
                  the Supplemental Servicing Fee pursuant to clause (12)(A) and, if applicable, clause (15),
                  in each case pursuant to “Description of the Securities—Priority of Payments—Principal
                  Proceeds.”

           On each Payment Date, as and to the extent described under “Description of the Securities—
  Priority of Payments,” the Trustee will deposit the Class II Preference Share Portion of the Servicing Fees
  into the Class II Preference Share Special Payment Account. The Servicer has agreed to waive such
  amounts, which would otherwise be payable to the Servicer as Servicing Fees, on each Payment Date
  until (and including) the Payment Date in February 2008 and an amount equal to such waived amounts
  will be paid to the Preference Shares Paying Agent for payment pro rata to the Holders of the Class II
  Preference Shares as Class II Preference Share Special Payments. After the Payment Date in February
  2008, the Servicer may, in its sole discretion, at any time waive the Class II Preference Share Portion of
  its Servicing Fees then due and payable, in which event an amount equal to such waived portion will be
  paid by the Issuer as Class II Preference Share Special Payments. For purposes of any calculation under
  the Indenture and the Servicing Agreement, the Servicer will be deemed to have received the Servicing
  Fee in an amount equal to the sum of the Servicing Fee actually paid to the Servicer and the amount
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  distributed to the Holders of the Class II Preference Shares as Class II Preference Share Special Payments
  as described above. See “Security for the Notes—The Accounts—Class II Preference Share Special
  Payment Account.”

          Notwithstanding anything set out above, the Servicer may, in its sole discretion: (i) waive all or
  any portion of the Servicing Fee, any funds representing the waived Servicing Fees to be retained in the
  Collection Account for distribution as either Interest Proceeds or Principal Proceeds (as determined by the
  Servicer) pursuant to the Priority of Payments; or (ii) defer all or any portion of the Servicing Fee, any
  funds representing the deferred Servicing Fees to be retained in the Collection Account, when they will
  become payable in the same manner and priority as their original characterization would have required
  unless deferred again.

          In addition, the Servicer will be reimbursed for its reasonable expenses incurred with respect to
  any compliance requirements, including, but not limited to, compliance with the requirements of the
  Sarbanes-Oxley Act solely related to the ownership or holding of any Securities by HFP or any of its
  subsidiaries to the extent funds are available therefor in accordance with and subject to the Priority of
  Payments and other limitations contained in the Indenture.

           The Servicer, its directors, officers, stockholders, partners, agents and employees, and its
  Affiliates and their directors, officers, stockholders, partners, agents and employees, shall not be liable to
  the Issuer, the Co-Issuer, the Trustee, the Preference Shares Paying Agent, the Holders of the Securities or
  any other person for any losses, claims, damages, judgments, assessments, costs or other liabilities
  (collectively “Liabilities”) incurred by the Issuer, the Co-Issuer, the Trustee, the Preference Shares
  Paying Agent, the Holders of the Securities or any other person that arise out of or in connection with the
  performance by the Servicer of its duties under the Servicing Agreement and the Indenture, except by
  reason of (i) acts or omissions constituting bad faith, willful misconduct, gross negligence or breach of
  fiduciary duty in the performance, or reckless disregard, of the obligations of the Servicer under the
  Servicing Agreement and under the terms of the Indenture applicable to it or (ii) with respect to any
  information included in this Offering Memorandum in the sections entitled “The Servicer” and “Risk
  Factors—Certain Conflicts of Interest—Conflicts of Interest Involving the Servicer” that contains any
  untrue statement of material fact or omits to state a material fact necessary in order to make the statements
  therein, in the light of the circumstances under which they were made, not misleading (the preceding
  clauses (i) and (ii) collectively being the “Servicer Breaches”). The Servicer will be liable for any non-
  waivable breaches of applicable securities laws.

           The Issuer will indemnify and hold harmless the Servicer, its directors, officers, stockholders,
  partners, agents and employees (such parties collectively in such case, the “Indemnified Parties”) from
  and against any and all Liabilities, and shall reimburse each such Indemnified Party for all reasonable fees
  and expenses (including reasonable fees and expenses of counsel) (collectively, the “Expenses”) as such
  Expenses are incurred in investigating, preparing, pursuing or defending any claim, action, proceeding or
  investigation with respect to any pending or threatened litigation (collectively, the “Actions”), caused by,
  or arising out of or in connection with, the issuance of the Securities, the transactions contemplated by the
  Offering Memorandum, the Indenture or the Servicing Agreement, and/or any action taken by, or any
  failure to act by, such Indemnified Party; provided, however, that no Indemnified Party shall be
  indemnified for any Liabilities or Expenses it incurs as a result of any acts or omissions by any
  Indemnified Party constituting Servicer Breaches. Any such indemnification by the Issuer will be paid in
  accordance with, and subject to, the Priority of Payments.

           Pursuant to the terms of the Servicing Agreement, the Servicer will agree that on the Closing
  Date, (i) HFP and/or one or more of its subsidiaries will purchase all of the Class II Preference Shares
  having an aggregate Face Amount equal to U.S.$62,000,000 through the Placement Agent at a discounted
  purchase price and (ii) the Servicer or one or more of its Affiliates (other than HFP or any of its
  subsidiaries) will purchase certain of the Class C Notes having an aggregate principal amount equal to
  U.S.$11,000,000, certain of the Class D Notes having an aggregate principal amount equal to
  U.S.$9,000,000 and certain of the Holding Preference Shares having an aggregate Face Amount equal to
  U.S.$11,583,000, in each case, at a discounted purchase price.
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          The Issuer may, at the request of the Servicer, enter into an amendment or modification of the
  Servicing Agreement from time to time, without the consent of the Holders of the Securities and without
  regard to whether or not the interests of the Holders of the Securities are adversely affected thereby;
  provided that, with respect to any such amendment or modification, (a) a Rating Condition is satisfied and
  (b) a Majority of the Controlling Class of Notes or a Majority of the Holders of the Preference Shares
  have not objected in writing to such amendment or modification prior to the relevant Objection Cut-Off
  Date (as defined below).

           If at any time the Servicer desires to amend or modify the Servicing Agreement, the Servicer will
  notify the Issuer and the Trustee, providing details of such proposed amendment or modification. Not
  later than five Business Days after receipt of such notice, the Trustee will mail such notice to (i) each
  Noteholder at such Holder’s address in the Indenture Register or otherwise in accordance with the rules
  and procedures of the Depository, Euroclear and Clearstream, as applicable, (ii) to the Preference Shares
  Paying Agent (for forwarding to the Holders of Preference Shares), (iii) to the Holding Preference Shares
  Paying Agent (for forwarding to the Holders of the Holding Securities) and (iv) to each Rating Agency.
  If any Holder of the Controlling Class of Notes or any Holder of the Preference Shares notifies, by
  delivering a written notice to the Trustee within 35 days after the Trustee has mailed such notice, that it
  objects to such proposed amendment or modification, the Trustee will, within two Business Days after
  receiving such notice of objection, mail a notice of the receipt of such objection to the Issuer, the Servicer
  and other Holders of the Controlling Class of Notes and other Holders of the Preference Shares. Each
  Holder of the Controlling Class of Notes and each Holder of the Preference Shares that also wishes to
  object to such amendment or modification must, by delivering a written notice, so notify the Trustee
  within seven Business Days after the Trustee has mailed such notice of the receipt of such objection (the
  last day of such seven Business Day period, the “Objection Cut-Off Date”). If a Majority of either the
  Controlling Class of Notes or the Preference Shares notifies the Trustee in writing on or before the
  Objection Cut-Off Date that they object to the proposed amendment or modification to the Servicing
  Agreement, such amendment or modification will not be made.

           The Servicing Agreement provides that the Servicer will not direct the Trustee to acquire an
  obligation to be included in the Collateral from the Servicer or any of its Affiliates as principal or to sell
  an obligation to the Servicer or any of its Affiliates as principal unless (i) the Issuer shall have received
  from the Servicer such information relating to such acquisition or sale as it may reasonably require and
  shall have approved such acquisition, which approval shall not be unreasonably withheld, (ii) in the
  judgment of the Servicer, such transaction is on terms no less favorable than would be obtained in a
  transaction conducted on an arm’s length basis between third parties unaffiliated with each other and (iii)
  such transaction is permitted by the Advisers Act. The Servicing Agreement also provides that the
  Servicer will not direct the Trustee to acquire an obligation to be included in the Collateral directly from
  any account or portfolio for which the Servicer serves as servicer or investment adviser, or direct the
  Trustee to sell an obligation directly to any account or portfolio for which the Servicer serves as servicer
  or investment adviser unless such acquisition or sale is (i) in the judgment of the Servicer, on terms no
  less favorable than would be obtained in a transaction conducted on an arm’s length basis between third
  parties unaffiliated with each other and (ii) permitted by the Advisers Act.

          Subject to the provisions for a successor servicer discussed below, the Servicer may resign, upon
  90 days’ written notice to the Issuer (or such shorter notice as is acceptable to the Issuer).

          The Servicing Agreement will be terminated, and the Servicer will be removed, by the Issuer, if
  directed by the Trustee (acting at the direction of a Super Majority of the Controlling Class of Notes
  (excluding any Notes that are not Voting Notes)) or by a Majority of the Voting Preference Shares, in
  each case for “cause” upon 10 days’ prior written notice to the Servicer and upon written notice to the
  Holders of the Securities as set forth below. For purposes of determining “cause” with respect to any
  such termination of the Servicing Agreement, such term shall mean any one of the following events:

                   (i)      the Servicer willfully breaches in any respect, or takes any action that it knows
          violates in any respect, any provision of the Servicing Agreement or any terms of the Indenture
          applicable to it;
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                    (ii)   the Servicer breaches in any material respect any provision of the Servicing
          Agreement or any terms of the Indenture or the Collateral Administration Agreement applicable
          to it, or any representation, warranty, certification or statement given in writing by the Servicer
          shall prove to have been incorrect in any material respect when made or given, and the Servicer
          fails to cure such breach or take such action so that the facts (after giving effect to such action)
          conform in all material respects to such representation, warranty, certificate or statement, in each
          case within 30 days of becoming aware of, or receiving notice from, the Trustee of, such breach
          or materially incorrect representation, warranty, certificate or statement;

                  (iii)    certain events of bankruptcy or insolvency occur with respect to the Servicer;

                  (iv)      the occurrence of any Event of Default under the Indenture that results from any
          breach by the Servicer of its duties under the Indenture or the Servicing Agreement, which breach
          or default is not cured within any applicable cure period; or

                   (v)       (x) the occurrence of an act by the Servicer related to its activities in any
          servicing, securities, financial advisory or other investment business that constitutes fraud, (y) the
          Servicer being indicted, or any of its principals being convicted, of a felony criminal offense
          related to its activities in any servicing, securities, financial advisory or other investment business
          or (z) the Servicer being indicted for, adjudged liable in a civil suit for, or convicted of a violation
          of the Securities Act or any other United States Federal securities law or any rules or regulations
          thereunder.

           No removal or resignation of the Servicer will be effective under the Servicing Agreement unless
  (A) (i) at the written direction of a Majority of the Voting Preference Shares, the Issuer appoints a
  successor servicer and such successor servicer has agreed in writing to assume all of the Servicer’s duties
  and obligations pursuant to the Servicing Agreement and the Indenture and (ii) the successor servicer is
  not objected to within 30 days after notice of such succession by either (x) a Super Majority of the
  Controlling Class of Notes (excluding any Notes that are not Voting Notes) or (y) a Majority in
  Aggregate Outstanding Amount of the Voting Notes (voting as a single Class) or (B) if a Majority of the
  Voting Preferences Shares has nominated two or more successor servicers that have been objected to
  pursuant to the preceding clause (A)(ii) or has failed to appoint a successor servicer that has not been
  objected to pursuant to the preceding clause (A)(ii) within 60 days of the date of notice of such removal
  or resignation of the Servicer, (i) at the written direction of a Super Majority of the Controlling Class
  (excluding any Notes that are not Voting Notes), the Issuer appoints a successor servicer and such
  successor servicer has agreed in writing to assume all of the Servicer’s duties and obligations pursuant to
  the Servicing Agreement and the Indenture and (ii) the successor servicer is not objected to within 30
  days after notice of such succession by either (x) a Majority of the Voting Preference Shares (voting as a
  single class) or (y) a Majority in Aggregate Outstanding Amount of the Voting Notes (voting as a single
  Class); provided that if a Majority of the Voting Preference Shares and a Super Majority of the
  Controlling Class (excluding any Notes that are not Voting Notes) have each nominated two or more
  successor servicers that have been objected to pursuant to the preceding clauses (A)(ii) and (B)(ii) or have
  otherwise failed to appoint a successor servicer that is not objected to pursuant to the preceding clauses
  (A)(ii) or (B)(ii) within 120 days of the date of notice of such removal or resignation of the Servicer, any
  Holder of the Controlling Class of Notes (excluding any Notes that are not Voting Notes), any Holder of
  Voting Preference Shares or the Trustee petitions a court of competent authority to appoint a successor
  servicer. In addition, any successor servicer must be an established institution which (i) has demonstrated
  an ability to professionally and competently perform duties similar to those imposed upon the Servicer
  under the Servicing Agreement, (ii) is legally qualified and has the capacity to act as Servicer under the
  Servicing Agreement, as successor to the Servicer under the Servicing Agreement in the assumption of all
  of the responsibilities, duties and obligations of the Servicer under the Servicing Agreement and under the
  applicable terms of the Indenture, (iii) shall not cause the Issuer or the pool of Collateral to become
  required to register under the provisions of the Investment Company Act, (iv) shall perform its duties as
  successor servicer under the Servicing Agreement and the Indenture without causing the Issuer, the Co-
  Issuer or any Holder of Preference Shares to become subject to tax in any jurisdiction where such

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  successor servicer is established as doing business and (v) each Rating Agency has confirmed that the
  appointment of such successor servicer shall not cause its then-current rating of any Class of Notes to be
  reduced or withdrawn. No compensation payable to a successor from payments on the Collateral shall be
  greater than that paid to the Servicer without the prior written consent of a Super Majority of the
  Controlling Class of Notes, a Majority of the Notes and a Majority of the Preference Shares.

           The Servicing Agreement, and any obligations or duties of the Servicer under the Servicing
  Agreement, cannot be delegated by the Servicer, in whole or in part, except to any entity that is both
  (i) controlled by all or any of James Dondero, Mark Okada and Todd Travers and (ii) one in which all of
  James Dondero, Mark Okada and Todd Travers (or any Approved Replacement thereof) is involved in the
  day to day management and operations (and in any such case pursuant to an instrument of delegation in
  form and substance satisfactory to the Issuer), without the prior written consent of the Issuer, a Super
  Majority of the Controlling Class of Notes (excluding any Notes that are not Voting Notes) and a
  Majority of the Voting Preference Shares and, notwithstanding any such consent, no delegation of
  obligations or duties by the Servicer (including, without limitation, to an entity described above) shall
  relieve the Servicer from any liability under the Servicing Agreement.

                                            THE CO-ISSUERS

  General

           The Issuer was incorporated as an exempted limited liability company on March 31, 2006 in the
  Cayman Islands under registration number WK-165204. The registered office of the Issuer is at the
  offices of Ogier Fiduciary Services (Cayman) Limited, P.O. Box 1234, Queensgate House, George Town,
  Grand Cayman KY1-1108, Cayman Islands. The Issuer’s telephone number is (345) 945-6264. The
  Issuer has no prior operating experience (other than in connection with the acquisition of the Collateral
  Obligations during the Accumulation Period) and will not have any material assets other than (i) the
  Collateral pledged to secure the Secured Obligations, and (ii) $2,000 (of which $1,000 represents the
  Issuer’s ordinary share capital and $1,000 represents a fee for issuing the Securities).

           The Co-Issuer was incorporated on December 21, 2006 in the State of Delaware under
  registration number 061173837 as a corporation and has a perpetual existence. The registered office of
  the Co-Issuer is at c/o National Corporate Research, Ltd., 615 South DuPont Highway, Dover, Delaware,
  19901. The Co-Issuer’s telephone number is (302) 738-6680. The Co-Issuer has no prior operating
  history and will not have any material assets.

          The Senior Notes are non-recourse debt obligations of the Co-Issuers. The Class D Notes are
  non-recourse debt obligations of the Issuer and the Preference Shares are equity interests only in the
  Issuer. The Securities are not obligations of the Trustee, the Preference Shares Paying Agent, the
  Servicer, the Initial Purchaser, the Placement Agent, the Administrator, the Holders of the Preference
  Shares, Ogier Fiduciary Services (Cayman) Limited, as the share trustee (in such capacity, the “Share
  Trustee”), or any directors or officers of the Co-Issuers or any of their respective Affiliates.

          At the Closing Date, the authorized share capital of the Issuer consists of 1,000 ordinary shares,
  U.S.$1.00 par value per share (the “Issuer Ordinary Shares”), all of which will have been issued prior to
  the Closing Date, and 123,500] Preference Shares, U.S.$0.01 par value per share, 123,500 of which will
  be issued on or about the Closing Date. The authorized common stock of the Co-Issuer consists of 1,000
  shares of common stock, U.S.$ 0.01 par value (the “Co-Issuer Common Stock”), all of which shares will
  be issued on or about the Closing Date. All of the outstanding Issuer Ordinary Shares and all of the Co-
  Issuer Common Stock will be held by the Share Trustee. For so long as any of the Securities are
  Outstanding, no transfer of any Issuer Ordinary Shares or Co-Issuer Common Stock to a U.S. Person shall
  be registered.




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  Investors Corp.

           On the Closing Date, Eastland Investors Corp. (“Investors Corp.”), an exempted limited liability
  corporation incorporated under the laws of the Cayman Islands, is expected to purchase all of the Class I
  Preference Shares and to finance such purchase by issuing Holding Preference Share with the number of
  the Holding Preference Shares equal to the aggregate number of Class I Preference Shares purchased by
  it. Investors Corp. will also be issuing the Class P Securities which shall consist of (i) a Holding
  Preference Share component entitling its holders to rights in respect of 1,917 Holding Preference Shares
  and (ii) a Collateral Component. The Holding Securities will be offered by Investors Corp. to investors
  pursuant to the Investors Corp. Offering Memorandum and are not offered hereby. In case of any transfer
  of Class II Preference Shares by HFP or any of its subsidiaries to Investors Corp., Investors Corp. is
  expected to purchase all of such Class II Preference Shares redesignated as Class I Preference Shares and
  finance such purchase by issuing additional Holding Preference Shares in a number equal to the aggregate
  number of such Class I Preference Shares purchased by it.

           Investors Corp. will exercise its consent and voting rights, in its capacity as a Holder of the Class
  I Preference Shares, in accordance with the directions of the Holders of the Holding Preference Shares;
  provided that Holding Preference Shares held by the Servicer or any of its Affiliates will have no such
  right to direct Investors Corp. in connection with the removal of the Servicer for “cause” or the
  appointment of a replacement servicer. For purposes of calculating such consents or votes exercised with
  respect to the Class I Preference Shares held by Investors Corp., each consent or vote exercised with
  respect to a Holding Preference Share will count as one consent or vote exercised with respect to a Class I
  Preference Share held by Investors Corp., as applicable.

  Capitalization

           The initial proposed capitalization of the Issuer as of the Closing Date after giving effect to the
  initial issuance of the Securities and the Issuer Ordinary Shares (before deducting expenses of the
  offering) is as set forth below.

                                                                                              Amount (U.S.$)
          Class A-1 Notes .............................................................          $100,000,000
          Class A-2a Notes ...........................................................           $825,600,000
          Class A-2b Notes ...........................................................           $206,000,000
          Class A-3 Notes .............................................................            $78,500,000
          Class B Notes.................................................................           $81,500,000
          Class C Notes.................................................................           $68,500,000
          Class D Notes.................................................................           $48,000,000
                Total Notes ...........................................................         $1,408,100,000
          Class I Preference Shares...............................................                 $61,500,000
          Class II Preference Shares .............................................                 $62,000,000
          Issuer Ordinary Shares...................................................                     $1,000
                Total Equity..........................................................           $123,501,000
          Total Capitalization........................................................          $1,531,601,000

          The Co-Issuer will be capitalized only to the extent of its common equity of U.S.$10, will have
  no assets other than its equity capital and will have no debt other than as Co-Issuer of the Senior Notes.

  Business

          General

           The Issuer Charter provides that the objects for which the Issuer is established are limited and the
  Issuer may exercise the power contained in Section 226 of the Companies Law (2004 Revision). Article
  III of the Co-Issuer’s Certificate of Incorporation provides that the principal purpose of the Co-Issuer is
  the issuance of the Senior Notes and to engage in any activity and to exercise any powers permitted to
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  corporations organized under Delaware Law, which are incidental to, or connected with, the foregoing
  and necessary, suitable or convenient to accomplish the foregoing.

          The Issuer

          The Indenture provides that the activities of the Issuer are limited to the following:

          (i)     acquisition and disposition of Collateral Obligations and Eligible Investments;

          (ii)    entering into, and performing its obligations under, the Indenture, the Preference Share
                  Documents, any Hedge Agreements, the Securities Lending Agreements, the Servicing
                  Agreement, the Collateral Administration Agreement and the Administration Agreement;

          (iii)   the issuance and sale of the Securities and the Issuer Ordinary Shares;

          (iv)    the pledge of the Collateral as security for its obligations in respect of the Notes and any
                  Hedge Agreements;

          (v)     entering into certain pre-closing warehousing arrangements and the agreements relating
                  thereto; and

          (vi)    undertaking certain other activities incidental to the foregoing.

          The Co-Issuer

          The activities of the Co-Issuer are to be limited to the following:

          (i)     the co-issuance and sale of the Senior Notes; and

          (ii)    to engage in any activity and to exercise any powers permitted to corporations organized
                  under Delaware Law, which are incidental to, or connected with, the foregoing and
                  necessary, suitable or convenient to accomplish the foregoing.

  Administration

          Ogier Fiduciary Services (Cayman) Limited (“Ogier”), a Cayman Islands company, will act as
  the administrator of the Issuer (in such capacity, the “Administrator”), the Share Registrar and the Share
  Trustee. The office of the Administrator will serve as the principal office of the Issuer. Through this
  office and pursuant to the terms of an agreement by and between the Administrator and the Issuer (as
  amended, supplemented and modified from time to time) (the “Administration Agreement”), the
  Administrator will perform various administrative functions on behalf of the Issuer, including the
  provision of certain clerical and other services including acting as Share Registrar until termination of the
  Administration Agreement. In consideration of the foregoing, the Administrator will receive various fees
  and reimbursement of its expenses. Ogier Fiduciary Services (Cayman) Limited will also act as the
  administrator of Investors Corp. and the registrar of the Holding Preference Shares.

           The activities of the Administrator under the Administration Agreement will be subject to the
  overview of the Issuer’s Board of Directors. The Administration Agreement may be terminated by the
  Issuer upon 14 days’ written notice following the happening of certain events or upon 90 days’ written
  notice in all other cases. Upon the earlier of the termination of the Administration Agreement or the
  dissolution of the Issuer, the Administrator shall cease to serve in such capacity.

         The Administrator’s principal office is at P.O. Box 1234, Queensgate House, George Town,
  Grand Cayman, KY1-1108, Cayman Islands.




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  Directors

         The Issuer will have three directors, each of whom will initially be an employee or officer of the
  Administrator or an Affiliate of the Administrator.

          The directors of the Issuer, who are also the directors of Investors Corp., are Scott Dakers, Evan
  Burtton and Vijayabalan Murugesu. Holders of the Class II Preference Shares may, for so long as the
  aggregate number of Class II Preference Shares Outstanding is greater than the number of Class I
  Preference Shares Outstanding, vote at any time to remove any or all of the directors and appoint other
  directors who may be employees, officers or designees of the Servicer.

           Directors of the Issuer may serve as directors of, and provide services to, other special purpose
  entities that issue collateralized obligations and perform other duties for the Administrator and the
  Servicer, as the case may be. They may be contacted at the address of the Administrator.

          The director of the Co-Issuer is Donald Puglisi. Mr. Puglisi is also the President, Secretary and
  Treasurer of the Co-Issuer. Mr. Puglisi is a Professor of Finance at the University of Delaware.
  Mr. Puglisi serves as a director of, and provides services to, a number of special purpose entities. He may
  be contacted at the address of the Co-Issuer.

                                      PREVENTION OF MONEY LAUNDERING

           To ensure compliance with applicable statutory requirements relating to anti-money laundering
  and anti-terrorism initiatives, the Share Registrar, on behalf of the Issuer, will require verification of
  identity and source of funds from all prospective purchasers of the Preference Shares. Depending on the
  circumstances of each purchase, it may not always be necessary to obtain full documentary evidence of
  identity and/or source of funds where:

          1.      The purchaser is a licensed entity or financial institution regulated in a country
  recognized as having an adequate anti-money laundering regime1;

         2.      The purchaser is an entity or financial institution listed on the Cayman Islands or other
  approved stock exchange2; or

          3.        The funds have been paid from an account held in the name of the purchaser at a
  financial institution based in a country recognized as having an adequate anti-money laundering regime.

                                     MATERIAL INCOME TAX CONSIDERATIONS
  General

          The following summary describes the principal U.S. federal income tax and Cayman Islands tax
  consequences that are expected to be applicable to the purchase, ownership and disposition of the Notes,
  but does not purport to be a comprehensive description of all the tax considerations that may be relevant
  to a decision to purchase the Notes. In particular, special tax considerations that may apply to certain
  types of taxpayers, including, without limitation, securities dealers, banks, financial institutions,
  partnerships, insurance companies, purchasers of Notes who did not acquire the Notes at the applicable
  “issue price” (defined below), and subsequent purchasers of the Notes, are not addressed. In addition, this
  summary does not describe any tax consequences resulting from or relating to the Preference Shares or

  1
     The list of acceptable countries is: Argentina, Australia, Austria, Bahamas, Bahrain, Barbados, Belgium, Bermuda, Brazil, British Virgin
  Islands, Canada, Denmark, Finland, France, Germany, Gibraltar, Greece, Guernsey, Hong Kong, Iceland, Ireland, Isle of Man, Israel, Italy, Japan,
  Jersey, Liechtenstein, Luxembourg, Malta, Mexico, Netherlands, New Zealand, Norway, Panama, Portugal, Singapore, Spain, Sweden,
  Switzerland, Turkey, United Arab Emirates, United Kingdom and United States of America.
  2
   A list of approved Stock Exchanges can be found under Appendix H of the Cayman Islands Money Laundering Regulations (as amended)
  which may be accessed on the Cayman Islands Monetary Authority website at www.cimoney.com.ky.


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  any tax consequences arising under the laws of any state, locality or taxing jurisdiction other than the U.S.
  federal government and the Cayman Islands. In general, the summary assumes that a purchaser acquires a
  Note at original issuance and holds such Note as a capital asset and not as part of a hedge, straddle, or
  conversion transaction, within the meaning of section 1258 of the U.S. Internal Revenue Code of 1986, as
  amended (the “Code”).

          This summary is based on the U.S. and Cayman Islands tax laws, regulations, rulings and
  decisions in effect on the date of this Offering Memorandum. All of the foregoing are subject to change,
  which change may apply retroactively and could affect the continued validity of this summary.

           Prospective purchasers of the Notes should note that no ruling from the Internal Revenue Service
  (the “IRS”) will be sought with respect to any tax matters discussed herein, and there can be no assurance
  that the IRS will agree with such statement and conclusions. Prospective purchasers of the Notes should
  consult their tax advisors as to U.S. federal income tax and Cayman Islands tax consequences of the
  purchase, ownership and disposition of the Notes and the possible application of state, local, foreign or
  other tax laws.

          As used in this section, “Material Income Tax Considerations,” the term “U.S. Holder” means a
  beneficial owner of a Note who is a citizen or individual resident of the United States, a corporation (or
  any other entity treated as a corporation for U.S. federal income tax purposes) created or organized in or
  under the laws of the United States, or an estate or trust (other than a “foreign estate” or a “foreign trust,”
  each as defined in the Code).

          If a partnership (including any entity treated as a partnership for U.S. federal income tax
  purposes) is a beneficial owner of the Notes, the U.S. federal income tax treatment of a partner in the
  partnership will generally depend on the status of the partner and the activities of the partnership.

        TO COMPLY WITH TREASURY DEPARTMENT CIRCULAR 230, YOU ARE
  HEREBY NOTIFIED THAT: (A) ANY DISCUSSION OF FEDERAL TAX ISSUES IN THIS
  OFFERING MEMORANDUM IS NOT INTENDED OR WRITTEN TO BE USED, AND
  CANNOT BE USED BY YOU, FOR THE PURPOSE OF AVOIDING PENALTIES THAT MAY
  BE IMPOSED ON YOU UNDER THE INTERNAL REVENUE CODE; (B) ANY SUCH
  DISCUSSION IS INCLUDED HEREIN BY THE ISSUERS IN CONNECTION WITH THE
  PROMOTION OR MARKETING (WITHIN THE MEANING OF CIRCULAR 230) BY THE
  ISSUERS OF THE TRANSACTIONS OR MATTERS ADDRESSED HEREIN; AND (C) YOU
  SHOULD SEEK ADVICE BASED ON YOUR PARTICULAR CIRCUMSTANCES FROM AN
  INDEPENDENT TAX ADVISOR.

  U.S. Federal Income Taxation of the Issuer

           U.S. Federal Income Tax. Although the Issuer will elect to be treated as a partnership for U.S.
  federal income tax purposes, there can be no assurance that it will not treated as or become a corporation
  for U.S. federal income tax purposes. If the Issuer is treated as a partnership, the Issuer will not itself be
  subject to U.S. federal income tax. The following discussion assumes that the Issuer will be treated as a
  partnership of U.S. federal income tax purposes at all times.

          Section 864(b)(2) of the Code provides a specific exemption from U.S. federal income tax to non-
  U.S. persons which either (i) trade stocks or securities through a resident broker, commission agent,
  custodian or other independent agent or (ii) restrict their activities in the United States to trading in stocks
  and securities (and any other activity closely related thereto) for their own account, whether such trading
  (or such other activity) is by such person or its employees or through a resident broker, commission agent,
  custodian or other agent. This particular exemption described in clause (ii) above does not apply to
  foreign persons that are dealers in stocks and securities. Moreover, the Treasury and the Internal Revenue
  Service recently announced that they are considering taxpayer requests for specific guidance on, among
  other things, whether a foreign person may be treated as engaged in a trade or business in the United
  States by virtue of entering into credit default swaps. However, the Treasury and the Internal Revenue
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  Service have not yet provided any guidance on whether they believe entering into credit default swaps
  may cause a foreign person to be treated as engaged in a trade or business in the United States and if so,
  what facts and circumstances must be present for this conclusion to apply. If any future guidance
  concludes that foreign persons entering into certain credit default swaps will be treated as engaged in a
  trade or business in the United States, such guidance may adversely impact the Issuer.

           Prior to the issuance of the Securities, the Issuer will receive an opinion from Latham & Watkins
  LLP (“Tax Counsel”) based, in part, on the exemption described in the preceding paragraph to the effect
  that, although no activity closely comparable to that contemplated by the Issuer has been the subject of
  any Treasury regulation, revenue ruling or judicial decision and the matter is not free from doubt,
  assuming compliance with the Issuer’s Memorandum and Articles of Association, the Indenture, the
  Servicing Agreement and other related documents (collectively, the “Documents”) by all parties thereto,
  the Issuer’s permitted activities will not cause it to be treated as engaged in the conduct of a U.S. trade or
  business under the Code. Investors should note that gain or loss on a disposition by a foreign person of a
  United States real property interest may be subject to United States federal income tax even if the foreign
  person is otherwise not engaged in a U.S. trade or business. Because the determination of whether an
  asset constitutes a United States real property interest is made periodically, although the Issuer is
  prohibited from acquiring an asset that constitutes a United States real property interest, it is possible that
  an asset that was not a United States real property interest at the time such asset was acquired by the
  Issuer will become a United States real property interest after the asset is acquired. Because the Issuer
  may be treated as engaged in a U.S. trade or business solely with respect to such gain or loss, Tax
  Counsel’s opinion will not address the taxation of the Issuer with respect to such disposition. In addition,
  in interpreting and complying with the Documents, the Issuer and the Servicer are entitled to rely upon
  the advice and/or opinions of their selected counsel, and the opinion of Tax Counsel will assume that any
  such advice and/or opinions, other than advice given by Tax Counsel, are correct and complete. The
  opinion of Tax Counsel will be based on the Code, the Treasury regulations (final, temporary and
  proposed) thereunder, the existing authorities, and Tax Counsel’s interpretation thereof, all as in effect as
  of the date of such opinion, and on certain factual assumptions and representations as to the Issuer’s
  contemplated activities. The Issuer intends to conduct its business in accordance with the assumptions,
  representations and agreements upon which the opinion of Tax Counsel is based. However, opinions and
  advice of Tax Counsel or other counsel are not binding on the IRS. Accordingly, in the absence of
  authority on point, whether the Issuer is or will be treated as engaged in a trade or business in the United
  States or not is not entirely free from doubt, and there can be no assurance that positions contrary to those
  stated in the opinion of Tax Counsel or any other advice or opinion may not be asserted successfully by
  the IRS.

           U.S. Federal Withholding Taxes. Generally, U.S. source interest income received by a foreign
  person not engaged in a trade or business within the United States is subject to U.S. withholding tax at the
  rate of 30% of the amount thereof. The Code provides an exception for interest that constitutes “portfolio
  interest,” which is exempt from withholding tax. The term “portfolio interest” is generally defined as
  interest paid with respect to debt issued after July 18, 1984 that meets the “registration” requirement,
  unless the interest constitutes a certain type of contingent interest or is paid to a 10% shareholder of the
  payor, to a controlled foreign corporation (a “CFC”) related to the payor, or to a bank with respect to a
  loan entered into in the ordinary course of its business. For purposes of applying the 10% shareholder
  and related CFC rules, certain constructive ownership rules contained in the Code apply. The Issuer
  intends that all of the Collateral Obligations purchased that consist of obligations of U.S. issuers to the
  extent that they are treated as debt for U.S. federal income tax purposes will either (i) pay interest
  qualifying as “portfolio interest” for which federal income withholding tax is not otherwise applicable or
  (ii) require the obligor to make “gross-up” payments to offset fully any such tax on any such payments.
  However, withholding tax may be imposed on certain payments received by the Issuer as a result of one
  or more non-U.S. persons’ ownership of Preference Shares. Furthermore, there can be no assurance that
  the Issuer will not become subject to such withholding without “gross-up” payments as a result of a
  change in or the adoption of a U.S. tax statute, or any change in or the issuance of a regulation or
  equivalent authority. Any such change, adoption or issuance may constitute a Withholding Tax Event.
  See “Description of the Securities—Optional Redemption.”

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           The Issuer may acquire certain types of Collateral Obligations not constituting debt for U.S.
  federal income tax purposes under the assumption that they are not subject to U.S. withholding tax
  despite the absence of clear authority that withholding tax is not payable.

           Any commitment fees and any lending fees received under a Securities Lending Agreement or
  similar fees or other items of income (other than interest) received by the Issuer may be subject to U.S.
  withholding tax. However, the Issuer does not anticipate that it will derive material amounts of any such
  commitment fees and lending fees or similar fees or other items of income that would be subject to U.S.
  withholding taxes.

          The Issuer may also acquire Collateral Obligations that consist of obligations of non-U.S. issuers.
  Payments in respect of such Collateral Obligations may be or could become subject to foreign
  withholding tax. In this regard, the Issuer is not generally permitted to purchase any obligations, the
  payments on which are subject to withholding tax, unless the issuer of the obligation is required to make
  “gross-up” payments that cover the full amount of any such withholding tax.

  U.S. Federal Income Taxation of U.S. Holders of Notes

          Status of the Notes. In the opinion of Tax Counsel, the Senior Notes issued on the Closing Date
  will be treated as debt for U.S. federal income tax purposes. The Issuer will treat, and each person
  acquiring an interest in a Note will be deemed to agree to treat, the Notes as debt. The opinion of Tax
  Counsel is based on current law and certain representations and assumptions and is not binding on the
  IRS or the courts, and no ruling will be sought from the IRS regarding this, or any other, aspect of the
  U.S. federal income tax treatment of the Notes. Accordingly, there can be no assurance that the IRS will
  not contend, and that a court will not ultimately hold, that for U.S. federal income tax purposes one or
  more Classes of the Notes are properly treated as equity in the Issuer. In that case, there might be adverse
  U.S. federal income tax consequences to a U.S. Holder of Notes upon the sale, redemption, retirement or
  other disposition of, or the receipt of certain types of distributions on, the Notes. Except for the discussion
  under “United States Income Taxation of the Class D Notes if Characterized as Equity” below, the
  remainder of the discussion assumes that the Notes are properly characterized as debt for U.S. federal
  income tax purposes.

          Maturity Extension and Extension Bonus Payment. Because the Stated Maturity of the Notes
  may be extended if certain conditions are met, it is unclear whether the Notes should be treated as
  maturing on May 1, 2022 or May 1, 2038, or on a date between such dates. The Treasury regulations do
  not provide clear guidance on debt instruments with terms similar to the Notes. Absent further guidance,
  the Issuer intends to take the position that the Notes should be treated as maturing on May 1, 2022. If the
  Notes are extended, the Issuer intends to treat each Note, solely for purposes of sections 1272 and 1273 of
  the Code, as retired and reissued for an amount equal to the adjusted issue price on the date of the new
  Extension Effective Date. Prospective investors in the Notes should consult their tax advisors regarding
  whether the Notes should be treated as maturing on a different date and the tax consequences if the Notes
  have a different maturity date than that chosen by the Issuer.

           If the Stated Maturity is extended, the extension of the Stated Maturity would be treated as a
  modification of the Notes if the Notes may be sold to an Extension Qualifying Purchaser that is related to
  the Issuer within the meaning of section 267(b) of the Code. If such extension constitutes a modification,
  there is a significant risk that U.S. Holders who continue to hold their Notes after such extension will be
  treated as having exchanged their Notes for new Notes (“New Notes”) in a deemed exchange for U.S.
  federal income tax purposes (a “Deemed Exchange”). Any such Deemed Exchange would be treated as
  a taxable exchange, resulting in gain or loss, if any. Furthermore, if the Notes are treated as exchanged
  for New Notes in a Deemed Exchange as a result of a Maturity Extension, whether the New Notes would
  be treated as debt for U.S. federal income tax purposes will depend on the facts and circumstances
  existing at the time of such Deemed Exchange. Tax Counsel is unable to opine on whether New Notes
  treated as received in a Deemed Exchange for the Notes will be treated as debt for U.S. federal income
  tax purposes. In the event of a Deemed Exchange, U.S. Holders are strongly urged to consult their tax
  advisors regarding the tax consequences of such Deemed Exchange.
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          The tax treatment of the Extension Bonus Payment and the CDS/TRS Termination Payment
  Amount is unclear. The Issuer intends to take the positions that the full amount of the Extension Bonus
  Payment should be taxable to U.S. Holders as ordinary income in accordance with their method of
  accounting, that the CDS/TRS Termination Payment, if any, should be treated as part of the amount
  realized upon a disposition of the Notes and that none of the Extension Bonus Payment, the CDS/TRS
  Termination Payment Amount or the Issuer’s options to extend the Stated Maturity should cause the
  Notes to be treated as subject to the rules applicable to “contingent payment debt instruments” under
  Section 1.1275-4 of the Treasury regulation. U.S. Holders should consult their tax advisors regarding the
  taxation of the Extension Bonus Payment and the CDS/TRS Termination Payment Amount, and the tax
  consequences of the Notes if they are treated as contingent payment debt instruments.

          Taxation of Interest Income. Stated interest on the Notes that is considered “unconditionally
  payable” (as described below) will be includable in income by a U.S. Holder when received or accrued in
  accordance with such Holder’s method of tax accounting as ordinary interest income from sources outside
  the United States.

          If the “issue price” of any Note is less than the “stated redemption price at maturity” (“SRPM”)
  of such Note, the excess of the SRPM over the issue price may constitute original issue discount (“OID”).
  Under a de minimis rule, if the excess of the SRPM of such Note over its issue price is less than one-
  fourth of one percent of the SRPM multiplied by the weighted average maturity (determined under
  applicable Treasury regulations) of such Note, such Note will not be treated as issued with OID. If any
  such Notes are issued at a greater than de minimis discount or are otherwise treated as having been issued
  with OID, the excess of the SRPM of such Notes over their issue price will constitute OID. Under the
  Code, a U.S. Holder of such Notes would be required to include the daily portions of OID, if any, in
  income as interest from sources outside the United States over the term of such Notes under a constant
  yield method that reflects the time value of money, regardless of such U.S. Holder’s method of tax
  accounting and without regard to the timing of actual payments.

           The “issue price” of the Notes is the first price at which a substantial amount of the Notes are sold
  for money (excluding sales to bond houses, brokers or similar persons or organizations acting in the
  capacity of underwriters, placement agents or wholesalers). Treasury regulations provide, for purposes of
  determining whether a debt instrument is issued with OID, that stated interest must be included in the
  SRPM of a debt instrument if such interest is not “unconditionally payable” in money at least annually.
  Interest is considered “unconditionally payable” if reasonable legal remedies exist to compel timely
  payment or terms and conditions of the debt instrument make the likelihood of late payment (other than
  late payment that occurs within a reasonable grace period) or nonpayment (ignoring the possibility of
  nonpayment due to default, insolvency or similar circumstances) a remote contingency. Stated interest on
  the Class A-1 Notes, Class A-2a Notes, Class A-2b and Class A-3 Notes will be “unconditionally
  payable” at least annually and thus will be included in income in accordance with a U.S. Holder’s method
  of accounting. Because interest on the Class B Notes, the Class C Notes and the Class D Notes may not
  be due and payable on any Payment Date to the extent that funds are not available on such Payment Date
  to pay the full amount of such interest or in order to satisfy certain Coverage Tests, the Issuer intends to
  take the position that payment of interest on the Class B Notes, the Class C Notes and the Class D Notes
  will not be viewed as “unconditionally payable.” Assuming such treatment is respected, all interest
  payments on the Class B Notes, the Class C Notes and the Class D Notes would be required to be
  included in the SRPM of such Notes and, therefore, accrued by a U.S. Holder pursuant to these OID rules.
  Accordingly, the Class B Notes, the Class C Notes and the Class D Notes would be subject to the OID
  rules whether or not they are issued at an issue price equal to their principal amount.

           Because the Floating Rate Notes provide for a floating rate of interest, a U.S. Holder of Floating
  Rate Notes must include in income interest or OID, if any, on the Floating Rate Notes at the floating rate
  in effect for the first accrual period (assuming the Floating Rate Notes are issued without OID other than
  any “deemed” discount attributable to the accrual of interest). The amount of interest or OID actually
  recognized for any applicable period will increase (or decrease) if interest actually paid during the period
  is more (or less) than the amount accrued at the initial floating rate.

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          If the Notes of a Class are not issued at an issue price equal to their principal amount, in
  computing OID with respect to such Notes, the Issuer intends (absent definitive guidance) to determine
  the amount of OID to be included in income annually by U.S. Holders of such Notes under an income
  accrual method, prescribed by Section 1272(a)(6) of the Code, applicable to debt instruments payments
  under which may be accelerated by reason of prepayments of other obligations securing such debt
  instruments or a pool of debt instruments the yield on which may be affected by reason of prepayments,
  that uses an assumption as to the expected prepayments on the Notes. The application of section
  1272(a)(6) of the Code to debt instruments with prepayment features similar to the Notes is uncertain,
  however, and may be challenged by the IRS. In the event that the IRS successfully challenged the Issuer’s
  characterization of such Notes as subject to section 1272(a)(6) of the Code, any such Notes might be
  treated as contingent payment debt instruments. Prospective investors should consult their tax advisors
  regarding the potential application of the method under section 1272(a)(6) of the Code and the rules
  governing contingent payment debt instruments for accruing any prospective OID on the Notes.

           Disposition of Notes. In general, a U.S. Holder of a Note will have a basis in such Note equal to
  the cost of such Note to such Holder, increased by any amount includable in income by such Holder as
  OID and reduced by any payments of principal and interest on such Note, other than payments of stated
  interest that are not required to be included in the SRPM of such Note.

           Upon the sale, exchange, retirement or other disposition of such Note, a U.S. Holder will
  recognize taxable gain or loss, if any, generally equal to the difference between the amount realized on
  the sale or other disposition (other than accrued stated interest that was not required to be included in the
  SRPM of such Note, which interest will be taxable as such) and such U.S. Holder’s adjusted tax basis in
  such Note. Any such gain or loss will generally be long-term capital gain or loss provided that such Note
  had been held for more than one year at the time of the sale or other disposition. In certain circumstances,
  U.S. Holders that are individuals may be entitled to preferential treatment for net long-term capital gains;
  however, the ability of U.S. Holders to offset capital losses against ordinary income is limited.

           United States Income Taxation of the Class D Notes if Characterized as Equity. As discussed
  above, the Issuer will treat, and each person acquiring an interest in a Note will be deemed to agree to
  treat, the Class D Notes as debt of the Issuer and the discussions above assume that the Class D Notes
  would be characterized as debt for United States federal income tax purposes. However, the United States
  federal income tax treatment of the Class D Notes is subject to significant uncertainty and no ruling from
  the IRS has been sought regarding this issue. Accordingly, there can be no assurances that the IRS will
  not contend, and that a court will not ultimately hold, that the Class D Notes are equity of the Issuer.

          If the Class D Notes were treated as equity, a U.S. Holder of Class D Notes will generally be
  treated as a partner of the Issuer, and would be generally required to take into account such Holder’s
  allocable share of the Issuer’s items of income, gain, loss, deduction and credit for the taxable year of the
  Issuer ending within or with the taxable year of the U.S. Holder regardless of whether such Holder has
  received or will receive corresponding distributions from the Issuer. Investors are strongly urged to
  consult their tax advisors as to the possible characterization of the Class D Notes as equity, the tax
  consequences resulting from such characterization, and the advisability of filing an IRS Form 8865.

  Tax Treatment of Tax-Exempt U.S. Holders of Notes

          U.S. Holders which are tax-exempt entities (“Tax-Exempt U.S. Holders”) will not be subject to
  the tax on unrelated business taxable income (“UBTI”) with respect to interest and capital gains income
  derived from an investment in the Notes. However, a Tax-Exempt U.S. Holder that also acquires
  Preference Shares should consider whether interest it receives in respect of the Notes may be treated as
  UBTI under rules governing certain payments received from controlled entities.

          Notwithstanding the discussion in the preceding paragraph, a Tax-Exempt U.S. Holder which
  incurs "acquisition indebtedness" (as defined in Section 514(c) of the Code) with respect to the Notes may
  be subject to the tax on UBTI with respect to income from the Notes to the extent that the Notes constitute
  "debt-financed property" (as defined in Section 514(b) of the Code) of the Tax-Exempt U.S. Holder.
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          Tax-Exempt U.S. Holders should consult their tax advisors regarding an investment in the Notes.

  Transfer Restrictions on the Class D Notes

           The Issuer will not recognize any transfer of Class D Notes if the proposed transfer will cause the
  Issuer to have more than ninety-nine beneficial owners (as determined for purposes of the provisions of
  Treasury Regulation section 1.7704-1(h)) of its Class D Notes and Preference Shares unless it receives the
  consent of all of the Holders of the Preference Shares and an opinion of counsel to the effect that Holders
  of the Notes will not recognize gain or loss for U.S. federal income tax purposes as a result of such
  transfer, and will be subject to U.S. federal income tax on the same amounts, in the same manner and at
  the same times as would have been the case if such transfer had not been made. In addition, the Class D
  Notes may not be traded on an “established securities market,” and the Issuer will not recognize any
  transfers made pursuant to any such trades. For this purpose, the term “established securities market”
  includes any national securities exchange registered under Section 6 of the Securities Exchange Act of
  1934, as amended, or exempted from registration because of the limited volume of transaction; any
  foreign securities exchange that, under the laws of the jurisdiction where it is organized, satisfies
  regulatory requirements that are analogous to the regulatory requirements imposed under the Securities
  Exchange Act of 1934; any regional or local exchange; and any interdealer quotation system that
  regularly disseminates firm buy or sell quotations by identified brokers or dealers, by electronic means or
  otherwise.

           Holders of the Class D Notes will not be permitted to transfer any of the Class D Notes they hold
  unless the transferee provides, among other things, the Trustee (1) appropriate documentation required
  under the Code and the applicable Treasury regulations establishing that the beneficial owner is either a
  non-U.S. person (e.g., an IRS Form W-8BEN or an IRS Form W-8IMY with appropriate attachments) or
  a U.S. person (e.g., an IRS Form W-9), (2) if the beneficial owner is not a U.S. Holder, certification that
  (i) the beneficial owner either is not a bank or is a person that is eligible for benefits under an income tax
  treaty with the United States that eliminates U.S. federal income taxation of Unites States source interest
  not attributable to a permanent establishment in the United States and (ii) the beneficial owner is not
  purchasing the Class D Notes in order to reduce its United States federal income tax liability or pursuant
  to a tax avoidance plan, and (3) for a beneficial owner that is treated as a partnership, S-corporation or
  grantor trust for U.S. federal income tax purposes, a written representation that (i) there will not be any
  interests in such beneficial owner where substantially all of the value of such interest is attributable to the
  value of the Class D Notes proposed to be transferred to such beneficial owner, together with the value of
  any Class D Notes, Holding Securities and Preference Shares already held by such beneficial owner and
  (ii) the beneficial owner is not a part of any arrangement a principal purpose of which is to cause the
  Class D Notes and Preference Shares to be treated as owned by 100 persons or less within the meaning of
  Treasury Regulation section 1.7704-1(h). Each transferee of a Class D Note will also be required to agree
  to provide a properly completed, newly executed U.S. tax form and other certificate in each of the
  following circumstances: (i) no later than 120 days prior to the expiration (if applicable) of the last
  previously provided U.S. tax form or certificate, (ii) upon any change of circumstance that would cause
  that the last previously provided U.S. tax form or certificate to be incorrect and (iii) upon a request by the
  Issuer or the Share Registrar. Each transferee will also be required to agree that if such transferee fails to
  provide a properly completed, newly executed U.S. tax form or other certificate no later than 120 days
  prior to the expiration of the last previously provided U.S. tax form or, if earlier, within the time specified
  in any request by the Issuer or the Share Registrar (which shall not be less than 30 days), the Issuer will
  have the unconditional right to cause such transferee to sell any and all Class D Notes to the Issuer or to a
  person chosen by the Issuer or the Issuer’s agent on such terms as the Issuer may choose. For this
  purpose, an IRS Form W-8IMY (or any successor form thereto) will be deemed to expire upon the
  expiration of any withholding statement or U.S. tax forms associated with such IRS Form W-8IMY.

  U.S. Federal Income Taxation of Non-U.S. Holders

          The summary contained in this subsection outlines certain significant U.S. federal income tax
  principles that are likely to apply to a beneficial owner that is treated as a non-resident alien or foreign
  corporation for U.S. federal income tax purposes (a “Non-U.S. Holder”). It assumes that the Non-U.S.
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  Holder’s investment in the Issuer is not effectively connected with the conduct by such Non-U.S. Holder
  of a trade or business in the United States.

          Payments on the Notes to a Non-U.S. Holder will generally be exempt from any U.S. federal
  income or withholding taxes, as will gains derived from the sale, exchange or redemption of the Notes,
  provided that such payments or gains are not effectively connected with a U.S. trade or business of such
  Holder, and generally, in the case of gain (excluding accrued OID, if any) of a non-resident alien
  individual Holder, the Holder is not present in the United States for 183 days or more during the taxable
  year of the sale and certain other conditions are satisfied. However, if it were determined that the Issuer
  were engaged in a U.S. trade or business, a portion of the payments on the Notes paid to a Non-U.S.
  Holder may be subject to a 30% U.S. withholding tax.

          As discussed above, the United States federal income tax treatment of the Class D Notes is
  subject to significant uncertainty and no ruling from the IRS has been sought regarding this issue. If the
  Class D Notes were treated as equity of the Issuer, among other things, a Non-U.S. Holder may be subject
  to withholding taxes with respect to payments under the Class D Notes. Furthermore, in such event, if the
  Issuer were engaged in a U.S. trade or business, a Non-U.S. Holder would also be treated as engaged in a
  U.S. trade or business and would be required to file and pay U.S. federal income taxes on its allocable
  share of the Issuer’s income (and possibly on any gain on a disposition of Class D Notes) that is (or is
  deemed to be) effectively connected with such U.S. trade or business at graduated U.S. federal income tax
  rates applicable to U.S. Holders (corporate Non-U.S. Holders may also be subject to the branch profits
  tax). Investors are strongly urged to consult their tax advisors as to the possible U.S. federal income tax
  characterization of the Class D Notes as equity and the tax consequences resulting from such
  characterization.

  Information Reporting and Backup Withholding

           Information reporting to the IRS generally will be required with respect to payments on the
  Notes, and proceeds of the sale of the Notes to U.S. Holders other than corporations and other exempt
  recipients. A “backup” withholding tax generally will apply to those payments if such Holder fails to
  provide certain identifying information (such as the Holder’s taxpayer identification number) to the
  Trustee. “Non-effectively connected” gain or distributions received by a Non-U.S. Holder will generally
  not be subject to U.S. information reporting requirements or U.S. “backup” withholding tax, although
  such Holder may be required to furnish a certificate to the paying agent of the Issuer attesting to their
  status as a Non-U.S. Holder in order to avoid the application of such information reporting requirements
  and backup withholding. Backup withholding is not an additional tax and may be refunded (or credited
  against the Holder’s U.S. federal income tax liability, if any) provided that certain required information is
  furnished to the IRS in a timely manner.

  Cayman Islands Tax Considerations

          The following discussion of certain Cayman Islands income tax consequences of an investment in
  the Securities is based on the advice of Ogier as to Cayman Islands law. The discussion is a general
  summary of present law, which is subject to prospective and retroactive change. It assumes that the
  Issuer will conduct its affairs in accordance with assumptions made by, and representations made to,
  counsel. It is not intended as tax advice, does not consider any investor’s particular circumstances, and
  does not consider tax consequences other than those arising under Cayman Islands law.

          Under existing Cayman Islands laws:

                  (i)      payments of principal and interest on the Notes and dividends and capital in
          respect of the Preference Shares will not be subject to taxation in the Cayman Islands and no
          withholding will be required on such payments to any Holder of a Security and gains derived
          from the sale of Securities will not be subject to Cayman Islands income or corporation tax. The
          Cayman Islands currently have no income, corporation or capital gains tax and no estate duty,
          inheritance tax or gift tax;
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                 (ii)    no stamp duty is payable in respect of the issue or transfer of Securities although
          duty may be payable if Notes are executed in or brought into the Cayman Islands; and

                   (iii)    certificates evidencing Securities, in registered form, to which title is not
          transferable by delivery, should not attract Cayman Islands stamp duty. However, an instrument
          transferring title to a Note, if brought to or executed in the Cayman Islands, would be subject to
          Cayman Islands stamp duty.

           The Issuer has been incorporated under the laws of the Cayman Islands as an exempted company
  and, as such, has applied for and obtained an undertaking from the Governor in Cabinet of the Cayman
  Islands in substantially the following form:

                                     “THE TAX CONCESSIONS LAW
                                           (1999 REVISION)
                                 UNDERTAKING AS TO TAX CONCESSIONS

          In accordance with Section 6 of the Tax Concessions Law (1999 Revision) the Governor in
  Cabinet undertakes with:

          Eastland CLO, Ltd. “the Company”

                  (a)     that no Law which is hereafter enacted in the Islands imposing any tax to be
                          levied on profits, income, gains or appreciations shall apply to the Company or
                          its operations; and

                  (b)     in addition, that no tax to be levied on profits, income, gains or appreciations or
                          which is in the nature of estate duty or inheritance tax shall be payable

                          (i)      on or in respect of the shares debentures or other obligations of the
                                   Company; or
                          (ii)     by way of the withholding in whole or in part of any relevant payment as
                                   defined in Section 6(3) of the Tax Concessions Law (1999 Revision).
          These concessions shall be for a period of TWENTY years from the 18th day of April, 2006.

          GOVERNOR IN CABINET”

          The Cayman Islands does not have an income tax treaty arrangement with the U.S. or any other
  country.

        THE PRECEDING DISCUSSION IS ONLY A SUMMARY OF CERTAIN OF THE TAX
  IMPLICATIONS OF AN INVESTMENT IN THE SECURITIES. PROSPECTIVE INVESTORS ARE
  URGED TO CONSULT WITH THEIR OWN TAX ADVISORS PRIOR TO INVESTING TO
  DETERMINE THE TAX IMPLICATIONS OF SUCH INVESTMENT IN LIGHT OF SUCH
  INVESTORS’ CIRCUMSTANCES.

                                 CONSIDERATIONS FOR BENEFIT PLANS

          Except as described below, the Preference Shares and the Class D Notes may not be purchased by
  any Benefit Plan Investor. Subject to the following discussion, the Senior Notes may generally be
  acquired by Benefit Plan Investors. Any fiduciary or other person contemplating an investment in the
  Securities by, on behalf of or using the assets of, an employee benefit or similar plan or arrangement,
  whether or not subject to Title I of ERISA (as defined below) or Section 4975 of the Code, should
  consider, among other things, the matters described below before deciding whether to invest in any of the
  Securities.

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           The United States Employee Retirement Income Security Act of 1974, as amended (“ERISA”),
  establishes fiduciary standards for persons having authority or control of the assets of employee benefit
  plans subject to Title I thereof, including collective investment funds and other entities whose underlying
  assets are treated as if they were the assets of such plans (collectively, “ERISA Plans”) pursuant to
  Section 3(42) of ERISA, and the regulation issued by the United States Department of Labor (“DOL”)
  and found at 29 C.F.R. Section 2510.3-101 (the “Plan Asset Regulation”) or otherwise pursuant to
  ERISA. Under Title I of ERISA, any person who exercises any authority or control with respect to the
  management or disposition of the assets of an ERISA Plan is considered to be a fiduciary of such ERISA
  Plan.

           Investments by ERISA Plans are subject to ERISA’s general fiduciary requirements, including
  the requirement of investment prudence and diversification and the requirement that an ERISA Plan’s
  investments be made in accordance with the documents governing the relevant plan. The prudence of a
  particular investment must be determined by the responsible fiduciary of an ERISA Plan by taking into
  account the ERISA Plan’s particular circumstances and all of the facts and circumstances of the
  investment. A fiduciary of an ERISA Plan should consider, for example, that in the future there may be
  no market in which to sell or otherwise dispose of the Securities, whether an investment in the Securities
  may be too illiquid or too speculative, and whether the assets of the ERISA Plan would be sufficiently
  diversified.

           Section 406 of ERISA and Section 4975 of the Code effectively prohibit certain transactions
  involving the assets of an ERISA Plan (as well as those plans that are not subject to Title I of ERISA but
  are subject to Section 4975 of the Code (each such plan or ERISA Plan, a “Plan”)) and certain persons
  having certain relationships to such Plans (referred to as “parties in interest” or “disqualified persons”),
  unless a statutory or administrative exemption applies to the transaction. A violation of these “prohibited
  transaction” rules may generate excise tax or other penalties and liabilities under ERISA and the Code for
  such person.

          Additionally, the acquisition or holding of Securities by or on behalf of benefit plans that are not
  subject to Title I of ERISA or Section 4975 of the Code, such as foreign plans, governmental plans (as
  defined in Section 3(32) of ERISA) and certain church plans (as defined in Section 3(33) of ERISA)
  could give rise to similar liabilities under federal, state, foreign or local law which may be substantially
  similar to Section 406 of ERISA or Section 4975 of the Code (a “Similar Law”), and/or might be
  prohibited or otherwise restricted as described herein.

           Section 3(42) of ERISA and the Plan Asset Regulation define “plan assets” of a Plan with respect
  to the Plan’s investment in an entity for purposes of certain provisions of ERISA, including the fiduciary
  responsibility and prohibited transaction provisions of Title I of ERISA and Section 4975 of the Code.
  Under Section 3(42) of ERISA and the Plan Asset Regulation, if a Plan invests in an “equity interest” of
  an entity that is neither a “publicly-offered security” nor a security issued by an investment company
  registered under the Investment Company Act, the Plan’s assets include both the equity interest and an
  undivided interest in each of the entity’s underlying assets, unless it is established that the entity is an
  “operating company” or that Benefit Plan Investors hold less than 25% of the value of any class of equity
  interest of the entity, determined as of the most recent acquisition of an equity interest. The term “Benefit
  Plan Investor” includes (a) an employee benefit plan as defined in Section 3(3) of ERISA, that is subject
  to Title I of ERISA, (b) a plan described in Section 4975(e)(1) of the Code that is subject to Section 4975
  of the Code and (c) any entity whose underlying assets include “plan assets” of any of the foregoing by
  reason of an investment in the entity by such a plan or arrangement (a “Benefit Plan Investor”). For
  purposes of making the 25% determination, the value of any equity interests held by a person (other than
  a Benefit Plan Investor) who has discretionary authority or control with respect to the assets of the entity
  or who provides investment advice for a fee (direct or indirect) with respect to such assets, or any
  “affiliate” of such a person (as defined under the Plan Asset Regulation), will be disregarded. Under the
  Plan Asset Regulation, an “affiliate” of a person includes any person, directly or indirectly through one or
  more intermediaries, controlling, controlled by or under common control with the person, and “control”


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  with respect to a person other than an individual, means the power to exercise a controlling influence over
  the management or policies of such person.

          An “equity interest” is defined under the Plan Asset Regulation as an interest other than an
  instrument which is treated as indebtedness under applicable local law and which has no substantial
  equity features.

  Senior Notes

          The Co-Issuers believe that, at the time of their issuance, the Senior Notes should be treated as
  indebtedness without substantial equity features for purposes of the Plan Asset Regulation. This
  determination is based in part upon the traditional debt features of such Senior Notes, including the
  reasonable expectation of purchasers of such Senior Notes that they will be repaid when due, as well as
  the absence of conversion rights, warrants and other typical equity features. The Co-Issuers will therefore
  not monitor the investment by Benefit Plan Investors in the Senior Notes. It should be noted that the debt
  treatment of the Senior Notes for ERISA purposes could change subsequent to their issuance (i.e., they
  could be treated as equity) if the Issuers incur losses or the rating or other terms and conditions of the
  Senior Notes changes. The risk of recharacterization is enhanced for subordinate classes of the Senior
  Notes. The Co-Issuers have not obtained an opinion of counsel regarding the debt treatment of Senior
  Notes under local law or the Plan Asset Regulation.

            Regardless of the characterization of the Senior Notes as debt or equity under the Plan Asset
  Regulation and regardless of the level of Benefit Plan Investor investment in any class of Securities, the
  acquisition or holding of Senior Notes by or on behalf of a Plan could give rise to a prohibited transaction
  if any of the Co-Issuers, the Trustee, the Servicer, the Initial Purchaser, the Placement Agent, the
  Preference Shares Paying Agent, other persons providing services in connection with the Issuers, or any
  of their respective affiliates is a “party in interest” or “disqualified person” with respect to that Plan.
  Persons acting on behalf of Plans that acquire the Securities should also consider that an indirect
  prohibited transaction could result in connection with the Issuer’s acquisition of Collateral from CGMI
  (or one of its affiliates) if CGMI is a “disqualified person” or “party in interest” with respect to such
  Regulated Plans. Certain exemptions from the prohibited transaction rules could be applicable, however,
  depending in part upon the type of fiduciary making the decision to acquire Senior Notes and the
  circumstances under which such decision is made. Included among these exemptions are the statutory
  prohibited transactions exemption under Section 408(b)(17) of ERISA available to “service providers” to
  the Plan (other than a fiduciary with respect to the Plan assets used to acquire the Senior Notes or any of
  its affiliates) provided that the transaction is for “adequate consideration”, United States Department of
  Labor (“DOL”) Prohibited Transaction Class Exemption (“PTCE”) 84-14, regarding transactions
  effected by independent “qualified professional asset managers;” PTCE 90-1, regarding investments by
  insurance company pooled separate accounts; PTCE 91-38, regarding investments by bank collective
  investment funds; PTCE 95-60, regarding investments by insurance company general accounts; and
  PTCE 96-23, regarding transactions effected by certain “in-house asset managers.” However, even if the
  conditions specified in one or more of these exemptions are met, the scope of the relief provided by these
  exemptions might or might not cover all acts which might be construed as prohibited transactions. There
  can be no assurance that any of these, or any other exemption, will be available with respect to any
  particular transaction involving the Senior Notes.

          Similarly, the acquisition or holding of Senior Notes by or on behalf of foreign plans,
  governmental plans (as defined in Section 3(32) of ERISA) and certain church plans (as defined in
  Section 3(33) of ERISA), which are not subject to Title I of ERISA and/or Section 4975 of the Code,
  could give rise to a prohibited transaction or other liabilities under Similar Law.

          By acquiring a Senior Note, each purchaser and transferee will be deemed to represent, warrant
  and covenant that either (i) it is not, and is not acquiring such Senior Note with the assets of, a Plan or a
  foreign, governmental or church plan subject to Similar Law, and throughout the holding and disposition
  of such Senior Note, it will not become or transfer its interest to any Plan or foreign, governmental or
  church plan or to an entity using the assets thereof, or (ii) the acquisition, holding and disposition of such
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  Senior Note by the purchaser or transferee, throughout its holding and disposition of such Senior Note,
  will not result in a non-exempt prohibited transaction under Section 406 of ERISA or Section 4975 of the
  Code (or, in the case of a foreign, governmental or church plan, any violation of Similar Law), because
  such purchase, holding and disposition either (x) is not, and will not become, subject to such laws or (y) is
  covered by an exemption from all applicable prohibited transactions, all of the conditions of which are
  and will be satisfied upon its acquisition of, and throughout its holding and disposition of, such Senior
  Note. Each investor in a Senior Note will be deemed to represent, warrant and covenant that it will not
  sell, pledge or otherwise transfer such Senior Note in violation of the foregoing, and that it and any person
  causing it to acquire such Senior Note agree, to the fullest extent permissible under applicable law, to
  indemnify and hold harmless the Issuer, the Co-Issuer, the Trustee, the Servicer, the Initial Purchaser and
  their respective Affiliates from any cost, damage or loss incurred by them as a result of such purchaser
  not satisfying the foregoing or as a result of its transferring its interest to a Person not meeting the
  foregoing requirements. Any purported transfer of the Senior Note to a purchaser that does not comply
  with the requirements of the foregoing shall be null and void ab initio, and will vest in the transferee no
  rights against the Trustee or the Co-Issuers.

  Class D Notes and Preference Shares

           Although the Issuer will treat the Class D Notes as debt, this characterization is subject to
  uncertainty and the Class D Notes may be characterized as equity interests for purposes of Section 3(42)
  of ERISA and the Plan Asset Regulation. The Preference Shares are equity of the Issuer and will be
  treated as equity interests for purposes of Section 3(42) of ERISA and the Plan Asset Regulation.
  Accordingly, the Issuer intends to limit the purchase and holding of each of the Class D Notes, the Class
  I Preference Shares and the Class II Preference Shares by Benefit Plan Investors to less than 25% of the
  aggregate outstanding amount of each of the Class D Notes, the Class I Preference Shares and the Class II
  Preference Shares (excluding for purposes of such determination any Class D Notes or Preference Shares
  held by “Controlling Persons” as defined below), by requiring each purchaser or transferee thereof to
  make certain representations and agreements with respect to its status as a Benefit Plan Investor or
  Controlling Person, and to agree to additional transfer restrictions described under “Transfer
  Restrictions.” In making the 25% determination, Class D Notes and Preference Shares held by any person
  (other than a Benefit Plan Investor) that has discretionary authority or control with respect to the assets of
  the Issuer or a person who provides investment advice for a fee (direct or indirect) with respect to the
  assets of the Issuer or any “affiliate” (as defined in 29 C.F.R. Section 2510.3-101(f)(3)) of any such
  person (any such person, a “Controlling Person”) (such as the Class D Notes and the Class II Preference
  Shares held by the Servicer or its affiliates and employees thereof) will be disregarded and not treated as
  outstanding. No purchase of a Class D Note or a Preference Share by, or proposed transfer to, a person
  that has represented that it is a Benefit Plan Investor or a Controlling Person will be permitted to the
  extent that such purchase or transfer would result in persons that have represented that they are Benefit
  Plan Investors owning 25% or more of the aggregate outstanding amount of the Class D Notes, the Class I
  Preference Shares or the Class II Preference Shares, as applicable, (excluding for purposes of such
  determination any Class D Notes or Preference Shares, as applicable, held by any Controlling Person
  immediately after such purchase or proposed transfer (determined in accordance with Section 3(42) of
  ERISA, the Indenture and the Preference Share Documents).

           In addition, the Servicer, the Preference Shares Paying Agent and the Trustee will agree that, after
  the initial distribution of the Class D Notes and the Preference Shares, neither they nor any of their
  respective affiliates will acquire any Class D Notes or Preference Shares (including pursuant to the
  Extension Procedure, a Refinancing, or the Amendment Buy-Out Option) unless such acquisition would
  not, as determined by the Trustee in reliance on representations made in the applicable transfer certificates
  with respect thereto, result in persons that have represented that they are Benefit Plan Investors owning
  25% or more of the aggregate outstanding amount of any of the Class D Notes, the Class I Preference
  Shares or the Class II Preference Shares immediately after such acquisition (determined in accordance
  with Section 3(42) of ERISA, the Indenture and the Preference Share Documents). The Class D Notes and
  the Preference Shares held as principal by the Servicer, the Trustee, any of their respective affiliates (as
  defined in the Plan Asset Regulation) and persons that have represented that they are Controlling Persons

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  will be disregarded and will not be treated as outstanding for purposes of determining compliance with
  such 25% limitation to the extent that such Controlling Person is not a Benefit Plan Investor.

           Each purchaser and transferee will be further required to represent, warrant and covenant that no
  transfer of a Class D Note or a Preference Share will be made to a Benefit Plan Investor or Controlling
  Person except as provided herein, and that it and any fiduciaries or other Person causing it to acquire such
  Securities agree, to the fullest extent permissible under applicable law, to indemnify and hold harmless
  the Issuer, the Co-Issuer, the Trustee, the Servicer, the Initial Purchaser, the Placement Agent, the
  Preference Shares Paying Agent and their respective Affiliates from any cost, damage or loss incurred by
  them as a result of any transfer of Class D Notes or Preference Shares, as applicable, in violation of the
  foregoing.

  Independent Review and Consultation with Counsel

           Any person proposing to purchase Securities with assets of an employee benefit plan or similar
  plan or arrangement, including a collective investment fund, insurance company general account or a
  foreign, governmental or church plan, should consult with its counsel with respect to, among other things,
  the limitations applicable to Benefit Plan Investors specified herein, and the potential applicability of
  ERISA, the Code and Similar Law to such investment and whether any exemption from the prohibited
  transaction provisions of ERISA and Section 4975 of the Code or such Similar Law would be applicable.
  Each investor must determine on its own whether all conditions of any applicable exemption have been
  satisfied. Moreover, each ERISA Plan fiduciary should determine whether, under the general fiduciary
  standards of investment prudence and diversification, an investment in the Securities is appropriate for the
  ERISA Plan, taking into account the overall investment policy of the ERISA Plan, the composition of the
  ERISA Plan’s investment portfolio, and the risk/return characteristics of the Securities.

                                         PLAN OF DISTRIBUTION

           The Co-Issuers and the Initial Purchaser will enter into the Purchase Agreement relating to the
  purchase and sale of the Notes, and the Issuer and the Placement Agent will enter into the Placement
  Agency Agreement relating to the placement of the Class II Preference Shares. In the Purchase
  Agreement, the Co-Issuers will agree to sell to the Initial Purchaser, and the Initial Purchaser will agree to
  purchase, the entire principal amount of the Notes (or, in the case of the Co-Issuer, the Senior Notes) as
  set forth in the Purchase Agreement. In the Placement Agency Agreement, the Placement Agent will
  agree to use its reasonable efforts to sell on behalf of the Issuer, subject to the satisfaction of certain
  conditions, the Class II Preference Shares as set forth in the Placement Agency Agreement. The Purchase
  Agreement and the Placement Agency Agreement will provide that the obligations of the Initial Purchaser
  and the Placement Agent, as applicable, to purchase or place the applicable Securities will be subject to
  the approval of legal matters by counsel and to other conditions. The Co-Issuers have agreed to
  indemnify the Initial Purchaser and the Placement Agent, as applicable, against certain liabilities,
  including liabilities under the Securities Act, and has agreed to contribute to payments that the Initial
  Purchaser or the Placement Agent, as applicable, may be required to make in respect thereof.
           On the Closing Date, (i) HFP and/or one or more of its subsidiaries are expected to purchase
  certain of the Class C Notes having an aggregate principal amount equal to U.S.$11,000,000, certain of
  the Class D Notes having an aggregate principal amount equal to U.S.$9,000,000 and all of the Class II
  Preference Shares having an aggregate Face Amount equal to U.S. $62,000,000, in each case, at a
  discounted purchase price and (ii) the Servicer or one or more of its Affiliates (other than HFP or any of
  its subsidiaries) are expected to purchase certain of the Holding Preference Shares having an aggregate
  Face Amount equal to U.S.$11,583,000 at a discounted purchase price. CGMI or an Affiliate thereof may
  providie financing for these purchases. In addition, the Issuer will agree to sell, and Investors Corp. will
  agree to purchase, all of the Class I Preference Shares in privately negotiated transactions. CGMI is not
  acting as a placement agent or initial purchaser with respect to the Class I Preference Shares sold directly
  by the Issuer to Investors Corp.

          The Notes have not been and will not be registered under the Securities Act and may not be

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  offered, sold or delivered within the United States or to, or for the account or benefit of, a U.S. person, on
  behalf of the Co-Issuers (or, in the case of the Class D Notes and the Preference Shares, the Issuer),
  except to Qualified Institutional Buyers (or, solely in the case of a Holder purchasing Class D Notes on
  the Closing Date, to an Institutional Accredited Investor) in transactions not subject to the registration
  requirements of the Securities Act in reliance on Rule 144A under the Securities Act, that are also
  Qualified Purchasers.
           The Co-Issuers have been advised by the Initial Purchaser and the Placement Agent, as
  applicable, that the Initial Purchaser proposes to resell the Notes purchased pursuant to the Purchase
  Agreement and the Placement Agent proposes to place the Class II Preference Shares pursuant to the
  Placement Agency Agreement (a) only to Qualified Institutional Buyers (or, solely in the case of a Holder
  purchasing Class D Notes on the Closing Date, to an Institutional Accredited Investor) that are also
  Qualified Purchasers in reliance on an exemption under the Securities Act and (b) in the case of the
  Senior Notes, to non U.S. persons in offshore transactions in reliance on Regulation S. Any offer or sale
  of such Notes or Class II Preference Shares in the United States will be made by the Initial Purchaser and
  the Placement Agent, as applicable, or other broker-dealers, including Affiliates of CGMI, who are
  registered as broker-dealers under the Exchange Act. Until the expiration of 40 days after the later of the
  Closing Date and the commencement of the offering of the Notes, a re-offer or resale of any Senior Notes
  originally sold pursuant to Regulation S to, or for the account or benefit of, a U.S. person by a dealer or
  person receiving a concession, fee or remuneration in respect of the Notes (whether or not they
  participated in the offering) may violate the registration requirements of the Securities Act unless such
  offer or sale is made in accordance with an exemption from registration under the Securities Act.
           Each purchaser of Class D Notes or Preference Shares will be required to execute and deliver a
  subscription agreement, in form and substance satisfactory to the Issuer, which will include, among other
  things, representations and warranties substantially similar to those described under “Transfer
  Restrictions”.
         The Securities will be sold in individual, negotiated transactions at varying prices to be
  determined in each case at the time of sale.
           The Securities are offered when, as and if issued, subject to prior sale or withdrawal, cancellation
  or modification of the other. The Securities will constitute new classes of securities with no established
  trading market. Such a market may or may not develop, but neither the Initial Purchaser nor the
  Placement Agent is under any obligation to make such a market, and if it does make such a market it may
  discontinue any market-making activities with respect to the Securities at any time without notice. Any
  market-making activities will be subject to restrictions under applicable law. No assurances can be made
  as to the liquidity of or any trading market for the Securities.
           CGMI and its Affiliates may have had in the past and may in the future have business
  relationships and dealings with the Servicer and its Affiliates and one or more issuers or obligors of
  Collateral Obligations or other Collateral and their Affiliates and may own equity or debt securities issued
  by such persons. CGMI and their Affiliates may have provided and in the future may provide commercial
  and investment banking and other services to such persons and may have received or may receive
  compensation for such services.
           One or more Affiliates of CGMI are financing the acquisition of Collateral Obligations by the
  Issuer prior to the Closing Date. The Servicer or one or more of its Affiliates on the one hand and CGMI
  and one or more of their Affiliates on the other hand will each be entitled to retain 50% of the interest and
  any fees and commissions (net of any financing fees payable to the Pre-Closing Parties) paid by the
  obligors of such Collateral Obligations or accrued from the time of purchase to the Closing Date. In
  addition, a broker-dealer Affiliate of the Servicer may receive a fee for placing certain of the Holding
  Securities and/or certain of the Securities. CGMI or its Affiliates may also provide financing to the
  Servicer or its Affiliates in connection with their purchase of certain Class C Notes, Class D Notes and
  Class II Preference Shares which will be secured by a lien on such financed Class C Notes, Class D Notes
  and Class II Preference Shares.
          This Offering Memorandum is being furnished on a confidential basis solely for the purpose of
  considering the purchase of the Securities. Each recipient of this Offering Memorandum should make
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  such investigations as it deems necessary to arrive at an independent evaluation of an investment in the
  Securities and should consult its own legal counsel and financial, accounting, regulatory and tax advisors
  to determine the consequences of such an investment. Delivery of this Offering Memorandum should not
  be construed as a recommendation by the Initial Purchaser or the Placement Agent to purchase the
  Securities. This Offering Memorandum is intended for the exclusive use of persons who are both
  Qualified Institutional Buyers (or, solely in the case of a Holder purchasing Class D Notes on the Closing
  Date, an Institutional Accredited Investor) and Qualified Purchasers and, if applicable, non-U.S. persons,
  and may not be reproduced or used for any other purpose or furnished to any other party. No action has
  been or will be taken in any jurisdiction that would permit a public offering of the Securities, or the
  possession, circulation or distribution of this Offering Memorandum or any other material relating to
  CGMI or the Securities, in any jurisdiction where action for that purpose is required. Accordingly, the
  Securities may not be offered or sold, directly or indirectly, and neither this Offering Memorandum nor
  any other offering material or advertisements in connection with the Securities may be distributed or
  published, in or from any country or jurisdiction except under circumstances that will result in compliance
  with any applicable rules and regulations of any such country or jurisdiction.
          Each of the Initial Purchaser and the Placement Agent will represent and agree that it has only
  communicated or caused to be communicated and will only communicate or cause to be communicated
  an invitation or inducement to engage in investment activity (within the meaning of Section 21 of the
  FSMA) received by it in connection with the issue or sale of the Notes in circumstances in which Section
  21(1) of the FSMA does not apply to the Issuer; and it has complied and will comply with all applicable
  provisions of the FSMA with respect to anything done by it in relation to the Notes in, from or otherwise
  involving the United Kingdom.

          Each of the Initial Purchaser and the Placement Agent has represented and agreed that:

           (i)    it will not underwrite or place Securities otherwise than in conformity with the provisions
  of the Investment Intermediaries Act, 1995 of Ireland, as amended, including, without limitation, Sections
  9 and 23 (including advertising restrictions made thereunder) thereof and the codes of conduct made
  under Section 37 thereof or, in the case of a credit institution exercising its rights under the Banking
  Consolidation Directive (2000/12/EC of 20th March, 2000) in conformity with the codes of conduct or
  practice made under Section 117(1) of the Central Bank Act, 1989, of Ireland, as amended, in each case
  with respect to anything done by it in relation to the Securities if operating in, or otherwise involving,
  Ireland;

          (ii)     in connection with offers or sales of the Securities, it has only issued or passed on, and
  will only issue or pass on, in Ireland, any document received by it in connection with the issue of such
  Securities to persons who are persons to whom the documents may otherwise lawfully be issued or passed
  on; and

           (iii)    in respect of a local offer (within the meaning of Section 38(1) of the Investment Funds,
  Companies and Miscellaneous Provisions Act 2005 of Ireland (the “2005 Act”)) of the Securities in
  Ireland, it has complied and will comply with Section 49 of the 2005 Act.

         Each of the Initial Purchaser and the Placement Agent has agreed that it has not made and will not
  make any invitation to the public in the Cayman Islands to subscribe for the Securities.

           No action is being taken or is contemplated by the Issuer that would permit a public offering of
  the Securities or possession or distribution of any Offering Memorandum (in preliminary or final form) or
  any amendment thereof, any supplement thereto or any other offering material relating to the Securities in
  any jurisdiction where, or in any other circumstances in which, action for those purposes is required.
  Each of the Initial Purchaser and the Placement Agent understands and agrees that it is solely responsible
  for its own compliance with all laws applicable in each jurisdiction in which it offers and sells the
  applicable Securities or distributes any Offering Memorandum (in preliminary or final form) or any
  amendments thereof or supplements thereto or any other material and it agrees to comply with all of these
  laws.

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           The Issuer has agreed to indemnify the Initial Purchaser, the Placement Agent, the Servicer, the
  Administrator, the Collateral Administrator, the Preference Shares Paying Agent and the Trustee against
  certain liabilities, including liabilities under the Securities Act, or to contribute to payments it may be
  required to make in respect thereof.

           Certain of the Collateral Obligations will have been originally underwritten or placed by CGMI
  or its Affiliates. It is expected that one or more Affiliates of CGMI may act as counterparty with respect
  to all or a portion of the Synthetic Securities. One or more Affiliates of CGMI may, with acceptable
  credit support arrangements, if necessary, engage in securities lending transactions with the Issuer. The
  Issuer may enter into a Hedge Agreement with an Affiliate of CGMI on the Closing Date, and may enter
  into additional Hedge Agreements with such Affiliates thereafter. See “Hedge Agreements.” In addition,
  CGMI or its Affiliates may have in the past and may in the future perform investment banking services or
  other services for issuers of the Collateral Obligations. Further, CGMI will sell and/or finance Collateral
  Obligations to or for the Issuer (including, without limitation, Collateral Obligations to be purchased on
  the Closing Date).
           In addition, CGMI or its Affiliates may from time to time as a principal or through one or more
  investment funds that it manages, make loans to, or investments in the debt and/or equity securities of,
  one or more of the issuers of Collateral Obligations and one or more of such issuers may be or may
  become controlled by CGMI or its affiliates. CGMI or its Affiliates may act as a placement agent and/or
  initial purchaser in other transactions involving issues of collateralized debt obligations and other similar
  portfolios managed by other investment managers, and may provide financing for the accumulation of
  leveraged loans and high yield bonds as collateral for such transactions. Neither the Initial Purchaser nor
  the Placement Agent is obligated to make any particular securities or loans available to the Issuer or the
  Servicer, and may allocate such securities or loans among its various customer relationships, including the
  Issuer and the Servicer. Such activities may have an adverse effect on the availability of Collateral for the
  Issuer. See “Risk Factors—Relating to Certain Conflicts of Interest—The Issuer Will Be Subject to
  Various Conflicts of Interest Involving Citigroup Global Markets Inc.”
            CGMI and its Affiliates may purchase Notes for their own account or for re-packaging purposes
  or enter into transactions related or linked to the Notes. If CGMI or any of its Affiliates purchases Notes
  it shall be entitled to transfer such Notes subject to the transfer restrictions set forth in the Indenture. See
  “Risk Factors—Relating to Certain Conflicts of Interest—The Issuer Will Be Subject to Various Conflicts
  of Interest Involving Citigroup Global Markets Inc.”
           Affiliates of CGMI may pay finder’s fees to non-U.S. persons in connection with the offering and
  distribution of the applicable Securities outside the United States. The Co-Issuers will pay all other fees
  and expenses in connection with the offering as set forth in the Purchase Agreement and the Placement
  Agency Agreement. Details of any such fees and expenses will be made available upon request. The Co-
  Issuers extend to each prospective investor the opportunity, prior to the consummation of the sale of the
  Securities, to ask questions of, and receive answers from the Co-Issuers or a person or persons acting on
  behalf of the Co-Issuers, including the Initial Purchaser concerning the Notes and the Placement Agent
  concerning the Class II Preference Shares and the terms and conditions of the offering and to obtain any
  additional information it may consider necessary in making an informed investment decision and any
  information in order to verify the accuracy of the information set forth herein, to the extent the Co-Issuers
  possess the same or can acquire the same without unreasonable effort or expense. Requests for such
  additional information can be directed to CGMI at 390 Greenwich Street, 4th Floor, New York, NY
  10013, Attention: CDO Group.

                                      SETTLEMENT AND CLEARING

  Book Entry Registration of the Global Notes

         So long as the Depository, or its nominee, is the registered owner or Holder of a Global Note, the
  Depository or the nominee, as the case may be, will be considered the sole owner or Holder of the Senior
  Notes represented by a Global Note for all purposes under the Indenture, the Issuer Charter and the
  Global Notes, and members of, or participants in, the Depository as well as any other persons on whose
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  behalf the participants may act (including Clearstream and Euroclear and account holders and participants
  therein) will have no rights under the Indenture, the Issuer Charter or a Global Note. Owners of
  beneficial interests in a Global Note will not be considered to be owners or Holders of the related Senior
  Note under the Indenture or the Issuer Charter. Unless the Depository notifies the Co-Issuers that it is
  unwilling or unable to continue as depositary for a Global Note or ceases to be a “clearing agency”
  registered under the Exchange Act, owners of a beneficial interest in a Global Note will not be entitled to
  have any portion of a Global Note registered in their names, will not receive or be entitled to receive
  physical delivery of Senior Notes in certificated form and will not be considered to be the owners or
  Holders of any Senior Notes under the Indenture. In addition, no beneficial owner of an interest in a
  Global Note will be able to transfer that interest except in accordance with the Depository’s applicable
  procedures (in addition to those under the Indenture and, if applicable, those of Euroclear and
  Clearstream).

          Investors may hold their interests in a Regulation S Global Note directly through Clearstream or
  Euroclear, if they are participants in Clearstream or Euroclear, or indirectly through organizations that are
  participants in Clearstream or Euroclear. Clearstream and Euroclear will hold interests in the
  Regulation S Global Notes on behalf of their participants through their respective depositories, which in
  turn will hold the interests in Regulation S Global Notes in customers’ securities accounts in the
  depositories’ names on the books of the Depository. Investors may hold their interests in a Rule 144A
  Global Note directly through the Depository if they are participants in the Depository, or in directly
  through organizations that are participants in the Depository.

          Payments of principal of, or interest or other distributions on a Global Note will be made to the
  Depository or its nominee, as the registered owner thereof. The Co-Issuers, the Trustee, the Preference
  Shares Paying Agent, the paying agents, the Initial Purchaser, the Placement Agent, the Servicer and their
  respective Affiliates will not have any responsibility or liability for any aspect of the records relating to or
  payments made on account of beneficial ownership interests in a Global Note or for maintaining,
  supervising or reviewing any records relating to the beneficial ownership interests.

          The Co-Issuers expect that the Depository or its nominee, upon receipt of any payment of
  principal, interest, or other distributions in respect of a Global Note representing any Senior Notes, as the
  case may be, held by it or its nominee, will immediately credit participants’ accounts with payments in
  amounts proportionate to their respective beneficial interests in the stated aggregate principal amount or
  number of a Global Note for the Senior Notes, as shown on the records of the Depository or its nominee.
  The Co-Issuers also expect that payments by participants to owners of beneficial interests in a Global
  Note held through the participants will be governed by standing instructions and customary practices, as
  is now the case with securities held for the accounts of customers registered in the names of nominees for
  those customers. The payments will be the responsibility of the participants.

  Global Note Settlement Procedures

          Transfers between the participants in the Depository will be effected in the ordinary way in
  accordance with the Depository rules and will be settled in immediately available funds. The laws of
  some states require that certain persons take physical delivery of securities in definitive form.
  Consequently, the ability to transfer beneficial interests in a Global Note to these persons may be limited.
  Because the Depository can only act on behalf of participants, who in turn act on behalf of indirect
  participants and certain banks, the ability of a person holding a beneficial interest in a Global Note to
  pledge its interest to persons or entities that do not participate in the Depository system, or otherwise take
  actions in respect of its interest, may be affected by the lack of a physical certificate of the interest.
  Transfers between participants in Euroclear and Clearstream will be effected in the ordinary way in
  accordance with their respective rules and operating procedures.

           Subject to compliance with the transfer restrictions applicable to the Securities described above
  and under “Transfer Restrictions,” cross-market transfers between the Depository, on the one hand, and
  directly or indirectly through Euroclear or Clearstream participants, on the other, will be effected in the
  Depository in accordance with the Depository rules on behalf of Euroclear or Clearstream, as the case
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  may be, by its respective depositary; however, the cross-market transactions will require delivery of
  instructions to Euroclear or Clearstream, as the case may be, by the counterparty in the system in
  accordance with its rules and procedures and within its established deadlines (Brussels time). Euroclear
  or Clearstream, as the case may be, will if the transaction meets its settlement requirements, deliver
  instructions to its respective depositary to take action to effect final settlement on its behalf by delivering
  or receiving interests in a Senior Note represented by a Regulation S Global Note in the Depository and
  making or receiving payment in accordance with normal procedures for same-day funds settlement
  applicable to the Depository. Clearstream participants and Euroclear participants may not deliver
  instructions directly to the depositories of Clearstream or Euroclear.

           Because of time zone differences, cash received in Euroclear or Clearstream as a result of sales of
  interests in a Regulation S Global Note by or through a Euroclear or Clearstream participant to the
  Depository participant will be received with value on the Depository settlement date but will be available
  in the relevant Euroclear or Clearstream cash account only as of the business day following settlement in
  the Depository.

          The Depository has advised the Issuer that it will take any action permitted to be taken by a
  Holder of Securities (including the presentation of Securities for exchange as described above) only at the
  direction of one or more participants in the Depository to whose account with the Depository interests in
  the Securities are credited and only in respect of the portion of the Aggregate Outstanding Amount of the
  Securities as to which the participant or participants has or have given the direction.

          The Depository has advised the Issuer as follows: The Depository is a limited-purpose trust
  company organized under the New York Banking Law, a “banking organization” within the meaning of
  the New York Banking Law, a member of the Federal Reserve System, a “clearing corporation” within
  the meaning of the UCC and a “Clearing Agency” registered pursuant to the provisions of Section 17A of
  the Exchange Act. The Depository was created to hold securities for its participants and facilitate the
  clearance and settlement of securities transactions between participants through electronic book-entry
  changes in accounts of its participants, thereby eliminating the need for physical movement of certificates.
  Participants in the Depository include securities brokers and dealers, banks, trust companies, and clearing
  corporations and may include certain other organizations. Indirect access to the Depository system is
  available to others such as banks, brokers, dealers, and trust companies that clear through or maintain a
  custodial relationship with a participant, either directly or indirectly.

           Although the Depository, Clearstream and Euroclear have agreed to the foregoing procedures to
  facilitate transfers of interests in Regulation S Global Notes among participants of the Depository,
  Clearstream and Euroclear, they are under no obligation to perform or continue to perform the
  procedures, and the procedures may be discontinued at any time. Neither the Co-Issuers nor the Trustee
  will have any responsibility for the performance by the Depository, Clearstream, or Euroclear or their
  respective participants or indirect participants of their respective obligations under the rules and
  procedures governing their operations.

                                        TRANSFER RESTRICTIONS

          Because of the following restrictions, purchasers are advised to consult legal counsel prior to
  making any offer, resale, pledge or transfer of the Securities. Purchasers of Senior Notes represented by
  an interest in a Regulation S Global Note are advised that such interests are not transferable to U.S.
  Persons at any time except in accordance with the following restrictions.

         Each prospective purchaser of Securities that is a U.S. Person or is purchasing the Securities in a
  non-Offshore Transaction (a “U.S. Offeree”), by accepting delivery of this Offering Memorandum, will
  be deemed to have represented and agreed as follows:

                  (1)      The U.S. Offeree acknowledges that this Offering Memorandum is personal to
          the U.S. Offeree and does not constitute an offer to any other person or to the public generally to
          subscribe for or otherwise acquire the Securities other than pursuant to transactions exempt from
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          the registration requirements under the Securities Act or in Offshore Transactions in accordance
          with Regulation S. Distribution of this Offering Memorandum to any person other than the U.S.
          Offeree and those persons, if any, retained to advise the U.S. Offeree with respect thereto, and
          other persons that are, (a) in the case of the Senior Notes, Qualified Institutional Buyers or non-
          U.S. Persons or, (b) in the case of the Class D Notes or the Preference Shares, Qualified
          Institutional Buyers is unauthorized and any disclosure of any of its contents, without the prior
          written consent of the Co-Issuers, is prohibited.
                  (2)      The U.S. Offeree agrees to make no photocopies of this Offering Memorandum
          or any documents referred to herein and, if the U.S. Offeree does not purchase the Securities or
          the offering is terminated, to return this Offering Memorandum and all documents referred to
          herein to CGMI at 390 Greenwich Street., 4th Floor, New York, New York 10013, Attention:
          CDO Group.
          Under the Indenture (with respect to the Co-Issuers) and the Preference Share Documents (with
  respect to the Issuer), the Co-Issuers or the Issuer will agree to comply with the requirements of Rule
  144A relative to the dissemination of information to prospective purchasers in the secondary market. See
  “Available Information.”

          The Securities have not been registered under the Securities Act and, (a) in the case of the Senior
  Notes, may not be offered or sold in non-Offshore Transactions or to, or for the account or benefit of,
  U.S. Persons, except to Qualified Institutional Buyers in transactions exempt from the registration
  requirements of the Securities Act who are also Qualified Purchasers and (b) in the case of the Class D
  Notes or the Preference Shares, may only be offered or sold to Qualified Institutional Buyers (or, solely in
  the case of a Holder purchasing Class D Notes on the Closing Date, to an Institutional Accredited
  Investor) in transactions exempt from the registration requirements of the Securities Act who are also
  Qualified Purchasers.

          Any purported transfer of a Security not in accordance with this section shall be null and void and
  shall not be given effect for any purpose hereunder.

  Transfer Restrictions Applicable to Rule 144A Global Notes

          Each purchaser of a beneficial interest in Senior Notes represented by a Rule 144A Global Note
  will be deemed to represent and agree (on its own behalf, or if the purchaser is acquiring the Senior Notes
  for any account, on behalf of each such account) (and each transferee of a beneficial interest in a Rule
  144A Global Note will be required or deemed to represent and agree) as follows (terms used in this
  paragraph that are defined in Rule 144A or Regulation S are used herein as defined therein):

                   (1)      (A) The purchaser is a Qualified Institutional Buyer and a Qualified Purchaser,
          (B) the purchaser is purchasing the Senior Notes for its own account or the account of another
          Qualified Purchaser that is also a Qualified Institutional Buyer as to which the purchaser
          exercises sole investment discretion, (C) the purchaser and any such account is acquiring the
          Senior Notes as principal for its own account for investment and not for sale in connection with
          any distribution thereof, (D) the purchaser and any such account was not formed solely for the
          purpose of investing in the Senior Notes (except when each beneficial owner of the purchaser or
          any such account is a Qualified Purchaser), (E) to the extent the purchaser (or any account for
          which it is purchasing the Senior Notes) is a private investment company formed on or before
          April 30, 1996, the purchaser and each such account has received the necessary consent from its
          beneficial owners, (F) the purchaser is not a broker-dealer that owns and invests on a
          discretionary basis less than $25,000,000 in securities of unaffiliated issuers, (G) the purchaser is
          not a pension, profit-sharing or other retirement trust fund or plan in which the partners,
          beneficiaries or participants or affiliates may designate the particular investment to be made, (H)
          the purchaser agrees that it and each such account shall not hold such Senior Notes for the benefit
          of any other Person and shall be the sole beneficial owner thereof for all purposes and that it shall
          not sell participation interests in the Senior Notes or enter into any other arrangement pursuant to

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        which any other Person shall be entitled to a beneficial interest in the distributions on the Senior
        Notes (except when each beneficial owner of the purchaser or any such account is a Qualified
        Purchaser), (I) the Senior Notes purchased directly or indirectly by the purchaser or any account
        for which it is purchasing the Senior Notes constitute an investment of no more than 40% of the
        purchaser’s and each such account’s assets (except when each beneficial owner of the purchaser
        or any such account is a Qualified Purchaser), (J) the purchaser and each such account is
        purchasing the Senior Notes in a principal amount of not less than the minimum denomination
        requirement for the purchaser and each such account, (K) the purchaser will provide notice of the
        transfer restrictions set forth in the Indenture (including the exhibits thereto) to any transferee of
        its Senior Notes and (L) the purchaser understands and agrees that any purported transfer of the
        Senior Notes to a purchaser that does not comply with the requirements of this paragraph (1) shall
        be null and void ab initio.
                 (2)    The purchaser has such knowledge and experience in financial and business
        matters as to be capable of evaluating the merits and risks of its investment in Senior Notes, and
        the purchaser, and any account for which it is acting, are each able to bear the economic risk of
        the purchaser’s or its investment.
                 (3)      The purchaser understands that the Senior Notes are being offered only in a
        transaction not involving any public offering in the United States within the meaning of the
        Securities Act, the Senior Notes have not been and will not be registered under the Securities Act,
        and, if in the future the purchaser decides to offer, resell, pledge or otherwise transfer the Senior
        Notes or any beneficial interest therein, such Senior Notes or any beneficial interest therein may
        be offered, resold, pledged or otherwise transferred only in accordance with the applicable legend
        in respect of such Senior Notes set forth in (6) below and the restrictions set forth in the
        Indenture. The purchaser acknowledges that no representation is made by the Co-Issuers, the
        Servicer or the Initial Purchaser as to the availability of any exemption under the Securities Act or
        other applicable laws of any jurisdiction for resale of the Senior Notes.
                 (4)     The purchaser is not purchasing the Senior Notes or any beneficial interest
        therein with a view to the resale, distribution or other disposition thereof in violation of the
        Securities Act. The purchaser understands that an investment in the Senior Notes involves certain
        risks, including the risk of loss of its entire investment in the Senior Notes under certain
        circumstances. The purchaser has had access to such financial and other information concerning
        the Co-Issuers, the Senior Notes and the Collateral as it deemed necessary or appropriate in order
        to make an informed investment decision with respect to its purchase of the Senior Notes or any
        beneficial interest therein, including an opportunity to ask questions of and request information
        from the Co-Issuers and the Initial Purchaser.
                 (5)     In connection with the purchase of Senior Notes or any beneficial interest therein
        (provided that no such representation is made with respect to the Servicer by any Affiliate of or
        account serviced by the Servicer): (i) none of the Co-Issuers, the Trustee, the Initial Purchaser,
        the Placement Agent, any Hedge Counterparty, the Preference Shares Paying Agent, the
        Collateral Administrator or the Servicer is acting as a fiduciary or financial or investment adviser
        for the purchaser, (ii) the purchaser is not relying (for purposes of making any investment
        decision or otherwise) upon any advice, counsel or representations (whether written or oral) of
        the Co-Issuers, the Trustee, the Initial Purchaser, the Placement Agent, any Hedge Counterparty,
        the Preference Shares Paying Agent, the Collateral Administrator or the Servicer or any of their
        respective Affiliates other than in the Offering Memorandum and any representations expressly
        set forth in a written agreement with such party; (iii) none of the Co-Issuers, the Trustee, the
        Initial Purchaser, the Placement Agent, any Hedge Counterparty, the Preference Shares Paying
        Agent, the Collateral Administrator or the Servicer or any of their respective Affiliates has given
        to the purchaser (directly or indirectly through any other person) any assurance, guarantee, or
        representation whatsoever as to the expected or projected success, profitability, return,
        performance result, effect, consequence, or benefit (including legal, regulatory, tax, financial,
        accounting, or otherwise) of the Senior Notes or an investment therein; (iv) the purchaser has

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        consulted with its own legal, regulatory, tax, business, investment, financial and accounting
        advisors to the extent it has deemed necessary, and it has made its own investment decisions
        (including decisions regarding the suitability of any transaction pursuant to the Indenture) based
        upon its own judgment and upon any advice from such advisors as it has deemed necessary and
        not upon any view expressed by the Co-Issuers, the Trustee, the Collateral Administrator the
        Initial Purchaser, the Placement Agent, any Hedge Counterparty, the Preference Shares Paying
        Agent or the Servicer or any of their respective Affiliates; (v) the purchaser has determined that
        the rates, prices or amounts and other terms of the purchase and sale of the Senior Notes or any
        beneficial interest therein reflect those in relevant market for similar transactions; (vi) if the
        purchaser is acting for the account of another investor, the purchaser represents that the
        investment on behalf of such account is based on a determination that the investment is suitable
        based on the risks referred to in this Offering Memorandum (including, without limitation, the
        “Risk Factors” and the “Transfer Restrictions Applicable to Rule 144A Global Notes”), given the
        investment objectives of the account for which the purchase is being made, and that the
        investment is consistent with any applicable legal requirements; (vii) the purchaser is purchasing
        the Senior Notes or any beneficial interest therein with a full understanding of all of the terms,
        conditions and risks thereof (economic and otherwise), and it is capable of assuming and willing
        to assume (financially and otherwise) those risks; and (viii) the purchaser is a sophisticated
        investor.
                 (6)    (i)      The purchaser understands that the Senior Notes offered to Qualified
        Institutional Buyers in reliance on the exemption from the registration requirements under the
        Securities Act provided by Rule 144A (a) will bear the legend substantially in the form set forth
        below unless the Co-Issuers determine otherwise in accordance with applicable law, (b) will be
        represented by one or more Rule 144A Global Notes, and (c) may not at any time be resold,
        pledged or transferred to U.S. Persons that are not Qualified Institutional Buyers and Qualified
        Purchasers. Before any interest in a Rule 144A Global Note may be offered, resold, pledged or
        otherwise transferred to a Person who takes delivery in the form of an interest in a Regulation S
        Global Note, the transferor will be required to provide the Trustee with a written certification as
        to compliance with the transfer restrictions.
        THIS NOTE OR ANY BENEFICIAL INTEREST HEREIN HAS NOT BEEN AND WILL NOT
  BE REGISTERED UNDER THE UNITED STATES SECURITIES ACT OF 1933, AS AMENDED
  (THE “SECURITIES ACT”), AND THE CO-ISSUERS HAVE NOT BEEN REGISTERED UNDER
  THE UNITED STATES INVESTMENT COMPANY ACT OF 1940, AS AMENDED (THE
  “INVESTMENT COMPANY ACT”). THE PURCHASER HEREOF, BY PURCHASING THIS
  NOTE, AGREES FOR THE BENEFIT OF THE CO-ISSUERS THAT THIS NOTE OR ANY
  BENEFICIAL INTEREST HEREIN MAY BE OFFERED, SOLD, PLEDGED OR OTHERWISE
  TRANSFERRED, ONLY (A)(1) TO A PERSON WHOM THE SELLER REASONABLY BELIEVES
  IS A QUALIFIED INSTITUTIONAL BUYER WITHIN THE MEANING OF RULE 144A UNDER
  THE SECURITIES ACT PURCHASING FOR ITS OWN ACCOUNT OR FOR THE ACCOUNT OF A
  QUALIFIED INSTITUTIONAL BUYER, IN A TRANSACTION MEETING THE REQUIREMENTS
  OF RULE 144A UNDER THE SECURITIES ACT SO LONG AS THIS NOTE IS ELIGIBLE FOR
  RESALE IN ACCORDANCE WITH RULE 144A OR (2) TO A NON-U.S. PERSON IN AN
  OFFSHORE TRANSACTION COMPLYING WITH RULE 903 OR RULE 904 OF REGULATION S
  UNDER THE SECURITIES ACT AND, IN CASE OF CLAUSE (1), TO A PURCHASER THAT (W) IS
  A QUALIFIED PURCHASER WITHIN THE MEANING OF SECTION 3(c)(7) OF THE
  INVESTMENT COMPANY ACT THAT WAS NOT FORMED FOR THE PURPOSE OF INVESTING
  IN THE ISSUER (EXCEPT WITH EACH BENEFICIAL OWNER OF THE PURCHASER IS A
  QUALIFIED PURCHASER), (X) TO THE EXTENT THE PURCHASER (OR ANY ACCOUNT FOR
  WHICH IT IS PURCHASING THE NOTES) IS A PRIVATE INVESTMENT COMPANY FORMED
  ON OR BEFORE APRIL 30, 1996, HAS RECEIVED THE NECESSARY CONSENT FROM ITS
  BENEFICIAL OWNERS, (Y) IS NOT A BROKER-DEALER THAT OWNS AND INVESTS ON A
  DISCRETIONARY BASIS LESS THAN $25,000,000 IN SECURITIES OF UNAFFILIATED
  ISSUERS, AND (Z) IS NOT A PENSION, PROFIT-SHARING OR OTHER RETIREMENT TRUST
  FUND OR PLAN IN WHICH THE PARTNERS, BENEFICIARIES OR PARTICIPANTS OR
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  AFFILIATES MAY DESIGNATE THE PARTICULAR INVESTMENT TO BE MADE, (B) IN A
  PRINCIPAL AMOUNT OF NOT LESS THAN U.S.$250,000 FOR THE PURCHASER AND FOR
  EACH ACCOUNT FOR WHICH IT IS ACTING AND (C) IN ACCORDANCE WITH ALL
  APPLICABLE SECURITIES LAWS OF THE STATES OF THE UNITED STATES. EACH
  TRANSFEROR OF THIS NOTE OR ANY BENEFICIAL INTEREST HEREIN WILL PROVIDE
  NOTICE OF THE TRANSFER RESTRICTIONS AS SET FORTH HEREIN TO ITS TRANSFEREE.
  EACH PURCHASER OF THIS NOTE OR ANY BENEFICIAL INTEREST HEREIN WILL BE
  DEEMED TO HAVE MADE THE APPLICABLE REPRESENTATIONS AND AGREEMENTS SET
  FORTH IN THE INDENTURE. ANY TRANSFER IN VIOLATION OF THE FOREGOING WILL BE
  OF NO FORCE AND EFFECT AND WILL NOT OPERATE TO TRANSFER ANY RIGHTS TO THE
  TRANSFEREE, NOTWITHSTANDING ANY INSTRUCTIONS TO THE CONTRARY TO THE CO-
  ISSUERS, THE TRUSTEE OR ANY INTERMEDIARY. IN ADDITION TO THE FOREGOING, THE
  CO-ISSUERS MAINTAIN THE RIGHT TO RESELL NOTES OR ANY BENEFICIAL INTEREST
  THEREIN PREVIOUSLY TRANSFERRED TO NON-PERMITTED U.S. HOLDERS (AS DEFINED
  IN THE INDENTURE) IN ACCORDANCE WITH AND SUBJECT TO THE TERMS OF THE
  INDENTURE.

        UNLESS THIS NOTE IS PRESENTED BY AN AUTHORIZED REPRESENTATIVE OF THE
  DEPOSITORY TRUST COMPANY (“DTC”) TO THE INDENTURE REGISTRAR FOR
  REGISTRATION OF TRANSFER OR PAYMENT, AND ANY CERTIFICATE ISSUED IS
  REGISTERED IN THE NAME OF CEDE & CO. OR IN SUCH OTHER NAME AS IS REQUESTED
  BY AN AUTHORIZED REPRESENTATIVE OF DTC (AND ANY PAYMENT MADE TO CEDE &
  CO. OR TO SUCH OTHER ENTITY AS IS REQUESTED BY AN AUTHORIZED
  REPRESENTATIVE OF DTC), ANY TRANSFER, PLEDGE OR OTHER USE HEREOF FOR VALUE
  OR OTHERWISE BY OR TO ANY PERSON IS WRONGFUL INASMUCH AS THE REGISTERED
  OWNER HEREOF, CEDE & CO., HAS AN INTEREST HEREIN.

         THE FAILURE TO PROVIDE THE ISSUER, THE TRUSTEE AND ANY PAYING AGENT
  WITH THE APPLICABLE U.S. FEDERAL INCOME TAX CERTIFICATIONS (GENERALLY, AN
  INTERNAL REVENUE SERVICE FORM W-9 (OR SUCCESSOR APPLICABLE FORM) IN THE
  CASE OF A PERSON THAT IS A “UNITED STATES PERSON” WITHIN THE MEANING OF
  SECTION 7701(A)(30) OF THE INTERNAL REVENUE CODE OF 1986, AS AMENDED (THE
  “CODE”) OR AN APPLICABLE INTERNAL REVENUE SERVICE FORM W-8 (OR SUCCESSOR
  APPLICABLE FORM) IN THE CASE OF A PERSON THAT IS NOT A “UNITED STATES
  PERSON” WITHIN THE MEANING OF SECTION 7701(A)(30) OF THE CODE) MAY RESULT IN
  U.S. FEDERAL WITHHOLDING FROM PAYMENTS TO THE HOLDER IN RESPECT OF THIS
  NOTE.

        THE PURCHASER HEREOF, BY PURCHASING THIS NOTE, AGREES FOR THE
  BENEFIT OF THE CO-ISSUERS THAT THIS NOTE AND ANY BENEFICIAL INTEREST HEREIN
  MAY NOT BE OFFERED, SOLD, PLEDGED OR OTHERWISE TRANSFERRED EXCEPT TO A
  PERSON THAT REPRESENTS, WARRANTS AND COVENANTS THAT EITHER (I) IT IS NOT,
  AND IS NOT USING THE ASSETS OF, AND THROUGHOUT THE HOLDING AND DISPOSITION
  OF SUCH NOTES WILL NOT BECOME OR TRANSFER ITS INTEREST TO, AN “EMPLOYEE
  BENEFIT PLAN” WITHIN THE MEANING OF SECTION 3(3) OF THE UNITED STATES
  EMPLOYEE RETIREMENT INCOME SECURITY ACT OF 1974, AS AMENDED (“ERISA”), THAT
  IS SUBJECT TO TITLE I OF ERISA, A “PLAN” DESCRIBED IN SECTION 4975(e)(1) OF THE
  UNITED STATES INTERNAL REVENUE CODE OF 1986, AS AMENDED (THE “CODE”) THAT IS
  SUBJECT TO SECTION 4975 OF THE CODE, OR AN ENTITY WHOSE UNDERLYING ASSETS
  INCLUDE THE ASSETS OF ANY SUCH PLAN, OR A GOVERNMENTAL, FOREIGN OR CHURCH
  PLAN SUBJECT TO ANY FEDERAL, STATE, FOREIGN OR LOCAL LAW THAT IS
  SUBSTANTIALLY SIMILAR TO THE PROVISIONS OF SECTION 406 OF ERISA OR SECTION
  4975 OF THE CODE OR (II) ITS PURCHASE, HOLDING AND DISPOSITION OF THIS NOTE
  WILL NOT RESULT IN A NON-EXEMPT PROHIBITED TRANSACTION UNDER SECTION 406
  OF ERISA OR SECTION 4975 OF THE CODE (OR IN THE CASE OF ANY GOVERNMENTAL,

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  FOREIGN OR CHURCH PLAN, ANY VIOLATION OF FEDERAL, STATE, FOREIGN OR LOCAL
  LAW SUBSTANTIALLY SIMILAR TO SECTION 406 OF ERISA OR SECTION 4975 OF THE
  CODE) BECAUSE SUCH PURCHASE, HOLDING AND DISPOSITION OF SUCH NOTE EITHER
  (A) IS NOT, AND WILL NOT BECOME, SUBJECT TO SUCH LAWS, OR (B) IS COVERED BY AN
  EXEMPTION FROM ALL APPLICABLE PROHIBITED TRANSACTIONS, ALL OF THE
  CONDITIONS OF WHICH ARE AND WILL BE SATISFIED UPON THE ACQUISITION OF, AND
  THROUGHOUT ITS HOLDING AND DISPOSITION OF, THIS NOTE. ANY PURPORTED
  TRANSFER OF THIS NOTE THAT DOES NOT COMPLY WITH THESE REQUIREMENTS SHALL
  BE NULL AND VOID AB INITIO.

                (ii)     In addition, each Regulation S Global Note representing any Senior Note will
        contain the following additional legend:
        EACH TRANSFEREE OF THE NOTE REPRESENTED HEREBY WILL, IF REQUIRED BY
  THE INDENTURE, BE REQUIRED TO DELIVER A TRANSFEREE CERTIFICATE IN A FORM
  PRESCRIBED IN THE INDENTURE OR WILL BE DEEMED TO HAVE MADE THE
  REPRESENTATIONS AND AGREEMENTS SET FORTH IN THE INDENTURE.

                 (7)     The purchaser will provide notice to each person to whom it proposes to transfer
        any interest in the Senior Notes of the transfer restrictions and representations set forth in the
        Indenture, including the exhibits referenced therein.
                (8)      The purchaser understands that the Indenture permits the Issuer to compel any
        Holder of the Senior Notes or any beneficial interest therein who is a U.S. Person and who is
        determined not to have been both (x) a Qualified Institutional Buyer and (y) a Qualified
        Purchaser at the time of acquisition of the Senior Notes or any beneficial interest therein to sell
        such interest, or to sell such interest on behalf of such purchaser, to a person that is both (x) a
        Qualified Institutional Buyer and (y) a Qualified Purchaser, in a transaction meeting the
        requirements of Rule 144A or to a person that is a non-U.S. Person in an Offshore Transaction
        meeting the requirements of Regulation S.
                 (9)     The purchaser understands that in the case of any supplemental indenture to the
        Indenture that requires consent of one or more Holders of the Senior Notes, the Indenture permits
        the Amendment Buy-Out Purchaser to purchase Senior Notes from any Non-Consenting Holder
        thereof at the applicable Amendment Buy-Out Purchase Price; and such Non-Consenting Holder
        will be required to sell such Senior Note to the Amendment Buy-Out Purchaser at such price.
                (10)     The purchaser understands that the Stated Maturity of the Senior Notes is subject
        to multiple extensions of four years each without consent of any Holders of Securities at the
        option of the Issuer, if directed by the Servicer, upon satisfaction of certain conditions.
                (11)     The purchaser acknowledges that no action was taken or is being contemplated
        by the Co-Issuers that would permit a public offering of the Senior Notes in any jurisdiction. The
        purchaser further acknowledges that no action was taken or is being contemplated by the Co-
        Issuers that would permit possession or distribution of the Offering Memorandum or any
        amendment thereof or supplement thereto or any other offering material relating to the Senior
        Notes in any jurisdiction (other than Ireland) where, or in any circumstances in which, action for
        those purposes is required. Nothing contained in the offering memorandum relating to the Senior
        Notes shall constitute an offer to sell or a solicitation of an offer to purchase any Senior Notes in
        any jurisdiction where it is unlawful to do so absent the taking of such action or the availability of
        an exemption therefrom.
                (12)    The purchaser will not, at any time, offer to buy or offer to sell the Senior Notes
        or any beneficial interest therein by any form of general solicitation or advertising, including, but
        not limited to, any advertisement, article, notice or other communication published in any
        newspaper, magazine or similar medium or broadcast over television or radio or seminar or
        meeting whose attendees have been invited by general solicitations or advertising.

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                 (13)    (a) Either (i) the purchaser is not, and is not using the assets of, and throughout
        the holding and disposition of the Senior Notes will not become or transfer its interest to, an
        employee benefit plan or other fund or arrangement subject to Title I of the Employee Retirement
        Income Security Act of 1974, as amended (“ERISA”), a plan subject to Section 4975(e) of the
        Internal Revenue Code of 1986 (the “Code”) or a governmental, foreign or church plan which is
        subject to any federal, state, foreign or local law that is substantially similar to the provisions of
        Section 406 of ERISA or Section 4975 of the Code or (ii) the purchaser’s purchase, holding and
        disposition of such Senior Notes will not result in a non-exempt prohibited transaction under
        Section 406 of ERISA or Section 4975 of the Code (or, in the case of a governmental, foreign or
        church plan, any federal, state, foreign or local law that is substantially similar to Section 406 of
        ERISA or Section 4975 of the Code) because such purchase, holding and disposition of such
        Senior Notes either (x) is not, and will not become, subject to such laws, or (y) is covered by an
        exemption from all applicable prohibited transactions, all of the conditions of which are and will
        be satisfied upon the acquisition of, and throughout its holding and disposition of, such Senior
        Notes; (b) the purchaser shall not transfer an interest in such Senior Notes to any transferee unless
        such transferee meets the foregoing requirements; and (c) the purchaser and any fiduciaries or
        other Person causing it to acquire such Senior Notes agree, to the fullest extent permissible under
        applicable law, to indemnify and hold harmless the Issuer, the Co-Issuer, the Trustee, the
        Servicer, the Initial Purchaser, the Placement Agent, the Preference Shares Paying Agent and
        their respective Affiliates from any cost, damage or loss incurred by them as a result of such
        purchaser not meeting the foregoing requirements or as a result of its transferring its interest to a
        transferee not meeting the foregoing requirements. Any purported purchase or transfer of the
        Senior Notes to a purchaser or transferee that does not comply with the requirements of this
        paragraph (13) shall be null and void ab initio.
                (14)    The purchaser understands that the Co-Issuers may receive a list of participants
        holding positions in its securities from one or more book-entry depositories.
                 (15)     The purchaser agrees that it will not offer or sell, transfer, assign, or otherwise
        dispose of the Senior Notes or any interest therein except (i) pursuant to an exemption from, or in
        a transaction not subject to, the registration requirements of the Securities Act and any applicable
        state securities laws or the applicable laws of any other jurisdiction and (ii) in accordance with the
        Indenture, to which provisions the purchaser hereby agrees it is subject.
                (16)    The purchaser is not a member of the public in the Cayman Islands.
                (17)      The beneficial owner will agree to treat the Senior Notes as unconditional debt of
        the Issuer for tax, accounting and financial reporting purposes.
                (18)     To the extent required, as determined by the Issuer or the Servicer on behalf of
        the Issuer, the Issuer may, upon notice to the Trustee, impose additional transfer restrictions on
        the Senior Notes to comply with the Uniting and Strengthening America by Providing
        Appropriate Tools Required to Intercept and Obstruct Terrorism Act of 2001 (the U.S. Patriot
        Act) and other similar laws or regulations, including, without limitation, requiring each transferee
        of a Senior Note to make representations to the Issuer in connection with such compliance.
                (19)      The purchaser understands that, to the extent required, as determined by the Co-
        Issuers, the Co-Issuers may amend the Indenture and, with respect to the Issuer only, the
        Preference Share Documents, without the consent of any Holders of the Securities and without
        regard to whether or not such amendment adversely affects the interest of the Holders of the
        Securities to (i) remove any restrictions and limitations imposed on the Co-Issuers or the Holders
        of the Securities that solely relate to compliance with Section 3(c)(7) and (ii) add any
        requirements that are necessary for compliance with Rule 3a-7 if, at any time following the
        Closing Date, the Co-Issuers elect to rely on exclusion from the definition of “investment
        company” under Rule 3a-7 in lieu of the exclusion under Section 3(c)(7).



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                 (20)     The purchaser understands that the Issuer may enter into amendments or
          modifications to the Servicing Agreement without the consent of any Holders of the Securities
          and without regard to whether or not such amendment adversely affects the interest of the
          Holders of the Securities.
                  (21)     The purchaser agrees not to cause the filing of a petition in bankruptcy or
          winding up against the Issuer before one year and one day have elapsed since the payment in full
          of the Notes or, if longer, the applicable preference period in effect.
                  (22)    The purchaser acknowledges that the Co-Issuers, the Servicer, the Trustee, the
          Initial Purchaser and others will rely upon the truth and accuracy of the foregoing
          acknowledgments, representations and agreements and agrees that if any of the
          acknowledgments, representations or agreements deemed to have been made by it by its purchase
          of the Senior Notes or any beneficial interest therein are no longer accurate, it shall promptly
          notify the Co-Issuers, the Servicer, the Trustee and the Initial Purchaser. If the purchaser is
          acquiring any Senior Notes or any beneficial interest therein as a fiduciary or agent for one or
          more institutional accounts, it represents that it has sole investment discretion with respect to each
          such account and it has full power to make the foregoing acknowledgments, representations and
          agreements on behalf of such account.
  Transfer Restrictions Applicable to Regulation S Global Notes

          Each purchaser of a beneficial interest in a Regulation S Global Note will be further deemed (and
  each transferee of a beneficial interest in a Regulation S Global Note will be required or deemed), in
  addition to making the representations set forth in paragraphs (3), (4), (5) and (7) through (22) above in
  “—Transfer Restrictions Applicable to Rule 144A Global Notes,” to represent and agree as follows:

           The purchaser is aware that the Senior Notes have not been and will not be registered under the
  Securities Act or any other applicable state securities law and the sale of such Senior Notes or any
  beneficial interest therein to it is being made in reliance on the exemption from registration provided by
  Regulation S and understands that the Senior Notes offered in reliance on Regulation S will bear the
  appropriate legend set forth in paragraph (6) above in “—Transfer Restrictions Applicable to Rule 144A
  Global Notes” and will be represented by one or more Regulation S Global Notes. The purchaser
  acknowledges that no representation is made by the Co-Issuers or the Initial Purchaser as to the
  availability of any exemption under the Securities Act or other applicable laws of any other jurisdiction
  for resale of the Senior Notes. The purchaser and each beneficial owner of the Senior Notes or any
  beneficial interest therein that it holds is not, and will not be, a U.S. Person as defined in Regulation S and
  its purchase of the Senior Notes or any beneficial interest therein will comply with all applicable laws in
  any jurisdiction in which it resides or is located and will be in a principal amount of not less than U.S.$
  250,000. The purchaser has such knowledge and experience in financial and business matters as to be
  capable of evaluating the merits and risks of its investment in Senior Notes or any beneficial interest
  therein, and it, and any accounts for which it is acting are each able to bear the economic risk of its
  investment. Before any interest in a Regulation S Global Note may be offered, resold, pledged or
  otherwise transferred to a person who takes delivery in the form of an interest in a Rule 144A Global
  Note, the transferor and the transferee will be required to provide the Trustee with written certifications as
  to compliance with the transfer restrictions.

  Transfer Restrictions Applicable to Class D Notes

           Each purchaser of Class D Notes acquiring such Class D Notes in the initial offering will be
  required to enter into a Subscription Agreement with the Issuer (or otherwise provides the Issuer with a
  certification) pursuant to which each such purchaser will be required to represent and agree (and each
  subsequent transferee will be required to represent and agree), on its own behalf as follows (terms used in
  this paragraph that are defined in Rule 144A are used herein as defined therein):



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                (1)      The purchaser is a Qualified Institutional Buyer (or, solely in the case of a
        purchaser purchasing Class D Notes on the Closing Date, an Institutional Accredited Investor )
        and is aware that the sale of Class D Notes to it is being made in reliance on an exemption from
        the registration requirements provided by Section 4(2) and is acquiring the Class D Notes for its
        own account (and not for the account of any family or other trust, any family member or any
        other person). In addition, the purchaser has such knowledge and experience in financial and
        business matters as to be capable of evaluating the merits and risks of its investment in Class D
        Notes, and the purchaser is able to bear the economic risk of the purchaser’s investment.
                 (2)      The purchaser understands that the Class D Notes are being offered only in a
        transaction not involving any public offering in the United States within the meaning of the
        Securities Act, the Class D Notes have not been and will not be registered under the Securities
        Act, and, if in the future the purchaser decides to offer, resell, pledge or otherwise transfer the
        Class D Notes, such Class D Notes may be offered, resold, pledged or otherwise transferred only
        in accordance with the legend in respect of such Class D Notes set forth in (7) below and the
        restrictions set forth in the Indenture. The purchaser acknowledges that no representation is made
        by the Issuer, the Servicer or the Initial Purchaser or any of their respective Affiliates as to the
        availability of any exemption under the Securities Act or other applicable laws of any jurisdiction
        for resale of the Class D Notes.

                (3)     The purchaser agrees that it will not offer or sell, transfer, assign, or otherwise
        dispose of the Class D Notes or any interest therein except (i) pursuant to an exemption from, or
        in a transaction not subject to, the registration requirements of the Securities Act and any
        applicable state securities laws or the applicable laws of any other jurisdiction and (ii) in
        accordance with the Indenture, to which provisions the purchaser agrees it is subject.

                 (4)     The purchaser is not purchasing the Class D Notes with a view to the resale,
        distribution or other disposition thereof in violation of the Securities Act. The purchaser
        understands that the Class D Notes will be highly illiquid and are not suitable for short-term
        trading. The Class D Notes are a leveraged investment in the Collateral Obligations that may
        expose the Class D Notes to disproportionately large changes in value. Payments in respect of
        the Class D Notes are not guaranteed as they are dependent on the performance of the Issuer’s
        portfolio of Collateral Obligations. The purchaser understands that an investment in the Class D
        Notes involves certain risks, including the risk of loss of all or a substantial part of its investment.
        The purchaser has had access to such financial and other information concerning the Issuer, the
        Class D Notes and the Collateral as it deemed necessary or appropriate in order to make an
        informed investment decision with respect to its purchase of the Class D Notes, including an
        opportunity to ask questions of and request information from the Issuer and the Initial Purchaser.

                 (5)     In connection with the purchase of Class D Notes (provided that no such
        representation is made with respect to the Servicer by any Affiliate of or account serviced by the
        Servicer): (i) none of the Co-Issuers, the Trustee, the Initial Purchaser, the Placement Agent, any
        Hedge Counterparty, the Collateral Administrator, the Preference Shares Paying Agent or the
        Servicer is acting as a fiduciary or financial or investment adviser for the purchaser, (ii) the
        purchaser is not relying (for purposes of making any investment decision or otherwise) upon any
        advice, counsel or representations (whether written or oral) of the Co-Issuers, the Trustee, the
        Initial Purchaser, the Placement Agent, any Hedge Counterparty, the Collateral Administrator,
        the Preference Shares Paying Agent or the Servicer or any of their respective Affiliates other
        than in the Offering Memorandum and any representations expressly set forth in a written
        agreement with such party; (iii) none of the Co-Issuers, the Trustee, the Initial Purchaser, the
        Placement Agent, any Hedge Counterparty, the Collateral Administrator, the Preference Shares
        Paying Agent or the Servicer or any of their respective Affiliates has given to the purchaser
        (directly or indirectly through any other Person or documentation for the Class D Notes) any
        assurance, guarantee, or representation whatsoever as to the expected or projected success,
        profitability, return, performance result, effect, consequence, or benefit (including legal,

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        regulatory, tax, financial, accounting, or otherwise) of the Class D Notes or an investment therein;
        (iv) the purchaser has consulted with its own legal, regulatory, tax, business, investment, financial
        and accounting advisors to the extent it has deemed necessary, and it has made its own
        investment decisions (including decisions regarding the suitability of any transaction pursuant to
        the documentation for the Class D Notes) based upon its own judgment and upon any advice from
        such advisors as it has deemed necessary and not upon any view expressed by the Co-Issuers, the
        Trustee, the Initial Purchaser, the Placement Agent, any Hedge Counterparty, the Collateral
        Administrator, the Preference Shares Paying Agent or the Servicer or any of their respective
        Affiliates; (v) the purchaser has determined that the rates, prices or amounts and other terms of
        the purchase and sale of the Class D Notes reflect those in relevant market for similar
        transactions; (vi) the purchaser is purchasing the Class D Notes with a full understanding of all of
        the terms, conditions and risks thereof (economic and otherwise), and it is capable of assuming
        and willing to assume (financially and otherwise) those risks; and (vii) the purchaser is a
        sophisticated investor.

                 (6)      (A) The purchaser is (a) a Qualified Institutional Buyer (or, solely in the case of a
        purchaser purchasing Class D Notes on the Closing Date, an Institutional Accredited Investor)
        and (b) a Qualified Purchaser, (B) the purchaser is acquiring the Class D Notes as principal for its
        own account for investment and not for sale in connection with any distribution thereof, (C) the
        purchaser was not formed solely for the purpose of investing in the Class D Notes (except when
        each beneficial owner of the purchaser is a Qualified Purchaser), (D) to the extent the purchaser is
        a private investment company formed before April 30, 1996, the purchaser has received the
        necessary consent from its beneficial owners, (E) the purchaser is not a broker-dealer that owns
        and invests on a discretionary basis less than $25,000,000 in securities of unaffiliated issuers, (F)
        the purchaser is not a pension, profit-sharing or other retirement trust fund or plan in which the
        partners, beneficiaries or participants or affiliates may designate the particular investment to be
        made, (G) the purchaser agrees that it shall not hold such Class D Notes for the benefit of any
        other Person and shall be the sole beneficial owner thereof for all purposes and that it shall not
        sell participation interests in the Class D Notes or enter into any other arrangement pursuant to
        which any other Person shall be entitled to a beneficial interest in the dividends or other
        distributions on the Class D Notes (except when each such other Person is (a) a Qualified
        Institutional Buyer and (b) a Qualified Purchaser) and (H) the purchaser understands and agrees
        that any purported transfer of the Class D Notes to a purchaser that does not comply with the
        requirements of this paragraph shall be null and void ab initio.

                 (7)     The purchaser understands that the Class D Notes (A) will be represented by
        either one or more Class D Note certificates which will bear the legend substantially in the form
        set forth below unless the Issuer determines otherwise in accordance with applicable law, and (B)
        may only be resold, pledged or transferred to Qualified Institutional Buyers who are also
        Qualified Purchasers. The purchaser understands that before the Class D Notes may be offered,
        resold, pledged or otherwise transferred, the transferee will be required to provide the Trustee and
        the Issuer with a written certification as to compliance with the transfer restrictions.

        THE NOTES REPRESENTED HEREBY HAVE NOT BEEN AND WILL NOT BE
  REGISTERED UNDER THE UNITED STATES SECURITIES ACT OF 1933, AS AMENDED (THE
  “SECURITIES ACT”), AND THE ISSUER HAS NOT BEEN REGISTERED UNDER THE UNITED
  STATES INVESTMENT COMPANY ACT OF 1940, AS AMENDED (THE “INVESTMENT
  COMPANY ACT”). THE NOTES REPRESENTED HEREBY HAVE NOT BEEN OFFERED, SOLD,
  PLEDGED OR OTHERWISE TRANSFERRED, EXCEPT (A) TO A PERSON WHOM THE SELLER
  REASONABLY BELIEVES IS A QUALIFIED INSTITUTIONAL BUYER (“QUALIFIED
  INSTITUTIONAL BUYER”) WITHIN THE MEANING OF RULE 144A UNDER THE SECURITIES
  ACT (OR, SOLELY IN THE CASE OF A PURCHASER PURCHASING THE NOTES ON THE
  CLOSING DATE, TO AN INSTITUTIONAL INVESTOR THAT IS ALSO AN ACCREDITED
  INVESTOR AS DEFINED IN RULE 501(a)(1), (2), (3) or (7) UNDER REGULATION D UNDER
  UNDER THE SECURITIES ACT) PURCHASING FOR ITS OWN ACCOUNT (IN A TRANSACTION

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  MEETING THE REQUIREMENTS OF RULE 144A SO LONG AS THE NOTES ARE ELIGIBLE FOR
  RESALE IN ACCORDANCE WITH RULE 144A) WHO IS ALSO A QUALIFIED PURCHASER
  (“QUALIFIED PURCHASER”) WITHIN THE MEANING OF SECTION 3(c)(7) OF THE
  INVESTMENT COMPANY ACT THAT WAS NOT FORMED FOR THE PURPOSE OF INVESTING
  IN THE ISSUER (EXCEPT WHEN EACH BENEFICIAL OWNER OF THE PURCHASER IS A
  QUALIFIED PURCHASER) AND THAT (1) HAS RECEIVED THE NECESSARY CONSENT FROM
  ITS BENEFICIAL OWNERS WHEN THE PURCHASER IS A PRIVATE INVESTMENT COMPANY
  FORMED ON OR BEFORE APRIL 30, 1996, (2) IS NOT A BROKER-DEALER THAT OWNS AND
  INVESTS ON A DISCRETIONARY BASIS LESS THAN $25,000,000 IN SECURITIES OF
  UNAFFILIATED ISSUERS AND (3) IS NOT A PENSION, PROFIT-SHARING OR OTHER
  RETIREMENT TRUST FUND OR PLAN IN WHICH THE PARTNERS, BENEFICIARIES OR
  PARTICIPANTS OR AFFILIATES MAY DESIGNATE THE PARTICULAR INVESTMENT TO BE
  MADE, (B) IN A PRINCIPAL AMOUNT OF NOT LESS THAN U.S.$250,000 FOR THE
  PURCHASER AND (C) IN ACCORDANCE WITH ALL APPLICABLE SECURITIES LAWS OF
  ANY STATE OF THE UNITED STATES AND ANY OTHER APPLICABLE JURISDICTION. EACH
  TRANSFEROR OF THE NOTES REPRESENTED HEREBY OR ANY BENEFICIAL INTEREST
  THEREIN WILL PROVIDE NOTICE OF THE TRANSFER RESTRICTIONS AS SET FORTH
  HEREIN TO ITS PURCHASER. EACH PURCHASER OF THE NOTES REPRESENTED HEREBY
  WILL BE REQUIRED TO MAKE THE APPLICABLE REPRESENTATIONS AND AGREEMENTS
  SET FORTH IN THE INDENTURE.       THE NOTES REPRESENTED HEREBY MAY BE
  PURCHASED BY OR TRANSFERRED TO A BENEFIT PLAN INVESTOR OR CONTROLLING
  PERSON (EACH AS DEFINED IN THE INDENTURE) ONLY UPON THE SATISFACTION OF
  CERTAIN CONDITIONS SET FORTH IN THE INDENTURE. ANY TRANSFER IN VIOLATION
  OF THE FOREGOING WILL BE OF NO FORCE AND EFFECT, WILL BE VOID AB INITIO, AND
  WILL NOT OPERATE TO TRANSFER ANY RIGHTS TO THE TRANSFEREE,
  NOTWITHSTANDING ANY INSTRUCTIONS TO THE CONTRARY TO THE ISSUER, THE
  TRUSTEE OR ANY INTERMEDIARY. IN ADDITION TO THE FOREGOING, THE ISSUER
  MAINTAINS THE RIGHT TO RESELL ANY NOTES PREVIOUSLY TRANSFERRED TO NON-
  PERMITTED HOLDERS OR NON-PERMITTED BENEFIT PLAN INVESTORS (AS DEFINED IN
  THE INDENTURE) IN ACCORDANCE WITH AND SUBJECT TO THE TERMS OF THE
  INDENTURE.

         THE FAILURE TO PROVIDE THE ISSUER AND ANY PAYING AGENT, WHENEVER
  REQUESTED BY THE ISSUER OR THE SERVICER ON BEHALF OF THE ISSUER, WITH THE
  APPLICABLE U.S. FEDERAL INCOME TAX CERTIFICATIONS (GENERALLY, AN INTERNAL
  REVENUE SERVICE FORM W-9 (OR APPLICABLE SUCCESSOR FORM) IN THE CASE OF A
  PERSON THAT IS A “UNITED STATES PERSON” WITHIN THE MEANING OF SECTION
  7701(A)(30) OF THE CODE OR AN APPROPRIATE INTERNAL REVENUE SERVICE FORM W-8
  (OR APPLICABLE SUCCESSOR FORM) IN THE CASE OF A PERSON THAT IS NOT A “UNITED
  STATES PERSON” WITHIN THE MEANING OF SECTION 7701(A)(30) OF THE CODE) MAY
  RESULT IN THE IMPOSITION OF U.S. FEDERAL WITHHOLDING FROM PAYMENTS TO THE
  HOLDER IN RESPECT OF THE NOTES REPRESENTED HEREBY.

        THE NOTES REPRESENTED HEREBY MAY NOT BE ACQUIRED OR HELD BY (I) ANY
  “EMPLOYEE BENEFIT PLAN” WITHIN THE MEANING OF SECTION 3(3) OF THE EMPLOYEE
  RETIREMENT INCOME SECURITY ACT OF 1974, AS AMENDED (“ERISA”), THAT IS SUBJECT
  TO TITLE I OF ERISA, (II) ANY “PLAN” DESCRIBED BY SECTION 4975(e)(1) OF THE
  INTERNAL REVENUE CODE OF 1986, AS AMENDED (THE “CODE”), THAT IS SUBJECT TO
  SECTION 4975 OF THE CODE, OR (III) ANY ENTITY WHOSE UNDERLYING ASSETS INCLUDE
  “PLAN ASSETS” OF ANY PLAN DESCRIBED IN (I) OR (II) BY REASON OF A PLAN’S
  INVESTMENT IN SUCH ENTITY (EACH OF (I), (II) AND (III), A “BENEFIT PLAN INVESTOR”),
  EXCEPT IN ACCORDANCE WITH THE RESTRICTIONS SET FORTH IN THE INDENTURE.

         EACH TRANSFEREE WILL BE REQUIRED TO DELIVER A TRANSFEREE CERTIFICATE
  IN A FORM PRESCRIBED IN THE INDENTURE.

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                (8)      The purchaser will provide notice to each Person to whom it proposes to transfer
        any interest in the Class D Notes of the transfer restrictions and representations set forth in the
        Indenture, including the exhibits referenced in the Indenture.

                 (9)     The purchaser understands that the Indenture permits the Issuer to compel any
        Holder of the Class D Notes who is determined not to have been (x) a Qualified Institutional
        Buyer (with the exception of a purchaser purchasing Class D Notes on the Closing Date that is an
        Institutional Accredited Investor) and (y) a Qualified Purchaser, at the time of acquisition of the
        Class D Notes to sell such Class D Notes, or to sell such Class D Notes on behalf of such
        purchaser, to a Person that is both (x) a Qualified Institutional Buyer and (y) a Qualified
        Purchaser, in a transaction exempt from the registration requirements under the Securities Act.

                 (10) The purchaser acknowledges that no action was taken or is being contemplated
        by the Issuer that would permit a public offering of the Class D Notes. The purchaser further
        acknowledges that no action was taken or is being contemplated by the Issuer that would permit
        possession or distribution of the Offering Memorandum or any amendment thereof or supplement
        thereto or any other offering material relating to the Securities in any jurisdiction (other than
        Ireland) where, or in any circumstances in which, action for those purposes is required. Nothing
        contained in the offering memorandum relating to the Class D Notes shall constitute an offer to
        sell or a solicitation of an offer to purchase any Class D Notes in any jurisdiction where it is
        unlawful to do so absent the taking of such action or the availability of an exemption therefrom.

                (11)    The purchaser understands that in the case of any supplemental indenture to the
        Indenture that requires consent of one or more Holders of the Class D Notes, the Indenture
        permits the Amendment Buy-Out Purchaser to purchase Class D Notes from any Non-Consenting
        Holder thereof at the applicable Amendment Buy-Out Purchase Price; and such Non-Consenting
        Holder will be required to sell such Class D Notes to the Amendment Buy-Out Purchaser at such
        price.

                (12)     The purchaser understands that the Stated Maturity of the Class D Notes is
        subject to multiple extensions of four years each without consent of any Holders of Securities at
        the option of the Issuer, if directed by the Servicer, upon satisfaction of certain conditions.
                (13)     The purchaser will not, at any time, offer to buy or offer to sell the Class D
        Notes by any form of general solicitation or advertising, including, but not limited to, any
        advertisement, article, notice or other communication published in any newspaper, magazine or
        similar medium or broadcast over television or radio or seminar or meeting whose attendees have
        been invited by general solicitations or advertising.

                (14)      The beneficial owner will agree to treat, for U.S. federal income tax purposes, (a)
        the Preference Shares as equity of the Issuer, (b) the Notes as indebtedness of the Issuer and (c)
        the Issuer as a partnership (except to the extent the Issuer can no longer be treated as a partnership
        as a result of any election by the Issuer, changes in ownership of the Issuer or changes in the
        manner in which the equity of the Issuer is traded). The beneficial owner will be deemed to have
        acknowledged that the Issuer is not authorized to engage in activities that could cause it to
        constitute a finance or lending business for U.S. federal income tax purposes and agrees that it
        will report its investment in the Notes consistent with such limitation.

                (15)    The beneficial owner, if not a U.S. Person, either (i) is not a bank (within the
        meaning of Section 881(c)(3)(A) of the Code (as defined below in paragraph 23)) or (ii) is a
        person that is eligible for benefits under an income tax treaty with the United States that
        eliminates United States federal income taxation of Unites States source interest not attributable
        to a permanent establishment in the United States. The beneficial owner is not purchasing the
        Class D Notes in order to reduce its United States federal income tax liability or pursuant to a tax
        avoidance plan.

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                 (16)   To the extent required, as determined by the Issuer or the Servicer on behalf of
        the Issuer, the Issuer may, upon notice to the Trustee and the Indenture Registrar, impose
        additional transfer restrictions on the Class D Notes to comply with the Uniting and
        Strengthening America by Providing Appropriate Tools Required to Intercept and Obstruct
        Terrorism Act of 2001 (the U.S. Patriot Act) and other similar laws or regulations, including,
        without limitation, requiring each transferee of a Class D Note to make representations to the
        Issuer in connection with such compliance.

                (17)     The purchaser agrees not to cause the filing of a petition in bankruptcy or
        winding up against the Issuer before one year and one day have elapsed since the payment in full
        of the Notes or, if longer, the applicable preference period in effect.

                (18)    The purchaser is not a member of the public in the Cayman Islands.

                 (19)     The beneficial owner will agree to treat the Class D Notes as unconditional debt
        of the Issuer for tax, accounting and financial reporting purposes.
                (20)     The purchaser understands that, prior to any sale or other transfer of any interest
        in Class D Notes, it (or the transferee, as applicable) will be required to provide to the Issuer and
        the Trustee a duly executed transfer certificate substantially in the form provided in the Indenture
        and such other certificates and other information as they may reasonably require to confirm that
        the proposed transfer complies with the restrictions in the legend placed on each certificate
        representing the Class D Notes and in the Indenture.

                (21)      The purchaser understands that, to the extent required, as determined by the Co-
        Issuers, the Co-Issuers may amend the Indenture and, with respect to the Issuer only, the
        Preference Share Documents, without the consent of any Holders of the Securities and without
        regard to whether or not such amendment adversely affects the interest of the Holders of the
        Securities to (i) remove any restrictions and limitations imposed on the Co-Issuers or the Holders
        of the Securities that solely relate to compliance with Section 3(c)(7) and (ii) add any
        requirements that are necessary for compliance with Rule 3a-7 if, at any time following the
        Closing Date, the Co-Issuers elect to rely on exclusion from the definition of “investment
        company” under Rule 3a-7 in lieu of the exclusion under Section 3(c)(7).

               (22)     The purchaser understands that the Issuer may enter into amendments or
        modifications to the Servicing Agreement without the consent of any Holders of the Securities
        and without regard to whether or not such amendment adversely affects the interest of the
        Holders of the Securities.
                 (23)    The purchaser understands and agrees that no purchase or transfer of the Class D
        Notes (i) to a purchaser or transferee that has represented that it is a Benefit Plan Investor (as
        defined in Section 3(42) of the Employee Retirement Income Security Act of 1974 (“ERISA”) or
        a Controlling Person (as defined under the Indenture) will be effective, and the Issuer or the
        Indenture Registrar will not recognize or register such purchase or transfer, if such purchase or
        transfer would result in Benefit Plan Investors owning 25% or more of the aggregate outstanding
        amount of Class D Notes (determined pursuant to Section 3(42) of ERISA, 29 C.F.R. Section
        2510.3-101 and the Indenture) or (ii) will be permitted if such purchase or transfer will result in a
        prohibited transaction under Section 406 of ERISA or Section 4975 of the Internal Revenue Code
        of 1986 (the “Code”) (or, in the case of a governmental, foreign or church plan, a violation of any
        substantially similar federal, state, foreign or local law). The purchaser or transferee further
        understands and agrees that any transfer in violation of the applicable provisions of the Indenture
        will be null and void ab initio. For purposes of the determination described in the first sentence
        of this paragragh (23), the Class D Notes held by the Trustee, the Servicer, any of their respective
        affiliates (as defined in 29 C.F.R. Section 2510.3-101(f)(3)) and any other persons that have
        represented that they are Controlling Persons will be disregarded and will not be treated as
        outstanding unless such person is also a Benefit Plan Investor. The purchaser’s acquisition,

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        holding and disposition of the Class D Notes will not result in a prohibited transaction under
        Section 406 of ERISA or Section 4975 of the Code (or, in the case of a governmental, foreign or
        church plan, a violation of any substantially similar federal, state, foreign or local law), because
        such purchase, holding and disposition either (a) is not, and will not become, subject to such laws
        or (b) is covered by an exemption from all applicable prohibited transactions, all conditions of
        which are and will be been satisfied throughout its holding and disposition of such Class D Notes.
        The purchaser and any fiduciary or other Person causing it to acquire the Class D Notes agree, to
        the fullest extent permissible under applicable law, to indemnify and hold harmless the Issuer, the
        Co-Issuer, the Trustee, the Servicer, the Initial Purchaser, the Placement Agent, the Preference
        Shares Paying Agent and their respective Affiliates from any cost, damage, or loss incurred by
        them as a result of a breach of the representations set forth in this paragraph (23) and paragraph
        (24). If the purchaser is an insurance company investing through its general account as defined in
        PTCE 95-60, for so long as it holds the Class D Notes, such purchaser represents that the
        percentage of the assets of such insurance company general account that may be treated as “plan
        assets” under ERISA and the Code will always remain below 25% (as determined pursuant to
        ERISA and the Code).

                 (24)    (a) The funds that the purchaser is using or will use to purchase the Class D
        Notes are___ / are not___ (check one) assets of a person who is or at any time while the Class D
        Notes are held by the purchaser will be (A) an “employee benefit plan” as defined in Section 3(3)
        of ERISA, that is subject to Title I of ERISA, (B) a “plan” described in Section 4975(e)(1) of the
        Code that is subject to Section 4975 of the Code or (C) an entity whose underlying assets include
        “plan assets” of either of the foregoing by reason of the investment by an employee benefit plan
        or other plan in the entity within the meaning of the Plan Asset Regulation, as modified by
        Section 3(42) of ERISA (the plans and persons described in clauses (A), (B) and (C) being
        referred to as “Benefit Plan Investors”). If the purchaser is a Benefit Plan Investor that is an
        entity (other than an insurance company general account) whose underlying assets include “plan
        assets” by reason of an employee benefit plan’s or other plan’s investment in the entity, for so
        long as it holds the Class D Notes, such purchaser represents that the percentage of its assets that
        may be treated as “plan assets” under ERISA and the Code will never exceed __% (as determined
        pursuant to ERISA and the Code).

                         (b) The purchaser is___ / is not___ (check one) the Issuer, the Co-Issuer, the
        Servicer or any other person (other than a Benefit Plan Investor) that has discretionary authority
        or control with respect to the assets of the Issuer or a person who provides investment advice for a
        fee (direct or indirect) with respect to the assets of the Issuer, or any “affiliate” (as defined in
        29 C.F.R. Section 2510.3-101(f)(3)) of any such person (any such person, a “Controlling
        Person”).

                 (25)     The purchaser agrees to provide (and agrees it will cause any subsequent
       transferee of its Class D Notes to provide) the Indenture Registrar (1) appropriate documentation
       required under the Code and the applicable Treasury regulations establishing that the beneficial
       owner of the Class D Notes is either a non-U.S. person (e.g., an IRS Form W-8BEN or an IRS
       Form W-8IMY with appropriate attachments) or a U.S. person (e.g., an IRS Form W-9) and (2) if
       such beneficial owner is treated as a partnership, S-corporation or grantor trust for U.S. federal
       income tax purposes, a written representation from such beneficial owner that (i) there will not be
       any interests in such beneficial owner where substantially all of the value of such interest is
       attributable to the value of the Class D Notes proposed to be transferred to such beneficial owner,
       together with the value of any Class D Notes, Holding Securities and Preference Shares already
       held by such beneficial owner and (ii) such beneficial owner is not a part of any arrangement a
       principal purpose of which is to cause the Class D Notes and Preference Shares to be treated as
       owned by 100 persons or less within the meaning of Treasury Regulation section 1.7704-1(h).
       The purchaser agrees to provide a properly completed, newly executed U.S. tax form and other
       certificate in each of the following circumstances: (i) no later than 120 days prior to the expiration
       (if applicable) of the last previously provided U.S. tax form or certificate, (ii) upon any change of

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         circumstance that would cause that the last previously provided U.S. tax form or certificate to be
         incorrect and (iii) upon a request by the Issuer or the Indenture Registrar. The purchaser agrees
         that if it fails to provide a properly completed, newly executed U.S. tax form or other certificate no
         later than 120 days prior to the expiration of the last previously provided U.S. tax form or, if
         earlier, within the time specified in any request by the Issuer or the Indenture Registrar (which
         shall not be less than 30 days), the Issuer will have the unconditional right to cause such purchaser
         to sell any and all Class D Notes to the Issuer or to a person chosen by the Issuer or the Issuer’s
         agent on such terms as the Issuer may choose. For this purpose, an IRS Form W-8IMY (or any
         successor form thereto) will be deemed to expire upon the expiration of any withholding statement
         or U.S. tax forms associated with such IRS Form W-8IMY.

                   (26)    The purchaser understands and agrees that the Issuer will not recognize any
         transfers of Class D Notes if the proposed transfer will cause the Issuer to have more than ninety-
         nine beneficial owners (as determined for purposes of the provisions of Treasury Regulation
         section 1.7704-1(h)) of its Class D Notes and Preference Shares unless it receives the consent of
         all of the Holders of the Preference Shares and an opinion of counsel to the effect that Holders of
         the Notes will not recognize gain or loss for U.S. federal income tax purposes as a result of such
         transfer, and will be subject to U.S. federal income tax on the same amounts, in the same manner
         and at the same times as would have been the case if such transfer had not been made.

                   (27)    The purchaser represents that it has not acquired the Class D Notes pursuant to a
         trade on an “established securities market” and agrees that it will not trade any Class D Notes on
         an “established securities market.” For this purpose, the term “established securities market”
         includes any national securities exchange registered under Section 6 of the Securities Exchange
         Act of 1934, as amended, or exempted from registration because of the limited volume of
         transaction; any foreign securities exchange that, under the laws of the jurisdiction where it is
         organized, satisfies regulatory requirements that are analogous to the regulatory requirements
         imposed under the Securities Exchange Act of 1934; any regional or local exchange; and any
         interdealer quotation system that regularly disseminates firm buy or sell quotations by identified
         brokers or dealers, by electronic means or otherwise. The purchaser understands and agrees that in
         the event that the purchaser acquires or trades the Class D Notes on an established securities
         market, as described above, the Issuer will not recognize any transfers of Class D Notes made
         pursuant to such acquisition or trade.

                  (28)      The purchaser acknowledges that the Issuer, the Servicer, the Trustee, the Initial
          Purchaser and others will rely upon the truth and accuracy of the foregoing acknowledgments,
          representations and agreements and agrees that if any of the acknowledgments, representations or
          agreements deemed to have been made by it by its purchase of the Class D Notes are no longer
          accurate, it shall promptly notify the Issuer, the Servicer, the Trustee and the Initial Purchaser.

  Transfer Restrictions Applicable to Preference Shares

           Each initial purchaser of Preference Shares acquiring such Preference Shares from the Issuer in
  the initial offering will be required to enter into a Subscription Agreement with the Issuer pursuant to
  which each such initial purchaser will be required to represent and agree (and each subsequent transferee
  will be required to represent and agree), on its own behalf as follows (terms used in this paragraph that are
  defined in Rule 144A are used herein as defined therein):

                  (1)      The purchaser is a Qualified Institutional Buyer and is aware that the sale of
          Preference Shares to it is being made in reliance on an exemption from the registration
          requirements provided by Section 4(2) and is acquiring the Preference Shares for its own account
          (and not for the account of any family or other trust, any family member or any other person). In
          addition, the purchaser has such knowledge and experience in financial and business matters as to
          be capable of evaluating the merits and risks of its investment in Preference Shares, and the
          purchaser is able to bear the economic risk of its investment.

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                 (2)     The purchaser understands that the Preference Shares are being offered only in a
        transaction not involving any public offering in the United States within the meaning of the
        Securities Act, the Preference Shares have not been and will not be registered under the Securities
        Act, and, if in the future the purchaser decides to offer, resell, pledge or otherwise transfer the
        Preference Shares, such Preference Shares may be offered, resold, pledged or otherwise
        transferred only in accordance with the legend in respect of such Preference Shares set forth in (7)
        below and the restrictions set forth in the Preference Share Documents. The purchaser
        acknowledges that no representation is made by the Issuer, the Servicer or the Placement Agent
        or any of their respective Affiliates as to the availability of any exemption under the Securities
        Act or other applicable laws of any jurisdiction for resale of the Preference Shares.

                 (3)    The purchaser agrees that it will not offer or sell, transfer, assign, or otherwise
        dispose of the Preference Shares or any interest therein except (i) pursuant to an exemption from,
        or in a transaction not subject to, the registration requirements of the Securities Act and any
        applicable state securities laws or the applicable laws of any other jurisdiction and (ii) in
        accordance with the Preference Share Documents, to which provisions the purchaser agrees it is
        subject.

                 (4)     The purchaser is not purchasing the Preference Shares with a view to the resale,
        distribution or other disposition thereof in violation of the Securities Act. The purchaser
        understands that the Preference Shares will be highly illiquid and are not suitable for short-term
        trading. The Preference Shares are a leveraged investment in the Collateral Obligations that may
        expose the Preference Shares to disproportionately large changes in value. Payments in respect
        of the Preference Shares are not guaranteed as they are dependent on the performance of the
        Issuer’s portfolio of Collateral Obligations. The purchaser understands that it is possible that, due
        to the structure of the transaction and the performance of the Issuer’s portfolio of Collateral
        Obligations, dividends or other distributions in respect of the Preference Shares may be reduced
        or eliminated entirely. Furthermore, the Preference Shares constitute equity in the Issuer, are not
        secured by the Collateral and will rank behind all creditors (secured and unsecured and whether
        known or unknown) of the Issuer, including, without limitation, the Holders of the Notes, and any
        Hedge Counterparties. The Issuer has assets limited to the Collateral for payment of all Classes
        of the Notes and dividends and other distributions on the Preference Shares, and the Preference
        Shares bear, pro rata, the first risk of loss. The purchaser understands that an investment in the
        Preference Shares involves certain risks, including the risk of loss of all or a substantial part of its
        investment. The purchaser has had access to such financial and other information concerning the
        Issuer, the Preference Shares and the Collateral as it deemed necessary or appropriate in order to
        make an informed investment decision with respect to its purchase of the Preference Shares,
        including an opportunity to ask questions of and request information from the Issuer and the
        Placement Agent .

                 (5)     In connection with the purchase of Preference Shares (provided that no such
        representation is made with respect to the Servicer by any Affiliate of or account serviced by the
        Servicer): (i) none of the Co-Issuers, the Trustee, the Initial Purchaser, the Placement Agent, any
        Hedge Counterparty, the Preference Shares Paying Agent, the Collateral Administrator or the
        Servicer is acting as a fiduciary or financial or investment adviser for the purchaser, (ii) the
        purchaser is not relying (for purposes of making any investment decision or otherwise) upon any
        advice, counsel or representations (whether written or oral) of the Co-Issuers, the Trustee, the
        Initial Purchaser, the Placement Agent, any Hedge Counterparty, the Preference Shares Paying
        Agent, the Collateral Administrator or the Servicer or any of their respective Affiliates other than
        in the Offering Memorandum for such Preference Shares and any representations expressly set
        forth in a written agreement with such party; (iii) none of the Co-Issuers, the Trustee, the Initial
        Purchaser, the Placement Agent, any Hedge Counterparty, the Preference Shares Paying Agent,
        the Collateral Administrator or the Servicer or any of their respective Affiliates has given to the
        purchaser (directly or indirectly through any other Person or documentation for the Preference
        Shares) any assurance, guarantee, or representation whatsoever as to the expected or projected

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        success, profitability, return, performance result, effect, consequence, or benefit (including legal,
        regulatory, tax, financial, accounting, or otherwise) of the Preference Shares or an investment
        therein; (iv) the purchaser has consulted with its own legal, regulatory, tax, business, investment,
        financial and accounting advisors to the extent it has deemed necessary, and it has made its own
        investment decisions (including decisions regarding the suitability of any transaction pursuant to
        the documentation for the Preference Shares) based upon its own judgment and upon any advice
        from such advisors as it has deemed necessary and not upon any view expressed by the Co-
        Issuers, the Trustee, the Initial Purchaser, the Placement Agent, any Hedge Counterparty, the
        Preference Shares Paying Agent, the Collateral Administrator or the Servicer or any of their
        respective Affiliates; (v) the purchaser has determined that the rates, prices or amounts and other
        terms of the purchase and sale of the Preference Shares reflect those in relevant market for similar
        transactions; (vi) the purchaser is purchasing the Preference Shares with a full understanding of
        all of the terms, conditions and risks thereof (economic and otherwise), and it is capable of
        assuming and willing to assume (financially and otherwise) those risks; and (vii) the purchaser is
        a sophisticated investor.

                 (6)      (A) The purchaser is (a) a Qualified Institutional Buyer and (b) a Qualified
        Purchaser, (B) the purchaser is acquiring the Preference Shares as principal for its own account
        for investment and not for sale in connection with any distribution thereof, (C) the purchaser was
        not formed solely for the purpose of investing in the Preference Shares (except when each
        beneficial owner of the purchaser is a Qualified Purchaser), (D) to the extent the purchaser is a
        private investment company formed before April 30, 1996, the purchaser has received the
        necessary consent from its beneficial owners, (E) the purchaser is not a broker-dealer that owns
        and invests on a discretionary basis less than $25,000,000 in securities of unaffiliated issuers, (F)
        the purchaser is not a pension, profit-sharing or other retirement trust fund or plan in which the
        partners, beneficiaries or participants or affiliates may designate the particular investment to be
        made, (G) the purchaser agrees that it shall not hold such Preference Shares for the benefit of any
        other Person and shall be the sole beneficial owner thereof for all purposes and that it shall not
        sell participation interests in the Preference Shares or enter into any other arrangement pursuant
        to which any other Person shall be entitled to a beneficial interest in the dividends or other
        distributions on the Preference Shares (except when each such other Person is (a) a Qualified
        Institutional Buyer and (b) a Qualified Purchaser) and (H) the purchaser understands and agrees
        that any purported transfer of the Preference Shares to a purchaser that does not comply with the
        requirements of this paragraph shall be null and void ab initio.

                 (7)      The purchaser understands that the Preference Shares (A) will be represented by
        either one or more Preference Share certificates which will bear the legend substantially in the
        form set forth below unless the Issuer determines otherwise in accordance with applicable law,
        and (B) may only be resold, pledged or transferred to Qualified Institutional Buyers who are also
        Qualified Purchasers. The purchaser understands that before the Preference Shares may be
        offered, resold, pledged or otherwise transferred, the transferee will be required to provide the
        Preference Shares Paying Agent and the Issuer with a written certification as to compliance with
        the transfer restrictions.

        THE PREFERENCE SHARES REPRESENTED HEREBY HAVE NOT BEEN AND WILL
  NOT BE REGISTERED UNDER THE UNITED STATES SECURITIES ACT OF 1933, AS
  AMENDED (THE “SECURITIES ACT”), AND THE ISSUER HAS NOT BEEN REGISTERED
  UNDER THE UNITED STATES INVESTMENT COMPANY ACT OF 1940, AS AMENDED (THE
  “INVESTMENT COMPANY ACT”). THE PREFERENCE SHARES REPRESENTED HEREBY
  HAVE NOT BEEN OFFERED, SOLD, PLEDGED OR OTHERWISE TRANSFERRED, EXCEPT (A)
  TO A PERSON WHOM THE SELLER REASONABLY BELIEVES IS A QUALIFIED
  INSTITUTIONAL BUYER (“QUALIFIED INSTITUTIONAL BUYER”) WITHIN THE MEANING
  OF RULE 144A UNDER THE SECURITIES ACT PURCHASING FOR ITS OWN ACCOUNT (IN A
  TRANSACTION MEETING THE REQUIREMENTS OF RULE 144A SO LONG AS THE
  PREFERENCE SHARES ARE ELIGIBLE FOR RESALE IN ACCORDANCE WITH RULE 144A)

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  WHO IS ALSO A QUALIFIED PURCHASER (“QUALIFIED PURCHASER”) WITHIN THE
  MEANING OF SECTION 3(c)(7) OF THE INVESTMENT COMPANY ACT THAT WAS NOT
  FORMED FOR THE PURPOSE OF INVESTING IN THE ISSUER (EXCEPT WHEN EACH
  BENEFICIAL OWNER OF THE PURCHASER IS A QUALIFIED PURCHASER) AND THAT (1)
  HAS RECEIVED THE NECESSARY CONSENT FROM ITS BENEFICIAL OWNERS WHEN THE
  PURCHASER IS A PRIVATE INVESTMENT COMPANY FORMED ON OR BEFORE APRIL 30,
  1996, (2) IS NOT A BROKER-DEALER THAT OWNS AND INVESTS ON A DISCRETIONARY
  BASIS LESS THAN $25,000,000 IN SECURITIES OF UNAFFILIATED ISSUERS AND (3) IS NOT A
  PENSION, PROFIT-SHARING OR OTHER RETIREMENT TRUST FUND OR PLAN IN WHICH
  THE PARTNERS, BENEFICIARIES OR PARTICIPANTS OR AFFILIATES MAY DESIGNATE THE
  PARTICULAR INVESTMENT TO BE MADE, (B) IN EACH CASE, IN A NUMBER OF NOT LESS
  THAN 100 PREFERENCE SHARES FOR THE PURCHASER AND (C) IN ACCORDANCE WITH
  ALL APPLICABLE SECURITIES LAWS OF ANY STATE OF THE UNITED STATES AND ANY
  OTHER APPLICABLE JURISDICTION. EACH TRANSFEROR OF THE PREFERENCE SHARES
  REPRESENTED HEREBY OR ANY BENEFICIAL INTEREST THEREIN WILL PROVIDE NOTICE
  OF THE TRANSFER RESTRICTIONS AS SET FORTH HEREIN TO ITS PURCHASER. EACH
  PURCHASER OF THE PREFERENCE SHARES REPRESENTED HEREBY WILL BE REQUIRED
  TO MAKE THE APPLICABLE REPRESENTATIONS AND AGREEMENTS SET FORTH IN THE
  PREFERENCE SHARE DOCUMENTS. THE PREFERENCE SHARES REPRESENTED HEREBY
  MAY BE PURCHASED BY OR TRANSFERRED TO A BENEFIT PLAN INVESTOR OR
  CONTROLLING PERSON (EACH AS DEFINED IN THE PREFERENCE SHARE DOCUMENTS)
  ONLY UPON THE SATISFACTION OF CERTAIN CONDITIONS SET FORTH IN THE
  PREFERENCE SHARE DOCUMENTS. ANY TRANSFER IN VIOLATION OF THE FOREGOING
  WILL BE OF NO FORCE AND EFFECT, WILL BE VOID AB INITIO, AND WILL NOT OPERATE
  TO TRANSFER ANY RIGHTS TO THE TRANSFEREE, NOTWITHSTANDING ANY
  INSTRUCTIONS TO THE CONTRARY TO THE ISSUER, THE PREFERENCE SHARES PAYING
  AGENT OR ANY INTERMEDIARY. IN ADDITION TO THE FOREGOING, THE ISSUER
  MAINTAINS THE RIGHT TO RESELL ANY PREFERENCE SHARES PREVIOUSLY
  TRANSFERRED TO NON-PERMITTED HOLDERS OR NON-PERMITTED BENEFIT PLAN
  INVESTORS (AS DEFINED IN THE PREFERENCE SHARE DOCUMENTS) IN ACCORDANCE
  WITH AND SUBJECT TO THE TERMS OF THE PREFERENCE SHARE DOCUMENTS.

         THE FAILURE TO PROVIDE THE ISSUER AND ANY PAYING AGENT, WHENEVER
  REQUESTED BY THE ISSUER OR THE SERVICER ON BEHALF OF THE ISSUER, WITH THE
  APPLICABLE U.S. FEDERAL INCOME TAX CERTIFICATIONS (GENERALLY, AN INTERNAL
  REVENUE SERVICE FORM W-9 (OR APPLICABLE SUCCESSOR FORM) IN THE CASE OF A
  PERSON THAT IS A “UNITED STATES PERSON” WITHIN THE MEANING OF SECTION
  7701(A)(30) OF THE CODE OR AN APPROPRIATE INTERNAL REVENUE SERVICE FORM W-8
  (OR APPLICABLE SUCCESSOR FORM) IN THE CASE OF A PERSON THAT IS NOT A “UNITED
  STATES PERSON” WITHIN THE MEANING OF SECTION 7701(A)(30) OF THE CODE) MAY
  RESULT IN THE IMPOSITION OF U.S. FEDERAL WITHHOLDING FROM PAYMENTS TO THE
  HOLDER IN RESPECT OF THE PREFERENCE SHARES REPRESENTED HEREBY.

         THE PREFERENCE SHARES REPRESENTED HEREBY MAY NOT BE ACQUIRED OR
  HELD BY (I) ANY “EMPLOYEE BENEFIT PLAN” WITHIN THE MEANING OF SECTION 3(3) OF
  THE EMPLOYEE RETIREMENT INCOME SECURITY ACT OF 1974, AS AMENDED (“ERISA”),
  THAT IS SUBJECT TO TITLE I OF ERISA, (II) ANY “PLAN” DESCRIBED BY SECTION
  4975(e)(1) OF THE INTERNAL REVENUE CODE OF 1986, AS AMENDED (THE “CODE”), THAT
  IS SUBJECT TO SECTION 4975 OF THE CODE, OR (III) ANY ENTITY WHOSE UNDERLYING
  ASSETS INCLUDE “PLAN ASSETS” OF ANY PLAN DESCRIBED IN (I) OR (II) BY REASON OF
  A PLAN’S INVESTMENT IN SUCH ENTITY (EACH OF (I), (II) AND (III), A “BENEFIT PLAN
  INVESTOR”), EXCEPT IN ACCORDANCE WITH THE RESTRICTIONS SET FORTH IN THE
  PREFERENCE SHARE DOCUMENTS.

         EACH TRANSFEREE WILL BE REQUIRED TO DELIVER A TRANSFEREE CERTIFICATE
  IN A FORM PRESCRIBED IN THE PREFERENCE SHARE DOCUMENTS.
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                (8)       The purchaser will provide notice to each Person to whom it proposes to transfer
        any interest in the Preference Shares of the transfer restrictions and representations set forth in the
        Preference Share Documents, including the exhibits referenced in the Preference Share
        Documents.

                 (9)     The purchaser understands that the Preference Share Documents permit the
        Issuer to compel any Holder of the Preference Shares who is determined not to have been (x) a
        Qualified Institutional Buyer and (y) a Qualified Purchaser, at the time of acquisition of the
        Preference Shares to sell such Preference Shares, or to sell such Preference Shares on behalf of
        such purchaser, to a Person that is both (x) a Qualified Institutional Buyer and (y) a Qualified
        Purchaser, in a transaction exempt from the registration requirements under the Securities Act.

                 (10)      The purchaser acknowledges that no action was taken or is being contemplated
        by the Issuer that would permit a public offering of the Preference Shares. The purchaser further
        acknowledges that no action was taken or is being contemplated by the Issuer that would permit
        possession or distribution of the Offering Memorandum or any amendment thereof or supplement
        thereto or any other offering material relating to the Securities in any jurisdiction (other than
        Ireland) where, or in any circumstances in which, action for those purposes is required. Nothing
        contained in the offering memorandum relating to the Preference Shares shall constitute an offer
        to sell or a solicitation of an offer to purchase any Preference Shares in any jurisdiction where it is
        unlawful to do so absent the taking of such action or the availability of an exemption therefrom.

                 (11)    The purchaser understands that in the case of any supplemental indenture to the
        Indenture that requires consent of one or more Holders of the Preference Shares, the Indenture
        permits the Amendment Buy-Out Purchaser to purchase Preference Shares from any Non-
        Consenting Holder thereof (or, with respect to any Preference Shares held by Investors Corp., to
        purchase the Holding Preference Shares from any Non-Consenting Holding Preference Share
        Holder thereof), in each case, at the applicable Amendment Buy-Out Purchase Price; and such
        Non-Consenting Holder or Non-Consenting Holding Preference Shares Holder will be required to
        sell such Preference Shares or Holding Preference Shares, as the case may be, to the Amendment
        Buy-Out Purchaser at such price.

                 (12)    The purchaser understands that the Scheduled Preference Shares Redemption
        Date of the Preference Shares is subject to multiple extensions of four years each without consent
        of any Holders of Securities at the option of the Issuer, if directed by the Servicer, upon
        satisfaction of certain conditions.

                (13)     The purchaser will not, at any time, offer to buy or offer to sell the Preference
        Shares by any form of general solicitation or advertising, including, but not limited to, any
        advertisement, article, notice or other communication published in any newspaper, magazine or
        similar medium or broadcast over television or radio or seminar or meeting whose attendees have
        been invited by general solicitations or advertising.

                (14)      The beneficial owner will agree to treat, for U.S. federal income tax purposes, (a)
        the Preference Shares as equity of the Issuer, (b) the Notes as indebtedness of the Issuer and (c)
        the Issuer as a partnership (except to the extent the Issuer can no longer be treated as a partnership
        as a result of any election by the Issuer, changes in ownership of the Issuer or changes in the
        manner in which the equity of the Issuer is traded). The beneficial owner will be deemed to have
        acknowledged that the Issuer is not authorized to engage in activities that could cause it to
        constitute a finance or lending business for U.S. federal income tax purposes and agrees that it
        will report its investment in Preference Shares consistent with such limitation.

                (15)    The beneficial owner, if not a U.S. Person, either (i) is not a bank (within the
        meaning of Section 881(c)(3)(A) of the Code (as defined below in paragraph 23)) or (ii) is a
        person that is eligible for benefits under an income tax treaty with the United States that
        eliminates United States federal income taxation of Unites States source interest not attributable
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        to a permanent establishment in the United States. The beneficial owner is not purchasing the
        Preference Shares in order to reduce its United States federal income tax liability or pursuant to a
        tax avoidance plan.

                (16)     To the extent required, as determined by the Issuer or the Servicer on behalf of
        the Issuer, the Issuer may, upon notice to the Preference Shares Paying Agent and the Share
        Registrar, impose additional transfer restrictions on the Preference Shares to comply with the
        Uniting and Strengthening America by Providing Appropriate Tools Required to Intercept and
        Obstruct Terrorism Act of 2001 (the U.S. Patriot Act) and other similar laws or regulations,
        including, without limitation, requiring each transferee of a Preference Share to make
        representations to the Issuer in connection with such compliance.

                (17)     The purchaser agrees not to cause the filing of a petition in bankruptcy or
        winding up against the Issuer before one year and one day have elapsed since the payment in full
        of the Notes or, if longer, the applicable preference period in effect.

                (18)    The purchaser is not a member of the public in the Cayman Islands.

                 (19)     The purchaser understands that, prior to any sale or other transfer of any interest
        in Preference Shares, it (or the transferee, as applicable) will be required to provide to the Issuer
        and the Preference Shares Paying Agent a duly executed transfer certificate substantially in the
        form provided in the Preference Share Documents and such other certificates and other
        information as they may reasonably require to confirm that the proposed transfer complies with
        the restrictions in the legend placed on each certificate representing the Preference Shares and in
        the Preference Share Documents.

                (20)    The purchaser acknowledges that the Issuer has the right pursuant to Section 6 of
        the Preference Shares Paying Agency Agreement to issue additional Preference Shares.

                (21)      The purchaser understands that, to the extent required, as determined by the Co-
        Issuers, the Co-Issuers may amend the Indenture and, with respect to the Issuer only, the
        Preference Share Documents without the consent of any Holders of the Securities and without
        regard to whether or not such amendment adversely affects the interest of the Holders of the
        Securities to (i) remove any restrictions and limitations imposed on the Co-Issuers or the Holders
        of the Securities that solely relate to compliance with Section 3(c)(7) and (ii) add any
        requirements that are necessary for compliance with Rule 3a-7 if, at any time following the
        Closing Date, the Co-Issuers elect to rely on exclusion from the definition of “investment
        company” under Rule 3a-7 in lieu of the exclusion under Section 3(c)(7).

               (22)     The purchaser understands that the Issuer may enter into amendments or
        modifications to the Servicing Agreement without the consent of any Holders of the Securities
        and without regard to whether or not such amendment adversely affects the interest of the
        Holders of the Securities.
                 (23)    The purchaser understands and agrees that no purchase or transfer of the
        Preference Shares to (i) a purchaser or transferee that has represented that it is a Benefit Plan
        Investor (as defined in Section 3(42) of the Employee Retirement Income Security Act of 1974,
        as amended (“ERISA”) or a Controlling Person (as defined under the Indenture) will be effective,
        and the Issuer or the Share Registrar will not recognize or register such purchase or transfer, if
        such purchase or transfer would result in Benefit Plan Investors owning 25% or more of the
        aggregate outstanding amount of Class I Preference Shares or Class II Preference Shares
        (determined pursuant to Section 3(42) of ERISA, 29 C.F.R. Section 2510.3-101, the Indenture
        and the Preference Share Documents) or (ii) will be permitted if such purchase or transfer will
        result in a prohibited transaction under Section 406 of ERISA or Section 4975 of the Internal
        Revenue Code of 1986 (the “Code”) (or, in the case of a governmental, foreign or church plan, a
        violation of any substantially similar federal, state, foreign or local law). The purchaser or
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        transferee further understands and agrees that any transfer in violation of the applicable
        provisions of the Preference Share Documents will be null and void ab initio. For purposes of the
        determination described in the first sentence of this paragragh (23), the Preference Shares held by
        the Trustee, the Servicer, any of their respective affiliates (as defined in 29 C.F.R. Section
        2510.3-101(f)(3)) and any other persons that have represented that they are Controlling Persons
        will be disregarded and will not be treated as outstanding unless such person is also a Benefit
        Plan Investor. The purchaser’s acquisition, holding and disposition of the Preference Shares will
        not result in a prohibited transaction under Section 406 of ERISA or Section 4975 of the Code
        (or, in the case of a governmental, foreign or church plan, any violation of substantially similar
        federal, state, foreign or local law), because such purchase, holding and disposition either (a) is
        not, and will not become, subject to such laws or (b) is covered by an exemption from all
        applicable prohibited transactions, all conditions of which are and will be been satisfied
        throughout its holding and disposition of such Preference Shares. The purchaser and any
        fiduciary or Person causing it to acquire the Preference Shares agree, to the fullest extent
        permissible under applicable law, to indemnify and hold harmless the Issuer, the Co-Issuer, the
        Trustee, the Servicer, the Initial Purchaser, the Placement Agent, the Preference Shares Paying
        Agent and their respective Affiliates from any cost, damage, or loss incurred by them as a result
        of a breach of the representations set forth in this paragraph (23) and paragraph (24). If the
        purchaser is an insurance company investing through its general account as defined in PTCE 95-
        60, for so long as it holds the Preference Shares, such purchaser represents that the percentage of
        assets of such insurance company general account that may be treated as “plan assets” under
        ERISA and the Code will always remain below 25% (as determined pursuant to ERISA and the
        Code).

                 (24)     (a) The funds that the purchaser is using or will use to purchase the Preference
        Shares are___ / are not___ (check one) assets of a person who is or at any time while the
        Preference Shares are held by the purchaser will be (A) an “employee benefit plan” as defined in
        Section 3(3) of ERISA, that is subject to Title I of ERISA, (B) a “plan” described in
        Section 4975(e)(1) of the Code that is subject to Section 4975 of the Code or (C) an entity whose
        underlying assets include “plan assets” of either of the foregoing by reason of the investment by
        an employee benefit plan or other plan in the entity within the meaning of the Plan Asset
        Regulation, as modified by Section 3(42) of ERISA. If the purchaser is a Benefit Plan Investor
        that is an entity (other than an insurance company general account) whose underlying assets
        include “plan assets” by reason of an employee benefit plan’s or other plan’s investment in the
        entity, for so long as it holds the Preference Shares, such purchaser represents that the percentage
        of its assets that may be treated as “plan assets” under ERISA and the Code will never exceed
        __% (as determined pursuant to ERISA and the Code).

                         (b) The purchaser is___ / is not___ (check one) the Co-Issuer, the Servicer or any
        other person (other than a Benefit Plan Investor) that has discretionary authority or control with
        respect to the assets of the Issuer or a person who provides investment advice for a fee (direct or
        indirect) with respect to the assets of the Issuer, or any “affiliate” (as defined in 29 C.F.R.
        Section 2510.3-101(f)(3)) of any such person.

                  (25)    The purchaser agrees to provide (and agrees it will cause any subsequent
        transferee of its Preference Shares to provide) the Share Registrar (1) appropriate documentation
        required under the Code and the applicable Treasury regulations establishing that the beneficial
        owner of the Preference Shares to be transferred is either a non-U.S. person (e.g., an IRS Form
        W-8BEN or an IRS Form W-8IMY with appropriate attachments) or a U.S. person (e.g., an IRS
        Form W-9) and (2) if such beneficial owner is treated as a partnership, S-corporation or grantor
        trust for U.S. federal income tax purposes, a written representation from such beneficial owner
        that (i) there will not be any interests in such beneficial owner where substantially all of the value
        of such interest is attributable to the value of the Preference Shares proposed to be transferred to
        such beneficial owner, together with the value of any Class D Notes, Holding Securities and
        Preference Shares already held by such beneficial owner and (ii) such beneficial owner is not a

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         part of any arrangement a principal purpose of which is to cause the Class D Notes and the
         Preference Shares to be treated as owned by 100 persons or less within the meaning of Treasury
         Regulation section 1.7704-1(h). The purchaser agrees to provide a properly completed, newly
         executed U.S. tax form and other certificate in each of the following circumstances: (i) no later
         than 120 days prior to the expiration (if applicable) of the last previously provided U.S. tax form
         or certificate, (ii) upon any change of circumstance that would cause that the last previously
         provided U.S. tax form or certificate to be incorrect and (iii) upon a request by the Issuer or the
         Share Registrar. The purchaser agrees that if it fails to provide a properly completed, newly
         executed U.S. tax form or other certificate no later than 120 days prior to the expiration of the last
         previously provided U.S. tax form or, if earlier, within the time specified in any request by the
         Issuer or the Share Registrar (which shall not be less than 30 days), the Issuer will have the
         unconditional right to cause such purchaser to sell any and all Preference Shares to the Issuer or
         to a person chosen by the Issuer or the Issuer’s agent on such terms as the Issuer may choose. For
         this purpose, an IRS Form W-8IMY (or any successor form thereto) will be deemed to expire
         upon the expiration of any withholding statement or U.S. tax forms associated with such IRS
         Form W-8IMY.

                  (26)   The purchaser understands and agrees that the Issuer will not recognize any
         transfers of Preference Shares if the proposed transfer will cause the Issuer to have either (a)
         exactly one beneficial owner or (b) more than ninety-nine beneficial owners (as determined for
         purposes of the provisions of Treasury Regulation section 1.7704-1(h)) of its Class D Notes and
         its Preference Shares unless, in the case of clause (b), it receives the consent of all of the Holders
         of the Preference Shares and an opinion of counsel to the effect that Holders of the Notes will not
         recognize gain or loss for U.S. federal income tax purposes as a result of such transfer, and will
         be subject to U.S. federal income tax on the same amounts, in the same manner and at the same
         times as would have been the case if such transfer had not been made.

                  (27)    The purchaser represents that it has not acquired the Preference Shares pursuant
         to a trade on an “established securities market” and agrees that it will not trade any Preference
         Shares on an “established securities market.” For this purpose, the term “established securities
         market” includes any national securities exchange registered under Section 6 of the Securities
         Exchange Act of 1934, as amended, or exempted from registration because of the limited volume
         of transaction; any foreign securities exchange that, under the laws of the jurisdiction where it is
         organized, satisfies regulatory requirements that are analogous to the regulatory requirements
         imposed under the Securities Exchange Act of 1934; any regional or local exchange; and any
         interdealer quotation system that regularly disseminates firm buy or sell quotations by identified
         brokers or dealers, by electronic means or otherwise. The purchaser understands and agrees that
         in the event that the purchaser acquires or trades the Preference Shares on an established
         securities market, as described above, the Issuer will not recognize any transfers of Preference
         Shares made pursuant to such acquisition or trade.

                  (28)    The purchaser is___ / is not___ (check one) Highland Financial Partners, L.P. or
         any of its subsidiaries.

                 (29)    The purchaser acknowledges that the Issuer, the Servicer, , the Trustee, the
         Placement Agent and others will rely upon the truth and accuracy of the foregoing
         acknowledgments, representations and agreements and agrees that if any of the
         acknowledgments, representations or agreements deemed to have been made by it by its purchase
         of the Preference Shares are no longer accurate, it shall promptly notify the Issuer, the Servicer,
         the Trustee and the Placement Agent .

                              LISTING AND GENERAL INFORMATION

        1.      The Issuer and the Co-Issuer accept responsibility for the information contained in this
  document. To the best knowledge and belief of the Issuer and the Co-Issuer, the information contained in

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  this document is in accordance with the facts and does not omit anything likely to affect the import of
  such information.

           2.       Application will be made to list the Senior Notes on the ISE. However, there can be no
  assurance that any admission will be granted or maintained. Prior to the listing, a legal notice relating to
  the issue of the Senior Notes and copies of the Issuer Charter and the Certificate of Incorporation and By-
  laws of the Co-Issuer will be deposited with AIB International Financial Services Ltd. and at the principal
  office of the Issuer, where copies thereof may be obtained, free of charge, upon request.

          3.      As long as any of the Senior Notes are Outstanding and listed on the ISE, copies of the
  Issuer Charter and the Certificate of Incorporation and By-laws of the Co-Issuer, the Administration
  Agreement, the Resolutions, the resolutions of the Board of Directors of the Co-Issuer authorizing the
  issuance of the Senior Notes, the Indenture, the Servicing Agreement, the Collateral Administration
  Agreement, the Preference Shares Paying Agency Agreement, any Hedge Agreement and the Monthly
  Report will be available for inspection at the offices of the Co-Issuers and the Irish Paying Agent in the
  City of Dublin, where copies thereof may be obtained upon request in printed form.

           4.     Copies of the Issuer Charter and the Certificate of Incorporation and By-laws of the Co-
  Issuer, the Administration Agreement, the Resolutions, the resolutions of the Board of Directors of the
  Co-Issuer authorizing the issuance of the Senior Notes, the Indenture, the Servicing Agreement, the
  Collateral Administration Agreement, the Preference Shares Paying Agency Agreement, any Hedge
  Agreement and the Monthly Report prepared by the Servicer on behalf of the Issuer containing
  information relating to the Collateral will be available for inspection so long as any of the Securities are
  Outstanding at the Corporate Trust Office of the Trustee.

          6.       Each of the Co-Issuers represents that as of the date of this Offering Memorandum, there
  has been no material adverse change in its financial position since its date of incorporation. Since its date
  of incorporation, neither the Issuer nor the Co-Issuer has commenced operations, other than the Issuer
  purchasing certain Collateral Obligations and selling participation interests therein pursuant to a master
  participation agreement preparatory to the offering of the Securities, and no annual reports or accounts
  have been prepared as of the date of this Offering Memorandum.

          7.     The Co-Issuers are not involved in any litigation or arbitration proceedings (including
  any such proceedings which are pending or threatened of which the Co-Issuers are aware) which may
  have or have had within the last twelve (12) months a significant effect on the financial position of the
  Co-Issuers.

          8.      The issuance of the Securities was authorized and approved by the Board of Directors of
  the Issuer by the Resolutions. The issuance of the Senior Notes was authorized and approved by the
  Board of Directors of the Co-Issuer by resolutions passed on or before the Closing Date.

          9.       Since the date of their incorporation, no financial statements of the Co-Issuers have been
  prepared. The Issuer is not required by Cayman Islands law to publish financial statements, and does not
  intend to publish any financial statements. The Issuer is required to provide written confirmation to the
  Trustee, on an annual basis, that no Event of Default or other matter that is required to be brought to the
  Trustee’s attention has occurred.

                                         IDENTIFYING NUMBERS
          The Senior Notes sold in offshore transactions in reliance on Regulation S and represented by
  Regulation S Global Notes have been accepted for clearance under the Common Codes in the table
  below. The table also lists the CUSIP Numbers and the International Securities Identification Numbers
  (ISIN).




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                   Security                     CUSIP           Common Code              ISIN

  Class A-1 Notes
  Rule 144A Global Notes                      277345AA2              N/A           US277345AA22
  Regulation S Global Notes                   G2910EAA5           028797966        USG2910EAA58

  Class A-2a Notes
  Rule 144A Global Notes                      277345AC8              N/A           US277345AC87
  Regulation S Global Notes                   G2910EAB3           028798016        USG2910EAB32

  Class A-2b Notes
  Rule 144A Global Notes                      277345AE4              N/A           US277345AE44
  Regulation S Global Notes                   G2910EAC1           028798083        USG2910EAC15

  Class A-3 Notes
  Rule 144A Global Notes                      277345AG9              N/A           US277345AG91
  Regulation S Global Notes                   G2910EAD9           028798113        USG2910EAD97

  Class B Notes
  Rule 144A Global Notes                      277345AJ3              N/A           US277345AJ31
  Regulation S Global Notes                   G2910EAE7           028798156        USG2910EAE70

  Class C Notes
  Rule 144A Global Notes                      277345AL8              N/A            US277345AL86
  Regulation S Global Notes                   G2910EAF4           028798199         USG2910EAF46

  Class D Notes
  Certificated Class D Notes                  27734AAA1              N/A           US27734AAA16

  Class I Preference Shares
  Certificated Preference Shares               27734A202             N/A            US27734A2024

  Class II Preference Shares
  Certificated Preference Shares               27734A400             N/A            US27734A4004



                                         LEGAL MATTERS

          Certain legal matters will be passed upon for the Co-Issuers, the Initial Purchaser and the
  Placement Agent by Latham & Watkins LLP, New York, New York. Certain matters with respect to
  Cayman Islands corporate law and tax law will be passed upon for the Issuer by Ogier, George Town,
  Grand Cayman KY1-1108, Cayman Islands. Certain legal matters will be passed upon for the Servicer by
  Orrick, Herrington & Sutcliffe LLP, Los Angeles, California.




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                                     GLOSSARY OF DEFINED TERMS

          “Accrued Interest On Sale” means interest accrued on a Collateral Obligation at the time of sale
  or other disposition to the extent paid to the Issuer as part of the sale or other disposition price of the
  Collateral Obligation after deduction of any amount representing Accrued Interest Purchased With
  Principal of the Collateral Obligation.

           “Accrued Interest Purchased With Principal” means (i) interest accrued on or purchased with
  a Collateral Obligation as part of the price paid by the Issuer to acquire the Collateral Obligation less any
  amount of Interest Proceeds (applied as Interest Proceeds) applied by the Issuer to acquire the accrued
  interest at the time of purchase and (ii) interest accrued on a Loan that constitutes part of the price paid by
  the Issuer to repurchase and terminate participations sold to Pre-Closing Parties to finance the Issuer’s
  pre-closing acquisition of such Loan.

           “Act” means any request, demand, authorization, direction, notice, consent, waiver or other
  action to be given or taken by Noteholders or Holders of Preference Shares under the Indenture embodied
  in and evidenced by one or more instruments (which may be an electronic document, including, but not
  limited to, in the form of e-mail, to the extent permitted by applicable law) of substantially similar tenor
  signed by Noteholders or Holders of Preference Shares in person or by agents duly appointed in writing
  (provided that no signature shall be required on electronic documents, including, but not limited to, in the
  form of e-mail to the extent permitted by law). Except as otherwise expressly provided in the Indenture
  the action shall become effective when the instruments are delivered to the Trustee (which instrument or
  instruments may be delivered through the Preference Shares Paying Agent, in the case of the Holders of
  the Preference Shares) and, if expressly required, to the Issuer. The instruments (and the action embodied
  in them) are referred to as the “Act” of the Noteholders or Holders of Preference Shares signing the
  instruments.

          “Administrative Expense Cap” means, an amount on any Payment Date equal to the excess of:

                  (i)     the sum of 0.04% of the Maximum Amount on the related Determination Date
          plus $200,000; over

                  (ii)    the sum of the amounts paid for Administrative Expenses in the twelve months
          preceding the current Payment Date.

          “Administrative Expenses” means amounts due or accrued representing:

                   (i)     tax preparation, filing, and registration fees or expenses and any other filing and
          registration fees owed by the Co-Issuers or Investors Corp. (including all filing, registration and
          annual return fees payable to the Cayman Islands government and registered office fees);

                  (ii)    fees, indemnities and expenses of the Trustee (including all amounts under the
          Indenture), the Administrator, the Preference Shares Paying Agent, the Holding Preference
          Shares Paying Agent and the Collateral Administrator;

                 (iii)    fees, indemnities and expenses of the Co-Issuers and Investors Corp. and of
          accountants, agents and counsel for each of the Co-Issuers and Investors Corp.;

                  (iv)    fees and expenses of the Rating Agencies in connection with any rating of the
          Collateral as requested by the Issuer or the Servicer or the Notes owed by either Co-Issuer
          (including fees and expenses for ongoing surveillance, credit estimates and other fees owing to
          the Rating Agencies);

                  (v)     expenses and indemnities (but not Servicing Fees) of the Servicer if payable
          under the Servicing Agreement;

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                 (vi)     fees, indemnities and expenses for third-party loan pricing services and
          accountants; and

                  (vii)   amounts due (other than indemnities) to any other Person (except the Servicer) if
          specifically provided for in the Indenture, including fees or expenses in connection with any
          Securities Lending Agreement.

          “Affected Class”: Any Class of Notes that, as a result of the occurrence of a Tax Event, has
  received or will receive less than the aggregate amount of principal and interest that would otherwise have
  been payable to such Class on the Distribution Date related to the Due Period with respect to which such
  Tax Event occurs.

          “Affiliate” or “Affiliated” means with respect to a Person,

                  (i)   any other Person who, directly or indirectly, is in control of, or controlled by, or
          is under common control with, the Person; or

                 (ii)    any other Person who is a director, officer or employee (A) of the Person, (B) of
          any subsidiary or parent company of the Person or (C) of any Person described in clause (i)
          above.

  For the purposes of this definition, control of a Person shall mean the power, direct or indirect:

                  (A)      to vote more than 50% of the securities having ordinary voting power for the
          election of directors of the Person; or

                  (B)     to direct the corporate management and corporate policies of the Person whether
          by contract or otherwise (this does not include the Servicing Agreement unless it is amended
          expressly to provide those services).

  For the purpose of this definition, the Administrator and its Affiliates are neither Affiliates of nor
  Affiliated with the Co-Issuers and the Co-Issuers are neither Affiliates of nor Affiliated with the
  Administrator, or any of their Affiliates.

          “Aggregate Outstanding Amount” means, when used with respect to any of the Notes as of any
  date, the aggregate principal amount of such Notes on that date. When used with respect to the
  Preference Shares or Holding Preference Shares as of any date, means the number of such Preference
  Shares or Holding Preference Shares Outstanding on such date.

          Except as otherwise provided herein:

                  (i)     the Aggregate Outstanding Amount of the Class A-1 Notes at any time shall
          include any Defaulted Interest in respect thereof and (to the extent not included in any such
          Defaulted Interest) accrued interest on such Defaulted Interest;
                  (ii)    the Aggregate Outstanding Amount of the Class A-2a Notes at any time shall
          include any Defaulted Interest in respect thereof and (to the extent not included in any such
          Defaulted Interest) accrued interest on such Defaulted Interest;
                  (iii)   the Aggregate Outstanding Amount of the Class A-2b Notes at any time shall
          include any Defaulted Interest in respect thereof and (to the extent not included in any such
          Defaulted Interest) accrued interest on such Defaulted Interest;
                  (iv)    the Aggregate Outstanding Amount of the Class A-3 Notes at any time shall
          include any Defaulted Interest in respect thereof and (to the extent not included in any such
          Defaulted Interest) accrued interest on such Defaulted Interest;

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                  (v)      the Aggregate Outstanding Amount of the Class B Notes at any time shall
          include all Class B Deferred Interest attributed thereto;

                  (vi)     the Aggregate Outstanding Amount of the Class C Notes at any time shall
          include all Class C Deferred Interest attributed thereto; and

                  (vii)    the Aggregate Outstanding Amount of the Class D Notes at any time shall
          include all Class D Deferred Interest attributed thereto.

           “Aggregate Principal Balance” means, when used with respect to the Pledged Obligations, the
  sum of the Principal Balances of all the Pledged Obligations. When used with respect to a portion of the
  Pledged Obligations, the term Aggregate Principal Balance means the sum of the Principal Balances of
  that portion of the Pledged Obligations.

          “Aggregate Purchase Price Amount” means, when used with respect to the Pledged
  Obligations, the sum of the Purchase Price Amounts of all the Pledged Obligations. When used with
  respect to a portion of the Pledged Obligations, the term Aggregate Purchase Price Amount means the
  sum of the Purchase Price Amounts of that portion of the Pledged Obligations.

           “Allocable Principal Balance” means, with respect to a Synthetic Security based upon or
  relating to a senior secured index providing non-leveraged credit exposure to a basket of credit default
  swaps referencing a diversified group of Reference Obligations, with respect to which the principal or
  notional amount of the credit exposure to any single Reference Obligation does not increase over time,
  the portion of the aggregate Principal Balance of such Synthetic Security that is allocable to each
  Reference Obligation comprising such index or indices based upon allocating the Principal Balance of
  such Synthetic Security among such Reference Obligations in the same proportion as each Reference
  Obligation bears to the aggregate Principal Balance of such Synthetic Security.

           “Amendment Buy-Out Purchase Price” means, the purchase price payable by the Amendment
  Buy-Out Purchaser for Transaction Securities purchased in an Amendment Buy-Out, if any, in an amount
  equal to (i) in the case of the Notes, the Aggregate Outstanding Amount thereof, plus accrued and unpaid
  interest (including Deferred Interest, if any) as of the date of purchase payable to the Non-Consenting
  Holder (giving effect to any amounts paid to the Holder on such date), plus any unpaid Extension Bonus
  Payment, plus in the case of any Notes held or, with respect to any Notes representing Global Notes,
  beneficially owned, by a CDS/TRS Purchaser, the applicable CDS/TRS Termination Payment Amount, if
  any, and (ii) in the case of the Preference Shares and the Holding Preference Shares, an amount that,
  when taken together with all payments and distributions made in respect of such Preference Shares since
  or Holding Preference Shares, as applicable, the Closing Date (and any amounts payable, if any, to the
  Non-Consenting Holder or the Non-Consenting Holding Preference Share Holder, as applicable, on the
  next succeeding Payment Date) would cause such Preference Shares or Holding Preference Shares, as
  applicable, to have received (as of the date of purchase thereof) a Preference Share Internal Rate of
  Return or a Holding Preference Share Internal Rate of Return, as applicable, of 12.0% (assuming such
  purchase date was a Payment Date); provided, however, that in any Amendment Buy-Out from and after
  the date on which the Non-Consenting Holders of Preference Shares or the Non-Consenting Holding
  Preference Share Holders have received a Preference Share Internal Rate of Return or a Holding
  Preference Share Internal Rate of Return, as applicable, equal to or in excess of 12.0%, the Amendment
  Buy-Out Purchase Price for such Preference Shares or Holding Preference Shares, as applicable, shall be
  zero.

          “Amendment Buy-Out Purchaser” means the Servicer (or any of its Affiliates acting as
  principal or agent); provided that in the event that the Servicer elects not to purchase Transaction
  Securities from Holders pursuant to “Description of the Securities—Amendment Buy-Out,” “Amendment
  Buy-Out Purchaser” shall mean one or more qualifying purchasers (which may include the Initial
  Purchaser, the Placement Agent, the Investors Corp. Placement Agent or any of their respective Affiliates
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  acting as principal or agent) designated by the Servicer; provided, however, none of the Servicer, the
  Initial Purchaser, the Placement Agent, the Investors Corp. Placement Agent or any of their respective
  Affiliates shall have any duty to act as an Amendment Buy-Out Purchaser.

          “Applicable Discount Rate” means, for purposes of determining the CDS/TRS Termination
  Payment Amount with respect to any CDS/TRS Purchaser in connection with an Amendment Buy-Out,
  USD-LIBOR-BBA, as defined in the Annex to the 2000 ISDA Definitions as determined by the
  applicable CDS/TRS Purchaser on the Business Day preceding the date of purchase of the applicable
  Notes from such CDS/TRS Purchaser in connection with such Amendment Buy-Out.

          “Applicable Note Interest Rate” means, with respect to the Notes of any Class, the Note Interest
  Rate with respect to such Class.

          “Applicable Percentage” means the lesser of the Moody’s Priority Category Recovery Rate
  applicable to the Collateral Obligation and the S&P Priority Category Recovery Rate applicable to the
  Collateral Obligation and the current S&P Rating of the Class A-1 Notes.

          “Approved Pricing Service” means Loan Pricing Corporation, Mark-It-Partners, Inc. or any
  other nationally recognized loan pricing service approved in writing by S&P.

          “Approved Replacement” means an individual who shall (x) be proposed by Highland Capital
  to replace James Dondero, Mark Okada or Todd Travers (or a prior Approved Replacement therefor)
  within 30 days after James Dondero, Mark Okada or Todd Travers (or a prior Approved Replacement
  therefor) fails to be a partner, director, officer or management-level employee of Highland Capital or,
  following any objection pursuant to the following clause (y) to the first proposed replacement, within 30
  days after such objection and (y) not have been objected to by either (A) a Super Majority of the
  Controlling Class of Notes or (B) a Majority of the Preference Shares (excluding any Preference Shares
  held by Highland Capital or any of its Affiliates), within 30 days after written notice of such Approved
  Replacement has been given by the Servicer to the Controlling Class of Notes and the Holders of
  Preference Shares.

          “Ask-Side Market Value” means, as of any Measurement Date, the market value determined by
  the Servicer and reported to the Trustee as an amount rather than as a percentage or fraction of par
  (expressed in Dollars) of any lent Collateral Obligation based upon the Servicer’s commercially
  reasonable judgment and based upon the following order of priority: (i) the average of the ask-side market
  prices obtained by the Servicer from three Independent broker-dealers active in the trading of such
  obligations which are also Independent from the Servicer or (ii) if the foregoing set of prices could not be
  obtained, the higher of the ask-side market prices obtained by the Servicer from two Independent broker-
  dealers active in the trading of such obligations which are also Independent from the Servicer or (iii) if the
  foregoing sets of prices could not be obtained, the average of the ask-side prices for the purchase of such
  Collateral Obligation determined by an Approved Pricing Service (Independent from the Servicer) that
  derives valuations by polling broker-dealers (Independent from the Servicer); provided that if the Ask-
  Side Market Value of any lent Collateral Obligation cannot be so determined then such Collateral
  Obligation shall be deemed to have a Market Value equal to the outstanding principal balance thereof.

          “Assigned Moody’s Rating” means the monitored publicly available rating or the monitored
  estimated rating expressly assigned to a debt obligation (or facility) by Moody’s that addresses the full
  amount of the principal and interest promised.

           “Authorized Officer” means, with respect to the Issuer, the Co-Issuer or Investors Corp., any
  Officer or agent who is authorized to act for the Issuer, the Co-Issuer or Investors Corp., as applicable, in
  matters relating to, and binding on, the Issuer, the Co-Issuer or Investors Corp. With respect to the
  Servicer, any managing member, Officer, manager, employee, partner or agent of the Servicer who is
  authorized to act for the Servicer in matters relating to, and binding on, the Servicer with respect to the
  subject matter of the request, certificate or order in question. With respect to the Trustee or any other bank
  or trust company acting as trustee of an express trust or as custodian, a Trust Officer. Each party may
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  receive and accept a certification of the authority of any other party as conclusive evidence of the
  authority of any Person to act, and the certification may be considered as in full force and effect until
  receipt by the other party of written notice to the contrary.

           “Average Life” means, as of any Measurement Date with respect to any Collateral Obligation
  (other than any Defaulted Collateral Obligation), the quotient obtained by dividing:

                  (i)      the sum of the products of:

                          (A)      the number of years (rounded to the nearest hundredth) from the
                  Measurement Date to the respective dates of each successive scheduled payment of
                  principal of the Collateral Obligation; and

                          (B)      the respective amounts of the successive scheduled payments of principal
                  of the Collateral Obligation; by

                  (ii)     the sum of all successive scheduled payments of principal of the Collateral
          Obligation.

          “Bank” means Investors Bank & Trust Company in its individual capacity and not as Trustee.

          “Bankruptcy Code” means the U.S. Bankruptcy Code, Title 11 of the United States Code.

          “Bankruptcy Law” means the Bankruptcy Code, Part V of the Companies Law (2004 Revision)
  of the Cayman Islands and the Bankruptcy Law (1997 Revision) of the Cayman Islands.

          “Board of Directors” means with respect to the Issuer, the directors of the Issuer duly appointed
  by a resolution of the holders of the Issuer Ordinary Shares or by resolution of the Board of Directors and,
  with respect to the Co-Issuer, the directors of the Co-Issuer duly appointed by the stockholders of the Co-
  Issuer; provided, however, that notwithstanding the foregoing, if the aggregate number of Class II
  Preference Shares Outstanding is greater than the aggregate number of Class I Preference Shares
  Outstanding, the Holders of the Class II Preference Shares may remove all (but not less than all) of the
  directors of the Issuer and appoint other directors (who may be employees, officers or designees of the
  Servicer) and thereafter (so long as the aggregate number of Class II Preference Shares Outstanding is
  greater than the aggregate number of Class I Preference Shares Outstanding) the power to appoint
  directors of the Issuer shall be exercised by a vote of the Holders of the Class II Preference Shares instead
  of by resolution of the holders of the Issuer Ordinary Shares.

           “Business Day” means a day on which commercial banks and foreign exchange markets settle
  payments in New York City, and any other city in which the Corporate Trust Office of the Trustee is
  located and, in the case of the final payment of principal of any Note, the place of presentation of the Note
  designated by the Trustee; provided, however that, for purposes of determining LIBOR, “Business Day”
  must also be a day on which dealings in deposits in Dollars are transacted in the London interbank
  market. To the extent action is required of the Irish Listing Agent and Irish Paying Agent, Dublin, Ireland
  shall be considered in determining “Business Day” for purposes of determining when actions by the Irish
  Paying Agent are required.

          “Caa1 Collateral Obligations” means the Collateral Obligations (excluding any Defaulted
  Collateral Obligations) that on the relevant date have a Moody’s Rating below “B3”.

          “Cash” means such coin or currency of the United States of America as at the time shall be legal
  tender for payment of all public and private debts.

           “CCC+/Caa1 Collateral Obligations” means the Collateral Obligations (excluding any
  Defaulted Collateral Obligations) that on the relevant date have (i) a Moody’s Rating below “B3” and/or
  (ii) an S&P Rating below “B-”.
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          “CCC+/Caa1 Excess Market Value Percentage” means the percentage equivalent of a fraction,
  the numerator of which is the aggregate Market Value of CCC+/Caa1 Collateral Obligations (in order of
  ascending Market Value Percentage, starting with the CCC+/Caa1 Collateral Obligation with the lowest
  Market Value Percentage) with an aggregate Principal Balance equal to Excess CCC+/Caa1 Collateral
  Obligations and the denominator of which is an amount equal to the Excess CCC+/Caa1 Collateral
  Obligations.

           “CDS/TRS Purchaser” means a Holder of the Notes or, in the case of Notes represented by
  Global Notes, any beneficial owner thereof that has entered into either a credit default swap or a total
  return swap with respect to such Notes and has provided the Issuer and the Trustee with a written
  certification regarding its entry into such swap in a form reasonably acceptable to the Issuer (or the
  Servicer on behalf of the Issuer).

          “CDS/TRS Termination Payment Amount” means, with respect to any CDS/TRS Purchaser in
  connection with an Amendment Buy-Out, as the case may be, (i) on any Payment Date prior to the
  August 2011 Payment Date, an amount equal to the present value of the Fixed Amounts with respect to
  such CDS/TRS Purchaser and each Fixed Rate Payor Calculation Period until the last Fixed Rate
  Calculation Period, discounting each Fixed Amount from the Payment Date following the end of each
  such Fixed Rate Payor Calculation Period to the date of purchase of the applicable Notes at the
  Applicable Discount Rate, and (ii) on any Payment Date on and after the August 2011 Payment Date,
  zero; provided that, in the case of clause (i), the CDS/TRS Termination Payment Amount shall be
  calculated by the Servicer and subject to the approval of such CDS/TRS Purchaser.

          “Class” means all of the Notes having the same priority and the same Stated Maturity and all of
  the Preference Shares.

          “Class A Coverage Tests” means the Overcollateralization Test and the Interest Coverage Test,
  each as applied with respect to the Class A-1 Notes, Class A-2a Notes, Class A-2b Notes and Class A-3
  Notes.

          “Class B Coverage Tests” means the Overcollateralization Test and the Interest Coverage Test,
  each as applied with respect to the Class B Notes.

          “Class B Deferred Interest” means Deferred Interest with respect to the Class B Notes.

          “Class C Coverage Tests” means the Overcollateralization Test and the Interest Coverage Test,
  each as applied with respect to the Class C Notes.

          “Class C Deferred Interest” means Deferred Interest with respect to the Class C Notes.

          “Class D Coverage Tests” means the Overcollateralization Test and the Interest Coverage Test,
  each as applied with respect to the Class D Notes.

          “Class D Deferred Interest” means Deferred Interest with respect to the Class D Notes.

           “Class Scenario Loss Rate” means, with respect to any Class of Notes rated by S&P, an
  estimate of the cumulative default rate for the Current Portfolio or the Proposed Portfolio, as applicable,
  consistent with S&P’s rating of the Class of Notes on the Closing Date, determined by application of the
  S&P CDO Monitor.

          “Clearstream” means Clearstream Banking, société anonyme, a corporation organized under the
  laws of the Duchy of Luxembourg.

          “Collateral Administration Agreement” means the agreement dated as of the Closing Date
  among the Issuer, the Servicer and the Collateral Administrator, as modified, amended, and supplemented
  and in effect from time to time.
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          “Collateral Administrator” means the Bank in its capacity as collateral administrator under the
  Collateral Administration Agreement.

         “Consenting Holder of the Preference Shares” means, with respect to any Payment Date, a
  Holder that has consented by delivering an irrevocable written notice to the Preference Shares Paying
  Agent to a distribution of Eligible Equity Securities in lieu of payment of Interest Proceeds on such
  Payment Date, as described in “Description of the Securities—Preference Shares Paying Agency
  Agreement.”

          “Controlling Class” means the Class A-1 Notes, the Class A-2a Notes and the Class A-2b Notes
  (voting together as a Class or group), so long as any Class A-1 Notes, Class A-2a Notes or Class A-2b
  Notes are Outstanding; then the Class A-3 Notes (voting together as a Class or group), so long as any
  Class A-3 Notes are Outstanding; then the Class B Notes (voting together as a Class or group), so long as
  any Class B are Outstanding; the Class C Notes (voting together as a Class or group), so long as any Class
  C Notes are Outstanding; and then the Class D Notes (voting together as a Class or group), so long as any
  Class D Notes are Outstanding.

          “Corporate Trust Office” means the corporate trust office of the Trustee at which the Trustee
  performs its duties under the Indenture, currently having an address of 200 Clarendon Street, Mail Code:
  EUC 108, Boston, MA 02116 telecopy no. (617) 351-4358, Attention: CDO Services Group, or any other
  address the Trustee designates from time to time by notice to the Noteholders, the Servicer, the Preference
  Shares Paying Agent, the Issuer and each Rating Agency or the principal corporate trust office of any
  successor Trustee.

           “Credit Improved Obligation” is any Collateral Obligation that (a) is sold pursuant to a
  Portfolio Improvement Exchange or (b) in the commercially reasonable judgment of the Servicer, has
  improved in credit quality; provided that, in forming such judgment, a reduction in credit spread or an
  increase in Market Value of such Collateral Obligation (whether as described in clauses (ii) or (iii) below
  or otherwise) may only be utilized as corroboration of other bases for such judgment; and provided,
  further, that, if a Credit Rating Event is in effect, such Collateral Obligation will be considered a Credit
  Improved Obligation only if in addition to the above:

                  (i)      the Collateral Obligation has been upgraded or has been put on credit watch list
          with the potential for developing positive credit implications by either of the Rating Agencies
          since the date the Issuer first acquired the Collateral Obligation under the Indenture;

                   (ii)    such Collateral Obligation has experienced a reduction in credit spread of
          (A) 0.25% or more (on an absolute rather than a relative basis) in the case of a Collateral
          Obligation with a spread (prior to such decrease) less than or equal to 2.00%, (B) 0.375% or more
          (on an absolute rather than a relative basis) in the case of a Collateral Obligation with a spread
          (prior to such decrease) greater than 2.00% but less than or equal to 4.00% or (C) 0.50% or more
          (on an absolute rather than a relative basis) in the case of a Collateral Obligation with a spread
          (prior to such decrease) greater than 4.00%, in each case compared to the credit spread at the time
          such Collateral Obligation was acquired by the Issuer, determined by reference to an applicable
          index selected by the Servicer (such index selection subject to satisfaction of the Rating
          Condition with respect to Moody’s);

                   (iii)   (x) in the case of a Loan, the Market Value of such Collateral Obligation has
          increased by at least 1.00% from the Market Value of such Collateral Obligation as of its date of
          acquisition, as determined by the Servicer (provided that this subclause (iii)(x) will be deemed
          satisfied if Market Value increases to 101%), or (y) in the case of a Bond, the Market Value of
          such Collateral Obligation has changed since its date of acquisition by a percentage more positive
          than the percentage change in the Merrill Lynch US High Yield Master II Index, Bloomberg
          ticker H0A0, plus 3.00%, over the same period; or


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                  (iv)    a Super Majority of the Controlling Class have voted to suspend the limitations
          on a Collateral Obligation being a Credit Improved Obligation, and for each subsequent
          downgrade by Moody’s after a vote to suspend the limitations pursuant to this clause (iv) has
          occurred, a Super Majority of the Controlling Class must again vote to suspend the limitations on
          the Collateral Obligation being a Credit Improved Obligation for this clause (iv) to remain
          applicable.

          A Synthetic Security shall be considered a Credit Improved Obligation if:

                  (i)      the Synthetic Security itself is a Credit Improved Obligation; or

                  (ii)     the Reference Obligation of the Synthetic Security would, if it were a Collateral
          Obligation, be a Credit Improved Obligation.

          “Credit Rating Event” means an event that is in effect if the rating by Moody’s:

                 (i)      of the Class A-1 Notes, the Class A-2a Notes or the Class A-2b Notes has been
          withdrawn or is one or more rating sub-categories below its Initial Rating; or
                  (ii)  of the Class A-3 Notes, the Class B Notes, the Class C Notes or the Class D
          Notes has been withdrawn or is two or more rating sub-categories below its respective Initial
          Rating.
           For the purposes of this definition, any withdrawal or reduction in rating shall not be effective if
  after the withdrawal or reduction Moody’s has upgraded the reduced or withdrawn rating to at least the
  Initial Rating in the case of the Class A-1 Notes, the Class A-2a Notes and the Class A-2b Notes, or to
  only one subcategory below their Initial Rating in the case of the Class A-3 Notes, the Class B Notes, the
  Class C Notes and the Class D Notes.

          “Credit Risk Obligation” means any Collateral Obligation (other than a Defaulted Collateral
  Obligation) that, in the commercially reasonable judgment of the Servicer, has significantly declined in
  credit quality and has a significant risk, with a lapse of time, of becoming a Defaulted Collateral
  Obligation; provided that in forming such judgment an increase in credit spread or a decrease in Market
  Value of such Collateral Obligation (whether as described in clauses (ii) or (iii) below or otherwise) may
  only be utilized as corroboration of other bases for such judgment.

          So long as a Credit Rating Event is in effect, no Collateral Obligation shall be eligible to be a
  Credit Risk Obligation unless in addition to the above, as of the date of determination:

                   (i)      the Collateral Obligation has been downgraded or has been put on credit watch
          list with the potential for developing negative credit implications by either of the Rating Agencies
          since the date the Issuer first acquired the Collateral Obligation under the Indenture;

                   (ii)    such Collateral Obligation has experienced an increase in credit spread of (A)
          0.25% or more (on an absolute rather than a relative basis) in the case of a Collateral Obligation
          with a spread (prior to such increase) less than or equal to 2.00%, (B) 0.375% or more (on an
          absolute rather than a relative basis) in the case of a Collateral Obligation with a spread (prior to
          such increase) greater than 2.00% but less than or equal to 4.00% or (C) 0.50% or more (on an
          absolute rather than a relative basis) in the case of a Collateral Obligation with a spread (prior to
          such increase) greater than 4.00%, in each case compared to the credit spread at the time such
          Collateral Obligation was acquired by the Issuer, determined by reference to an applicable index
          selected by the Servicer (such index selection subject to satisfaction of the Rating Condition with
          respect to Moody’s);

                  (iii)   (x) in the case of a Loan, the Market Value of such Collateral Obligation has
          decreased by at least 2.50% from the Market Value of such Collateral Obligation as of its date of

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          acquisition, as determined by the Servicer, and (y) in the case of a Bond, the Market Value of
          such Collateral Obligation has changed since its date of acquisition by a percentage more
          negative, or less positive, as the case may be, than the percentage change in the Merrill Lynch US
          High Yield Master II Index, Bloomberg ticker H0A0, less 3.00%, over the same period; or

                   (iv)     a Super Majority of the Controlling Class have voted to suspend the limitations
          on a Collateral Obligation being a Credit Risk Obligation set forth in clauses (i), (ii) and (iii)
          above, and for each subsequent downgrade by Moody’s after a vote to suspend the limitations
          pursuant to this clause (iv) has occurred, a Super Majority of the Controlling Class must again
          vote to suspend the limitations on the Collateral Obligation being a Credit Risk Obligation for
          this clause (iv) to remain applicable.

          A Synthetic Security shall be considered a Credit Risk Obligation if:

                  (a)     the Synthetic Security itself is a Credit Risk Obligation; or

                  (b)      the Reference Obligation of the Synthetic Security would, if it were a Collateral
          Obligation, be a Credit Risk Obligation.

          “Current-Pay Obligation” means a Collateral Obligation as to which:

                   (i)      an insolvency event has occurred with respect to its obligor or as to which its
          obligor is rated “D” or “SD” by S&P or its obligor has previously been rated “CCC-” by S&P and
          the rating has been withdrawn;

                  (ii)     no default as to the payment of principal or interest with respect to the Collateral
          Obligation is then continuing and the Servicer has delivered to the Trustee an officer’s certificate
          to the effect that the Servicer expects that the obligor will make payments on the Collateral
          Obligation as they become due;

                   (iii)   (A) if the rating by Moody’s of the Collateral Obligation is at least “Caa1” (and
          not on credit watch with negative implications) the Market Value of the Collateral Obligation is
          at least equal to 80% of its Principal Balance or (B) if the rating by Moody’s of the Collateral
          Obligation is less than “Caa1” or is “Caa1” and on credit watch with negative implications, the
          Market Value of the Collateral Obligation is at least equal to 85% of its Principal Balance;

                  (iv)    if an insolvency event has occurred with respect to the obligor of the Collateral
          Obligation, a bankruptcy court has authorized the payment of interest payable on the Collateral
          Obligation; and

                  (v)    the Servicer has designated in writing to the Trustee the Collateral Obligation as
          a Current-Pay Obligation.

          If the Aggregate Principal Balance of Collateral Obligations that would otherwise be Current-Pay
  Obligations exceeds 5% of the Maximum Amount, all or a portion of one or more Collateral Obligations
  that would otherwise be Current-Pay Obligations with an Aggregate Principal Balance equal to the
  amount of the excess shall not be Current-Pay Obligations (and will therefore be Defaulted Collateral
  Obligations). The Servicer shall designate in writing to the Trustee the Collateral Obligations that shall
  not be Current-Pay Obligations pursuant to the preceding sentence as the Collateral Obligations (or
  portions thereof) that have the lowest Market Value on any applicable date of determination.

          The Servicer may, with the consent of a Majority of the Controlling Class, by notice to the Issuer,
  the Trustee and the Collateral Administrator, change the definition of “Current-Pay Obligation” or how
  Current-Pay Obligations are treated in the Indenture, subject to the satisfaction of the Rating Condition
  with respect to each Rating Agency.

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           “Current Portfolio” means, at any time, the portfolio (measured by Aggregate Principal
  Balance) of Collateral Obligations, Principal Proceeds held as cash on deposit in the Collection Account,
  and other Eligible Investments purchased with Principal Proceeds on deposit in the Collection Account
  that exists before the sale, maturity, or other disposition of a Collateral Obligation or before the
  acquisition of a Collateral Obligation, as the case may be.

          “Deep Discount Obligation” means, until the average Market Value Percentage of the Collateral
  Obligation, as determined daily for any period of 30 consecutive days, equals or exceeds 90%, any
  Collateral Obligation acquired by the Issuer for a Purchase Price less than 85% of its Principal Balance.
  For such purpose, the Market Value Percentage of a Collateral Obligation on a day that is not a Business
  Day shall be deemed to be the Market Value Percentage of the Collateral Obligation on the immediately
  preceding Business Day.

          “Defaulted Collateral Obligation” means any Collateral Obligation or other obligation included
  in the Collateral:

                   (i)      as to which a default in the payment of principal or interest is continuing beyond
          the lesser of three Business Days and any applicable grace or notice period, unless in the case of a
          failure of the obligor to make required interest payments, the obligor has resumed current Cash
          payments of interest previously scheduled and unpaid and has paid in full any accrued interest
          due and payable thereon, in which case the Collateral Obligation shall cease to be classified as a
          Defaulted Collateral Obligation;

                  (ii)     the maturity of all or a portion of the principal amount of such Collateral
          Obligation has been accelerated as a consequence of a default (other than any payment default)
          under the instruments evidencing or relating to such Collateral Obligation; unless such default or
          event of default has been fully cured or waived and is no longer continuing and such acceleration
          has been rescinded;

                  (iii)    with respect to which there has been effected any distressed exchange or other
          debt restructuring where the obligor has offered the holders thereof a new security or instrument
          or package of securities or instruments that, in the commercially reasonable judgment of the
          Servicer, either (x) amounts to a diminished financial obligation or (y) has the sole purpose of
          enabling the obligor to avoid a default;

                   (iv)    (1) that is pari passu with or subordinated to other indebtedness for borrowed
          money owing by its obligor (“Other Indebtedness”), (2) the obligor has defaulted in the
          payment of principal or interest (without regard to any applicable grace or notice period and
          without regard to any waiver of the default) on the Other Indebtedness, unless, in the case of a
          failure of the obligor to make required interest payments, the obligor has resumed current Cash
          payments of interest previously scheduled and unpaid on the Other Indebtedness and has paid in
          full any accrued interest due and payable thereon, in which case the Collateral Obligation shall
          cease to be classified as a Defaulted Collateral Obligation and (3) the Servicer, provided that the
          related Collateral Obligation has not been downgraded after the default on such Other
          Indebtedness has occurred, determines (in its commercially reasonable judgment) that such Other
          Indebtedness is material;

                  (v)     (other than a Current-Pay Obligation or a DIP Loan) as to which:

                          (A)      an insolvency event has occurred with respect to its obligor; or

                          (B)     the obligation is rated “D”, “SD”, “C” or “CC” by S&P or was so rated
                                  immediately prior to such rating being withdrawn, or has previously been
                                  rated “CCC-” or lower by S&P and the rating has been withdrawn;


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                    (vi)   if the Collateral Obligation is a Structured Finance Obligation, it is rated “CC” or
          below by S&P, or it was rated “CC” or below by S&P but the rating has since been withdrawn, or
          it is rated “Ca” or below by Moody’s, or it was rated “C” or below by Moody’s but the rating has
          since been withdrawn;

                  (vii)   that is a Participation that would, if the underlying Loan were a Collateral
          Obligation, be a Defaulted Collateral Obligation under any of clauses (i) through (v) above or
          with respect to which the Participating Institution has defaulted in the performance of any of its
          payment obligations under the Participation;

                   (viii) that is a Synthetic Security referencing a Reference Obligation that would, if the
          Reference Obligation were a Collateral Obligation, be a Defaulted Collateral Obligation under
          any of clauses (i) through (vi) above or with respect to which the Synthetic Security Counterparty
          has defaulted in the performance of any of its payment obligations under the Synthetic Security;
          provided, however, with respect to a Synthetic Security based upon or relating to a senior secured
          index providing non-leveraged credit exposure to a basket of credit default swaps referencing a
          diversified group of Reference Obligations, with respect to which the principal or notional
          amount of the credit exposure to any single Reference Obligation does not increase over time: (x)
          a determination whether the Reference Obligations upon which such Synthetic Security is based
          would, if such Reference Obligations were Collateral Obligations, be a Defaulted Collateral
          Obligation, shall be determined by treating such Synthetic Security as a direct interest of the
          Issuer in each of the Reference Obligations on which such Synthetic Security is based in an
          amount equal to the Allocable Principal Balance of such Reference Obligation and (y) the
          “Defaulted Collateral Obligation” for purposes of this clause (viii) shall be limited to the
          Allocable Principal Balance of each Reference Obligation that would, if the Reference Obligation
          were a Collateral Obligation, be a Defaulted Collateral Obligation under any of clauses (i)
          through (vi) above;

                  (ix)    that is a Written-Down Obligation;

                  (x)     that is a DIP Loan as to which an order has been entered converting the debtor’s
          chapter 11 case to a case under chapter 7 of the Bankruptcy Code; or

                  (xi)    that is declared to be a Defaulted Collateral Obligation by the Servicer.

           Any Collateral Obligation that is classified as a Defaulted Collateral Obligation shall cease to be
  so classified if the Collateral Obligation, at any date thereafter,

                 (1)     would not otherwise be classified as a Defaulted Collateral Obligation in
          accordance with this definition; and

                  (2)     otherwise meets the Eligibility Criteria as of that date.

          If any portion of a Collateral Obligation has a maturity later than one year after the Stated
  Maturity of the Notes due to a change in the payment schedule of the Collateral Obligation occurring after
  its acquisition by the Issuer, that portion of the Collateral Obligation shall be considered a Defaulted
  Collateral Obligation.

          “Defaulted Hedge Termination Payment” means any termination payment required to be made
  by the Issuer to a Hedge Counterparty pursuant to a Hedge Agreement upon a termination of the Hedge
  Agreement in respect of which the Hedge Counterparty is the sole Defaulting Party or Affected Party
  (each as defined in the Hedge Agreements).

         “Defaulted Interest” means any interest payable in respect of any Class of Notes that is not
  punctually paid or duly provided for on the applicable Payment Date or at Stated Maturity.

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          “Defaulted Interest Charge” means to the extent lawful, interest on any Defaulted Interest at the
  Default Interest Rate.

           “Default Interest Rate” means, with respect to any specified Class of Notes, the per annum
  interest rate equal to the Note Interest Rate payable on the Notes of the Class.

          “Deferred Interest Notes” means the Class B Notes, the Class C Notes and the Class D Notes.

         “Definitive Security” means any Note or Certificated Preference Share that is registered in the
  name of the beneficial owner.

          “Delayed Drawdown Loan” means a Loan or any Synthetic Security with a Reference
  Obligation that:

                 (i)      requires the Issuer to make one or more future advances to the borrower under its
          Underlying Instruments;

                 (ii)    specifies a maximum amount that can be borrowed on one or more fixed
          borrowing dates; and

                  (iii)   does not permit the re-borrowing of any amount previously repaid.

  A Loan or Synthetic Security shall only be considered to be a Delayed Drawdown Loan for so long as its
  unused commitment amount is greater than zero and for purposes of the Concentration Limits only
  unfunded portions will count as Delayed Drawdown Loans.

          “Depository” or “DTC” means The Depository Trust Company and its nominees.

          “DIP Loan” means any Loan:

                  (i)     that has a rating assigned by Moody’s (or if the Loan does not have a rating
          assigned by Moody’s, the Servicer has commenced the process of having a rating assigned by
          Moody’s within five Business Days of the date the Loan is acquired by the Issuer) and a rating
          assigned by S&P (or if the Loan does not have a rating assigned by S&P, the Servicer has
          commenced the process of having a rating assigned by S&P within two Business Days of the date
          the Loan is acquired by the Issuer);

                   (ii)    that is an obligation of a debtor in possession as described in Section 1107 of the
          Bankruptcy Code or a trustee (if appointment of a trustee has been ordered pursuant to Section
          1104 of the Bankruptcy Code) (a “Debtor”) organized under the laws of the United States or any
          state of the United States; and

                  (iii)   the terms of which have been approved by a final order of the United States
          Bankruptcy Court, United States District Court, or any other court of competent jurisdiction, the
          enforceability of which order is not subject to any pending contested matter or proceeding (as
          those terms are defined in the Federal Rules of Bankruptcy Procedure) and which order provides
          that:

                          (A)      the Loan is secured by liens on the Debtor’s otherwise unencumbered
                  assets pursuant to Section 364(c)(2) of the Bankruptcy Code;

                         (B)      the Loan is secured by liens of equal or senior priority on property of the
                  Debtor’s estate that is otherwise subject to a lien pursuant to Section 364(d) of the
                  Bankruptcy Code;



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                           (C)     the Loan is fully secured (based on a current valuation or appraisal
                  report) by junior liens on the Debtor’s encumbered assets; or

                           (D)      if any portion of the Loan is unsecured, the repayment of the Loan
                  retains priority over all other administrative expenses pursuant to Section 364(c)(1) of the
                  Bankruptcy Code (and in the case of this clause (D), before the acquisition of the Loan,
                  the Rating Condition is satisfied with respect to each Rating Agency).

          “Diversity Score” is a single number that indicates collateral concentration in terms of both
  issuer and industry concentration, calculated as set forth in Schedule 4 to the Indenture.

           “Domicile” or “Domiciled” means, with respect to each Collateral Obligation, (i) the jurisdiction
  of incorporation, organization or creation of the related obligor or (ii) in the case of a Collateral
  Obligation that would otherwise be considered to be domiciled pursuant to clause (i) in a Tax Advantaged
  Jurisdiction, the jurisdiction in which, in the commercially reasonable judgment of the Servicer, the
  related obligor conducts substantially all of its business operations and in which the assets primarily
  responsible for generating its revenues are located.

           “Due Period” means, with respect to any Payment Date, for all purposes other than payments and
  receipts under Hedge Agreements, the period from the Business Day after the eighth Business Day before
  the previous Payment Date (or in the case of the first Payment Date, from the Closing Date) up to but
  excluding the Business Day after the eighth Business Day before the Payment Date (or in the case of the
  final Payment Date or any Payment Date that is a Redemption Date, through the Business Day before the
  Payment Date and for payments and receipts under Hedge Agreements the period from the day after the
  previous Payment Date (or in the case of the first Payment Date from the Closing Date) through the
  Payment Date).

          “Eligible Country” means the United States, Canada and any country classified by Moody’s as a
  Moody’s Group I Country, Moody’s Group II Country or Moody’s Group III Country and, in each case,
  has an S&P foreign currency rating of at least “AA” and a Moody’s foreign currency rating of at least
  “Aa2”.

           “Eligible Equity Security” mean an equity security acquired in connection with the workout or
  restructuring of any Collateral Obligation by, or on behalf of, the Issuer that (i) is publicly traded on an
  Established Securities Market or (ii) the Market Value of which is higher than the Principal Balance of
  the Collateral Obligation with respect to which such equity security has been acquired by the Issuer.

          “Eligible Investments” means any Dollar-denominated obligation or asset that, when it is
  pledged by the Issuer to the Trustee under the Indenture, is one or more of the following:

                  (i)     Cash;

                   (ii)     direct Registered obligations of, and Registered obligations the timely payment
          of principal and interest on which is fully and expressly guaranteed by, the United States or any
          agency or instrumentality of the United States the obligations of which are expressly backed by
          the full faith and credit of the United States, which in each case are not zero coupon securities;

                   (iii)  demand and time deposits in, trust accounts, certificates of deposit payable
          within 91 days of issuance of, bankers’ acceptances payable within 91 days of issuance issued by,
          or Federal funds sold by any depositary institution or trust company incorporated under the laws
          of the United States or any state thereof and subject to supervision and examination by Federal
          and/or state banking authorities so long as the commercial paper and/or the debt obligations of
          such depository institution or trust company (or, in the case of the principal depository institution
          in a holding company system, the commercial paper or debt obligations of such holding
          company), at the time of such acquisition or contractual commitment providing for such
          acquisition and throughout the term thereof, have a credit rating of not less than “Aaa” by
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          Moody’s and “AAA” by S&P and in each case are not on watch for downgrade, or “P-1” by
          Moody’s and “A-1+” by S&P in the case of commercial paper and short-term debt obligations;
          provided that in any case, the issuer thereof must have at the time of such acquisition a long-term
          credit rating of not less than “AA-” by S&P and “Aa3” by Moody’s and a short-term rating of
          “A-1+” by S&P and “P-1” by Moody’s, and if so rated, is not on watch for downgrade;

                   (iv)    commercial paper or other short-term obligations with a maturity of not more
          than 183 days from the date of issuance and having at the time of such acquisition a credit rating
          of at least “P-1” by Moody’s and “A-1+” by S&P; provided that, in any case, the issuer thereof
          must have at the time of such acquisition a long-term credit rating of not less than “Aa2” by
          Moody’s and “AA-” by S&P, and if so rated, such rating is not on watch for downgrade;

                   (v)     unleveraged repurchase obligations with respect to any security described in
          clause (b) above entered into with a U.S. federal or state depository institution or trust company
          (acting as principal) described in clause (iii) above or entered into with a corporation (acting as
          principal) whose long-term credit rating is not less than “Aaa” by Moody’s and “AAA” by S&P
          and in each case are not on watch for downgrade or whose short-term credit rating is “P-1” by
          Moody’s and “A-1+” by S&P at the time of such acquisition and throughout the term thereof;
          provided that, if such repurchase obligation has a maturity of longer than 91 days, the
          counterparty thereto must also have at the time of such acquisition and throughout the term
          thereof a long-term credit rating of not less than “Aa2” by Moody’s and “AAA” by S&P, and if
          so rated, such rating is not on watch for downgrade;

                  (vi)    any money market fund or similar vehicle having at the time of acquisition and
          throughout the term thereof a credit rating of “MR1+” by Moody’s and “AAAm” by S&P;
          including any fund for which the Trustee or an Affiliate of the Trustee serves as an investment
          adviser, administrator, shareholder servicing agent, custodian or subcustodian, notwithstanding
          that (A) the Trustee or an Affiliate of the Trustee charges and collects fees and expenses from
          such funds for services rendered (provided that such charges, fees and expenses are on terms
          consistent with terms negotiated at arm’s length) and (B) the Trustee charges and collects fees
          and expenses for services rendered, pursuant to the Indenture;

                   (vii)   a guaranteed reinvestment agreement from a bank (if treated as a deposit by such
          bank), insurance company or other corporation or entity organized under the laws of the United
          States or any state thereof (if treated as debt by such insurance company or other corporation or
          entity), providing for periodic payments thereunder during each Due Period; provided that each
          such agreement provides that it is terminable by the purchaser, without premium or penalty, in the
          event that the rating assigned to such agreement by either Moody’s or S&P is at any time lower
          than the then current ratings assigned to the Class A-1 Notes, the Class A-2a Notes, the Class A-
          2b Notes, the Class A-3 Notes, the Class B Notes, the Class C Notes or the Class D Notes;
          provided, further, that, at the time of acquisition and throughout the term thereof, the issuer of
          such agreement has a senior unsecured long-term debt rating, issuer rating or counterparty rating
          of at least “Aaa” by Moody’s, a short-term debt rating of “P-1” by Moody’s (and not on watch for
          downgrade), a short-term debt rating of at least “A-1+” by S&P and a long-term debt rating of at
          least “AAA” by S&P (and not on watch for downgrade); and

                  (viii)   such other obligations or assets for which Rating Confirmation has been
          received;

  and, in each case, with a stated maturity (giving effect to any applicable grace period) no later than the
  Business Day before the Payment Date next succeeding the date of acquisition.

         Eligible Investments on deposit in the Revolving Reserve Account, the Delayed Drawdown
  Reserve Account, or the Synthetic Security Collateral Account must have a stated maturity no later than
  one Business Day after the date of their purchase.

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          Eligible Investments may not include:

                  (1)     any interest-only security, any security purchased at a price in excess of 100% of
          its par value, any mortgage-backed security or any security whose repayment is subject to
          substantial non-credit related risk as determined in the commercially reasonable judgment of the
          Servicer;

                   (2)    any security whose rating assigned by S&P includes the subscript “r”, “t”, “p”,
          “pi” or “q”;
                   (3)      any floating rate security whose interest rate is inversely or otherwise not
          proportionately related to an interest rate index or is calculated as other than the sum of an
          interest rate index plus a spread (which spread may be zero);

                  (4)     any security that is subject to an exchange or tender offer; or

                  (5)     any security that has payments subject to foreign or United States withholding
          tax.

          Eligible Investments may include Eligible Investments for which the Trustee or an Affiliate of the
  Trustee is the issuer or depository institution or provides services. Eligible Investments may not include
  obligations principally secured by real property.

          “Emerging Market Security” means a security or obligation issued by a sovereign or non-
  sovereign issuer located in a country (excluding the Cayman Islands, Bermuda, the British Virgin Islands,
  the Netherlands Antilles, and the Channel Islands):

                  (i)     that is in Latin America, Asia, Africa, Eastern Europe, or the Caribbean; or

                   (ii)     the long-term foreign currency debt obligations of which are rated below “Aa2”
          or “Aa2” and on credit watch with negative implications by Moody’s or the foreign currency
          issuer credit rating of which is below “AA” by S&P.

          “Euroclear” means Euroclear Bank S.A./N.V., as operator of the Euroclear system.

           “Excel Default Model Input File” means an electronic spreadsheet file in Microsoft excel
  format to be provided to S&P, which file shall include the balance of Cash and Eligible Investments in
  each account and the following information (to the extent such information is not confidential) with
  respect to each Collateral Obligation:

                  (a)      the name and country of domicile of the issuer thereof and the particular
          obligation or security held by the Issuer,

                  (b)     the CUSIP or other applicable identification number associated with such
          Collateral Obligation,

                  (c)     the par value of such Collateral Obligation,

                  (d)      the type of obligation or security (including, by way of example, whether such
          Collateral Obligation is a bond, loan or asset-backed security), using such abbreviations as may
          be selected by the Trustee,

                   (e)    a description of the index or other applicable benchmark upon which the interest
          payable on such Collateral Obligation is based (including, by way of example, fixed rate, step-up
          rate, zero coupon and LIBOR),


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                   (f)      the coupon (in the case of a Collateral Obligation which bears interest at a fixed
          rate) or the spread over the applicable index (in the case of a Collateral Obligation which bears
          interest at a floating rate),

                  (g)      the S&P Industry Classification for such Collateral Obligation,

                  (h)      the stated maturity date of such Collateral Obligation,

                  (i)      the S&P Rating of such Collateral Obligation or the issuer thereof, as applicable,

                  (j)      the applicable S&P Priority Category, and

                  (k)      such other information as the Trustee may determine to include in such file.

          “Excess CCC+/Caa1 Collateral Obligations” means the Principal Balance of all CCC+/Caa1
  Collateral Obligations in excess of 7.5% of the Maximum Amount on the relevant Determination Date.

          “Excluded Property” means (i) U.S.$1,000 (attributable to the issue and allotment of the Issuer
  Ordinary Shares) and a U.S.$1,000 transaction fee paid to the Issuer, the bank account in which those
  amounts are credited in the Cayman Islands and any interest earned on those amounts; (ii) any amounts
  credited to the Class II Preference Share Special Payment Account from time to time and (iii) any Margin
  Stock.

         “Extension” means an extension of the Replacement Period, the Stated Maturity of the Notes and
  the Weighted Average Life Test in accordance with the Indenture.

          “Extension Bonus Payment” means, with respect to each Maturity Extension, a single payment
  to each applicable beneficial owner set forth in “Description of the Securities—Extension of the
  Replacement Period, the Stated Maturity and the Scheduled Preference Shares Redemption Date” in an
  amount equal to (1) in the case of the Class A-1 Notes, 0.25% of the Aggregate Outstanding Amount
  thereof held by such beneficial owner as of the applicable Extension Effective Date, (2) in the case of the
  Class A-2a Notes, 0.25% of the Aggregate Outstanding Amount thereof held by such beneficial owner as
  of the applicable Extension Effective Date, (3) in the case of the Class A-2b Notes, 0.25% of the
  Aggregate Outstanding Amount thereof held by such beneficial owner as of the applicable Extension
  Effective Date, (4) in the case of the Class A-3 Notes, 0.25% of the Aggregate Outstanding Amount
  thereof held by such beneficial owner as of the applicable Extension Effective Date, (5) in the case of the
  Class B Notes, 0.25% of the Aggregate Outstanding Amount thereof held by such beneficial owner as of
  the applicable Extension Effective Date, (6) in the case of the Class C Notes, 0.25% of the Aggregate
  Outstanding Amount thereof held by such beneficial owner as of the applicable Extension Effective Date
  and (7) in the case of the Class D Notes, 0.25% of the Aggregate Outstanding Amount thereof held by
  such beneficial owner as of the applicable Extension Effective Date.

          “Extension Bonus Eligibility Certification” means, with respect to each Maturity Extension and
  each beneficial owner of Notes other than Extension Sale Securities, the written certification by such
  beneficial owner acceptable to the Issuer to the effect that it held Notes other than Extension Sale
  Securities on the applicable Extension Effective Date, including the Aggregate Outstanding Amount
  thereof in the case of the Notes and wire transfer instructions for the Extension Bonus Payment and any
  required documentation thereunder.

          “Extension Determination Date” means the 8th Business Day prior to each Extension Effective
  Date.

            “Extension Purchase Price” means the purchase price payable by the Extension Qualifying
  Purchasers for Extension Sale Securities in connection with each Maturity Extension, if any, in an amount
  equal to (i) in the case of the Notes, the Aggregate Outstanding Amount thereof, plus accrued and unpaid
  interest (including Deferred Interest, if any) as of the applicable Extension Effective Date (giving effect to
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  any amounts paid to the Holder on such date), and (ii) in the case of the Preference Shares and the
  Holding Preference Shares, an amount that, when taken together with all payments and distributions made
  in respect of such Preference Shares or Holding Preference Shares, as the case may be, since the Closing
  Date would cause such Preference Shares or Holding Preference Shares, as applicable, to have received
  (as of the date of purchase thereof) a Preference Share Internal Rate of Return or a Holding Preference
  Share Internal Rate of Return, as applicable, of 12.0% (assuming such purchase date was a “Payment
  Date” under the Indenture); provided, however, that if the applicable Extension Effective Date is on or
  after the date on which such Holders have received a Preference Share Internal Rate of Return or a
  Holding Preference Share Internal Rate of Return, as applicable, equal to or in excess of 12.0%, the
  applicable Extension Purchase Price for such Preference Shares or Holding Preference Shares, as
  applicable, shall be zero.

           “Extension Qualifying Purchasers” means the Servicer (or any of its Affiliates acting as
  principal or agent); provided that in the event that the Servicer elects not to purchase Extension Sale
  Securities from Holders pursuant to the Extension Conditions set forth in “Description of the Securities—
  Extension of the Replacement Period, the Stated Maturity and the Scheduled Preference Shares
  Redemption Date;” “Extension Qualifying Purchasers” shall mean one or more qualifying purchasers
  (which may include the Initial Purchaser, the Placement Agent, the Investors Corp. Placement Agent or
  any of their respective Affiliates acting as principal or agent) designated by the Servicer; provided
  however, none of the Servicer, the Initial Purchaser, the Placement Agent, the Investors Corp. Placement
  Agent or any of their respective Affiliates shall have any duty to act as an Extension Qualifying
  Purchaser.

          “Face Amount” means, with respect to any Preference Share or Holding Preference Share, the
  amount set forth therein as the “face amount” thereof, which “face amount” shall be $1,000 per
  Preference Share or Holding Preference Share.

          “Finance Lease” means a lease agreement or other agreement entered into in connection with
  and evidencing a Leasing Finance Transaction.

          “Fixed Amount” means, with respect to any CDS/TRS Purchaser and each applicable Fixed Rate
  Payor Calculation Period, the product of (i) the applicable Fixed Rate Payor Calculation Amount with
  respect to such CDS/TRS Purchaser, (ii) the applicable Fixed Rate with respect to such CDS/TRS
  Purchaser and (iii) a fraction the numerator of which is the actual number of days in such Fixed Rate
  Payor Calculation Period and the denominator of which is 360.

          “Fixed Rate” means, with respect to any CDS/TRS Purchaser, the spread over LIBOR of the
  Class of Notes held by such CDS/TRS Purchaser with respect to which such CDS/TRS Purchaser has
  entered into a credit default swap or a total return swap, as the case may be.

          “Fixed Rate Excess” means, as of any Measurement Date, a fraction whose numerator is the
  product of:

                  (i)    the greater of zero and the excess of the Weighted Average Fixed Rate Coupon
          for the Measurement Date over the minimum percentage specified to pass the Weighted Average
          Fixed Rate Coupon Test; and

                 (ii)   the Aggregate Principal Balance of all Fixed Rate Obligations (excluding any
          Non-Performing Collateral Obligations) held by the Issuer as of the Measurement Date;

  and whose denominator is the Aggregate Principal Balance of all Floating Rate Obligations (excluding
  any Non-Performing Collateral Obligations) held by the Issuer as of the Measurement Date.

         In computing the Fixed Rate Excess on any Measurement Date, the Weighted Average Fixed
  Rate Coupon for the Measurement Date will be computed as if the Spread Excess were equal to zero.

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          “Fixed Rate Obligations” means any Collateral Obligation that bears interest at a fixed rate.

          “Fixed Rate Payor Calculation Amount” means, with respect to any CDS/TRS Purchaser for
  purposes of calculating the applicable CDS/TRS Termination Payment Amount, the Aggregate
  Outstanding Amount of the Notes held by such CDS/TRS Purchaser as of the date of purchase of such
  Notes in an Amendment Buy-Out (in each case, after giving effect to any principal amounts paid to such
  CDS/TRS Purchaser on such date).

          “Fixed Rate Payor Calculation Period” means, with respect to any CDS/TRS Purchaser for
  purposes of calculating the applicable CDS/TRS Termination Payment Amount, initially, the period from
  and including the date of purchase of such Notes in an Amendment Buy-Out to but excluding the
  immediately succeeding Payment Date, and, thereafter, each successive period from and including each
  Payment Date to but excluding the following Payment Date; provided that the last Fixed Rate Payor
  Calculation Period shall end on the August 2011 Payment Date.

          “Floating Rate Notes” means the Class A-1 Notes, the Class A-2a Notes, the Class A-2b Notes,
  the Class A-3 Notes, the Class B Notes, the Class C Notes and the Class D Notes.

           “Floating Rate Obligation” means any Collateral Obligation that bears interest based on a
  floating rate index.

          “Form-Approved Synthetic Security” means a Synthetic Security:

                  (i)     (A)     each of the Reference Obligations of which satisfy the definition of
                  “Collateral Obligation” and could be purchased by the Issuer without any required action
                  by the Rating Agencies, without satisfaction of the Rating Condition or which the Rating
                  Agencies have otherwise approved; or

                          (B)     each of the Reference Obligations of which would satisfy clause (A)
                  above but for the currency in which the Reference Obligation is payable and the
                  Synthetic Security is payable in Dollars, does not provide for physical settlement, and
                  does not expose the Issuer to Dollar currency risk;

                  (ii)     the Synthetic Security Agreement of which conforms (but for the amount and
          timing of periodic payments, the name of the Reference Obligation, the notional amount, the
          effective date, the termination date, and other similar necessary changes) to a form that has been
          expressly identified and approved in writing in connection with a request under the Indenture by
          Moody’s and S&P;

                  (iii)   a copy of the Synthetic Security Agreement of which has been delivered to the
          Holders of the Class A-1 Notes, the Class A-2a Notes and the Class A-2b Notes by the Trustee at
          the expense of the Co-Issuers and upon being furnished with a copy of the same by the Servicer;
          and

                   (iv)   that is with a counterparty with respect to which the Rating Condition has been
          satisfied by each of Moody’s and S&P prior to the acquisition of any such Form-Approved
          Synthetic Security, and such approval has not been withdrawn.

         Moody’s or S&P may at any time, by notice to the Servicer, withdraw its approval of any such
  form. A withdrawal of approval shall have no effect on any Synthetic Security acquired, entered into, or
  committed to before the date on which the Servicer receives the notice of withdrawal.

           “Funded Amount” means, with respect to any Revolving Loan or Delayed Drawdown Loan at
  any time, the aggregate principal amount of advances or other extensions of credit made thereunder by the
  Issuer that are outstanding and have not been repaid at such time.


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          “Hedge Agreements” means, collectively, all interest rate cap or interest rate swap agreements
  between the Issuer and any Hedge Counterparty, and any replacement agreement entered into pursuant to
  the Indenture.

          “Hedge Counterparty” means any counterparty, to the extent that when the Issuer enters into
  any Hedge Agreement with such counterparty, such counterparty satisfies the requirements of the
  Indenture, including the satisfaction of the Rating Condition for each Rating Agency.

          “Hedge Termination Receipt” means any termination payment paid by the Hedge Counterparty
  to the Issuer upon any early termination of a Hedge Agreement with respect to which the Hedge
  Counterparty is the sole Defaulting Party or Affected Party (each as defined in the Hedge Agreements).

          “High-Yield Bond” means any debt security, other than a Loan or a Structured Finance
  Obligation, that is either Registered or, if not Registered, (i) it is issued by an obligor that is not resident
  in the United States, (ii) the payments on it are not subject to United States withholding tax and (iii) it is
  held through a financial institution pursuant to the procedures described in Treasury Regulation section
  1.165-12(c)(3).

           “Holder” means, of any Note, the person whose name appears on the Indenture Register as the
  registered holder of the Note; of any Preference Share, the person whose name appears in the Preference
  Share register related thereto as the registered holder of such Preference Share and of any Holding
  Security, the person whose name appears in the Holding Preference Share register related thereto as the
  registered holder of such Holding Security.

          “Holding Preference Shares ” means the preference shares issued by Investors Corp. pursuant to
  the Holding Preference Share Documents. For the avoidance of doubt, (A) all references in this Offering
  Memorandum to the “Holding Preference Shares” include the “Holding Preference Share Component” of
  the Class P Securities and (B) all references in this Offering Memorandum to the rights of the Holders of
  the Holding Preference Shares (including with respect to any payments, distributions, redemptions, votes
  or consents to be given by such Holders) include the rights of the Holders of the Class P Securities to the
  extent of the Holding Preference Share Component of the Class P Securities.

          “Holding Preference Share Documents” means Investors Corp.’s memorandum and articles of
  association, the Holding Preference Shares Paying Agency Agreement and the resolutions of Investors
  Corp.’s board of directors authorizing the issuance of the Holding Securities passed on or before the
  Closing Date.

          “Holding Preference Share Internal Rate of Return” means, with respect to any Payment
  Date, the internal rate of return (computed using the “XIRR” function in Microsoft® Excel 2002 or an
  equivalent function in another software package), stated on a per annum basis, for each distribution made
  to the Holders of the Holding Preference Shares on any prior Payment Date and, to the extent necessary to
  reach the applicable Holding Preference Share Internal Rate of Return, the current Payment Date,
  assuming all Holding Preference Shares are purchased on the Closing Date at their Face Amount.

          “Holding Preference Shares Paying Agency Agreement” means the Holding Preference Shares
  Paying Agency Agreement, dated as of the Closing Date, by and between Investors Corp. and the Holding
  Preference Shares Paying Agent, as amended from time to time in accordance with the terms thereof.

           “Holding Preference Shares Paying Agent” means Investors Bank & Trust Company, in its
  capacity as holding preference shares paying agent under the Holding Preference Shares Paying Agency
  Agreement, unless a successor Person shall have become the holding preference shares paying agent
  pursuant to the applicable provisions of the Holding Preference Shares Paying Agency Agreement, and
  thereafter “Holding Preference Shares Paying Agent” shall mean such successor Person.

          “Holding Securities” means, collectively, the Holding Preference Shares and the Class P
  Securities.
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          “Indenture Registrar” means the Bank in its capacity as Indenture registrar as provided in the
  Indenture.

           “Indenture Register” means the register caused to be kept by the Issuer for the purpose of
  registering Notes and transfers of the Notes as provided in the Indenture.

         “Initial Consent Period” means the period of 15 Business Days from but excluding the date on
  which the Trustee mailed notice of a proposed supplemental indenture pursuant to the Indenture to the
  Holders of Securities.

         “Initial Rating” means, the ratings by Moody’s and S&P with respect to each Class of Notes
  provided in the table in “Summary of Terms—Principal Terms of the Securities.”

          “Interest Period” means, initially, the period from and including the Closing Date to but
  excluding the first Payment Date, and, thereafter, each successive period from and including each
  Payment Date to but excluding the following Payment Date.

           “Interest Proceeds” means, with respect to any Due Period, the sum (without duplication) of all
  amounts received in Cash during the Due Period (or as otherwise specified below) by the Issuer with
  respect to the Collateral that are:

                  (i)     payments of interest, fees, and commissions (excluding (A) Accrued Interest
          Purchased With Principal, (B) interest and dividends on Workout Assets, (C) fees and
          commissions from Defaulted Collateral Obligations, and (D) syndication and other up-front fees
          and any up-front fixed payments received in connection with entering into a Synthetic Security);

                  (ii)    any portion of the Sale Proceeds of a Collateral Obligation (other than a
          Defaulted Collateral Obligation) representing Accrued Interest On Sale;

                 (iii)    all payments of principal on, or disposition proceeds from the sale of, Eligible
          Investments to the extent purchased with Interest Proceeds;

                  (iv)      payments with respect to the Hedge Agreements received on or before the related
          Payment Date (other than any amount payable thereunder because of any early termination or
          notional amount reduction), but not any Sale Proceeds from any of these instruments (except to
          the extent that they were purchased with Interest Proceeds);

                  (v)     all fees received pursuant to any Securities Lending Agreements;

                 (vi)    amounts in the Collection Account designated for distribution as Interest
          Proceeds pursuant to the Priority of Payments (including any amount transferred from the Interest
          Reserve Account);

                  (vii) all earnings on amounts in the Delayed Drawdown Reserve Account and the
          Revolving Reserve Account deposited to the Collection Account in accordance with the
          Indenture;

                  (viii) amounts in the Expense Reimbursement Account on the Payment Date for the
          relevant Due Period;

                  (ix)     any recoveries (including interest) received on a Defaulted Collateral Obligation
          in excess of the principal balance of such Defaulted Collateral Obligation (as of the date the
          related Collateral Obligation became a Defaulted Collateral Obligation).




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           Interest Proceeds shall not include the Excluded Property and Interest Proceeds shall not include
  earnings on amounts on deposit in the Securities Lending Account to the extent the earnings are payable
  by the Issuer to a Securities Lending Counterparty.

          Each reference in the definition of “Interest Proceeds” to a Collateral Obligation shall include a
  Collateral Obligation that has been loaned pursuant to a Securities Lending Agreement and Interest
  Proceeds shall include any amounts referred to in clauses (i) through (iii) above received by the Issuer in
  respect of the Collateral Obligation indirectly from the related Securities Lending Counterparty pursuant
  to the Securities Lending Agreement.

           With respect to any Payment Date, Interest Proceeds in an amount equal to the Interest Proceeds
  due and payable on such Payment Date to the Consenting Holders of the Preference Shares with respect
  to such Payment Date that are distributed to such Holders by way of Eligible Equity Securities in lieu of
  Cash pursuant to “Description of the Securities—Priority of Payments—Interest Proceeds” will be treated
  for all purposes by the Issuer and the Servicer as Principal Proceeds.

          “Investors Corp. Placement Agent ” means Citigroup Global Markets Inc.

          “Issuer Charter” means the Memorandum and Articles of Association of the Issuer, as amended
  and restated before the Closing Date or in accordance with the Indenture.

          “Issuer Order” and “Issuer Request” means a written order or request dated and signed in the
  name of the Issuer, the Co-Issuer or Investors Corp. by an Authorized Officer of the Issuer, the Co-Issuer
  or Investors Corp., as applicable, or by the Servicer by an Authorized Officer of the Servicer, on behalf of
  the Issuer or the Co-Issuer.

          “Junior Class” means, with respect to a particular Class of Notes, each Class of Notes that is
  subordinated to that Class.

           “Leasing Finance Transaction” means any transaction pursuant to which the obligations of the
  lessee to pay rent or other amounts on a triple net basis under any lease of (or other arrangement
  conveying the right to use) real or personal property, or a combination thereof, are required to be
  classified and accounted for as a capital lease on a balance sheet of such lessee under generally accepted
  accounting principles in the United States of America; but only if (a) such lease or other transaction
  provides for the unconditional obligation of the lessee to pay a stated amount of principal no later than a
  stated maturity date, together with interest thereon, and the payment of such obligation is not subject to
  any material non-credit related risk as determined by the Servicer, (b) the obligations of the lessee in
  respect of such lease or other transaction are fully secured, directly or indirectly, by the property that is
  the subject of such lease and (c) the interest held by the Issuer in respect of such lease or other transaction
  is treated as debt for U.S. federal income tax purposes.

          “Loan” means any interest in a fully committed, senior secured, unsecured, or revolving loan
  (including loans involving credit linked deposits) that is acquired by assignment or by Participation
  (including any DIP Loan) that is either:

                   (i)     Registered; or

                   (ii)    issued by an obligor that is not resident in the United States;

                           (A)      whose payments are not subject to United States withholding tax; and

                           (B)     that is held through a financial institution pursuant to the procedures
                           described in Treasury Regulation section 1.165-12(c)(3).

           “Long-Dated Collateral Obligation” means any Collateral Obligation with a stated maturity
  later than the Stated Maturity of the Notes other than a Collateral Obligation with a stated maturity later
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  than the Stated Maturities of the Notes that includes a “put” option to its obligor at a price of at least par
  payable on or before the Stated Maturity of the Notes.

          “Majority” means, with respect to any Class or group of Notes or Preference Shares, the Holders
  of more than 50% of the Aggregate Outstanding Amount of that Class or group of Notes or Preference
  Shares, as the case may be.

          “Margin Stock” means “Margin Stock” as defined under Regulation U issued by the Board of
  Governors of the Federal Reserve System, including any debt security that is by its terms convertible into
  Margin Stock, but does not include any obligation that at the time of acquisition, conversion, or exchange
  does not satisfy the requirements of a Collateral Obligation received pursuant to an offer by an issuer of a
  Defaulted Collateral Obligation.

           “Market Value” means, as of any Measurement Date, the market value determined by the
  Servicer and reported to the Trustee as an amount rather than as a percentage or fraction of par (expressed
  in Dollars) of any Collateral Obligation (or Eligible Equity Security, as applicable) based upon the
  Servicer’s commercially reasonable judgment and based upon the following order of priority: (i) the
  average of the bid-side market prices obtained by the Servicer from three Independent broker-dealers
  active in the trading of such obligations or (ii) if the foregoing set of prices were not obtained, the lower
  of the bid-side market prices obtained by the Servicer from two Independent broker-dealers active in the
  trading of such obligations or (iii) if the foregoing sets of prices were not obtained, the average of the bid-
  side prices for the purchase of the Collateral Obligation (or Eligible Equity Security, as applicable)
  determined by an Approved Pricing Service (Independent from the Servicer) that derives valuations by
  polling broker-dealers (Independent from the Servicer).

           If a Market Value of any Collateral Obligation cannot be so determined in accordance with the
  procedures set out in the previous paragraph for a period of 30 consecutive days then such Collateral
  Obligation shall be deemed to have a Market Value of zero; provided, that during such 30 day period,
  such Collateral Obligation shall be deemed to have a Market Value equal to (a) the higher of (i) the S&P
  Priority Category Recovery Rate for such Collateral Obligation and the then current S&P Rating of the
  Class A-1 Notes and (ii) 70%, of the Principal Balance of such Collateral Obligation or (b) if the Servicer
  has determined in its commercially reasonable judgment that the Market Value of such Collateral
  Obligation is lower than the amount determined pursuant to clause (a), such amount determined by the
  Servicer in its commercially reasonable judgment; provided, further, that the maximum amount of
  Collateral Obligations having a Market Value assigned pursuant to the immediately preceding proviso
  shall be limited to 5.0% of the Maximum Amount (and any amount in excess of 5.0% of the Maximum
  Amount shall be deemed to have a Market Value of zero). For the avoidance of doubt, the procedures set
  out in this paragraph should not apply to determinations of Market Value of any Eligible Equity
  Securities.

           The Servicer is under no obligation to determine the Market Value of the Collateral Obligations
  other than as set forth in the Servicing Agreement or the Indenture or to comply with any of its duties as
  set forth in the Servicing Agreement or in the Indenture.

          “Market Value Determination Date” means, with respect to any distribution of Eligible Equity
  Securities, one Business Day prior to the date of the notice distributed by the Issuer to the Holders of the
  Preference Shares in connection with such distribution.

          “Market Value Percentage” means, for any Collateral Obligation, the ratio obtained by
  dividing:

                   (i)     the Market Value of the Collateral Obligation; by

                   (ii)    the Principal Balance of the Collateral Obligation.


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          “Maximum Amount” means an amount equal to:

                  (i)     on any Measurement Date during the Ramp-Up Period, U.S.$1,500,000,000; and

                  (ii)    on any Measurement Date after the Ramp-Up Completion Date:

                         (A)      the aggregate Principal Balance of all Collateral Obligations plus the
                  aggregate outstanding principal amount of any Defaulted Collateral Obligations; plus

                         (B)    cash representing Principal Proceeds on deposit in the Collection
                  Account; plus

                          (C)     Eligible Investments (other than cash) purchased by the Issuer with
                  Principal Proceeds on deposit in the Collection Account.

          “Maximum Weighted Average Moody’s Rating Factor” means, as of any Measurement Date,
  a rate equal to the sum of (i) the number set forth in the column entitled “Maximum Weighted Average
  Moody’s Rating Factor” in the Ratings Matrix based upon the applicable “row/column combination”
  chosen by the Servicer (or the interpolation between two adjacent rows and/or two adjacent columns, as
  applicable) plus (ii) the Recovery Rate Modifier.

          “Measurement Date” means any date:

                  (i)     on which the Issuer commits to acquire or dispose of any Collateral Obligation;

                  (ii)    on which a Collateral Obligation becomes a Defaulted Collateral Obligation;

                  (iii)   that is a Determination Date;

                  (iv)    that is the Ramp-Up Completion Date;

                 (v)       that is the date as of which the information in a Monthly Report is calculated
          pursuant to the Indenture; and,

                  with respect to any distribution of Eligible Equity Securities only,

                  (vi)    that is the Market Value Determination Date.

          “Minimum Diversity Score” means, as of any Measurement Date, a score equal to the number
  set forth in the column entitled “Minimum Diversity Score” in the Ratings Matrix based upon the
  applicable “row/column combination” chosen by the Servicer (or the interpolating between two adjacent
  rows and/or two adjacent columns, as applicable).

          “Minimum Weighted Average Spread” means, as of any Measurement Date, the spread equal
  to the percentage set forth in the row entitled “Minimum Weighted Average Spread” in the Ratings
  Matrix based upon the applicable “row/column combination” chosen by the Servicer (or the interpolating
  between two adjacent rows and/or two adjacent columns, as applicable).

          “Monthly Report” means a monthly report compiled and provided by the Issuer.

           “Moody’s Default Probability Rating” means with respect to any Collateral Obligation, as of
  any date of determination, the rating determined in accordance with the following, in the following order
  of priority:

                  (i)     with respect to a Moody’s Senior Secured Loan:


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                             (A)     if the Loan’s obligor has a corporate family rating from Moody’s, such
                     corporate family rating; and
                            (B)      if the preceding clause does not apply, the Moody’s Obligation Rating of
                     such Loan;
                             (C)   if the preceding clauses do not apply, the rating that is one subcategory
                     above the Moody’s Equivalent Senior Unsecured Rating;
                 (ii)    with respect to a Moody’s Non Senior Secured Loan or a Bond, the Moody’s
          Equivalent Senior Unsecured Rating of such Collateral Obligation;

                   (iii)  with respect to a Collateral Obligation that is a DIP Loan, the rating that is one
          rating subcategory below the Assigned Moody’s Rating thereof;

                   (iv)     with respect to a Structured Finance Obligation, the Assigned Moody’s Rating
          thereof (or, if the obligation does not have an Assigned Moody’s Rating but has a rating by S&P,
          then the Moody's Default Probability Rating shall be:

                               (x)    one rating subcategory below the Moody’s equivalent of such S&P rating
                     if it is “BBB–” or higher, or
                              (y)      two rating subcategories below the Moody’s equivalent of such S&P
                     rating if it is “BB+” or lower; and
                     (v)     with respect to a Synthetic Security, the Assigned Moody’s Rating thereof.

  Notwithstanding the foregoing, if the Moody’s rating or ratings used to determine the Moody’s Default
  Probability Rating are on watch for downgrade or upgrade by Moody’s, such rating or ratings will be
  adjusted down (if on watch for downgrade) (i) with respect to any Collateral Obligation other than
  Structured Finance Obligations, one subcategory and (ii) with respect to any Structured Finance
  Obligation, two subcategories or adjusted up (if on watch for upgrade) (i) with respect to any Collateral
  Obligation other than Structured Finance Obligations, one subcategory and (ii) with respect to any
  Structured Finance Obligation, two subcategories. For purposes of any calculation under the Indenture, if
  a Moody’s Default Probability Rating is withdrawn by Moody’s with respect to a Collateral Obligation,
  the Issuer will continue using the latest Moody’s Default Probability Rating available immediately prior
  to such withdrawal until a bankruptcy event occurs with respect to such Collateral Obligation.

          “Moody’s Equivalent Senior Unsecured Rating” means, with respect to any Collateral
  Obligation that is a Loan or bond and the obligor thereof, as of any date of determination, the rating
  determined in accordance with the following, in the following order of priority:

                  (i)    if the obligor has a senior unsecured obligation with an Assigned Moody’s
          Rating, such Assigned Moody’s Rating;

                     (ii)    if the preceding clause does not apply, the Moody’s “Issuer Rating” for the
          obligor;

                  (iii)   if the preceding clauses do not apply, but the obligor has a subordinated
          obligation with an Assigned Moody’s Rating; then

                             (A)      if such Assigned Moody’s Rating is at least “B3” (and, if rated “B3”, not
                     on watch for downgrade), the Moody’s Equivalent Senior Unsecured Rating shall be the
                     rating which is one rating subcategory higher than such Assigned Moody’s Rating; or

                            (B)    if such Assigned Moody’s Rating is less than “B3” (or rated “B3” and on
                     watch for downgrade), the Moody’s Equivalent Senior Unsecured Rating shall be such
                     Assigned Moody’s Rating;
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                (iv)    if the preceding clauses do not apply, but the obligor has a senior secured
        obligation with an Assigned Moody’s Rating; then:

                         (A)    if such Assigned Moody’s Rating is at least “Caa3” (and, if rated “Caa3”,
                not on watch for downgrade), the Moody’s Equivalent Senior Unsecured Rating shall be
                the rating which is one subcategory below such Assigned Moody’s Rating; or

                         (B)  if such Assigned Moody’s Rating is less than “Caa3” (or rated “Caa3”
                and on watch for downgrade), then the Moody’s Equivalent Senior Unsecured Rating
                shall be “C”;

                (v)    if the preceding clauses do not apply, but such obligor has a corporate family
        rating from Moody’s, the Moody’s Equivalent Senior Unsecured Rating shall be one rating
        subcategory below such corporate family rating;

                 (vi)     if the preceding clauses do not apply, but the obligor has a senior unsecured
        obligation (other than a bank loan) with a monitored public rating from S&P (without any
        postscripts, asterisks or other qualifying notations, that addresses the full amount of principal and
        interest promised), then the Moody’s Equivalent Senior Unsecured Rating shall be:

                          (A)    one rating subcategory below the Moody’s equivalent of such S&P rating
                if it is “BBB–” or higher;

                         (D)      two rating subcategories below the Moody’s equivalent of such S&P
                rating if it is “BB+” or lower; or

                        (E)      “B3” until the Issuer or the Servicer obtains an estimated rating from
                Moody’s of (a) the Servicer certifies to the Trustee that in its commercially reasonable
                judgment, it believes an estimated rating equivalent to a rating no lower than “B3” will be
                assigned by Moody’s and the Issuer or the Servicer on its behalf applies for an estimated
                rating from Moody’s within five Business Days of the date of the commitment to
                purchase the Loan or Bond, (b) the aggregate Principal Balance of Collateral Obligations
                having an Assigned Moody’s Rating pursuant to either this clause (vi)(C), or clauses
                (vii)(C) or (viii)(C) does not exceed 5% of the Maximum Amount, and (c) all the
                Coverage Tests and the Collateral Quality Tests are satisfied;

                 (vii)    if the preceding clauses do not apply, but the obligor has a subordinated
        obligation (other than a bank loan) with a monitored public rating from S&P (without any
        postscripts, asterisks or other qualifying notations, that addresses the full amount of principal and
        interest promised), the Assigned Moody’s Rating shall be deemed to be:

                          (A)    one rating subcategory below the Moody’s equivalent of such S&P rating
                if it is “BBB–” or higher;

                         (B)      two rating subcategories below the Moody’s equivalent of such S&P
                rating if it is “BB+” or lower, and the Moody’s Equivalent Senior Unsecured Rating shall
                be determined pursuant to clause (iii) above; or

                        (C)     “B3” until the Issuer or the Servicer obtains an estimated rating from
                Moody’s if (a) the Servicer certifies to the Trustee that in its commercially reasonable
                judgment, it believes an estimated rating equivalent to a rating not lower than “B3” will
                be assigned by Moody’s and the Issuer or the Servicer on its behalf applies for an
                estimated rating from Moody’s within five Business Days of the date of the commitment
                to purchase the Loan or Bond, (b) the aggregate Principal Balance of Collateral
                Obligations having an Assigned Moody’s Rating pursuant to either this clause (vii)(C), or

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               clauses (vi)(C) or (viii)(C) does not exceed 5% of the Maximum Amount, and (c) all the
               Coverage Tests and the Collateral Quality Tests are satisfied;

                (viii) if the preceding clauses do not apply, but the obligor has a senior secured
        obligation with a monitored public rating from S&P (without any postscripts, asterisks or other
        qualifying notations, that addresses the full amount of principal and interest promised), the
        Assigned Moody’s Rating shall be deemed to be:

                         (A)    one rating subcategory below the Moody’s equivalent of such S&P rating
               if it is “BBB–” or higher;

                        (B)      two rating subcategories below the Moody’s equivalent of such S&P
               rating if it is “BB+” or lower, and the Moody’s Equivalent Senior Unsecured Rating shall
               be determined pursuant to clause (iv) above; or

                       (C)      “B3” until the Issuer or the Servicer obtains an estimated rating from
               Moody’s if (a) the Servicer certifies to the Trustee that in its commercially reasonable
               judgment, it believes an estimated rating equivalent to a rating not lower than “B3” will
               be assigned by Moody’s and the Issuer or the Servicer on its behalf applies for an
               estimated rating from Moody’s within two Business Days of the date of the commitment
               to purchase the Loan or Bond, (b) the aggregate Principal Balance of Collateral
               Obligations having an Assigned Moody’s Rating pursuant to either this clause (viii)(C),
               or clause (vi)(C) or (vii)(C) does not exceed 5% of the Maximum Amount, and (c) all the
               Coverage Tests and the Collateral Quality Tests are satisfied;

                (ix)    if the preceding clauses do not apply and each of the following clauses (A)
        through (H) do apply, the Moody’s Equivalent Senior Unsecured Rating will be “Caa1”:

                      (A)     neither the obligor nor any of its Affiliates is subject to reorganization or
               bankruptcy proceedings;

                       (B)     no debt securities or obligations of the obligor are in default;

                       (C)     neither the obligor nor any of its Affiliates has defaulted on any debt
               during the preceding two years;

                       (D)     the obligor has been in existence for the preceding five years;

                       (E)     the obligor is current on any cumulative dividends;

                       (F)     the fixed-charge ratio for the obligor exceeds 125% for each of the
               preceding two fiscal years and for the most recent quarter;

                       (G)      the obligor had a net profit before tax in the past fiscal year and the most
               recent quarter; and

                        (H)     the annual financial statements of such obligor are unqualified and
               certified by a firm of Independent accountants of international reputation, and quarterly
               statements are unaudited but signed by a corporate officer;

                (x)     if the preceding clauses do not apply but each of the following clauses (A) and
        (B) do apply, the Moody’s Equivalent Senior Unsecured Rating will be “Caa3”:

                      (A)     neither the obligor nor any of its Affiliates is subject to reorganization or
               bankruptcy proceedings; and


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                           (B)    no debt security or obligation of such obligor has been in default during
                  the past two years; and

                  (xi)    if the preceding clauses do not apply and a debt security or obligation of the
          obligor has been in default during the past two years, the Moody’s Equivalent Senior Unsecured
          Rating will be “Ca”.

  Notwithstanding the foregoing, not more than 10% of the Maximum Amount may consist of Relevant
  Obligations given a Moody’s Equivalent Senior Unsecured Rating based on a rating given by S&P as
  provided in clauses (vi), (vii) and (viii) above.

          “Moody’s Group I Country” means any of the following countries: Australia, the Netherlands,
  the United Kingdom and any country subsequently determined by Moody’s to be a Moody’s Group I
  Country.

          “Moody’s Group II Country” means any of the following countries: Germany, Ireland, Sweden,
  Switzerland and any country subsequently determined by Moody’s to be a Moody’s Group II Country.

         “Moody’s Group III Country” means any of the following countries: Austria, Belgium,
  Denmark, Finland, France, Iceland, Liechtenstein, Luxembourg, Norway, Spain and any country
  subsequently determined by Moody’s to be a Moody’s Group III Country.

          “Moody’s Minimum Average Recovery Rate” means, as of any Measurement Date, a rate
  equal to the number obtained by (i) summing the products obtained by multiplying the Principal Balance
  of each Collateral Obligation by its respective Moody’s Priority Category Recovery Rate, (ii) dividing the
  sum determined pursuant to clause (i) above by the sum of the Aggregate Principal Balance of all
  Collateral Obligations and (iii) rounding up to the first decimal place.

          “Moody’s Non Senior Secured Loan” means any Loan that is not a Moody’s Senior Secured
  Loan.

         “Moody’s Obligation Rating” means, with respect to any Collateral Obligation as of any date of
  determination, the rating determined in accordance with the following, in the following order of priority:

                  (i)     With respect to a Moody’s Senior Secured Loan:

                          (A)     if it has an Assigned Moody’s Rating, such Assigned Moody’s Rating; or

                          (B)    if the preceding clause does not apply, the rating that is one rating
                  subcategory above the Moody’s Equivalent Senior Unsecured Rating; and

                  (ii)    With respect to a Moody’s Non Senior Secured Loan or a Bond:

                          (A)     if it has an Assigned Moody’s Rating, such Assigned Moody’s Rating; or

                         (B)     if the preceding clause does not apply, the Moody’s Equivalent Senior
                  Unsecured Rating; and

                  (iii)   With respect to a Synthetic Security or a DIP Loan, the Assigned Moody’s
          Rating thereof.

  Notwithstanding the foregoing, if the Moody’s rating or ratings used to determine the Moody’s Default
  Probability Rating are on watch for downgrade or upgrade by Moody’s, such rating or ratings will be
  adjusted down one subcategory (if on watch for downgrade) or up one subcategory (if on watch for
  upgrade).


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           “Moody’s Priority Category” means each type of Collateral Obligation specified in the
  definition of “Moody’s Priority Catetory Recovery Rate Matrix” as a “Moody’s Priority Category.”

          “Moody’s Priority Category Recovery Rate” means for any Collateral Obligation, the
  percentage specified in the definition of “Moody’s Priority Catetory Recovery Rate Matrix” opposite the
  Moody’s Priority Category of the Collateral Obligation.

          “Moody’s Priority Catetory Recovery Rate Matrix” means the table below:

  Moody’s Priority                                           Moody’s Priority Category
  Category                                                       Recovery Rate
  Synthetic Securities............... In the case of:
                                      (i)     a Form-Approved Synthetic Security, the “Moody’s Priority
                                      Category Recovery Rate” given by Moody’s to the Form-Approved
                                      Synthetic Security at the time of approval of the Form-Approved Synthetic
                                      Security by Moody’s; and
                                      (ii)    any other Synthetic Security, the “Moody’s Priority Category
                                      Recovery Rate” given by Moody’s to the Synthetic Security at the time of
                                      acquisition of the Synthetic Security.
  Structured Finance
  Obligations............................ The Moody’s Priority Category Recovery Rate determined in accordance
                                          with the Moody’s Structured Finance Obligation Recovery Rates set forth
                                          in Schedule 5 to the Indenture by reference to the type of asset and its then
                                          Moody’s Rating (or, with respect to assets to which that schedule does not
                                          apply, on a case-by-case basis in connection with the grant of the relevant
                                          Collateral Obligation).
  unsecured DIP Loans and
  any Collateral Obligations
  not covered above or below .. As determined by Moody’s on a case-by-case basis.


  For High-Yield Bonds, Moody’s Senior Secured Loans and Moody’s Non Senior Secured Loans, the
  relevant Moody’s Priority Category Recovery Rate is the rate determined pursuant to the table below
  based on the number of rating subcategories difference between the High-Yield Bond’s or Loan’s
  Moody’s Obligation Rating and its Moody’s Default Probability Rating (for purposes of clarification, if
  the Moody’s Obligation Rating is higher than the Moody’s Default Probability Rating, the rating
  subcategories difference will be positive and if it is lower, negative):


  Number of Moody’s Rating Subcategories                                     Moody’s
     Difference Between the Moody’s                       Moody’s           Non Senior
    Obligation Rating and the Moody’s                      Senior            Secured          High-Yield
        Default Probability Rating                     Secured Loans          Loans             Bonds
                +2 or more                                  60.0%             45.0%             40.0%
                    +1                                      50.0%             42.5%             35.0%
                     0                                      45.0%             40.0%             30.0%
                     -1                                     40.0%             30.0%             15.0%
                     -2                                     30.0%             15.0%             10.0%
                 -3 or less                                 20.0%             10.0%              2.0%

  If no Moody’s Priority Category Recovery Rate has been specifically assigned with respect to a Loan
  pursuant to the above table, and the Loan is a secured DIP Loan, the relevant Moody’s Priority Category
  Recovery Rate is 50.0%.
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          “Moody’s Rating” means the Moody’s Default Probability Rating; provided that, with respect to
  the Collateral Obligations generally, if at any time Moody’s or any successor to it ceases to provide rating
  services, references to rating categories of Moody’s in the Indenture shall be deemed instead to be
  references to the equivalent categories of any other nationally recognized investment rating agency
  selected by the Servicer, as of the most recent date on which such other rating agency and Moody’s
  published ratings for the type of security in respect of which such alternative rating agency is used.

          “Moody’s Rating Factor” means the number in the table below opposite the rating of the
  Collateral Obligation (excluding Synthetic Securities where an Assigned Moody’s Rating is not
  available).

                                              Moody’s                        Moody’s
                               Moody’s        Rating           Moody’s       Rating
                               Rating         Factor           Rating        Factor
                                 Aaa             1               Ba1            940
                                 Aa1            10               Ba2           1350
                                 Aa2            20               Ba3           1766
                                 Aa3            40                B1           2220
                                 A1             70                B2           2720
                                 A2             120               B3           3490
                                 A3             180              Caa1          4770
                                 Baa1           260              Caa2          6500
                                 Baa2           360              Caa3          8070
                                 Baa3           610           Ca or lower     10000


          The Moody’s Rating Factor for Collateral Obligations that are Synthetic Securities shall be
  determined by Moody’s and obtained by the Issuer or the Servicer on a case-by-case basis, unless there is
  an Assigned Moody’s Rating available for such Collateral Obligation that is a Synthetic Security, in
  which case such Assigned Moody’s Rating shall be used to compute the Moody’s Rating Factor for such
  Collateral Obligation that is a Synthetic Security.

           The Moody’s Rating Factor for any Collateral Obligation that is a Structured Finance Security
  shall be equal to: A × 55% ,
                        1− B

  where: “A” means the number determined with respect to such Collateral Obligation pursuant to the table
  above; and

          “B” means the Moody's Priority Category Recovery Rate with respect to such Collateral
  Obligation.

          “Moody’s Senior Secured Loan” means:

                  (i)          a Loan that:

                          (A)      is not (and cannot by its terms become) subordinate in right of payment
                  to any other obligation of the obligor of the Loan;



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                          (B)      is secured by a valid first priority perfected security interest or lien in, to
                  or on specified collateral securing the obligor’s obligations under the Loan; and

                           (C)      the value of the collateral securing the Loan together with other attributes
                  of the obligor (including, without limitation, its general financial condition, ability to
                  generate cash flow available for debt service and other demands for that cash flow) is
                  adequate (in the commercially reasonable judgment of the Servicer) to repay the Loan in
                  accordance with its terms and to repay all other loans of equal seniority secured by a first
                  lien or security interest in the same collateral; or

                  (ii)    a Loan that:

                           (A)      is not (and cannot by its terms become) subordinate in right of payment
                  to any other obligation of the obligor of the Loan, other than, with respect to a Loan
                  described in clause (i) above, with respect to the liquidation of such obligor or the
                  collateral for such loan;

                           (B)     is secured by a valid second priority perfected security interest or lien in,
                  to or on specified collateral securing the obligor’s obligations under the Loan;

                           (C)      the value of the collateral securing the Loan together with other attributes
                  of the obligor (including, without limitation, its general financial condition, ability to
                  generate cash flow available for debt service and other demands for that cash flow) is
                  adequate (in the commercially reasonable judgment of the Servicer) to repay the Loan in
                  accordance with its terms and to repay all other loans of equal or higher seniority secured
                  by a first or second lien or security interest in the same collateral; and

                          (D)     has been assigned a Moody’s Obligation Rating equal to or higher than
                  the applicable Moody's Default Probability Rating; and

                   (iii)   the Loan is not: (A) a DIP Loan, (B) a Loan for which the security interest or lien
          (or the validity or effectiveness thereof) in substantially all of its collateral attaches, becomes
          effective, or otherwise “springs” into existence after the origination thereof, or (C) a type of loan
          that Moody’s has identified as having unusual terms and with respect to which its Moody’s
          Recovery Rate has been or is to be determined on a case-by-case basis.

          “Non-Consenting Holder” means with respect to any supplemental indenture pursuant to the
  Indenture that requires the consent of one or more Holders of Securities, any Holder or, in the case of
  Securities represented by Global Notes, any beneficial owner, that either (i) has delivered to the Trustee a
  written notice that it will not consent to such supplemental indenture or (ii) had not consented to such
  supplemental indenture within the applicable Initial Consent Period.

          “Non-Consenting Holding Preference Share Holder” means with respect to any supplemental
  indenture pursuant to the Indenture that requires the consent of one or more Holders of Securities, any
  Holder of Holding Preference Shares that either (i) has directed Investors Corp. not to consent to such
  supplemental indenture or (ii) has not provided Investors Corp. with any direction with respect to such
  supplemental indenture within the applicable Initial Consent Period.

           “Non-Performing Collateral Obligation” means any Defaulted Collateral Obligation and any
  PIK Security as to which its issuer or obligor has previously deferred or capitalized any interest due on it
  and all the interest so deferred or capitalized has not subsequently been paid in full in cash by:

                   (i)      if the PIK Security has a Moody’s Rating of “Baa3” (and not on credit watch
          with negative implications) or above or an S&P Rating of “BBB-” (and not on credit watch with
          negative implications) or above, the earlier of its second payment date or one year following the
          date of the initial deferral or capitalization of interest due on it; or
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                  (ii)    if the PIK Security has a Moody’s Rating of “Baa3” and on credit watch with
          negative implications or below “Baa3”, or an S&P Rating of “BBB-” and on credit watch with
          negative implications or below “BBB-”, the earlier of its first payment date or six months
          following the date of the initial deferral or capitalization of interest due on it.

         “Notes” means the Class the Class A-1 Notes, the Class A-2a Notes, the Class A-2b Notes, the
  Class A-3 Notes, the Class B Notes, the Class C Notes and the Class D Notes.

          “Noteholder” means a Holder of the Class A-1 Notes, the Class A-2a Notes, the Class A-2b
  Notes, the Class A-3 Notes, the Class B Notes, the Class C Notes or the Class D Notes.

          “Note Payment Sequence” means the application of funds in the following order:

                  (1)      to the Class A-1 Notes and the Class A-2 Notes pro rata in proportion to the
                           respective amounts then due on each such Class until the Class A-1 Notes and the
                           Class A-2 Notes have been fully redeemed (provided that amounts allocated to
                           the Class A-2 Notes shall be paid, first, to the Class A-2a Notes and, second, to
                           the Class A-2b Notes);

                  (2)      to the Class A-3 Notes until the Class A-3 Notes have been fully redeemed;

                  (3)      to the payment of accrued and unpaid interest and any Deferred Interest and
                           interest thereon on the Class B Notes;

                  (4)      to the Class B Notes until the Class B Notes have been fully redeemed;

                  (5)      to the payment of accrued and unpaid interest and any Deferred Interest and
                           interest thereon on the Class C Notes;

                  (6)      to the Class C Notes until the Class C Notes have been fully redeemed;

                  (7)      to the payment of accrued and unpaid interest and any Deferred Interest and
                           interest thereon on the Class D Notes; and

                  (8)      to the Class D Notes until the Class D Notes have been fully redeemed.

         “Offer” means any Collateral Obligation that is subject to a tender offer, voluntary redemption,
  exchange offer, conversion or other similar action.

          “Officer” means, with respect to the Issuer and any corporation, any director, the Chairman of the
  board of directors, the President, any Vice President, the Secretary, an Assistant Secretary, the Treasurer,
  or an Assistant Treasurer of the entity; with respect to the Co-Issuer and any corporation, any director, the
  Chairman of the board of directors, the President, any Vice President, the Secretary, an Assistant
  Secretary, the Treasurer, or an Assistant Treasurer of the entity; with respect to any partnership, any of its
  general partners; and with respect to the Trustee, any Trust Officer.

          “Outstanding” means, with respect to:

                  (i)     the Notes or any specified Class, as of any date of determination, all of the Notes
          or all of the Notes of the specified Class, as the case may be, theretofore authenticated and
          delivered under the Indenture, except with respect to Notes:

                          (A)      Notes canceled by the Indenture Registrar or delivered to the Indenture
                  Registrar for cancellation;



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                           (B)     Notes for whose payment or redemption funds in the necessary amount
                  have been theretofore irrevocably deposited with the Trustee or any Paying Agent in trust
                  for their Holders pursuant to the Indenture and if the Notes are to be redeemed, notice of
                  redemption has been duly given pursuant to the Indenture;

                          (C)     Notes in exchange for or in lieu of which other Notes have been
                  authenticated and delivered pursuant to the Indenture; or

                           (D)     Notes alleged to have been destroyed, lost, or stolen for which
                  replacement Notes have been issued as provided in the Indenture, unless proof
                  satisfactory to the Trustee is presented that any such Notes are held by a protected
                  purchaser;

                  (ii)     the Preference Shares, as of any date of determination, all of the Preference
          Shares theretofore issued under the Preference Share Documents and listed in the Preference
          Share register of the Issuer as outstanding;

                  (iii)   the Holding Preference Shares, as of any date of determination, all of the Holding
          Preference Shares theretofore issued under the Holding Preference Share Documents and listed in
          the Holding Preference Share register of Investors Corp. as outstanding; and

                  (iv)     the Class P Securities, as of any date of determination, all of the Class P
          Securities theretofore issued under the Holding Preference Share Documents and listed in the
          Class P Security register of Investors Corp. as outstanding;

  provided that, in determining whether the Holders of the requisite Aggregate Outstanding Amount of the
  Transaction Securities have given any request, demand, authorization, direction, notice, consent or waiver
  under the Transaction Documents, Transaction Securities owned or beneficially owned by the Issuer, the
  Co-Issuer, any Affiliate of either of them and, with respect to any matter affecting its status as Servicer or
  appointment of a replacement Servicer or relating to an acceleration of any Class of Notes if the effect of
  the Servicer's action or inaction as a Holder of Transaction Securities would effectively prevent
  acceleration, the Servicer, its Affiliates and any account for which the Servicer or its Affiliates have
  discretionary voting authority (other than, with respect to Notes or Class II Preference Shares, HFP or any
  of its subsidiaries; provided that, with respect to the voting authority of Notes or Class II Preference
  Shares owned by HFP or any of its subsidiaries, such vote shall not be excluded only if such vote is
  determined by a vote of the majority of the “independent directors” (determined in accordance with the
  governing documents of HFP or such subsidiaries and certified in writing to the Preference Shares Paying
  Agent by any of the “independent directors” of HFP) of HFP or such subsidiaries) shall be disregarded
  and not be Outstanding, except that, in determining whether the Trustee shall be protected in relying on
  any request, demand, authorization, direction, notice, consent or waiver, only Securities that a Trust
  Officer of the Trustee (or with respect to the Preference Shares, Holding Preference Shares and Class P
  Securities, only Preference Shares, Holding Preference Shares and Class P Securities that an authorized
  officer of the Preference Shares Paying Agent or Holding Preference Shares Paying Agent, as applicable)
  has actual knowledge to be so owned or beneficially owned shall be so disregarded. Transaction
  Securities so owned or beneficially owned that have been pledged in good faith may be regarded as
  Outstanding if the pledgee establishes to the satisfaction of the Trustee, the Preference Shares Paying
  Agent or the Holding Preference Shares Paying Agent, as applicable, the pledgee's right so to act with
  respect to the Transaction Securities and that the pledgee is independent from the Issuer, the Co-Issuer,
  the Servicer, the Trustee, the Preference Shares Paying Agent and the Holding Preference Shares Paying
  Agent.

          “Participating Institution” means an institution that creates a participation interest and that has a
  long-term senior unsecured rating by Moody’s of at least “A3” (and if so rated by Moody’s such rating is
  not on watch for possible downgrade) and an issuer credit rating by S&P of at least “A”.


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           “Participation” means a Loan acquired as a participation interest created by a Participating
  Institution.

          “Permitted Offer” means a tender offer, voluntary redemption, exchange offer, conversion, or
  other similar action pursuant to which the offeror offers to acquire a debt obligation (including a
  Collateral Obligation) in exchange solely for cash in an amount equal to or greater than the full face
  amount of the debt obligation plus any accrued and unpaid interest and as to which the Servicer has
  determined in its commercially reasonable judgment that the offeror has sufficient access to financing to
  consummate the tender offer, voluntary redemption, exchange offer, conversion, or other similar action.

           “PIK Cash-Pay Interest” means, as to any PIK Security, the portion of interest required to be
  paid in cash (and not permitted to be added to the balance of such PIK Security or otherwise deferred and
  accrued) thereon pursuant to the terms of the related Underlying Instruments.

           “PIK Security” means any loan or debt obligation on which any portion of the interest accrued
  for a specified period of time or until the maturity thereof is, or at the option of the obligor may be, added
  to the principal balance of such loan or debt obligation or otherwise deferred rather than being paid in
  cash; provided that such loan or debt obligation shall not be a PIK Security if the portion, if any, of such
  interest required pursuant to the terms of the related Underlying Instruments to be paid in Cash would
  result in the outstanding principal amount of such loan or debt obligation having an effective rate of PIK
  Cash-Pay Interest at least equal to (i) if such loan or debt obligation is a fixed rate loan or debt obligation,
  4% per annum, or (ii) if such loan or debt obligation is a floating rate loan or debt obligation, LIBOR.

         “Placement Agency Agreement” means a placement agency agreement dated March 13, 2007
  between the Issuer and the Placement Agent relating to the placement of the Class II Preference Shares, as
  modified, amended and supplemented and in effect from time to time.

          “Pledged Obligations” means, as of any date of determination, the Collateral Obligations, the
  Workout Assets, the Eligible Investments, and any other securities or obligations that have been granted
  to the Trustee that form part of the Collateral.

         “Person” is an individual, corporation (including a business trust), partnership, limited liability
  company, joint venture, association, joint stock company, trust (including any beneficiary thereof),
  unincorporated association or government or any agency or political subdivision thereof.

           “Portfolio Improvement Exchange” means, the disposition, during the Replacement Period, of a
  Collateral Obligation and corresponding acquisition of one or more Collateral Obligations which in the
  aggregate will result in (i) the Collateral Quality Tests, the Interest Coverage Test, the
  Overcollateralization Tests and the Concentration Limitations herein being satisfied (or bring the total
  portfolio of Collateral Obligations closer to compliance with any such test or limitation) or if one or more
  of such Collateral Quality Tests, Interest Coverage Test, Overcollateralization Test or Concentration
  Limitations are not satisfied, the degree of compliance therewith would be improved and (ii) improving,
  on a net basis, the quality of the total portfolio of Collateral Obligations as measured by such Collateral
  Quality Tests, Interest Coverage Test, Overcollateralization Test and Concentration Limitations and (iii)
  in the case of each of clause (i) and (ii), any other Collateral Quality Tests, Interest Coverage Tests,
  Overcollateralization Tests or Concentration Limitations not being violated or the likelihood of such
  violation in the future not being significantly increased.

           “Preference Share Internal Rate of Return” means, with respect to any Payment Date, the
  internal rate of return (computed using the “XIRR” function in Microsoft® Excel 2002 or an equivalent
  function in another software package), stated on a per annum basis, for the following cash flows,
  assuming all Preference Shares are purchased on the Closing Date at their Face Amount:

                  (i)     each distribution of Interest Proceeds made to the Holders of the Preference
          Shares (excluding any Class II Preference Share Special Payment distributed to the Holders of the

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         Class II Preference Shares) on any prior Payment Date and, to the extent necessary to reach the
         applicable Preference Share Internal Rate of Return, the current Payment Date; and

                 (ii)    each distribution of Principal Proceeds made to the Holders of the Preference
         Shares (excluding any Class II Preference Share Special Payment distributed to the Holders of the
         Class II Preference Shares) on any prior Payment Date and, to the extent necessary to reach the
         applicable Preference Share Internal Rate of Return, the current Payment Date.

          “Preference Shares Paying Agent Agreement” means a Preference Shares Paying Agency
  Agreement, dated as of March 13, 2007, between the Issuer and Investors Bank & Trust Company, as
  Preference Shares Paying Agent.

           “Preference Shares Distribution Account” means a separate segregated non-interest bearing
  trust account established by the Preference Shares Paying Agent pursuant to the Preference Shares Paying
  Agency Agreement into which the Preference Shares Paying Agent will deposit all amounts received
  from the Issuer and payable to the Holders of the Preference Shares under the Priority of Payments.

          “Preference Shares Notional Amount” means, as of the Closing Date, $123,500,000, and
  thereafter as increased each time additional Preference Shares are issued in accordance with the
  Preference Share Documents.

          “Preference Shares Paying Agent” means Investors Bank & Trust Company in its capacity as
  Preference Shares Paying Agent under the Preference Shares Paying Agency Agreement, unless a
  successor Person shall have become the preference shares paying agent pursuant to the applicable
  provisions of the Preference Shares Paying Agency Agreement, and thereafter “Preference Shares Paying
  Agent” shall mean such successor person.

         “Principal Balance” means, with respect to:

                  (i)    any Pledged Obligation other than those specifically covered in this definition,
        the outstanding principal amount of the Pledged Obligation as of the relevant Measurement Date;

                 (ii)    a Synthetic Security, the notional amount specified in the Synthetic Security;

                 (iii)    any Pledged Obligation in which the Trustee does not have a first priority
         perfected security interest, zero, except as otherwise expressly specified in the Indenture;

                 (iv)    any Defaulted Collateral Obligation, except as otherwise provided, zero;

                  (v)   any Collateral Obligation that has been loaned, its Principal Balance shall be
         reduced by the excess of the amount of collateral required over the actual Market Value of the
         collateral;

                 (vi)     any Revolving Loan or Delayed Drawdown Loan, its Principal Balance shall
         include any unfunded amount thereof (regardless of the nature of the contingency relating to the
         Issuer’s obligation to fund the unfunded amount), except as otherwise expressly specified in the
         Indenture;

                 (vii)   any PIK Security, its Principal Balance shall not include any principal amount of
         the PIK Security representing previously deferred or capitalized interest; and

                 (viii) any obligation or security that at the time of acquisition, conversion, or exchange
         does not satisfy the requirements of a Collateral Obligation, zero.

          “Principal Proceeds” means with respect to any Due Period, all amounts received in Cash during
  the Due Period by the Issuer with respect to the Collateral that are not Interest Proceeds.
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          Principal Proceeds shall include any funds transferred from the Closing Date Expense Account
  and the Interest Reserve Account into the Collection Account pursuant to the Indenture.

          Principal Proceeds do not include the Excluded Property or earnings on amounts on deposit in the
  Securities Lending Account to the extent the earnings are payable by the Issuer to a Securities Lending
  Counterparty.

           At any time when an “event of default” under a Securities Lending Agreement has occurred and
  is continuing, any payments received by the Issuer from the related Securities Lending Collateral shall be
  Principal Proceeds.

          “Priority Class” means, with respect to any specified Class of Notes, each Class of Notes that
  ranks senior to that Class.

         “Proceeding” means any suit in equity, action at law, or other judicial or administrative
  proceeding.

          “Proposed Portfolio” means, as of any Measurement Date, the portfolio (measured by Aggregate
  Principal Balance) of Collateral Obligations and Principal Proceeds held as cash on deposit in the
  Collection Account and other Eligible Investments purchased with Principal Proceeds on deposit in the
  Collection Account resulting from the sale, maturity, or other disposition of a Collateral Obligation or a
  proposed purchase of a Collateral Obligation, as the case may be.

          “Purchase Agreement” means a purchase agreement dated March 13, 2007 among the Co-
  Issuers and the Initial Purchaser relating to the purchase of the Notes, as modified, amended and
  supplemented and in effect from time to time.

          “Purchase Criteria Adjusted Balance” means, for any Collateral Obligation other than Deep
  Discount Obligations, its Principal Balance; and for any Deep Discount Obligation its Purchase Price;
  provided, however, that if any Excess CCC+/Caa1 Collateral Obligations exist, the Purchase Criteria
  Adjusted Balance for the Excess CCC+/Caa1 Collateral Obligations shall be the lower of (i) the weighted
  average Market Value of all CCC+/Caa1 Collateral Obligations, expressed as a percentage of their
  outstanding principal balances and (ii) the product of (a) 70% and (b) their respective Principal Balance.

          “Purchase Price” means, with respect to the purchase of any Collateral Obligation (other than
  any obligation that at the time of acquisition, conversion, or exchange does not satisfy the requirements of
  a Collateral Obligation), the net purchase price paid by the Issuer for the Collateral Obligation. The net
  purchase price is determined by subtracting from the purchase price the amount of any Accrued Interest
  Purchased With Principal and any syndication and other upfront fees paid to the Issuer and by adding the
  amount of any related transaction costs (including assignment fees) paid by the Issuer to the seller of the
  Collateral Obligation or its agent.

         “Purchase Price Amount” means, respect to any Collateral Obligation on any date of
  determination, the product of (i) the Purchase Price (stated as a percentage) thereof and (ii) the Principal
  Balance thereof on such date.

           “Qualified Equity Security” means any obligation that at the time of acquisition, conversion, or
  exchange does not satisfy the requirements of a Collateral Obligation that is stock or evidence of an
  interest in or a right to buy stock, or any obligation that at the time of acquisition, conversion, or exchange
  does not satisfy the requirements of a Collateral Obligation but whose acquisition otherwise is a
  transaction in stocks or securities within the meaning of Section 864(b)(2)(A)(ii) of the Code and the
  regulations under the Code. Qualified Equity Securities do not include any obligation that at the time of
  acquisition, conversion, or exchange does not satisfy the requirements of a Collateral Obligation and that
  will cause the Issuer to be treated as engaged in or having income from a United States trade or business
  for United States federal income tax purposes by virtue of its ownership or disposition of the obligation
  (without regard to the Issuer’s other activities).
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        “Ramp-Up Period” means the period from and including the Closing Date to and including the
  Ramp-Up Completion Date.

           “Rating Agency” means, each of Moody’s and S&P or, with respect to Pledged Obligations
  generally, if at any time Moody’s or S&P ceases to provide rating services with respect to high yield debt
  securities, any other nationally recognized statistical rating organization selected by the Issuer and
  reasonably satisfactory to a Majority of each Class of Notes. If at any time Moody’s ceases to be a Rating
  Agency, references to rating categories of Moody’s in the Indenture shall instead be references to the
  equivalent categories of the replacement rating agency as of the most recent date on which the
  replacement rating agency and Moody’s published ratings for the type of security in respect of which the
  replacement rating agency is used. If at any time S&P ceases to be a Rating Agency, references to rating
  categories of S&P in the Indenture shall instead be references to the equivalent categories of the
  replacement rating agency as of the most recent date on which the replacement rating agency and S&P
  published ratings for the type of security in respect of which the replacement rating agency is used.

          “Rating Condition” means, with respect to any Rating Agency and any action taken or to be
  taken under the Indenture, a condition that is satisfied when the Rating Agency has confirmed to the
  Servicer (as agent for the Issuer) in writing that no withdrawal, reduction, suspension, or other adverse
  action with respect to any then current rating by it (including any private or confidential rating) of any
  Class of Notes will occur as a result of the action. The Rating Condition with respect to any Rating
  Agency shall be satisfied for all purposes of the Indenture at any time when no Outstanding Notes are
  rated by it.

         “Rating Confirmation” means confirmation in writing from each Rating Agency that it has not
  reduced, suspended, or withdrawn the Initial Rating assigned by it to any Class of Notes.

          “Ratings Matrix” means the “row/column combination” of the table below selected by the
  Servicer on the Closing Date to apply initially for purposes of the Diversity Test, the Weighted Average
  Spread Test and the Weighted Average Rating Factor Test. Thereafter, on notice to the Trustee, the
  Servicer may select a different row of the Ratings Matrix to apply, or may interpolate between two
  adjacent rows and/or two adjacent columns, as applicable, on a straight-line basis and round the results to
  two decimal points.

                                                        Minimum Diversity Score
           Minimum Weighted
            Average Spread        55       60      65        70       75      80     85       90
                 2.20%           2180     2225    2270      2315     2355    2390   2425     2450
                 2.30%           2225     2270    2315      2360     2405    2440   2475     2495
                 2.40%           2270     2315    2360      2405     2450    2485   2520     2545
                 2.50%           2315     2360    2405      2450     2495    2530   2565     2590
                 2.60%           2370     2415    2460      2505     2550    2585   2620     2645
                 2.70%           2425     2470    2515      2560     2605    2640   2675     2700
                 2.80%           2480     2525    2570      2615     2660    2695   2730     2755
                 2.90%           2535     2580    2625      2670     2715    2750   2785     2810
                 3.00%           2590     2635    2680      2725     2770    2805   2840     2865
                                          Maximum Weighted Average Moody’s Rating Factor


          “Recovery Rate Modifier” means, as of any Measurement Date, the lesser of 60 and the product
  of:

                  (i)     (a) the Moody’s Minimum Average Recovery Rate minus the minimum
          percentage specified to pass the Weighted Average Moody’s Recovery Rate Test (but not less
          than zero) multiplied by (b) 100; and

                  (ii)    40.
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         “Redemption Date” means any Payment Date specified for an Optional Redemption or the
  redemption of a Class of Notes in connection with a Refinancing under “Description of the Securities—
  Optional Redemption.”

         “Redemption Price” means, with respect to any Note and any Optional Redemption or
  Refinancing, an amount equal to:

                    (i)     the outstanding principal amount of the portion of the Note being redeemed; plus

                    (ii)    accrued interest on the Note (including any Defaulted Interest and interest on
            Defaulted Interest); plus

                    (iii)   in the case of any Deferred Interest Note, the applicable Deferred Interest on the
            Note; plus

                    (iv)    any unpaid Extension Bonus Payment in respect of the Note.

            With respect to any Preference Share and any Optional Redemption, “Redemption Price” means
  (i) at the direction of a Majority of the Preference Shares of the remaining amount of available funds after
  all prior applications pursuant to the Priority of Payments or (ii) as specified by the unanimous direction
  of the Holders of the Preference Shares, in each case as specified in “Description of the Securities—
  Optional Redemption⎯Preference Shares.”

           “Reference Obligation” means an obligation that would otherwise satisfy the definition of
  “Collateral Obligation” and on which a Synthetic Security is based; provided that no Reference
  Obligation shall be a Synthetic Security.

         “Refinancing Price” means, with respect to any Class of Notes that is subject to a Refinancing,
  an amount equal to the Redemption Price therefor.

          “Refinancing Proceeds” means, the proceeds from any refinancing permitted under the
  Indenture.

           “Registered” means, with respect to a Collateral Obligation or Eligible Investment, means that it
  is issued after July 18, 1984 and is in registered form within the meaning of Section 881(c)(2)(B)(i) of the
  Code and the Treasury Regulations promulgated thereunder.

            “Regulation D” means Regulation D under the Securities Act.

         “Relevant Obligation” means, for a Collateral Obligation that is a Synthetic Security, the
  Reference Obligation of the Synthetic Security, and otherwise the Collateral Obligation.

            “Removal Buy-Out Purchaser” means the Servicer (or any of its Affiliates acting as principal or
  agent).

          “Repository” means the internet-based password protected electronic repository of transaction
  documents relating to privately offered and sold collateralized debt obligation securities located at
  “www.cdolibrary.com” operated by The Bond Market Association. Information on this website is not
  considered part of this Offering Memorandum in any way.

           “Required Redemption Percentage” means, with respect to (a) any Optional Redemption
  resulting from a Tax Event, the Holders of at least 66⅔% of the Aggregate Outstanding Amount of any
  Affected Class or at least 66⅔% of the Aggregate Outstanding Amount of the Preference Shares and (b)
  any other Optional Redemption, a Majority of the Preference Shares.



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          “Retention Overcollateralization Ratio” means, as of any Measurement Date, the ratio obtained
  by dividing: (i) the Overcollateralization Ratio Numerator by (ii) the Aggregate Outstanding Amount of
  the Class A-1 Notes, the Class A-2a Notes, the Class A-2b Notes, the Class A-3 Notes, the Class B Notes,
  the Class C Notes and the Class D Notes, excluding any Deferred Interest on any Class of Notes.

           “Revolving Loan” means a Loan or any Synthetic Security with a Reference Obligation (in each
  case excluding any Delayed Drawdown Loan) that requires the Issuer to make future advances to (or for
  the account of) the borrower under its underlying instruments (including any letter of credit for which the
  Issuer is required to reimburse the issuing bank for under it). A Loan or Synthetic Security shall only be
  considered to be a Revolving Loan for so long as its commitment amount is greater than zero.

          “S&P CDO Monitor” means a dynamic, analytical computer model developed by S&P (and as
  may be modified by S&P from time to time) and provided to the Servicer and the Collateral
  Administrator to be used to calculate the default frequency in terms of the amount of debt assumed to
  default as a percentage of the original principal amount of the Collateral Obligations consistent with a
  specified benchmark rating level based on certain assumptions and S&P’s proprietary corporate default
  studies. For the purpose (and only for the purpose) of applying the S&P CDO Monitor to a portfolio of
  obligations, for each obligation in the portfolio, the rating of the obligation shall be its S&P Rating.

          “S&P Industry Classification” means the S&P Industry Classifications in Schedule 3 of the
  Indenture as modified, amended, and supplemented from time to time by S&P.

        “S&P Priority Category” means each type of Collateral Obligation specified in the definition of
  “S&P Priority Category Recovery Rate Matrix” as an “S&P Priority Category.”

          “S&P Priority Category Recovery Rate” means, for any Collateral Obligation and a Class of
  Notes, the percentage specified in the definition of “S&P Priority Category Recovery Rate Matrix”
  opposite the S&P Priority Category of the Collateral Obligation under the S&P Rating that is the then
  current S&P Rating on such Class of Notes.




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           “S&P Priority Category Recovery Rate Matrix” means the table below:

                                                                 S&P Priority Category
   S&P Priority Category                                            Recovery Rate
                                             AAA          AA           A         BBB          BB          B        CCC
  Senior Secured Loans ......... 56%                     60%         64%         67%         70%         70%        70%
  Senior Unsecured Loans* ... 40%                        42%         44%         46%         48%         48%        48%
  Subordinated Lien Loans
                                              22%        22%         22%         22%         22%         22%        22%
  other than a DIP Loan* .......
  Senior Secured High-
                                              48%        49%         50%         51%         52%         52%        52%
  Yield Bonds ........................
  Senior Unsecured High-
                                              38%        41%         42%         44%         45%         45%        45%
  Yield Bonds ........................
  Subordinated High-Yield
                                              19%        19%         19%         19%         19%         19%        19%
  Bonds ..................................
  Structured Finance                       The S&P Priority Category Recovery Rate determined in accordance with the
  Obligations.......................... definition of “the S&P Structured Finance Obligation Recovery Rate” set forth
                                           by reference to the type of asset and its then current S&P Rating (or, with
                                           respect to assets to which that table does not apply, on a case by case basis in
                                           connection with the grant of the relevant Collateral Obligation).
  Synthetic Securities............. As assigned by S&P on a case-by-case basis in connection with the grant of the
                                           relevant Collateral Obligation.
  DIP Loans and any
  Collateral Obligation not
  covered above ..................... As assigned by S&P on a case-by-case basis.
  * In the case of Second Lien Loans, the first 15% in the portfolio should be treated as Senior Unsecured
  Loans and the excess over 15% as Subordinated Lien Loans.


           “S&P Rating” means, with respect to any Collateral Obligation, as of any date of determination,
  the rating determined in accordance with the following methodology:

                    (i)      If there is an issuer credit rating of the borrower of the Collateral Obligation (the
           “Borrower”), or the guarantor who unconditionally and irrevocably guarantees the Collateral
           Obligation (the “Guarantor”) by S&P, the most current issuer credit rating for such Borrower or
           Guarantor (provided that with respect to any private or confidential rating, a consent has been
           granted by such Borrower or Guarantor and a copy of such consent shall be provided to S&P
           indicating that the issuer can rely on such private or confidential rating);

                    (ii)     (a) if there is not an issuer credit rating of the Borrower or its Guarantor by S&P,
           but there is a rating by S&P on a senior secured obligation of the Borrower or its Guarantor, then
           the S&P Rating of the Collateral Obligation will be one subcategory below such rating; (b) if
           there is not a rating by S&P on a senior secured obligation of the Borrower or its Guarantor, but
           there is a rating by S&P on a senior unsecured obligation of the Borrower or its Guarantor, then
           the S&P Rating will be such rating; and (c) if there is not a rating by S&P on a senior obligation
           of the Borrower or its Guarantor, but there is a rating by S&P on a subordinated obligation of the
           Borrower or its Guarantor, then the S&P Rating will be two subcategories above such rating if
           such rating is “BBB-” or higher and will be one subcategory above such rating if such rating is
           “BB+” or lower (provided that with respect to any private or confidential rating, a consent has
           been granted by such Borrower or Guarantor and a copy of such consent shall be provided to
           S&P indicating that the issuer can rely on such private or confidential rating); or

                    (iii)   if there is neither an issuer credit rating of the Borrower or its Guarantor by S&P
           nor a rating by S&P on an obligation of the Borrower or its Guarantor, then the S&P Rating may
           be determined using any one of the methods below:
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                           (A)     if an obligation of the Borrower or its Guarantor is publicly rated by
                  Moody’s, then the S&P Rating will be determined in accordance with the methodologies
                  for establishing the Moody’s Default Probability Rating, except that the S&P Rating of
                  such obligation will be (1) one subcategory below the S&P equivalent of the rating
                  assigned by Moody’s if such security is rated “Baa3” or higher by Moody’s and (2) two
                  subcategories below the S&P equivalent of the rating assigned by Moody’s if such
                  security is rated “Bal” or lower by Moody’s; provided that Collateral Obligations
                  constituting no more than 10% of the Maximum Amount may be given a S&P Rating
                  based on a rating given by Moody’s as provided in this subclause (A) (after giving effect
                  to the addition of the relevant Collateral Obligation, if applicable);

                          (B)     if no other security or obligation of the Borrower or its Guarantor is rated
                  by S&P or Moody’s, then the Servicer may apply to S&P for a S&P credit rating
                  estimate, which will be its S&P Rating; provided that, on or prior to each one-year
                  anniversary of the acquisition of any such Collateral Obligation, the Issuer shall submit to
                  S&P a request for a S&P credit rating estimate for such Collateral Obligation, which shall
                  be its S&P Rating, together with all information reasonably required by S&P to perform
                  such estimate; or

                          (C)       if such Collateral Obligation is not rated by Moody’s or S&P, no other
                  security or obligation of the Borrower or its Guarantor is rated by S&P or Moody’s and if
                  the Servicer determines in its sole discretion based on information available to it after
                  reasonable inquiry that such Borrower (x) is not subject to any bankruptcy or
                  reorganization proceedings nor in default on any of its obligations (unless the subject of a
                  good faith business dispute), (y) is a legally constituted corporate entity having the
                  minimum legal, financial and operational infrastructure to carry on a definable business,
                  deliver and sell a product or service and report its results in generally accepted
                  accounting terms as verified by a reputable audit firm and (z) is not so vulnerable to
                  adverse business, financial and economic conditions that default in its financial or other
                  obligations is foreseeable in the near term if current operating trends continue, then the
                  S&P Rating will be “B-”; provided that the Servicer must apply to S&P for a S&P credit
                  rating on such Borrower within 30 days after the addition of the relevant Collateral
                  Obligation; provided, further, that Collateral Obligations constituting no more than 5% of
                  the Maximum Amount may be given an S&P Rating based on this subclause (c) (after
                  giving effect to the addition of the relevant Collateral Obligation, if applicable);

          provided that, if (i) the relevant Borrower or Guarantor or obligation is placed on any positive
          “credit watch” list by S&P, such rating will be increased by one rating subcategory or (ii) the
          relevant Borrower or Guarantor or obligation is placed on any negative “credit watch” list by
          S&P, such rating will be decreased by one rating subcategory.

          Notwithstanding the foregoing, in the case of a Collateral Obligation that is a DIP Loan, the S&P
  Rating shall be (A) the rating assigned thereto by S&P if the rating is public, (B) the rating assigned by
  S&P if the rating is confidential, but only if all appropriate parties have provided written consent to its
  disclosure and use, (C) the rating assigned by S&P thereto through an estimated rating or (D) the rating
  assigned thereto by S&P in connection with the acquisition thereof upon the request of the Servicer. In the
  case of a Collateral Obligation that is a PIK Security, Structured Finance Obligation or Synthetic
  Securities, the S&P Rating may not be determined pursuant to clause (iii)(A) above.

          S&P Ratings for entities or obligations relevant hereunder other than Borrowers and Collateral
  Obligations shall be determined in a corresponding manner.

          Notwithstanding the foregoing, if and for so long as the Aggregate Principal Balance of Collateral
  Obligations consisting in the aggregate of (x) Participations and (y) Synthetic Securities exceeds 20% of
  the Maximum Amount, then the S&P Rating for the Aggregate Principal Balance of Collateral
  Obligations representing that excess (determined assuming the excess is comprised of the Collateral
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  Obligations having the lowest S&P Ratings that would otherwise be applicable as determined above)
  shall be the S&P Rating one sub-category below the S&P Rating of the Collateral Obligations that would
  otherwise be applicable as determined above. For purposes of any calculation under the Indenture, if a
  S&P Rating is withdrawn by S&P with respect to a Collateral Obligation, the Issuer will continue using
  the latest S&P Rating available immediately prior to such withdrawal until a bankruptcy event occurs
  with respect to such Collateral Obligation.

          “S&P Structured Finance Obligation Recovery Rate ” means, for a Structured Finance
  Obligation and a Class of Notes, the percentage specified in the table below under the then current S&P
  Rating of such Class of Notes and across from the then current S&P Rating of such Stuctured Finance
  Obligation.
                                                    Rating of a Class of Notes at the time of commitment to purchase
  Structured Finance
  Obligation Rating*
       Senior Asset Class                  AAA               AA              A              BBB               BB              B             CCC
      AAA                                 80.0%           85.0%           90.0%            90.0%           90.0%           90.0%          90.0%
      AA                                  70.0%           75.0%           85.0%            90.0%           90.0%           90.0%          90.0%
      A                                   60.0%           65.0%           75.0%            85.0%           90.0%           90.0%          90.0%
      BBB                                 50.0%           55.0%           65.0%            75.0%           85.0%           85.0%          85.0%

       Junior Asset Class
                                           AAA               AA              A              BBB               BB              B             CCC
      AAA                                 65.0%           70.0%           80.0%            85.0%           85.0%           85.0%          85.0%
      AA                                  55.0%           65.0%           75.0%            80.0%           80.0%           80.0%          80.0%
      A                                   40.0%           45.0%           55.0%            65.0%           80.0%           80.0%          80.0%
      BBB                                 30.0%           35.0%           40.0%            45.0%           50.0%           60.0%          70.0%
      BB                                  10.0%           10.0%           10.0%            25.0%           35.0%           40.0%          50.0%
      B                                    2.5%            5.0%            5.0%            10.0%           10.0%           20.0%          25.0%
      CCC                                  0.0%            0.0%            0.0%             0.0%            2.5%            5.0%           5.0%
      * If the Structured Finance Obligation is (x) a collateralized debt obligation backed by project finance securities, asset-backed securities,
      structured finance or real estate securities, distressed debt or other collateralized debt obligations; (y) a market value collateralized debt
      obligation; or (z) a synthetic collateralized debt obligation, the recovery rate will be assigned by S&P at the time of acquisition.


         “S&P Rating Confirmation” means confirmation in writing from S&P that it has not reduced,
  suspended, or withdrawn the Initial Rating assigned by it to any Class of Notes.

          “S&P Unrated DIP Loan” means a DIP Loan acquired by the Issuer that does not have a rating
  assigned by S&P and for which the Servicer has commenced the process of having a rating assigned by
  S&P (as specified in the definition of “DIP Loan”).

          “Sale Proceeds” means all proceeds received (including any proceeds received with respect to
  any associated interest rate swap or security providing fixed annuity payments ) with respect to Collateral
  Obligations or other Pledged Obligations as a result of their sales or other dispositions less any reasonable
  expenses expended by the Servicer or the Trustee in connection with the sales or other dispositions, which
  shall be paid from such proceeds notwithstanding their characterization otherwise as Administrative
  Expenses.

           “Second Lien Loan” means a Loan that (i) is not (and cannot by its terms become) subordinated
  in right of payment to any other obligation of the obligor of the Loan other than a Senior Secured Loan
  with respect to the liquidation of such obligor or the collateral for such Loan and (ii) is secured by a valid
  second priority perfected security interest in or lien on specified collateral securing the obligor's
  obligations under the Loan, which specified collateral does not consist solely of common stock or shares
  issued by the obligor or any of its Affiliates or intangible assets.



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         “Secondary Risk Counterparty” means any obligor Domiciled other than in the United States,
  any Participating Institution, any Synthetic Security Counterparty and any Securities Lending
  Counterparty.

          “Secondary Risk Table” means the table below:

                     Long-Term Senior Unsecured                 Individual          Aggregate
                     Debt Rating of Secondary Risk             Counterparty        Counterparty
                             Counterparty                         Limit               Limit
                      Moody’s                S&P
                         Aaa                AAA                    20.0%               20.0%
                         Aa1                 AA+                   10.0%               10.0%
                         Aa2                 AA                    10.0%               10.0%
                         Aa3                 AA-                   10.0%               10.0%
                         A1                  A+                    5.0%                10.0%
                    A2 or below          A or below                0.0%                0.0%


           If any Secondary Risk Counterparty’s long-term senior unsecured debt rating or short-term rating
  is on credit watch for possible downgrade by Moody’s or S&P, then for the purposes of the table above,
  its rating by the Rating Agency putting its rating on credit watch shall be one rating notch lower for that
  Rating Agency.

          “Secured High-Yield Bond” means a High-Yield Bond that is secured by a valid and perfected
  security interest in specified collateral.

          “Secured Loan” means a Loan that is secured by a valid and perfected security interest in
  specified collateral.

          “Secured Parties” means the Noteholders, the Trustee, the Servicer and each Hedge
  Counterparty (and the Collateral Administrator, Preference Shares Paying Agent and Holding Preference
  Shares Paying Agent to the extent of Administrative Expenses payable to such parties as provided in the
  Indenture).

          “Securities Lending Collateral” means Cash or direct registered debt obligations of the United
  States of America that have a maturity date no later than the Business Day preceding the stated
  termination date of the relevant Securities Lending Agreement and that are pledged by a Securities
  Lending Counterparty as collateral pursuant to a Securities Lending Agreement.

          “Selected Collateral Quality Tests” means Weighted Average Moody’s Recovery Rate Test, the
  Weighted Average Fixed Rate Coupon Test, the Weighted Average Spread Test, the Weighted Average
  Life Test (after taking into consideration any applicable Maturity Extension), the Weighted Average
  Rating Factor Test and the Diversity Test.

           “Senior Secured High-Yield Bond” means a Secured High-Yield Bond that is not subordinated
  by its terms to indebtedness of the borrower for borrowed money, trade claims, capitalized leases, or other
  similar obligations, with a first priority security interest in collateral that in the opinion of the Servicer has
  value at least equal to the amount of the High-Yield Bond.

          “Senior Secured Loan” means a Secured Loan that is not subordinated by its terms to
  indebtedness of the borrower for borrowed money, trade claims, capitalized leases, or other similar


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  obligations, with a first priority security interest in collateral that in the opinion of the Servicer has value
  at least equal to the amount of the Loan and that is not a DIP Loan.

          “Senior Unsecured High-Yield Bond” means a High-Yield Bond that is not (i) subordinated by
  its terms to indebtedness of the borrower for borrowed money and (ii) secured by a valid and perfected
  security interest in collateral.

          “Senior Unsecured Loan” means a Loan that is not a Senior Secured Loan and is not (i)
  subordinated by its terms to indebtedness of the borrower for borrowed money and (ii) secured by a valid
  and perfected security interest in collateral.

          “Servicing Agreement” means the Servicing Agreement, dated as of the Closing Date, between
  the Issuer and the Servicer, as modified, amended and supplemented and in effect from time to time.

          “Spread Excess” means, as of any Measurement Date, a fraction whose (i) numerator is the
  product of (A) the greater of zero and the excess of the Weighted Average Spread for the Measurement
  Date over the Minimum Weighted Average Spread specified in the applicable row of the Ratings Matrix
  and (B) the Aggregate Principal Balance of all Floating Rate Obligations (excluding any Non-Performing
  Collateral Obligations) held by the Issuer as of the Measurement Date and (ii) denominator is the
  Aggregate Principal Balance of all Fixed Rate Obligations (excluding any Non-Performing Collateral
  Obligations) held by the Issuer as of the Measurement Date. In computing the Spread Excess on any
  Measurement Date, the Weighted Average Spread for the Measurement Date will be computed as if the
  Fixed Rate Excess were equal to zero.

          “Structured Finance Obligation” means any obligation (other than the Notes or any other
  security or obligation issued by the Issuer):

                  (i)      secured directly by, referenced to, or representing ownership of, a pool of
          receivables or other assets of U.S. obligors, or obligors organized or incorporated in Moody’s
          Group I Countries, Moody’s Group II Countries, Moody’s Group III Countries or Tax
          Advantaged Jurisdictions, including portfolio credit default swaps and collateralized debt
          obligations, but excludes:

                           (A)      residential mortgage-backed securities;

                           (B)      collateralized debt obligations backed by Emerging Market Securities;

                            (C)     collateralized debt obligations primarily backed by asset-backed
                   securities;

                           (D)      market value collateralized debt obligations;

                           (E)      securities backed by “future flow” receivables;

                           (F)      securities backed by “trust preferred securities;”

                           (G)      net interest margin securitizations;

                           (H)     collateralized debt obligations backed primarily by other collateralized
                   debt obligations;

                            (I)     collateralized debt obligations primarily backed by one or more credit
                   default swaps (i.e. “synthetic CDOs”); and

                          (J)       collateralized debt obligations a significant portion of which are backed
                   by bonds;

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                  (ii)    that has an S&P Rating;

                (iii)  that has a rating and a Moody’s Priority Category Recovery Rate assigned by
          Moody’s; and

                  (iv)    whose ownership or disposition (without regard to the Issuer’s other activities)
          by the Issuer will not cause the Issuer to be treated as engaged in a U.S. trade or business for
          United States federal income tax purposes or otherwise subject the Issuer to net income taxes.

        In connection with the purchase of a Structured Finance Obligation, the Servicer shall obtain
  from Moody’s the applicable Moody’s Priority Category Recovery Rate.

          For purposes of the Diversity Test, multiple Structured Finance Obligations from CDOs serviced
  by the same Servicer or multiple Structured Finance Obligations issued by the same master trust will be
  considered to be obligations of one issuer.

          “Subordinated High-Yield Bond” means a Secured High-Yield Bond secured by a second (or
  lower) priority security interest in the relevant collateral.

          “Subordinated Lien Loan” means a Secured Loan (other than a Second Lien Loan) secured by a
  second (or lower) priority security interest in the relevant collateral.

          “Subscription Agreement” means a subscription agreement dated between a purchaser and the
  Issuer entered into on or before the Closing Date for the subscription of a specified number of Class D
  Notes or Preference Shares, as applicable.

          “Super Majority” means, with respect to any Class or group of Notes or Preference Shares, the
  Holders of more than 66⅔% of the Aggregate Outstanding Amount of that Class or group of Notes or
  Preference Shares, as the case may be; provided that with respect to the Class A-1 Notes, Class A-2a
  Notes and Class A-2b Notes voting together as the Controlling Class, “Super Majority” means at least
  60% of the Aggregate Outstanding Amount of such Controlling Class for so long as Financial Security
  Assurance Inc. is entitled to direct the vote of at least 60% of the Aggregate Outstanding Amount of such
  Controlling Class.

             “Synthetic Security” means any swap transaction, structured bond, credit linked note, or other
  derivative financial instrument providing non-leveraged credit exposure to a debt instrument (but
  excluding any such instrument relating directly to a basket or portfolio of debt instruments) or an index or
  indices (such as the “SAMI” index published by Credit Suisse Securities (USA) LLC) in connection with
  a basket or portfolio of debt instruments or other similar instruments entered into by the Issuer with a
  Synthetic Security Counterparty that has in the Servicer’s commercially reasonable judgment, equivalent
  expected loss characteristics (those characteristics, “credit risk”) to those of the related Reference
  Obligations (taking account of those considerations as they relate to the Synthetic Security Counterparty),
  if (i) it is either a Form-Approved Synthetic Security or the Rating Condition for each Rating Agency is
  satisfied, and (ii) the Reference Obligations thereof have a Market Value equal to at least 85% of the
  Principal Balance of the Reference Obligation at the time the Synthetic Security is entered into.

          The maturity, interest rate, and other non-credit characteristics of a Synthetic Security may be
  different from the Reference Obligations to which the credit risk of the Synthetic Security relates.

           No Synthetic Security shall require the Issuer to make any payment to the Synthetic Security
  Counterparty after its initial purchase other than any payments represented by the release of any cash
  collateral posted by the Issuer from the Collection Account to the Synthetic Security Counterparty
  Account simultaneously with the Issuer’s purchase of or entry into the Synthetic Security in an amount
  not exceeding the amount of the posted cash collateral. Collateral may be posted only to a Synthetic
  Security Counterparty Account. No Synthetic Security shall result in the Issuer being a “buyer” of credit
  protection.
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          The term Synthetic Security shall not include any Structured Finance Obligation or any
  Participation, but the Reference Obligation of a Synthetic Security may be a Structured Finance
  Obligation.

          Each Synthetic Security Agreement shall contain appropriate limited recourse and non-petition
  provisions (to the extent the Issuer has contractual payment obligations to the Synthetic Security
  Counterparty) equivalent (mutatis mutandis) to those contained in the Indenture.

           The ownership or disposition of any Synthetic Security (without regard to the Issuer’s other
  activities) must not cause the Issuer to be treated as engaged in a U.S. trade or business for United States
  federal income tax purposes or otherwise subject the Issuer to net income taxes.

           Unless the Rating Condition is otherwise satisfied, any “deliverable obligation” that may be
  delivered to the Issuer as a result of the occurrence of any “credit event” under any proposed Synthetic
  Security must not provide that its transfer to the Issuer is subject to obtaining any consents and must
  qualify (when the Issuer purchases the related Synthetic Security and when such “deliverable obligation”
  is delivered to the Issuer as a result of the occurrence of any “credit event”) as a Collateral Obligation and
  satisfy the Concentration Limitations under the Indenture, except that such “deliverable obligation” may
  constitute a Defaulted Collateral Obligation when delivered upon a “credit event” and if the Reference
  Obligation of the Synthetic Security is a Senior Secured Loan then the “deliverable obligation” under the
  Synthetic Security must also be a Senior Secured Loan.

           No Synthetic Security may provide for any event other than bankruptcy or a failure to pay as a
  “credit event.”

           No Synthetic Security may provide for termination by the Synthetic Security Counterparty at any
  time (i) after a declaration of acceleration of Maturity of the Notes has been made upon the occurrence of
  an Event of Default, unless such declaration and its consequences may no longer be rescinded and
  annulled in accordance with the Indenture and liquidation of the Collateral has begun or (ii) upon an
  Optional Redemption, unless the third Business Day before the scheduled Redemption Date has passed
  and no notice of withdrawal has been issued.

          For purposes of the Coverage Tests and the Retention Overcollateralization Test, unless the
  Rating Condition for each Rating Agency is satisfied in respect of any proposed alternative treatment, a
  Synthetic Security shall be included as a Collateral Obligation having the characteristics of the Synthetic
  Security and not of the related Reference Obligations.

          For purposes of the Collateral Quality Tests (other than the Diversity Test and the S&P Industry
  Classification with respect to the S&P CDO Monitor Test), a Synthetic Security shall be included as a
  Collateral Obligation having the characteristics of the Synthetic Security and not of the related Reference
  Obligations.

           For purposes of calculating compliance with the Concentration Limitations other than limits
  relating to payment characteristics, and all related definitions, unless otherwise specified in the Indenture
  or by the Rating Agencies, a Synthetic Security shall be included as a Collateral Obligation having the
  characteristics of its Reference Obligations and not the Synthetic Security. For purposes of calculating
  compliance with the Concentration Limitations relating to payment characteristics, and all related
  definitions, unless otherwise specified in the Indenture or by the Rating Agencies, a Synthetic Security
  shall be included as a Collateral Obligation having the characteristics of the Synthetic Security and not its
  Reference Obligation.

          With respect to a Synthetic Security based upon or relating to a senior secured index providing
  non-leveraged credit exposure to a basket of credit default swaps referencing a diversified group of
  Reference Obligations, with respect to which the principal or notional amount of the credit exposure to
  any single Reference Obligation does not increase over time, for purposes of: (i) calculating compliance
  with the Diversity Test, the S&P Industry Classification with respect to the S&P CDO Monitor Test, and
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  the Concentration Limitations (other than limits relating to payment characteristics and except for clauses
  17 and 17(a) of the definition of “Concentration Limitations”), and all related definitions, and (ii) any
  other provision or definition of the Indenture involving a determination with respect to a Reference
  Obligation, the characteristics of such Reference Obligations shall be determined by treating such
  Synthetic Security as a direct interest of the Issuer in each such Reference Obligation in an amount equal
  to the Allocable Principal Balance of such Reference Obligation. In addition, each Reference Obligation
  under such Synthetic Security shall be assigned a Moody’s Rating Factor equal to the sum of the Moody’s
  Rating Factor of (i) the related Reference Obligor, (ii) the Synthetic Security Counterparty of such
  Synthetic Security and (iii) the Synthetic Security Collateral of such Synthetic Security. In addition, the
  Moody’s Priority Category Rate in respect of a Synthetic Security referencing multiple Reference
  Obligations pursuant to this paragraph shall be the Moody’s Priority Category Rate as assigned by
  Moody’s to each Reference Obligation underlying such Synthetic Security. For the avoidance of doubt,
  Reference Obligations upon which a Synthetic Security is based as described in this paragraph must meet
  the definition of “Collateral Obligation” to the extent provided in this definition.

          If the Rating Condition must be satisfied to execute the purchase of any Synthetic Security, the
  Servicer, on behalf of the Issuer, shall give each applicable Rating Agency not less than five days’ prior
  notice of the purchase of or entry into any Synthetic Security.

          “Synthetic Security Agreement” means the documentation governing any Synthetic Security.

           “Synthetic Security Collateral” means, respect to any Synthetic Security, amounts posted to the
  Synthetic Security Collateral Account by the Synthetic Security Counterparty in support of its obligations
  under the Synthetic Security, including (i) all Eligible Investments or (ii) floating rate credit card
  securitizations that are rated “Aaa” by Moody’s and “AAA” by S&P, in each case that mature no later
  than the Stated Maturity, in the Synthetic Security Collateral Account that are purchased with Synthetic
  Security Collateral.

          “Synthetic Security Counterparty” means any entity required to make payments on a Synthetic
  Security to the extent that a reference obligor makes payments on a related Reference Obligation.

           “Tax Advantaged Jurisdiction” means one of the Cayman Islands, Bermuda, the Netherlands
  Antilles or the tax advantaged jurisdiction of the Channel Islands, or such other jurisdiction that the
  Rating Condition with respect to each Rating Agency is satisfied with respect thereto; provided that any
  Tax Advantaged Jurisdiction that is the jurisdiction of organization of an obligor of a Collateral
  Obligation other than obligors that are special purpose vehicles or issuers of Structured Finance
  Obligations shall have a Moody’s foreign currency rating of at least “Aa2” and a S&P foreign currency
  rating of at least “AA-“.

          “Tax Event” means an event that occurs if either:

                  (i)     (A) one or more Collateral Obligations that were not subject to withholding tax
          when the Issuer committed to purchase them have become subject to withholding tax or the rate
          of withholding has increased on one or more Collateral Obligations that were subject to
          withholding tax when the Issuer committed to purchase them and (B) in any Due Period, the
          aggregate of the payments subject to withholding tax on new withholding tax obligations and the
          increase in payments subject to withholding tax on increased rate withholding tax obligations, in
          each case to the extent not “grossed-up” (on an after-tax basis) by the related obligor, represent
          5% or more of Interest Proceeds for the Due Period;

                   (ii)     taxes, fees, assessments, or other similar charges are imposed on the Issuer or the
          Co-Issuer in an aggregate amount in any twelve-month period in excess of U.S$2,000,000, other
          than any deduction or withholding for or on account of any tax with respect to any payment
          owing in respect of any obligation that at the time of acquisition, conversion, or exchange does
          not satisfy the requirements of a Collateral Obligation or Collateral Obligation; or

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                   (iii)   if the Issuer is at the time treated as a pass-through entity for U.S. federal income
          tax purposes, that investors in the Preference Shares who are non-U.S. persons not otherwise
          subject to U.S. net income tax are or have become subject to U.S. net income taxation in respect
          of income of the Issuer in an amount in excess of 10% of the net income of the Issuer in any
          twelve-month period.

         “Transaction Documents” means, collectively, this Indenture, the Preference Shares Paying
  Agency Agreement and the Holding Preference Shares Paying Agency Agreement.

          “Transaction Securities” means, collectively, the Securities and the Holding Securities.

          “Treasury Regulations” means regulations, including proposed or temporary regulations,
  promulgated under the Code. References herein to specific provisions of proposed or temporary
  regulations shall include analogous provisions of final Treasury Regulations or other successor Treasury
  Regulations.

        “UCC” means the Uniform Commercial Code as in effect in the State of New York, and as
  amended from time to time.

          “Underlying Instrument” means the loan agreement, indenture, credit agreement, or other
  agreement pursuant to which a Pledged Obligation has been issued or created and each other agreement
  that governs the terms of or secures the obligations represented by the Pledged Obligation or of which the
  holders of the Pledged Obligation are the beneficiaries.

          “Unfunded Amount” means, with respect to any Revolving Loan or any Delayed Drawdown
  Loan at any time, the excess, if any, of (a) the Commitment Amount over (b) the Funded Amount thereof.

          “Unscheduled Principal Payments” means any principal payments received with respect to a
  Collateral Obligation as a result of optional redemptions, exchange offers, tender offers, other payments
  or prepayments made at the option of the issuer thereof or that are otherwise not scheduled to be made
  thereunder.

         “Valuation Report” means the accounting report, determined as of the close of business on each
  Determination Date, rendered in accordance with the terms of the Indenture.

          “Voting Record Date” means, with respect to any vote by the Holders of the Class II Preference
  Shares in relation to the appointment or removal of the directors of the Issuer, (a) 15 days prior to the
  relevant shareholders meeting or (b) in the case of any vote by the Holders of the Class II Preference
  Shares exercised by written consent resolution, the date of such resolution.

          “Weighted Average Fixed Rate Coupon” means, as of any Measurement Date, the rate obtained
  by:

                   (i)     multiplying the Principal Balance of each Collateral Obligation that is a Fixed
          Rate Obligation held by the Issuer as of the Measurement Date by the current per annum rate at
          which it pays interest (other than, with respect to Collateral Obligations that are not PIK
          Securities, any interest that is not required to be paid in Cash and may be deferred), using only the
          effective after-tax interest rate determined by the Servicer on any Fixed Rate Obligation after
          taking into account any withholding tax or other deductions on account of tax of any jurisdiction
          and any gross-up paid by the obligor);

                  (ii)     summing the amounts determined pursuant to clause (i);

                   (iii)  dividing the sum by the Aggregate Principal Balance of all Collateral Obligations
          that are Fixed Rate Obligations held by the Issuer as of the Measurement Date; and

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                  (iv)      if the result obtained in clause (iii) is less than the minimum percentage rate
          specified to satisfy the Weighted Average Fixed Rate Coupon Test, adding to the sum the amount
          of any Spread Excess as of the Measurement Date, but only to the extent required to satisfy the
          Weighted Average Fixed Rate Coupon Test.

          “Weighted Average Life” means, as of any Measurement Date the number obtained by
  (i) summing the products obtained by multiplying (A) the Average Life at that time of each Collateral
  Obligation by (B) the Principal Balance at that time of the Collateral Obligation and (ii) dividing that sum
  by the Aggregate Principal Balance at that time of all Collateral Obligations.

          “Weighted Average Moody’s Rating Factor” means the summation of the products obtained by
  multiplying the Principal Balance of each Collateral Obligation (excluding Eligible Investments) by its
  respective Moody’s Rating Factor, dividing that sum by the Aggregate Principal Balance of all Collateral
  Obligations (excluding Eligible Investments) and rounding the result up to the nearest whole number.

          “Weighted Average Spread” means, as of any Measurement Date, a rate obtained by:

          (i)      multiplying the Principal Balance of each Collateral Obligation that is a Floating Rate
  Obligation held by the Issuer as of the Measurement Date by the current per annum contract spread at
  which it pays interest (which (x) for PIK Securities for which interest has been deferred or capitalized,
  will be deemed to be zero, (y) for Collateral Obligations that would be PIK Securities but for the proviso
  in the definition thereof, will be deemed to be equal to the effective rate of PIK Cash-Pay Interest
  applicable thereto and (z) for any Revolving Loan or Delayed Draw Loan, will be the per annum contract
  spread for the Funded Amount thereof and the rate of the commitment fee and such other fees payable to
  the Issuer for any Unfunded Amount thereof), determined with respect to any Floating Rate Obligation
  that does not bear interest based on a London interbank offered rate, by expressing the current interest rate
  on the Floating Rate Obligation as a spread above a three month London interbank offered rate calculated
  in a manner consistent with the calculation of LIBOR;

          (ii)    summing the amounts determined pursuant to clause (i);

          (iii)    dividing that sum by the Aggregate Principal Balance of all Floating Rate Obligations
  held by the Issuer as of the Measurement Date; and

          (iv)   if the result obtained in clause (iii) is less than the minimum percentage rate specified to
  pass the Weighted Average Spread Test, adding to that sum the amount of Fixed Rate Excess as of the
  Measurement Date.

          “Workout Assets” means a Loan, High-Yield Bond, or Qualified Equity Security acquired in
  connection with the workout or restructuring of any Collateral Obligation that the Issuer does not advance
  any funds to purchase that does not qualify as a Collateral Obligation.

          “Written-Down Obligation” means as of any date of determination, any Structured Finance
  Obligation as to which the Issuer or the Servicer, on behalf of the Issuer, has been notified by the issuer of
  the Structured Finance Obligation that the Aggregate Principal Balance of the Structured Finance
  Obligation and all other Structured Finance Obligations secured by the same pool of collateral that rank
  pari passu with or senior in priority of payment to the Structured Finance Obligation exceeds the
  aggregate principal balance (including reserved interest or other amounts available for
  overcollateralization) of all collateral securing the Structured Finance Obligation and such other pari
  passu and senior Structured Finance Obligations (excluding defaulted collateral).

         “Zero-Coupon Security” means a security that, at the time of determination, does not make
  periodic payments of interest. A Zero-Coupon Security shall not include a security that is a PIK Security.




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                                                       INDEX OF DEFINED TERMS
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                         Eastland CLO, Ltd.
                            Eastland CLO Corp.

               U.S.$100,000,000 Class A-1 Floating Rate Senior Secured Extendable Notes Due 2022
              U.S.$825,600,000 Class A-2a Floating Rate Senior Secured Extendable Notes Due 2022
              U.S.$206,000,000 Class A-2b Floating Rate Senior Secured Extendable Notes Due 2022
                U.S.$78,500,000 Class A-3 Floating Rate Senior Secured Extendable Notes Due 2022
       U.S.$81,500,000 Class B Floating Rate Senior Secured Deferrable Interest Extendable Notes Due 2022
       U.S.$68,500,000 Class C Floating Rate Senior Secured Deferrable Interest Extendable Notes Due 2022
       U.S.$48,000,000 Class D Floating Rate Senior Secured Deferrable Interest Extendable Notes Due 2022
                                          61,500 Class I Preference Shares
                                         62,000 Class II Preference Shares




                  _________________________________________________________


                                     OFFERING MEMORANDUM

                                              March 9, 2007


                  _________________________________________________________




                                            Citigroup
